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                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.: 16-cv-21301-GAYLES


   SECURITIES AND EXCHANGE COMMISSION,

               Plaintiff,

   v.

   ARIEL QUIROS,
   WILLIAM STENGER,
   JAY PEAK, INC.,
   Q RESORTS, INC.,
   JAY PEAK HOTEL SUITES L.P.,
   JAY PEAK HOTEL SUITES PHASE II. L.P.,
   JAY PEAK MANAGEMENT, INC.,
   JAY PEAK PENTHOUSE SUITES, L.P.,
   JAY PEAK GP SERVICES, INC.,
   JAY PEAK GOLF AND MOUNTAIN SUITES L.P.,
   JAY PEAK GP SERVICES GOLF, INC.,
   JAY PEAK LODGE AND TOWNHOUSES L.P.,
   JAY PEAK GP SERVICES LODGE, INC.,
   JAY PEAK HOTEL SUITES STATESIDE L.P.,
   JAY PEAK GP SERVICES STATESIDE, INC.,
   JAY PEAK BIOMEDICAL RESEARCH PARK L.P.,
   AnC BIO VERMONT GP SERVICES, LLC,

               Defendants, and

   JAY CONSTRUCTION MANAGEMENT, INC.,
   GSI OF DADE COUNTY, INC.,
   NORTH EAST CONTRACT SERVICES, INC.,
   Q BURKE MOUNTAIN RESORT, LLC,

               Relief Defendants.

   Q BURKE MOUNTAIN RESORT, HOTEL
   AND CONFERENCE CENTER, L.P.,
   Q BURKE MOUNTAIN RESORT GP SERVICES, LLC1,
   AnC BIO VT, LLC,2

          Additional Receivership Defendants.
   _____________________________________________/

   1
       See Order Granting Receiver’s Motion to Expand Receivership dated April 22, 2016 [ECF No. 60].
   2
    See Order Granting Receiver’s Motion for Entry of an Order Clarifying that AnC Bio VT, LLC is included in the Receivership or
   in the Alternative to Expand the Receivership to include AnC Bio VT, LLC, Nunc Pro Tunc dated September 7, 2018 [ECF No.
   493].



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                RECEIVER’S NINTH INTERIM OMNIBUS APPLICATION FOR
                 ALLOWANCE AND PAYMENT OF PROFESSIONALS’ FEES
                      AND REIMBURSEMENT OF EXPENSES FOR
                           MARCH 1, 2020 – AUGUST 31, 2020

            Michael I. Goldberg (the “Receiver”), in his capacity as the court-appointed Receiver,

   pursuant to the Order Granting Plaintiff Securities and Exchange Commission’s Motion for

   Appointment of Receiver (the “Receivership Order”) [ECF No. 13] dated April 13, 2016, hereby

   files this Ninth Interim Omnibus Application (the “Application”) for Allowance and Payment of

   Professionals’ Fees and Reimbursement of Expenses for March 1, 2020 – August 31, 2020 (the

   “Application Period”), and in support, states as follows:

                                        Preliminary Statement

            During the Application Period the operations of the Jay Peak Resort and the Burke

   Mountain Hotel shut down due to the Covid-19 pandemic. The Receiver and his professionals

   worked with the hotel management to preserve the properties and applied for a CARES Act

   Paycheck Protection Program loan.       The Receiver continues to work with management to

   optimizes the value of the properties as he and his financial advisor market the Jay Peak resort for

   sale, with the anticipated proceeds of the sale to benefit the investors. The Receiver and his

   immigration counsel continue to work with investors and their attorneys in responding to USCIS’s

   requests for evidence in support of their citizenship applications. The Receiver and his attorneys

   also continue to recover money for the benefit of the investors and creditors of the receivership

   estate through the sale of individual properties and by litigation against third parties who

   improperly benefited from the Receivership Entities. As a result of these actions, the Receiver and

   his professionals incurred fees and expenses and seek Court approval to pay the sum of

   $630,895.20 in professional fees. This amount represents a discount of $450,000 from the

   professionals’ standard billing rates. The Receiver also seeks the authority to reimburse the



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   professionals the sum of $97,902.91 in expenses, for a total payment of $728,798.11 to the

   Receiver and his professionals.

   I.       Background

            On April 12, 2016, the Securities and Exchange Commission (“SEC”) filed a complaint

   [ECF No. 1] in the United States District Court for the Southern District of Florida (the

   “Receivership Court”) against the Receivership Defendants,3 the Relief Defendants,4 William

   Stenger and Ariel Quiros, alleging that the Defendants violated the Securities Act of 1933 and the

   Securities Exchange Act of 1934 by among other things, making false or materially misleading

   representations to foreign investors who invested $500,000 in the limited partnerships set up by

   the Receivership Entities pursuant to the federal EB-5 immigration program.

            On April 13, 2016, upon the SEC’s Motion for Appointment of Receiver [ECF No. 7], the

   Court entered the Receivership Order and selected Michael Goldberg as the Receiver of the

   Receivership Defendants and the Relief Defendants. Relevant to this Application, the Receivership

   Order authorizes the Receiver to appoint professionals to assist him in “exercising the power

   granted by this Order …” See Receivership Order at ¶ 4. Moreover, the Receiver and his

   professionals are entitled to reasonable compensation from the assets of the Receivership

   Defendants, subject to approval of the Court. See Receivership Order at ¶14.




   3
    The “Receivership Defendants” are Jay Peak, Inc., Q Resorts, Inc., Jay Peak Hotel Suites L.P., Jay Peak Hotel Suites
   Phase II L.P., Jay Peak Management, Inc., Jay Peak Penthouse Suites L.P., Jay Peak GP Services, Inc., Jay Peak Golf
   and Mountain Suites L.P., Jay Peak GP Services Golf, Inc., Jay Peak Lodge and Townhouse L.P., Jay Peak GP
   Services Lodge, Inc., Jay Peak Hotel Suites Stateside L.P., Jay Peak Services Stateside, Inc., Jay Peak Biomedical
   Research Park L.P., and AnC Bio Vermont GP Services, LLC.
   4
    The “Relief Defendants” are Jay Construction Management, Inc., GSI of Dade County, Inc., North East Contract
   Services, Inc., and Q Burke Mountain Resort, LLC. Later, Q Burke Mountain Resort, Hotel and Conference Center,
   L.P., Q Burke Mountain Resort GP Services, LLC and AnC Bio VT, LLC were added as “Additional Receivership
   Defendants”. The Receivership Defendants, Relief Defendants, and Additional Receivership Defendants are
   collectively referred to as the “Receivership Entities.”



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   II.      Information about Applicant and the Application

            This Application has been prepared in accordance with the Billing Instructions for

   Receivers in Civil Actions Commenced by the U.S. Securities and Exchange Commission (the

   “Billing Instructions”). Pursuant to the Billing Instructions, the Receiver states as follows:

            (a)    Time period covered by the Application: March 1, 2020 – August 31,
                                                           2020

            (b)    Date of Receiver’s appointment:               April 13, 2016

            (c)    Date services commenced:                      April 4, 2016

            (d)    Names and rates of all professionals:         See Exhibit 4(a) – (e)

            (e)    Interim or Final Application:                 Interim

            (f)    Records supporting fee application:           See below

            The following exhibits are provided in accordance with the Billing Instructions:

            Exhibit 1:     Receiver’s Certification

            Exhibit 2:     Total compensation and expenses

                           Exhibit 2(a): Total compensation and expenses requested for this
                                         Application

                           Exhibit 2(b): Summary of total compensation and expenses previously
                                         awarded

                           Exhibit 2(c): Amounts previously requested and total compensation and
                                         expenses previously awarded

            Exhibit 3:     Fee Schedule: Names and Hourly Rates of Professionals and
                           Paraprofessionals & Total Amount Billed for each Professional and
                           Paraprofessional:

                           Exhibit 3(a): Akerman LLP

                           Exhibit 3(b): Levine Kellogg Lehman Schneider and Grossman LLP

                           Exhibit 3(c): Kapila Mukamal

                           Exhibit 3(d): Klasko Immigration Law Partners, LLP


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                             Exhibit 3(e): Downs Rachlin Martin PLLC

            Exhibit 4:       Time records by professional for the time period covered by this
                             Application, sorted in chronological order, including a summary and
                             breakdown of the requested reimbursement of expenses:

                             Exhibit 4(a): Akerman LLP

                             Exhibit 4(b): Levine Kellogg Lehman Schneider + Grossman LLP

                             Exhibit 4(c): Kapila Mukamal

                             Exhibit 4(d): Klasko Immigration Law Partners, LLP

                             Exhibit 4(e): Downs Rachlin Martin PLLC

            Exhibit 5:       Standardized Fund Accounting Report [Period: 4/1/20 – 8/31/20]

   III.     Case Status

            (a)     Cash on hand/Cash Position Since the Last Fee Application

            The amount of cash in the Receivership general bank accounts as of the date of filing this

   Application is approximately $19.2 million.5 These amounts do not include the funds used to

   maintain and operate the Jay Peak Resort, the Burke Mountain Hotel and related properties.

            (b)     Summary of creditor claims proceedings

            The principal investment of the investors in Jay Peak Hotel Suites L.P. (“Phase I”) have

   been fully satisfied. The Receiver is actively marketing the Jay Peak resort for sale and intends to

   distribute the proceeds of the sale on a pro-rata basis to the Phase II – Phase VI investors.6 The

   Receiver has provided refunds of the principal investment of the investors in the Jay Peak

   Biomedical Research Park L.P. (Phase VII”) who cannot qualify for citizenship and those Phase



   5
     A portion of these funds are held in restricted accounts.
   6
     The partnerships are Receivership Defendants Jay Peak Hotel Suites Phase II L.P., Jay Peak Penthouse Suites L.P.,
   Jay Peak Golf and Mountain Suites L.P., Jay Peak Lodge and Townhouses L.P. and Jay Peak Hotel Suites Stateside
   L.P.


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   VII investors who have chosen not to redeploy their investment. The Receiver has also assisted

   other Phase VII investors in redeploying their principal investment into another qualifying project.

   The Receiver continues to operate the Burke Mountain Hotel in order to generate more jobs as

   required under the EB-5 program for the benefit of the investors in Additional Receivership

   Defendant, Burke Mountain Resort, Hotel and Conference Center, L.P. (“Phase VIII”) and is not

   currently listing the Burke Mountain Hotel for sale. The Receiver has satisfied the past-due trade

   debt owed by the Jay Peak Resort and the Burke Mountain Hotel and paid the allowed claims of

   the contractors and suppliers involved in the construction of the Burke Mountain Hotel.

            (c)       Description of assets/liquidated and unliquidated claims held by the Receiver

            In addition to the information provided herein, detailed descriptions of the assets and

   claims are provided in the periodic Status Reports filed in this case. The Receiver continues to

   sell receivership properties. The Receiver continues to review potential causes of action against

   pre-receivership professionals and various third parties who may have wrongly profited from the

   Receivership Entities. These claims may include common law claims and claims under fraudulent

   transfer statutes. While the Receiver cannot yet predict the likelihood, amount or cost-effectiveness

   of particular claims or the claims as a whole, the Receiver continues to diligently evaluate claims

   against third parties.

   IV.      The Professionals

                (a)   Akerman LLP

            The Receiver is a partner at the law firm of Akerman LLP (“Akerman”) and a founding

   member of Akerman’s Fraud & Recovery Practice Group. The Receiver has practiced law for

   thirty years and specializes in receivership and bankruptcy cases. The Receiver has been appointed

   receiver in more than 20 state and federal court receivership cases and has represented receivers

   and trustees in many other cases. The Receiver is working with a team of attorneys and paralegals


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   at Akerman to administer this case. Since Akerman employs more than 700 lawyers and

   government affairs professionals through a network of 24 offices, the Receiver has ready access

   to professionals who specialize in litigation, real estate, corporate affairs, and other pertinent

   matters and has used their expertise to administer the receivership estate.

            The Receiver has agreed to reduce his billing rate and the rates of his professionals for this

   case. Instead of their standard billing rates, which range from $550.00 to $750.00, all partners are

   billed at $395.00, associate rates are capped at $260.00, paralegals and paraprofessionals are

   capped at $175.00, resulting in a blended rate of $275.00 and a reduction of fees in the sum of

   $130,213.00 (if billed at the standard rates). The Receiver also agreed to the SEC’s request not to

   bill time relating to the SSVR Case (defined herein) and further reduce time billed to preparing

   Status Reports and fee applications, for an additional reduction of $36,506.50. In addition to the

   rate reductions, all time billed to non-working long distance travel is reduced by 50%. These

   discounts equate to a reduction in Akerman’s fees of approximately $166,700. During the

   Application Period, the Receiver and Akerman billed 659.9 hours and seek payment of fees in the

   sum of $181,644.50 and reimbursement of expenses in the sum of $9,005.24, for a total of

   $190,649.74.

            (b)    Levine Kellogg Lehman Schneider + Grossman LLP

            Jeffrey Schneider, a partner at the law firm Levine Kellogg Lehman Schneider + Grossman

   LLP (“LKLSG” or “Special Counsel”) and a team of LKLSG attorneys and paralegals provide

   special litigation and conflicts litigation services for the Receiver. Mr. Schneider is a trial lawyer

   whose practice focuses on complex commercial litigation and receiverships. Mr. Schneider has

   served as a receiver himself in several cases. Mr. Schneider has agreed to reduce the rates of his

   professionals for this case. Instead of the standard billing rates of $550.00 to $600.00 per hour, all

   partners are billed at $250.00 to $260.00 per hour, all associates rates are reduced from the standard


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   rates of $325.00 to $375.00 per hour, to $200.00 per hour, and all paraprofessionals are billed at

   $125.00 per hour, resulting in a blended rate of $209.50. This represents a significant reduction

   from Special Counsel’s standard billing rates and a savings of approximately $279,000 for the

   receivership estate. During the Application Period, Special Counsel billed 887.4 hours and seeks

   payment of fees in the sum of $196,759.00 and reimbursement of expenses in the sum of

   $81,937.99, for a total of $278,696.99.7

            (c)     Kapila Mukamal

            Soneet Kapila, CPA, and the accounting firm Kapila Mukamal (“KM” or the

   “Accountants”) provide accounting and forensic work for the Receiver. Mr. Kapila’s practice is

   focused on restructuring, creditors’ rights, bankruptcy, fiduciary matters and financial transactions

   litigation. He has conducted numerous forensic and fraud investigations, and has worked in

   conjunction with the SEC, the Federal Bureau of Investigation and the United States Attorney’s

   Office. Mr. Kapila is also a panel trustee for the United States Bankruptcy Court for the Southern

   District of Florida.

            Mr. Kapila has agreed to reduce the rates of his professionals in this case to amounts not

   to exceed $395.00 per hour, resulting in a blended rate of $339.18. This represents a savings for

   the Receivership Estate in the sum of $4,700.00. During the Application Period, KM billed 299.8

   hours and seeks payment of fees in the sum of $101,687.20 and reimbursement of expenses in the

   sum of $2,157.95, for a total of $103,845.15.

            (d)     Klasko Immigration Law Partners, LLP

            The attorneys of Klasko Immigration Law Partners, LLP (“Klasko”) have national

   reputations for cutting-edge immigration law practice, including working with immigrant investors


   7
    In the attached Exhibits 3(b) and 4(b), Special Counsel breaks down its time and expenses among separate litigation
   matters.


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   applying for permanent residence status through the EB-5 program. Their experience working on

   EB-5 immigrant investor cases includes both representation of pooled investment companies and

   representation of individual investors investing in pooled investment companies, approved

   regional centers and their own companies. They used this experience to assist the Receiver and the

   investors in providing information to the United States Citizenship and Immigration Services

   (“USCIS”) in support of the investors’ I-829 petitions.

            The Klasko attorneys bill at rates from $340.00 to $995.00, but have reduced partners’ rates

   to $495.00, resulting in a blended rate of $376.67 per hour for this case. These discounts equate to

   a reduction of approximately $56,000 from Klasko’s standard rates. During the period covered by

   this Application, Klasko seeks payment in the sum of $107,238.50 for 284.7 hours and

   reimbursement of expenses in the sum of $4,289.54, for a total of $111,528.04.

            (e)    Downs Rachlin Martin PLLC

            Downs Rachlin Martin PLLC (“DRM or “Vermont Counsel") is serving as local counsel

   for the Receiver in Vermont. DRM was established in 1950; DRM grew to the largest law firm in

   Vermont and one of the largest firms in Northern New England. With more than 140 employees,

   including approximately 60 attorneys and legal professionals, DRM has four offices in Vermont

   and one in New Hampshire. DRM’s general law practice includes corporate, business,

   environment, government affairs, public utilities, real estate, construction, tax and litigation. DRM

   currently assists the Receiver with Vermont land use matters. The DRM professionals bill at a

   blended rate of $383.17. During the period covered by this Application, DRM seeks payment in

   the sum of $43,566.00 for 113.7 hours and reimbursement of expenses in the sum of $512.19, for

   a total of $44,078.19.




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    V.       Summary of Services Rendered During the Application Period

             Summaries of the services rendered during the Application Period are provided below.

    More detailed information is included in the time records attached hereto as Exhibits 4(a) – (e).

             (a)       The Receiver and Akerman LLP

             The Receiver and the Akerman professionals have separated their time into the activity

    categories provided in the Billing Instructions. Narrative summaries of these activity categories

    are provided below.

             Asset Disposition

             Asset Disposition relates to sales, leases, abandonment and related transaction work.

                   •   The Court previously entered an Order [ECF No. 522] authorizing the Receiver to
                       retain a financial advisor to assist with the sale of the Jay Peak resort. The Receiver
                       prepared for and attended weekly calls with the financial advisor, corresponded
                       with potential purchasers and with the investment banker regarding the potential
                       sale of the Jay Peak Resort.

                   •   The Receiver continued to oversee the management and maintenance (insurance,
                       taxes, appraisals, etc.) of the various properties including the airport hangar and the
                       AnC Bio property.

                   •   The Receiver and his real estate counsel responded to inquiries from owners of land
                       adjoining the Burke Mountain Hotel regarding their interest in purchasing small
                       parcels and resolving boundary line disputes.

                   •   The Receiver and counsel responded to Kingdom Trails indemnification inquiry,
                       researched case law on indemnification in Vermont and statutes and case law on
                       premises liability for homeowners who allow trails through their property.

                   •   The Receiver and real estate counsel engaged in negotiations with counsel for a
                       proposed purchaser of the airplane hangar, addressed Town of Coventry property
                       tax issues for the airport hangar and corresponded with the Vermont Agency of
                       Transportation regarding the airport hangar lease.

             Business Operations

             Business Operations cover the issues related to operation of an ongoing business.

                   •   The Receiver continues to work with the court-approved management company,
                       Leisure Hotels, LLC (“Leisure”) who operates the Jay Peak Resort and the Burke


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                     Mountain Hotel, along with Jay Peak’s General Manager, Steven Wright and Burke
                     Mountain Resort’s General Manager, Kevin Mack. The Receiver confers with the
                     Leisure management team, Steven Wright and Kevin Mack on a regular basis to
                     monitor the resorts’ operations.

                 •   The Receiver also works with Leisure and the management team on budgets,
                     financial projections and capital improvements to enhance the operations of the
                     Receivership Entities. The Receiver engaged in numerous conferences with
                     management regarding the closure of the resorts due to Covid-19; analyzed the
                     prospective budget for operations during the shutdown; prepared for and attended
                     emergency budget and cash flow analysis.

                 •   The Receiver conferred with management regarding the availability of emergency
                     relief funds. The Receiver and counsel reviewed and analyzed the CARES Act
                     Paycheck Protection Program, (the “PPP”) to determine PPP eligibility. Counsel
                     prepared a motion for authorization to close on the loan to obtain proceeds to
                     supplement cash flow, specifically as it relates to payroll expenses. See ECF No.
                     609. Counsel prepared a proposed Order granting the motion, which was entered
                     on August 2, 2020. See ECF No. 610.

                 •   The Court previously authorized the Receiver to enter into an agreement with New
                     Cingular Wireless PCS, LLC, a subsidiary of AT&T, Inc., to amend a License
                     Agreement for use of a portion of Jay Peak’s Sky Haus for placement of a cellular
                     tower and ancillary transmission equipment. See ECF No. 454. The Receiver and
                     his real estate counsel negotiated a Building and Rooftop Lease Agreement with
                     Bell Atlantic Mobile Systems LLC (“Bell Atlantic”) which authorizes Bell Atlantic
                     to install and operate communications equipment on a portion of the Burke
                     Mountain Hotel. The Receiver prepared a motion to approve the agreement [ECF
                     No. 606], which was approved by the Court on July 18, 2020. See ECF No. 608].

             Case Administration

             Case Administration includes coordination and compliance activities, preparation of

    reports and responding to investor inquiries.

                 •   The Receiver and his staff continue to communicate with investors, creditors,
                     government officials and other interested parties. The Receiver continues to
                     maintain a toll-free investor hotline, an email address for general inquiries, and a
                     website to provide information for investors and interested parties.

                 •   The Receiver and his staff continue to respond to inquiries from investors regarding
                     a wide range of matters, including immigration inquiries and the sale of the Jay
                     Peak Resort.

                 •   The Receiver continued to work with immigration counsel verifying job creation in
                     support of the investors’ citizenship petitions. The Receiver and immigration


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                     counsel continue to work with investors with a pending I-526 petitions or a pending
                     I-829 petitions.

                 •   The Receiver and Akerman researched and prepared Status Reports and complied
                     with other reporting requirements.

             Claims Administration and Objections

             Claims Administration and Objections relates to formulating, gaining approval of and

    administering claims procedure.

                 •   The Receiver and Akerman staff continued to review and respond to inquiries about
                     pre-receivership claims.

                 •   Akerman staff continued to process refunds and prepared Release and Indemnity
                     Agreements for Phase VII investors who requested receipt of their distribution
                     payment by wire transfer through their counsel.

             Tax Matters

                 •   The Receiver and Akerman analyzed correspondence from the IRS and worked
                     with the accountants to respond to inquiries from taxing authorities.

                 •   The Receiver reviewed and executed federal and state tax returns.

             Litigation/Contested Matters

                 •   The Receiver had previously intervened in the case Quiros v. Ironshore Indemnity,
                     Inc., Case No. 16-25073 (the “Ironshore Case”), where Mr. Quiros sued Ironshore
                     Indemnity, Inc. (‘Ironshore”) (which provided insurance coverage for claims made
                     against the directors and officers of Q Resorts, Inc. as well as liability claims against
                     Q Resorts, Inc.) to cover the costs of his legal defense. The parties reach a
                     settlement, which was approved by the Court. However, interested parties, Leon
                     Cosgrove, LLP and Mitchell, Silberberg & Knupp, LLP (“MSK”) appealed the
                     Court Order approving the settlement [ECF No. 555]. The Receiver and his counsel
                     prepared for mediation in this matter.

                 •   The Receiver and Akerman attorneys continued to negotiate receivership claims
                     against other professionals who provided pre-receivership services to Mr. Quiros
                     and the receivership entities, to serve discovery, to review and catalog responses to
                     discovery and to revise Tolling Agreements to preserve the Receiver’s claims.

                 •   Certain investors filed a Complaint, Sutton et al v. Saint-Sauveur Valley Resorts,
                     Inc., Case No. 17-cv-00061, in the U.S. District Court for the District of Vermont
                     (the “SSVR Case”). The Receiver was previously added as a plaintiff in the SSVR
                     Case and monitored the SSVR Case at no charge to the receivership estate. When


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                           Saint-Sauveur Valley Resorts, Inc., and the other defendants, Louis DuFour, Louis
                           Hebert, David Pocius, and Laurence May (collectively, the “SSVR Parties”) added
                           certain of the Receivership Entities as third-party defendants, the Receiver and his
                           counsel took action in the Receivership Case. The Receiver, jointly with Quiros’
                           counsel and counsel for Raymond James & Associates, Inc. and Raymond James
                           Financial, Inc. researched and prepared a motion and accompanying memorandum
                           of law, requesting the Receivership Court issue an order to show cause why (i) the
                           Receivership Court should not enforce the settlements memorialized in the
                           Raymond James and Quiros Bar Orders by enjoining prosecution of the Vermont
                           claims (and any similar claims) and requiring dismissal of such claims, and (ii) the
                           SSVR Parties should not be held in contempt for their willful and intentional
                           violation of the Receivership Court’s orders and sanctioned jointly and severally in
                           the amount of legal fees incurred.

             Document Review and Discovery

                       •   The Receiver and Akerman continued to research and analyze records responsive
                           to discovery requests, reviewed and identified responsive documents and reviewed
                           documents for privilege.

                 (b)       Levine Kellogg Lehman Schneider and Grossman LLP

             Special Counsel represents the Receiver in certain litigation matters and are lead counsel

    to the Receiver litigation filed against third parties.

                       •   After the Court approved the settlement and entered a Bar Order in the Ironshore
                           Case, objecting parties filed an appeal of the Bar Order, Special Counsel continued
                           to monitor the appellate court deadlines. Special Counsel engaged in numerous
                           conferences with the Receiver regarding oral argument, made arrangements
                           regarding presentation at oral argument, researched and updated case and otherwise
                           prepared for participated in oral argument.

                       •   Special Counsel analyzed a strategy for resolution of investor claims, engaged in
                           multiple conferences with investor counsel regarding settlement negotiations,
                           reviewed materials provided by investor counsel and conferred with counsel
                           regarding tolling agreement and settlement. Special Counsel continued to review
                           summaries and the underlying source documents in preparation for settlement
                           discussions. Special Counsel also reviewed and analyzed information from
                           attorneys from EB-5 investors relating to claims, in preparation for drafting
                           complaint, gathered exhibits and drafted a complaint. Special counsel reviewed
                           documents in preparation for drafting settlement agreement, prepared a proposed
                           settlement agreement and conferred with counsel regarding changes to tolling
                           agreement and settlement agreement. Special Counsel researched potential
                           mediators, conferred with opposing counsel regarding mediation and prepared a
                           mediation statement. Special Counsel gathered and reviewed exhibits attached to
                           Mediation Statement, reviewed questions posed by mediator and prepared draft


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                           answers, and attended mediation with the Receiver. Special counsel drafted a
                           settlement agreement and revised the settlement agreement as per Receiver’s
                           changes. Special Counsel also drafted a preliminary approval order, notice, and bar
                           order regarding settlement between investor plaintiffs and other parties and
                           prepared a motion to approve settlement.

                       •   The Receiver had previously filed a Complaint against prior counsel to the
                           Receivership Entities, Goldberg v. David B. Gordon and Mitchell Silberberg &
                           Knupp, LLP (the “MSK Case”), Case No. 19-cv-21862, filed in the U.S. District
                           Court for the Southern District of Florida. The parties had exchanged extensive
                           discovery and engaged in mediation (where the parties reached an impasse). On
                           December 13, 2019, the Court in the MSK Case entered an Order granting a motion
                           filed by the United States to intervene and to stay proceedings until November 13,
                           2020 or until the resolution of the criminal prosecution in U.S. v. Quiros, Case No.
                           5:19-cr-76, filed in the U.S. District Court for the District of Vermont, whichever
                           is sooner. Special Counsel reviewed and analyzed the Complaint in preparation for
                           preparing additional discovery after the stay is lifted. Special Counsel reviewed,
                           analyzed and summarized depositions and conferred with the Receiver regarding
                           resumption of mediation. Special Counsel reviewed materials relating to the prior
                           mediation with same parties, prepared a mediation update and compiled documents
                           in preparation for the resumed mediation.

                           Special Counsel engaged in numerous conferences with Kapila’s team regarding
                           various document requests, continued working on responses to document requests
                           and reviewed and revised responses to third party’s document requests. Special
                           Counsel also reviewed and analyzed discovery for use in case.

                 (c)       Kapila Mukamal

             Kapila Mukamal (“KM” or the “Accountants”) separated their time into the activity

    categories provided in the Billing Instructions. Narrative summaries of these activity categories

    are provided below.

                       •   During the period March 1, 2020 through August 31, 2020, KM spent considerable
                           time assisting the Receiver with the (i) preparation of tax returns, (ii) responded to
                           tax agency notices, (iii) reviewed, analyzed and prepared transfer schedules to assist
                           the Receiver with recoveries for the benefit of the estate, and (iv) assisted
                           immigration counsel with schedules to support costs and job creation for the various
                           limited partnerships, further detailed below.

                       •   KM coordinated with the Jay Peak accounting and management company teams to
                           compile the required financial data for the limited partnerships to prepare the annual
                           tax returns, partnership K-1’s and extensions due to be filed by September 15, 2020.
                           In addition, KM reviewed and responded to tax agency notices.



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                   •   KM reviewed, analyzed and prepared transfer schedules and supporting records to
                       assist the Receiver with adversary proceedings and recoveries for the benefit of the
                       estate. KM coordinated with the Receiver and his counsel on numerous production
                       requests and subpoenas related to on-going adversary proceedings. In addition, KM
                       assisted immigration counsel by preparing flow of funds schedules detailing costs
                       and expenses incurred for various partnerships to support the costs and job creation
                       for the benefit of the investors.


             (d)       Klasko Immigration Law Partners, LLP

             The Klasko professionals continued to work with the Receiver, the accountants and

    economists to gather and analyze information needed by the investors for preparation of their I-

    829 Petitions and respond to inquiries from the USCIS.

                   •   Mandamus complaints: Since last Fall, Klasko worked on collecting investor
                       information and drafting two mandamus complaints for investors in various Jay
                       Peak projects. This involved numerous calls and emails with investors and their
                       attorneys to discuss the mandamus and to collect information from the investors,
                       which data was collected in a spreadsheet that required constant updating and
                       multiple calls with the Receiver to discuss litigation strategy and the hardship
                       suffered as a result of the delay in processing.

                   •   Request for Evidence (“RFE”) responses for Lodge and Townhouse, Stateside,
                       Penthouse Suites, and Golf and Mountain RFE: Klasko has worked on various
                       response templates to notices received by investors in every phase of the Jay Peak
                       Resort. Preparing the templates involves requesting and reviewing documents and
                       drafting a cover letter, index, and various statements for signature. After
                       distribution and completion, Klasko participated in numerous correspondence and
                       conferences investors and their attorneys regarding preparation of the responses and
                       conferences with the Receiver, Jay Peak management and the economist who
                       prepared the jobs report used in the RFE template. After Lodge and Townhouse
                       investors’ I-839 petitions were denied, Klasko engaged in further conferences with
                       the denied investors and their attorneys and prepared a template Motion to Reopen
                       template, which centered on an updated report from KM, and updated the existing
                       RFE template. For the Stateside, Penthouse Suites and Golf and Mountain
                       responses, Klasko prepared a resort-wide economic impact, showing the jobs
                       created across the Resort. The preparation of this report involved a number of drafts
                       and conference calls with the team and the economist.

                   •   Q Burke RFE response, MTR template, and NOIR template response: Investors
                       in Q Burke received RFEs on their I-829 petitions and denials and notices of intent
                       to revoke their I-526 petitions. Klasko drafted a template MTR for the investors
                       with denied I-526 petitions. As the primary reason for the denial of the petitions is
                       the terminated regional center, Klasko engaged in negotiations with the Green

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                     Mountains Regional Center, which involved multiple correspondence and
                     conferences and drafting of a sponsorship agreement. The regional center backed
                     out during the last week of August and Klasko has begun negotiations with a new
                     regional center. Klasko is currently working on the template response to the
                     Notices of Intent to revoke.

                 •   Termination of VTRC: During this period, the Vermont Regional Center’s appeal
                     of its termination to the AAO was denied. Klasko participated in conferences and
                     correspondence and prepared documents relating to the strategy for the denied
                     Regional Center and subsequent filing of a Motion to Reopen by the Regional
                     Center.

    (e)      Downs Rachlin Martin PLLC

             The Receiver employed DRM to handle Vermont-specific matters involving Jay Peak

    properties. During this Application Period, DRM was retained, in part to challenge the 2020 –

    2021 real property tax assessments for properties located at Jay Peak, Burke Mountain and

    Newport.

                 •   With regard to the Jay Peak Resort, DRM reviewed the most recent appraisal of the
                     properties, and engaged in numerous conferences with the Receiver, on-site
                     management and the Tax Assessor for the Town of Jay. DRM prepared for the
                     Grievance Hearing, participated in the Grievance Hearing at the Jay Town offices,
                     and provided the Receiver with a summary of the hearing. After conferring with
                     the Receiver and the Jay team, DRM prepared a notice of appeal from the decision
                     of the listers to the Board of Civil Authority (“BCA”). Vermont Counsel prepared
                     for and participated in the BCA hearing at the Jay Town Hall, and after the hearing,
                     prepared a memorandum summarizing the proceeding and outlining the next steps
                     following the BCA decision.

                 •   With regard to Newport, DRM engaged in multiple conferences with the Town of
                     Newport Lister regarding the Lister’s cards for 172 Bogner Drive and 151 Main
                     Street. DRM conferred with the Receiver regarding discrepancies between the
                     Lister’s property tax description and current physical condition, followed up with
                     the City Assessor concerning revision of the assessment in light of the building’s
                     degraded condition and reduction in its foot print. DRM prepared a status report
                     for the Receiver and the Jay team regarding same and prepared the grievance
                     application.

                 •   With regard to Burke Mountain, DRM conferred with Kevin Mack at Burke
                     Mountain for site visit and discussion regarding property tax appeal and particular
                     issues to consider. DRM prepared for and participate in a grievance hearing with
                     the Burke Town Assessor and engaged in post hearing correspondence with the
                     Burke team. DRM prepared a letter to the Burke Town Clerk noticing the appeal

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                     to the BCA. DRM analyzed and compared the assessed value of the Burke
                     Mountain Hotel with similar properties; reviewed the revised and expanded
                     appraisal of Burke Mountain. DRM worked on the presentation before the BCA,
                     prepared questions for Kevin Mack’s testimony, attended the Burke BCA hearing
                     and prepared a summary of the BCA hearing. DRM reviewed the BCA decision
                     and followed up with the Burke Team regarding the next steps before the court.

    VI.      Memorandum of Law

             The Receiver and his professionals are entitled to reasonable compensation and expenses,

    pursuant to the Receivership Order. Receivership courts have traditionally determined

    reasonableness by utilizing the familiar lodestar approach, calculating a reasonable hourly rate in

    the relevant market and the reasonable number of hours expended. See, e.g., S.E.C. v. Aquacell

    Batteries, Inc., No. 6:07-cv-608-Orl-22DAB, 2008 WL 276026, *3 (M.D. Fla. Jan 31, 2008); see

    also Norman v. Hous. Auth., 836 F.2d 1292, 1299-1302 (11th Cir. 1988).8 The hourly rates billed

    by the Receiver and his professionals are reasonable for professionals practicing in the Southern

    District of Florida. The Receiver reduced his standard rate by $300.00 per hour and lowered the

    rates of the Akerman professionals anywhere from by $50.00 an hour to $215.00 an hour

    (depending on the individual’s standard rate). The LKLSG professionals also reduced their rates

    by $100.00 to $350.00 from their standard rates. These are the same hourly rates already approved

    by the Court in prior fee applications. Moreover, these reductions have resulted in a substantial

    savings to the receivership estate, in the amount of $450,000 during the Application Period.

             “In general, a reasonable fee is based on all circumstances surrounding the receivership.”

    SEC v. W. L. Moody & Co., Bankers, 374 F. Supp. 465, 480 (S.D. Tex. 1974), aff’d, 519 F.2d 1087

    (5th Cir. 1975); (“[T]he court may consider all of the factors involved in a particular receivership



    8
      The law in this circuit for assessing the reasonableness of fees is set out in Norman v. Hous. Auth. of Montgomery,
    836 F.2d 1292. (11th Cir. 1988). According to Norman, the starting point in determining an objective estimate of the
    value of professional services is to calculate the “lodestar” amount, by multiplying a reasonable hourly rate by the
    number of hours reasonably expended. Id. at 1299 (citing Hensley v. Eckerhart, 461 U.S. 424, 433, 103 S.Ct. 1933,
    76 L.Ed.2d 40 (1983)).


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    in determining an appropriate fee.” Gaskill v. Gordon, 27 F.3d 248, 253 (7th Cir. 1994). “In

    determining the amount of their compensation, due consideration should be given to the amount

    realized, as well as the labor and skill needed or expended, and other circumstances having a

    bearing on the question of the value of the services.” Sec. & Exch. Comm’n v. Striker Petroleum,

    LLC (N.D. Tex., 2012) citing City of New Orleans v. Malone, 12 F.2d 17, 19 (5th Cir. 1926). Part

    of “determining the nature and extent of the services rendered,” however, includes an analysis as

    to the reasonableness of the services rendered, bearing in mind the nature of a receivership. As the

    Supreme Court has noted:

             The receiver is an officer of the court, and subject to its directions and orders . . . .
             [H]e is . . . permitted to obtain counsel for himself, and counsel fees are considered
             as within the just allowances that may be made by the court. . . . So far as the
             allowances to counsel are concerned, it is a mere question as to their
             reasonableness. The compensation is usually determined according to the
             circumstances of the particular case, and corresponds with the degree of
             responsibility and business ability required in the management of the affairs
             intrusted to him, and the perplexity and difficulty involved in that management.

    Stuart v. Boulware, 133 U.S. 78, 81-82 (1890).

             The Receiver continues to oversee the operations of the two ski resorts and related

    amenities. The Receiver has used his business judgment to develop plans to enhance the operations

    of the Receivership Entities prior to their sale in order to boost the value of the receivership assets

    and provide proof of job creation for the benefit of the investors. Due to the Covid 19 pandemic,

    the Receiver, based on the advice of his hotel consultants and management team, decided to close

    down the Jay Peak Resort and Burke Mountain Hotel in early March and to apply for a PPP loan.

    The Receiver also continues to obtain recoveries against third parties for the benefit of the investors

    and creditors.

             In addition to fees, the receiver is “also entitled to be reimbursed for the actual and

    necessary expenses” that the receiver “incurred in the performance of [its] duties.” Fed. Trade



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    Comm’n v. Direct Benefits Grp., LLC, No. 6:11-cv-1186-Orl-28TBS, 2013 WL 6408379, at *3

    (M.D. Fla. Dec. 6, 2013). The Receiver and his professionals support their claims for

    reimbursement of expenses with “sufficient information for the Court to determine that the

    expenses are actual and necessary costs of preserving the estate.” Sec. & Exch. Comm’n v.

    Kirkland, No. 6:06-cv-183-Orl-28KRS, 2007 WL 470417, at *2 (M.D. Fla. Feb. 13, 2007) (citing

    In re Se. Banking Corp., 314 B.R. 250, 271 (Bankr. S.D. Fla. 2004)).

             A receiver appointed by a court who reasonably and diligently discharges his duties is

    entitled to be fairly compensated for services rendered and expenses incurred. See SEC v. Byers,

    590 F.Supp.2d 637, 644 (S.D.N.Y. 2008); see also SEC v. Elliott, 953 F.2d 1560 (11th Cir. 1992)

    (“[I]f a receiver reasonably and diligently discharges his duties, he is entitled to compensation.”).

    As more fully described herein and supported by the time records, the Receiver and his

    professionals have reasonably and diligently discharged their duties, and provided a benefit to the

    receivership estate, the investors and creditors.

             WHEREFORE, the Receiver seeks entry of an Order granting this motion and awarding

    the Receiver and his professionals their interim fees, reimbursement of costs, which shall be paid

    from available cash to the extent such funds are in the receivership estate, and for such other relief

    that is just and proper.




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                                   LOCAL RULE CERTIFICATION

             Pursuant to Local Rule 7.3, the Receiver hereby certifies that he has conferred with counsel

    for the SEC, the plaintiff in this case, who has no objection to the Application. A hearing is

    requested only in the event that someone files an objection thereto.

                                   Respectfully submitted,

                                                   AKERMAN LLP
                                                   350 E. Las Olas Boulevard
                                                   Suite 1600
                                                   Ft. Lauderdale, Florida 33301
                                                   Telephone: (954) 46-2700
                                                   Facsimile: (954) 463-2224

                                                   By: /s/ Michael I. Goldberg
                                                       Michael I. Goldberg, Esq.
                                                       Florida Bar No.: 886602
                                                       Email: michael.goldberg@akerman.com
                                                      Court-Appointed Receiver




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                                     CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a true and correct copy of the foregoing was served on this 12th

    day of October, 2020 via the Court’s notice of electronic filing on all CM/ECF registered users

    entitled to notice in this case as indicated on the attached Service List.




                                                   By: /s/ Michael I. Goldberg
                                                      Michael I. Goldberg, Esq.




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                                             SERVICE LIST


    1:16-cv-21301-DPG Notice will be electronically mailed via CM/ECF to the following:

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     Resorts




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                                              Exhibit 1
                                           CERTIFICATION


             The undersigned, MICHAEL I. GOLDBERG (the “Applicant”), hereby certifies as

    follows, and says:

             1.    The Applicant is a partner in the law firm of Akerman LLP (“Akerman”) and the

    Receiver in this action. This Certification is based on the Applicant’s first-hand knowledge of and

    review of the books, records and documents prepared and maintained by Akerman in the ordinary

    course of its business. The Applicant knows that the facts contained in this motion regarding work

    performed by the Receiver and his staff and the facts contained in this Certification are true, and

    the Applicant is authorized by Akerman to make this Certification. Having reviewed the time

    records and data which support the motion, the Applicant further certifies that said motion is well

    grounded in fact and justified.

             2.    The billing records of Akerman which are attached to this Application are true and

    correct copies of the records maintained by Akerman. These records were made at or near the

    time the acts, events, conditions or opinions described in such records occurred or were made. The

    Applicant knows that the records were made by persons with knowledge of the transactions or

    occurrences described in such records or that the information contained in the records was

    transmitted by a person with knowledge of the transactions or occurrences described in the records.

    The records were kept in the ordinary course of the regularly conducted business activity of

    Akerman and it is the regular business practice of Akerman to prepare these records.

             3.    To the best of the Applicant’s knowledge, information and belief formed after

    reasonable inquiry, this motion and all fees and expenses herein are true and accurate and comply

    with the Billing Instructions for Receivers in Civil Actions Commenced by the SEC.




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             4.    All fees contained in this Application are based on the rates listed in the fee

    schedule attached hereto and such fees are reasonable, necessary and commensurate with the skill

    and experience required for the activity performed.

             5.    The Applicant has not included in the amount for which reimbursement is sought

    the amortization of the cost of any investment, equipment, or capital outlay (except to the extent

    that any such amortization is included within the permitted allowable amounts set forth herein for

    photocopies and facsimile transmission).

             6.    In seeking reimbursement for a service which Akerman justifiably purchased or

    contracted for from a third party, the Applicant requests reimbursement only for a service which

    the Applicant justifiably purchased or contracted for from a third party, the Applicant requests

    reimbursement only for the amount billed to the Applicant by the third-party vendor and paid by

    the Applicant to such vendor. If such services are performed by the Applicant, the Applicant will

    certify that he is not making a profit on such reimbursable service.



                                                  By: /s/ Michael I. Goldberg
                                                      Michael I. Goldberg, Esq.
                                                      Court Appointed Receiver




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                                          Exhibit 2(a)
                              Total Compensation and Expenses Requested

                                     9th Interim Fee Application
                                    March 1, 2020 - August 31, 2020

                 Name                 Specialty    Hours         Fees       Expenses        Total
     Receiver and Akerman LLP         Attorneys    659.90     $181,644.50   $9,005.24    $190,649.74
     Levine Kellogg Lehman
                                      Attorneys     887.40    $196,759.00   $81,937.99   $278,696.99
     Schneider + Grossman LLP
     Kapila Mukamal                  Accountants     299.8    $101,687.20    $2,157.95   $103,845.15
     Klasko Immigration Law
     Partners, LLP                    Attorneys     284.70    $107,238.50    $4,289.54   $111,528.04
     Downs Rachlin Martin, PLLC
                                      Attorneys     113.70     $43,566.00     $512.19     $44,078.19

     Total                                         2,245.50   $630,895.20   $97,902.91   $728,798.11




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                                          Exhibit 2(b)
                             Total Amounts Previously Requested, and
                       Total Compensation and Expenses Previously Awarded

                                 Summary of Prior Fee Applications




      Fee
  Application      Period        Approved       Hours          Fees         Expenses        Total
   1st [ECF      4/13/2016 -     12/13/2016
   No. 241]                    [ECF No. 248]    7,203.20   $1,883,900.95    $69,566.64   $1,953,467.59
                 10/31/2016
   2nd [ECF      11/1/2016 -     7/14/2017
   No. 357]                    [ECF No. 373]    4,782.60   $1,269,677.80    $82,973.40   $1,352,651.20
                  4/30/2017
   3rd [ECF      5/1/2017 -      10/26/2017
   No. 423]                    [ECF No. 424]    3,005.50    $791,246.90     $43,143.94    $834,380.68
                 8/31/2017
   4th [ECF      9/1/2017 -      4/16/2018
   No. 470]                    [ECF No. 471]    3,069.90    $839,251.00     $67,703.55    $906,954.55
                 1/31/2018
   5th [ECF      2/1/2018 -      10/16/2018
   No. 499]                    [ECF No. 500]    3,757.30   $1,052,025.50    $40,935.93   $1,132,945.94
                 8/31/2018
   6th [ECF      9/1/2018 -      6/20/2019
   No. 565]                    [ECF No. 568]    2,288.40    $640,717.50     $54,888.27    $695,605.77
                 2/28/2019
   7th [ECF      3/1/2019 -      10/25/2019
   No. 576]                    [ECF No. 577]     2737.00    $737,307.00     $58,912.86    $796,219.86
                 8/31/2019
   8th [ECF      9/1/2019 -      6/15/2020
   No. 592]                    [ECF No. 601]      749.50    $198,122.00     $21,784.05    $219,906.05
                 2/29/2020

 Total                                         27,593.40   $7,412,248.65   $439,908.64   $7,892,131.64




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                                              Exhibit 2(c)
                               Amounts Previously Requested, and
                       Total Compensation and Expenses Previously Awarded


                                       1st Interim Fee Application
                                     April 13, 2016 - October 31, 2016

               Name                Specialty      Hours        Fees         Expenses         Total
     Receiver and Akerman LLP     Attorneys      2,470.20    $822,453.25    $16,070.13     $838,523.38
     Levine Kellogg Lehman
     Schneider + Grossman LLP     Attorneys      1,907.00    $380,680.00    $25,447.53     $406,127.53

     Kapila Mukamal               Accountants    2,495.20    $584,759.20    $19,487.55     $604,246.75
     Gowling WLK                  Attorneys         61.30     $22,629.50     $1,957.11      $24,586.61
     Klasko Immigration Law
     Partners, LLP                Attorneys        139.50      $47,379.00    $2,304.92      $49,683.92

     The McManus Group            Security         130.00      $26,000.00    $4,299.40    $30,299.40
     Total                                       7,203.20   $1,883,900.95   $69,566.64 $1,953,467.59


                                      2nd Interim Fee Application
                                    November 1, 2016 - April 30, 2017

               Name                Specialty      Hours        Fees         Expenses         Total
     Receiver and Akerman LLP     Attorneys      1,714.20    $539,212.50    $46,194.55     $585,407.05
     Levine Kellogg Lehman
     Schneider + Grossman LLP     Attorneys      1,730.10    $361,908.50    $24,068.18     $385,976.68

     Kapila Mukamal*              Accountants    1,093.90    $284,361.10     $9,499.29     $293,860.39
     Gowling WLK                  Attorneys          5.20      $2,741.20         $1.20       $2,742.40
     Klasko Immigration Law
     Partners, LLP                Attorneys        233.20      $80,254.50    $3,210.18      $83,464.68

     Strouse & Bond PLLC          Attorneys          6.00       $1,200.00        $0.00     $1,200.00
     Total                                       4,782.60   $1,269,677.80   $82,973.40 $1,352,651.20

     * The amount of expenses includes the sum of $1,023.06 which was incurred in September and October
     2016 but was inadvertently left out of the First Interim Fee Application.




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                                        3rd Interim Fee Application
                                       May 1, 2017 - August 31, 2017

                 Name                   Specialty      Hours             Fees      Expenses          Total
     Receiver and Akerman LLP          Attorneys      1,654.30        $461,301.50 $21,573.38      $482,874.88
     Levine Kellogg Lehman
                                       Attorneys           477.40     $106,674.50 $17,757.46      $124,421.80
     Schneider + Grossman LLP*
     Kapila Mukamal                    Accountants         832.10 $207,897.40         $3,207.76   $211,105.16
     Klasko Immigration Law
     Partners, LLP                     Attorneys            40.50      $15,133.50      $605.34      $15,738.84

     Strouse & Bond PLLC               Attorneys          1.20           $240.00       $0.00         $240.00
     Total                                            3,005.50        $791,246.90 $43,143.94      $834,380.68

     * Includes a reduction of $10.16 for prepaid funds.

                                          4th Interim Fee Application
                                     September 1, 2017 - January 31, 2018

                 Name                 Specialty        Hours               Fees        Expenses         Total
      Receiver and Akerman LLP       Attorneys         1,378.00         $420,126.50    $29,716.94    $449,843.44
      Levine Kellogg Lehman
      Schneider + Grossman LLP       Attorneys             1,177.30     $252,603.50    $35,210.61    $287,814.11

      Kapila Mukamal                 Accountants            452.10      $143,755.50     $1,879.80    $145,635.30
      Klasko Immigration Law
      Partners, LLP                  Attorneys               60.70       $22,405.50       $896.20     $23,301.70

      Strouse & Bond PLLC            Attorneys                 1.80        $360.00          $0.00       $360.00
      Total                                                3,069.90     $839,251.00    $67,703.55    $906,954.55



                                        5th Interim Fee Application
                                     February 1, 2018 - August 31, 2018

                 Name                 Specialty       Hours             Fees       Expenses           Total
     Receiver and Akerman LLP        Attorneys       1,977.40         $591,125.00 $39,584.51        $630,709.51
     Levine Kellogg Lehman
                                     Attorneys        966.30          $206,625.00 $35,390.27        $242,015.27
     Schneider + Grossman LLP
     Kapila Mukamal                  Accountants      706.60          $217,441.50     $4,056.30     $221,497.80
     Klasko Immigration Law
     Partners, LLP                   Attorneys        107.00           $37,234.00     $1,489.36      $38,723.36

     Total                                           3,757.30 $1,052,425.50 $40,935.93 $1,132,945.94
     * Includes an additional $400 omitted from payment in the 4th Interim Fee Application due to a
     typographical error.




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                                       6th Interim Fee Application
                                  September 1, 2018 - February 28, 2019

                 Name                 Specialty     Hours        Fees       Expenses        Total
     Receiver and Akerman LLP        Attorneys     1099.00    $352,643.00   $40,763.95    $393,406.95
     Levine Kellogg Lehman           Attorneys
     Schneider + Grossman LLP                       747.30    $143,391.00   $11,474.57    $154,865.57

     Kapila Mukamal                  Accountants    392.30    $124,853.50    $1,856.55    $126,710.05
     Klasko Immigration Law          Attorneys
     Partners, LLP                                   49.80     $19,830.00     $793.20      $20,623.20

     Total                                         2288.40    $640,717.50   $54,888.27    $695,605.77



                                     7th Interim Fee Application
                                    March 1, 2019 - August 31, 2019

                  Name                 Specialty    Hours        Fees      Expenses         Total
      Receiver and Akerman LLP         Attorneys   1099.50    $345,522.50 $42,081.05     $387,603.55
      Levine Kellogg Lehman
                                       Attorneys   1008.40    $209,418.00 $12,272.67     $221,690.67
      Schneider + Grossman LLP
      Kapila Mukamal                 Accountants     461.7    $149,414.00   $3,456.43    $152,870.43
      Klasko Immigration Law
      Partners, LLP                    Attorneys     83.70     $26,664.50   $1,066.58     $27,731.08
      Downs Rachlin Martin PLLC
                                       Attorneys     83.70      $6,288.00     $36.13       $6,324.13

      Total                                        2737.00    $737,307.00 $58,912.86     $796,219.86

                                       8th Interim Fee Application
                                  September 1, 2019 - February 29, 2020

                 Name                 Specialty     Hours        Fees        Expenses        Total
     Receiver and Akerman LLP         Attorneys     749.50    $198,122.00   $21,784.05    $219,906.05
     Levine Kellogg Lehman
                                      Attorneys    1,246.80   $260,760.00   $60,629.51    $321,389.51
     Schneider + Grossman LLP
     Kapila Mukamal                  Accountants     310.8    $106,367.90    $1,295.39    $107,663.29
     Klasko Immigration Law
     Partners, LLP                    Attorneys      96.70     $51,439.00    $2,057.56     $53,496.56
     Downs Rachlin Martin, PLLC
                                      Attorneys      16.30      $5,419.00        $0.00      $5,419.00

                 Total                             2,420.10   $622,107.90   $85,766.51    $707,874.41




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                                       Exhibit 3
                 Fee Schedule: Names and Hourly Rates of Professionals And
                     Paraprofessionals & Total Amount Billed For Each
                             Professional and Paraprofessional




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                                              Exhibit 3(a)
                                     Receiver and Akerman LLP

       Name           Practice      Title        Year   Standard   Reduced    Total    Billable
                       Area                    Licensed   Rate      Rate      Hours    Amount

  Connolly, Kelly   Litigation    Paralegal      n/a     $315.00    $175.00     3.90      $682.50
  Cotler, Cheryl    Real Estate   Paralegal      n/a     $315.00    $175.00    12.30     $2,152.50
  Goldberg,         Fraud &       Partner       1990     $750.00    $395.00   197.50    $78,012.50
  Michael           Recovery
  Gottlieb, Marc    Litigation    Partner       1989     $550.00    $395.00     4.70     $1,856.50
  Levit, Joan       Fraud &       Of            1993     $630.00    $395.00    78.90    $31,165.50
                    Recovery      Counsel
  Mclaughlin,       Fraud &       Document       n/a      $80.00     $75.00    77.80     $5,835.00
  Amanda            Recovery      Support
  Marsh, Lakeisha   Government    Partner       2005     $650.00    $395.00     2.90     $1,145.50
                    Affairs
  Rebak, Joseph     Litigation    Partner       1980     $775.00    $395.00     3.60     $1,422.00
  Robbins, Jon      Litigation    Partner       1993                $395.00     0.50      $197.50
  Smiley,           Fraud &       Paralegal      n/a     $295.00    $175.00   229.80    $40,215.00
  Kimberly          Recovery
  Surgeon, Naim     Litigation    Associate     2009     $595.00    $395.00    32.20    $12,719.00
  Wamsley,          Real Estate   Partner       2004     $615.00    $395.00    15.80     $6,241.00
  Andrew

  Blended Rate                                                      $275.26
  Total                                                                       659.90   $181,644.50




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                                        Exhibit 3(b)
                       Levine Kellogg Lehman Schneider + Grossman LLP

                                                 Year   Standard Reduced              Amount
       Name        Practice Area      Title                                  Hours
                                               licensed    Rate    Rate                Billed
 Tal Aburos       Commercial       Associate     2018     $345.00 $200.00     61.20   $12,240.00
                  Litigation
 Ana Maria        Receivership     Paralegal     n/a     $255.00   $125.00   186.80   $23,350.00
 Salazar          Support

 Jeffrey C.       Receiver &       Partner      1992     $695.00   $260.00   373.40   $97,084.00
 Schneider        Commercial
                  Litigation
 Jezabel Lima     Commercial       Partner      2001     $555.00   $250.00   113.60   $28,400.00
                  Litigation
 Stephanie Reed   Commercial       Partner      1998     $620.00   $250.00    91.20   $22,800.00
 Traband          Litigation
 Victoria J.      Commercial       Associate    2011     $450.00   $200.00     4.10     $820.00
 Wilson           Litigation
 Alexander G.     Commercial       Associate    2014     $425.00   $200.00    44.20    $8,840.00
 Strassman        Litigation
 Jason Kellogg    Commercial       Partner      2002     $555.00   $250.00    12.90    $3,225.00
                  Litigation


 Blended Rate                                                      $221.73
 Total                                                                       887.40 $196,759.00




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                                        Exhibit 3(c)
                                        Kapila Mukamal

           Name            Title        Year      Hours    Standard    Discount    Total Billed
                                      Licensed/             Billing      Rate
                                     Experience              Rate
     Soneet Kapila,    Partner          1983        3.00     $550.00     $395.00     $1,185.00
     CPA, CFF,
     CIRA, CFE
     Lesley Johnson,   Partner/Tax      1984       76.90     $430.00     $395.00    $30,375.50
     CPA, CIRA
     Melissa Davis,    Partner          2002       61.70     $420.00     $395.00    $24,371.50
     CPA, CIRA,
     CFE
     Kevin McCoy,      Partner          2012        1.60     $395.00     $395.00       $632.00
     CPA, CFF,
     CIRA
     Kathy Foster      Tax            31 years     57.20     $330.00     $330.00    $18,876.00
                       Consultant
     Frank Diaz-       Consultant      6 years     70.70     $296.00     $296.00    $20,927.20
     Drago
     Catherine         Forensic       43 years      0.90     $280.00     $280.00       $252.00
     Murchson          Analyst
     Willie Velarde    Forensic         2010        5.70     $230.00     $230.00     $1,311.00
                       Analyst
     Ky Johnson        Forensic        6 years     22.10     $170.00     $170.00     $3,757.00
                       Analyst


     Blended Rate                                                        $339.18
     Total                                        299.80                           $101,687.20




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                                         Exhibit 3(d)
                              Klasko Immigration Law Partners, LLP


         Name      Practice        Year       Title     Standard Blended     Time       Billed
                    Area         Licensed                 Rate    Rate       Billed    Amount

     H. Ronald
     Klasko       Immigration     1974       Partner    $ 995.00   $495.00    34.90    $17,275.50
     Daniel B.
                  Immigration     2006       Partner    $ 655.00   $495.00    11.30     $5,593.50
     Lundy
     Jessica A.
     DeNisi       Immigration     2008      Associate   $ 505.00   $350.00   238.50    $83,475.00
     Jordan J.
     Gonzalez     Immigration     2017      Associate   $ 320.00   $350.00     1.00      $350.00
     Iona Pal     Immigration      n/a      Paralegal   $ 240.00   $165.00     3.30      $544.50
     Total                                                                   284.70   $107,238.50




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                                               Exhibit 3(e)
                                     Downs Rachlin Martin PLLC

                                                                                  Total     Total
   Name of           Practice                       Year     Standard Reduced
                                      Title                                       Hours    Amount
  Professional        Area                        Licensed     Rate    Rate
                                                                                  Billed    Billed
 Alison F.
                  Administration   Librarian           N/A    $180.00   $120.00     0.70      $84.00
 Alifano
                  Bankruptcy;
 Andre Bouffard                    Director           1986    $425.00   $375.00     0.70     $112.50
                  Litigation
 Kimberly M.
 Butler           Business Law     Director           1994    $400.00   $375.00     0.20      $75.00
 Kimberly L.                       Senior
 Gilding          Business Law     Paralegal           N/A    $230.00   $215.00     5.10    $1,096.50
 Wm. Roger        Business; Tax
 Prescott         Law              Director           1993    $475.00   $415.00   103.60   $41,873.50
 Elizabeth K.     Employment
 Rattigan         Law              Director           1996    $405.00   $355.00     0.40     $142.00
 Christopher D.
 Roy              Litigation       Director           1989    $410.00   $365.00     0.50     $182.50
 James G.
 Wheeler          Business Law     Director           1974    $475.00   $415.00     2.50       $0.00

 Blended Rate                                                           $383.17
 Totals:                                                                          113.70   $43,566.00




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                                      Exhibit 4
                   Applicants’ Complete Time by Activity Code Category
                    For The Time Period Covered By This Application,
                              Sorted In Chronological Order




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                                  Exhibit 4(a)
                              Receiver and Akerman LLP




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                                                                                                         Akerman LLP
                                                                                                 Post Office Box 4906
                                                                                                      Orlando, FL 32802
                                                                                                       Tel: 407.254.2305
                                                                                                      Fax: 407.254.3408

                                                                           Invoice Date       September 09, 2020
                                                                           Invoice No.                  9602446




    MICHAEL I. GOLDBERG - RECEIVER
    C/O ASE, FORT LAUDERDALE
    LAS OLAS CENTRE II, SUITE 1600
    350 EAST LAS OLAS BOULEVARD
    FORT LAUDERDALE, FL 33301

    Client Name:   GOLDBERG, MICHAEL I., AS RECEIVER
    Matter Name:   JAY PEAK, INC.
    Matter Number: 0312632



    For professional services rendered through August 31, 2020 as summarized below:

             Services                                              $181,644.50

             Disbursements                                              $9,005.24
                        TOTAL THIS INVOICE                         $190,649.74



                        PREVIOUS BALANCE                                                     21,408.76
                        (Includes payments received through 09/09/20)
                        TOTAL AMOUNT DUE                                                  $212,058.50




                  To ensure proper credit to the above account, please indicate invoice no. 9602446
                                Return remittance sheet with payment in US funds.
                                                Wired funds accepted:
                                          Akerman LLP Operating Account
                                           c/o SunTrust Bank, Atlanta, GA
                                              ABA Number: 061000104
                                        Account Number: 0215-252207533
                               Swift code SNTRUS3A (For International Wires Only)
                                                 IRS EIN XX-XXXXXXX
   akerman.com
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Akerman LLP                                                                                       Page 2

021049       GOLDBERG, MICHAEL I., AS RECEIVER                         As of              August 31, 2020
0312632      JAY PEAK, INC.                                            Invoice Number            9602446



Task Code:      502 ASSET DISPOSITION
6-Mar-20        Prepared for and attended conference with Houlihan     MIG              0.30      118.50
                team re sales status.
10-Mar-20       Corresponded with Stenger re ANC Bio property.         MIG              0.20       79.00
10-Mar-20       Contact People's United Bank regarding abandoned       KAS              0.20       35.00
                property.
12-Mar-20       Review email exchange regarding AnC Bio building       KAS              0.20       35.00
                appraisal; Correspond with A. Mcclennen re: same.
12-Mar-20       Corresponded with Stenger and Smiley re ANC Bio        MIG              0.20       79.00
                appraisal.
13-Mar-20       Confer with investment banker.                         NSS              0.50      197.50
14-Mar-20       Corresponded re hangar.                                MIG              0.20       79.00
16-Mar-20       Respond to email from M. Goldberg and forward          CRC              0.10       17.50
                appraisal for Bogner.
20-Mar-20       Prepared for and attended weekly sales call.           MIG              0.40      158.00
20-Mar-20       Confer with investment banker regarding sale.          NSS              0.50      197.50
23-Mar-20       Correspond with Receiver regarding appraisal of        KAS              0.40       70.00
                AnC Bio property and follow up with appraiser
                regarding retention for services.
23-Mar-20       Corresponded with Smiley re appraisal.                 MIG              0.10       39.50
24-Mar-20       Correspond with appraiser of Vermont property          KAS              0.20       35.00
                regarding retention.
25-Mar-20       Corresponded with appraiser re Bogner.                 MIG              0.20       79.00
26-Mar-20       Corresponded with potential purchaser and Houlihan.    MIG              0.20       79.00
30-Mar-20       Reviewed and executed extension for listing.           MIG              0.10       39.50
30-Mar-20       Respond to email from broker regarding expiration of   CRC              0.30       52.50
                listing agreement; forward email to M. Goldberg on
                matter.
31-Mar-20       Follow up with M. Goldberg on extension to listing     CRC              0.30       52.50
                agreement; receive signed listing agreement and
                forward to broker.
31-Mar-20       Review of final appraisal report pertaining to 172     KAS              0.40       70.00
                Bogner and correspond with Receiver regarding
                same; Process invoice for payment.
1-Apr-20        Reviewed and executed Phase 2 tax return and           MIG              0.50      197.50
                authorization.
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Akerman LLP                                                                                        Page 3

021049      GOLDBERG, MICHAEL I., AS RECEIVER                           As of              August 31, 2020
0312632     JAY PEAK, INC.                                              Invoice Number            9602446


3-Apr-20       Corresponded with Stenger re appraisal.                  MIG              0.20       79.00
3-Apr-20       Corresponded with Gavin re hangar.                       MIG              0.10       39.50
6-Apr-20       Corresponded with broker re Bogner property.             MIG              0.20       79.00
6-Apr-20       Corresponded re Hangar.                                  MIG              0.20       79.00
10-Apr-20      Prepares for and attended weekly real estate sales       MIG              0.30      118.50
               call.
13-Apr-20      Corresponded with McClure re appraisal.                  MIG              0.20       79.00
13-Apr-20      Follow up with Receiver regarding property tax           KAS              0.50       87.50
               payments for Bogner and Newport properties and
               research whether projects are subject to turnover
               under Quiros Judgment.
15-Apr-20      Confer with C. Cotler regarding Newport property         KAS              0.20       35.00
               value estimate.
15-Apr-20      Corresponded with Cotler re valuations.                  MIG              0.30      118.50
15-Apr-20      Gather information in order to respond to M.             CRC              0.50       87.50
               Goldberg's emails on Bogner and Main Street block.
16-Apr-20      Reviewed Bogner appraisal.                               MIG              0.20       79.00
21-Apr-20      Reviewed and executed Bogner price adjustment            MIG              0.20       79.00
               addendum and corresponded with Maclure.
21-Apr-20      Follow up regarding efforts to sell resort and prepare   JML              1.40      553.00
               summary report.
24-Apr-20      Conference with Surgeon re status of sale.               MIG              0.20       79.00
28-Apr-20      Corresponded with Endicott re appraisal.                 MIG              0.10       39.50
29-Apr-20      Composed email to McLaughlin re: Bogner building         KAS              0.10       17.50
               insurance.
29-Apr-20      Follow up with M. Goldberg on renewal of insurance       CRC              0.40       70.00
               for Bogner; respond to email from A. McLaughlin
               regarding payment of invoices for Darling Hill Road.
30-Apr-20      Follow up with M. Goldberg on Bogner insurance.          CRC              0.20       35.00
1-May-20       Forward signed Bogner insurance application to           CRC              0.20       35.00
               insurance agent.
4-May-20       Respond to Kathy Foster email regarding property         CRC              0.40       70.00
               sales in first quarter of 2020.
5-May-20       Prepare email to G. Endicott detailing business issues   AJW              0.30      118.50
               to confirm (Burke Mountain / Verizon lease).
6-May-20       Reviewed and approved Bogner insurance.                  MIG              0.10       39.50
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Akerman LLP                                                                                     Page 4

021049      GOLDBERG, MICHAEL I., AS RECEIVER                        As of              August 31, 2020
0312632     JAY PEAK, INC.                                           Invoice Number            9602446


6-May-20       Work on payment of 172 Bogner commercial liability    KAS              0.50       87.50
               insurance renewal.
6-May-20       Review Bogner insurance bill and forward for          CRC              0.20       35.00
               payment.
7-May-20       Corresponded with Mack re Kingdom Trails              MIG              0.30      118.50
               indemnification issue.
7-May-20       Corresponded with attorney re Bogner appraisal.       MIG              0.20       79.00
8-May-20       Corresponded with Broker re Bogner property.          MIG              0.20       79.00
8-May-20       Conference with Prescott and Stenger re Bogner        MIG              0.30      118.50
               appraisal.
12-May-20      Corresponded with broker re Bogner offer.             MIG              0.20       79.00
21-May-20      Reviewed correspondence re Bogner property.           MIG              0.10       39.50
21-May-20      Researched case law on indemnification in Vermont.    MIG              2.10      829.50
22-May-20      Prepared for and attended Houlihan call.              MIG              0.40      158.00
1-Jun-20       Review airport hangar lease.                          CRC              0.30       52.50
3-Jun-20       Confer with A. Wamsley on airplane hangar and         CRC              0.30       52.50
               ownership interest in land and property.
4-Jun-20       Draft and forward email to           , proposed       CRC              0.30       52.50
               purchaser of airplane hangar.
4-Jun-20       Emails regarding sale of airplane hangar (Burke       AJW              0.30      118.50
               mountain).
5-Jun-20       Reviewed hangar lease issue.                          MIG              0.10       39.50
5-Jun-20       Conference with Houlihan re sales status.             MIG              0.30      118.50
5-Jun-20       Review correspondence and attachments regarding       JML              0.30      118.50
               Burke property matters.
5-Jun-20       Confer with K. Mack regarding Burke property          JML              0.60      237.00
               matters.
5-Jun-20       Prepare multiple follow up correspondence to real     JML              0.30      118.50
               estate paralegal to follow up with Burke property
               matters.
5-Jun-20       Confer with            , proposed purchaser of        CRC              0.30       52.50
               airplane hangar; forward copy of lease.
8-Jun-20       Confer with Joan Levit on three upcoming Burke        CRC              0.50       87.50
               Mountain matters; review email; prepare and forward
               email to attorney Marc Wiener regarding Vermont
               transfer taxes.
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Akerman LLP                                                                                       Page 5

021049      GOLDBERG, MICHAEL I., AS RECEIVER                          As of              August 31, 2020
0312632     JAY PEAK, INC.                                             Invoice Number            9602446


8-Jun-20       Confer with paralegal regarding sale of small parcels   JML              0.40      158.00
               of land adjacent to Burke Resort.
8-Jun-20       Prepared for and attended weekly sale status            MIG              0.40      158.00
               conference.
9-Jun-20       Review motion for sale; review file; revise motion      AJW              1.10      434.50
               and transmit comments (Burke antennae lease).
9-Jun-20       Review correspondence and follow up conference          JML              0.40      158.00
               with real estate paralegal.
10-Jun-20      Research statute and case law                           JML              2.70    1,066.50

                       .
10-Jun-20      Prepare report on                                       JML              1.40      553.00
               and respond to multiple correspondence regarding
               findings.
10-Jun-20      Confer with C. Cotler regarding Town of Coventry        KAS              0.70      122.50
               property taxes for airport hangar; Research status of
               property tax payments and correspond re: same.
10-Jun-20      Confer with                 , proposed purchaser of     CRC              0.40       70.00
               airplane hangar; contact Coventry Town Clerk and
               request copy of tax bill for airplane hangar and
               forward to         ; confer with Kim Smiley on
               matter; email          email to Michael Goldberg and
               Andrew Wamsley.
11-Jun-20      Follow up regarding transfer of land from Burke to      JML              0.40      158.00
               Hamilton
11-Jun-20      Review file, including proposed boundary line           AJW              1.20      474.00
               agreement; teleconference with attorney S. Adler
               regarding boundary line dispute; emails with M.
               Goldberg with updates (Burke Mountain).
11-Jun-20      Conference with potential purchaser of hotel.           MIG              0.20       79.00
11-Jun-20      Corresponded re Burke easement.                         MIG              0.20       79.00
12-Jun-20      Corresponded with broker we hangar.                     MIG              0.20       79.00
12-Jun-20      Multiple conferences and follow up regarding            JML              2.20      869.00
               Request for Indemnification for trails that wind
               through private property
12-Jun-20      Review status of property tax payments and update       KAS              0.70      122.50
               chart.
12-Jun-20      Receive and review airplane hangar offer and            CRC              0.20       35.00
               forward to A. Wamsley and M. Goldberg.
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19-Jun-20      Confer with investment banker regarding potential        NSS              0.30      118.50
               sale.
19-Jun-20      Prepared for and attended weekly sales call.             MIG              0.40      158.00
23-Jun-20      Draft contract for sale of airplane hangar and forward   CRC              1.70      297.50
               draft to A. Wamsley; confer with prospective
               purchaser of hangar.
24-Jun-20      Confer with K. Mack regarding status of sale of          JML              0.40      158.00
               portion of Burke 2000 to adjacent landowner.
24-Jun-20      Follow up regarding Burke property issues.               JML              0.90      355.50
26-Jun-20      Review and revise draft purchase agreement (sale of      AJW              0.80      316.00
               hangar).
26-Jun-20      Confer with A. Wamsley on purchase agreement for         CRC              0.30       52.50
               hangar; draft email and forward purchase agreement
               to buyer.
2-Jul-20       Corresponded with Endicott and Prescott re appraisal.    MIG              0.20       79.00
3-Jul-20       Prepared for and attended weekly real estate call.       MIG              0.30      118.50
3-Jul-20       Respond to correspondence from K. Mack re: Burke         JML              0.30      118.50
               parcel.
6-Jul-20       Multiple correspondence regarding sale of Burke          JML              0.30      118.50
               parcel.
6-Jul-20       Review emails from K. Mack and J. Levit regarding        CRC              0.30       52.50
               sale of property and confer with A. Wamsley; follow
               up with J. Levit on status of Verizon - Burke motion
               and order.
7-Jul-20       Correspond with J. DeNisi and D. McNeil regarding        KAS              0.10       17.50
               AnC Bio.
9-Jul-20       Confer with proposed purchaser of airplane hangar        CRC              0.30       52.50
               regarding transaction.
13-Jul-20      Follow up with J. Levit on status of Verizon order;      CRC              0.30       52.50
               follow up with A. Wamsley on airplane hangar sale.
13-Jul-20      Reviewed and executed Bogner price adjustment to         MIG              0.20       79.00
               listing agreement
13-Jul-20      Corresponded with              re hangar.                MIG              0.10       39.50
15-Jul-20      Teleconference with B. Davies, attorney for              AJW              0.70      276.50
               purchaser; email copy of lease agreement (Sale of
               Hangar).
15-Jul-20      Review emails in connection with offers to purchase      AJW              0.70      276.50
               property (sale to              ).
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16-Jul-20      Corresponded re Bogner fees.                            MIG              0.20       79.00
16-Jul-20      Confer with C. Cotler regarding Airport Hanger          KAS              0.20       35.00
               lease.
16-Jul-20      Respond to email from B. Davies, attorney for           CRC              0.30       52.50
               purchaser of hangar and forward requested
               documents; prepare and forward email to K. Mack
               and request that he obtain offer from prospective
               purchaser.
17-Jul-20      Corresponded re hangar sale.                            MIG              0.20       79.00
20-Jul-20      Review correspondence from Vermont Agency of            KAS              0.60      105.00
               Transportation regarding Airport Hangar Lease;
               Research payment history and advise C. Cotler
               regarding same.
20-Jul-20      Respond to email from M. Goldberg; research rent        CRC              0.30       52.50
               payment for hangar.
23-Jul-20      Respond to email from M. Goldberg regarding             CRC              0.30       52.50
               hangar; contact Vermont Department of
               Transportation regarding invoice.
23-Jul-20      Review update from C. Cotler regarding Airport          KAS              0.10       17.50
               Hangar lease status.
24-Jul-20      Corresponded with Vermont auditor re property           MIG              0.20       79.00
               sales.
27-Jul-20      Emails with purchaser's counsel and M. Goldberg         AJW              0.50      197.50
               regarding legal representation in connection with
               hangar purchase (Airport Hangar).
27-Jul-20      Follow up with purchaser's attorney regarding sale of   CRC              0.30       52.50
               hangar; respond to telephone call from purchaser and
               confer with A. Wamsley on matter.
28-Jul-20      Review letter from A. Kupetz; emails with               AJW              0.60      237.00
               purchaser's attorney regarding purchase offer on
               vacant land (Burke Mountain).
28-Jul-20      Correspond with Receiver regarding past due notices     KAS              0.80      140.00
               for property tax payments on Bogner and Main Street
               Propertys in Newport, Vermont; Preparation of check
               requests pertaining to payment of same on expedited
               basis.
28-Jul-20      Review correspondence and follow up research            JML              3.40    1,343.00
               regarding Burke properties.
29-Jul-20      Corresponded re hangar.                                 MIG              0.10       39.50
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29-Jul-20      Sale of airplane hangar - email with M. Goldberg;     CRC              0.20       35.00
               leave phone message for M. Weiner.
30-Jul-20      Confer with attorney Marc Weiner on airplane hangar   CRC              0.40       70.00
               transaction and forward copies of documents.
31-Jul-20      Emails with property owner's attorney and A. Kupetz   AJW              0.30      118.50
               regarding offer on vacant land (Burke Mountain).
31-Jul-20      Prepared for and attended weekly call.                MIG              0.30      118.50
3-Aug-20       Multiple conferences regarding sale of Miller         JML              0.80      316.00
               property.
3-Aug-20       Review and respond to attorney Marc Weiner's          CRC              0.40       70.00
               emails regarding sale of airplane hangar; review
               Kevin Mack email on sale to          and email M.
               Goldberg on matter.
4-Aug-20       Review email from M. Goldberg and respond             CRC              0.20       35.00
               regarding offer from    ; review email from A.
               Wamsley regarding Hamilton offer.
4-Aug-20       Follow up correspondence regarding sale of Burke      JML              0.40      158.00
               parcel.
4-Aug-20       Corresponded re offer in Burke parcel.                MIG              0.20       79.00
4-Aug-20       Corresponded re property sale.                        MIG              0.30      118.50
5-Aug-20       Respond to email from attorney M. Wiener regarding    CRC              0.20       35.00
               sale of airplane hangar.
10-Aug-20      Teleconference with S. Adler regarding status of      AJW              0.40      158.00
               transaction and proposed transfer documents
               (               ).
11-Aug-20      Follow up correspondence regarding sale of Burke      JML              0.40      158.00
               parcel.
11-Aug-20      Follow up with M. Goldberg on outstanding real        CRC              0.10       17.50
               estate matters.
12-Aug-20      Forward follow up email to M. Goldberg regarding      CRC              0.10       17.50
                     offer.
12-Aug-20      Follow up correspondence regarding sale of Burke      JML              0.40      158.00
               Parcel.
14-Aug-20      Prepared for and attended weekly sales call.          MIG              0.40      158.00
14-Aug-20      Follow up with attorney Weiner on airplane hangar     CRC              0.30       52.50
               transaction; follow up with M. Goldberg on sale of
               two parcels.
17-Aug-20      Corresponded with Newport town manager re fence.      MIG              0.20       79.00
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17-Aug-20       Corresponded with Stenger re ANC building.              MIG               0.10       39.50
24-Aug-20       Corresponded with Stenger re Bogner property.           MIG               0.20       79.00
24-Aug-20       Confer with A. Wamsley on outstanding matters;          CRC               0.30       52.50
                email attorney Wiener for status update on hangar
                transaction.
25-Aug-20       Follow up with M. Goldberg on sale to         ; email   CRC               0.30       52.50
                Kevin Mack requesting map of property .
25-Aug-20       Corresponded with Cotler and Stenger re sale of         MIG               0.20       79.00
                Burke parcel.
25-Aug-20       Review City of Newport Utility Inovice and setup for    KAS               0.20       35.00
                payment of same.
26-Aug-20       Corresponded with Stenger re Burke property.            MIG               0.20       79.00
28-Aug-20       Corresponded with Wright re Stenger unit.               MIG               0.20       79.00
28-Aug-20       Research status of 236 South Village Rd; Confer with    KAS               0.70      122.50
                C. Cotler regarding same.
28-Aug-20       Research unit V132; confer with K. Smiley on            CRC               0.40       70.00
                matter; advise M. Goldberg that V132 went to the
                state; confer with broker Brooke Wright regarding
                listing unit 320.
31-Aug-20       Prepared for and attended weekly real estate call.      MIG               0.40      158.00
                        Subtotal for Code 502 ASSET DISPOSITION                          58.80   19,112.00

Task Code:      503 BUSINESS OPERATIONS
6-Mar-20        Conference with Wright re Corona issues.                MIG               0.10       39.50
10-Mar-20       Corresponded with Wright re operational issues.         MIG               0.10       39.50
12-Mar-20       Corresponded with Wright and Tatge re                   MIG               0.20       79.00
                cancellations.
12-Mar-20       Follow up with D. McNeil regarding business             KAS               0.30       52.50
                matters.
13-Mar-20       Reviewed release re closing.                            MIG               0.20       79.00
13-Mar-20       Conference with Endicott re closing.                    MIG               0.20       79.00
13-Mar-20       Corresponded with Wright re closing and reviewed        MIG               0.20       79.00
                legal memo.
13-Mar-20       Corresponded with Graham re Burke closure.              MIG               0.20       79.00
13-Mar-20       Conference with Endicott re Hartland and operations.    MIG               0.20       79.00
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15-Mar-20      Corresponded with Wright, Endicott and Tatge re       MIG              0.50      197.50
               closure issues.
17-Mar-20      Corresponded with Wright, Endicott and Tatge re       MIG              0.20       79.00
               closure issues.
18-Mar-20      Corresponded with management re closure.              MIG              0.20       79.00
19-Mar-20      Conference with       Graham re Burke closing and     MIG              0.40      158.00
               job status.
20-Mar-20      Reviewed revised shutdown budget and conference       MIG              0.40      158.00
               with Tatge re same.
20-Mar-20      Conference with Endicott re closing budget.           MIG              0.20       79.00
23-Mar-20      Corresponded with management re budget.               MIG              0.30      118.50
24-Mar-20      Corresponded with management re conference on         MIG              0.20       79.00
               strategy.
25-Mar-20      Corresponded with management re closure.              MIG              0.20       79.00
27-Mar-20      Prepared for and attended emergency budget and        MIG              0.60      237.00
               cash flow analysis call with Endicott Tatge and
               Wright.
27-Mar-20      Corresponded with bank and Endicott re line of        MIG              0.20       79.00
               credit.
27-Mar-20      Corresponded with Endicott re emergency relief        MIG              0.20       79.00
               funds.
30-Mar-20      Review revisions to lease agreement; emails with G.   AJW              0.60      237.00
               Endicott and M. Goldberg; email with Verizon
               attorney (Burke Mountain / Verizon lease).
30-Mar-20      Corresponded with banker re line of credit.           MIG              0.20       79.00
30-Mar-20      Corresponded with Wamsley re Verizon lease.           MIG              0.20       79.00
30-Mar-20      Corresponded with Wright, Endicott and Tatge re       MIG              0.30      118.50
               CARES.
31-Mar-20      Conference with bank re line of credit.               MIG              0.20       79.00
31-Mar-20      Corresponded with management team re CARES            MIG              0.40      158.00
               application and reviewed materials.
2-Apr-20       Corresponded with Endicott re Cares Act.              MIG              0.20       79.00
2-Apr-20       Reviewed Heartland correspondence.                    MIG              0.10       39.50
2-Apr-20       Review SBA regulations re: PPP in preparation for     LCM              1.10      434.50
               call with client. Call w/client to discuss PPP
               eligibility.
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3-Apr-20       Call with Gary to discuss questions concerning          LCM              0.60      237.00
               payments to independent contractors.
3-Apr-20       Conference with Endicott re government assistance.      MIG              0.30      118.50
3-Apr-20       Conference with Endicott re SBA loan and court          MIG              0.20       79.00
               approval.
4-Apr-20       Correspondence with client regarding Interim Rules      LCM              0.20       79.00
               for PPP.
6-Apr-20       Call w/client to discuss independent contractor issue   LCM              0.30      118.50
               and other questions regarding application of PPP.
6-Apr-20       Corresponded re closure with Endicott.                  MIG              0.20       79.00
6-Apr-20       Reviews and executed SBA loan application.              MIG              0.40      158.00
6-Apr-20       Corresponded with Endicott re PPP.                      MIG              0.20       79.00
8-Apr-20       Correspond with D. McNeil and G. Endicott               KAS              0.30       52.50
               regarding financial and resort reporting matters.
9-Apr-20       Corresponded with Stenger re unemployment issue.        MIG              0.10       39.50
9-Apr-20       Corresponded with Wright re report.                     MIG              0.20       79.00
10-Apr-20      Review revised lease agreement received from            AJW              1.30      513.50
               tenant's attorney; revise lease and transmit comments
               and comparison versions (Burke Mountain / Verizon
               lease agreement).
13-Apr-20      Emails with J. Farkas (tenant counsel) regarding        AJW              0.60      237.00
               revisions to lease agreement; review prior drafts of
               lease in connection with indemnity provisions
               (Verizon lease).
20-Apr-20      Corresponded with Endicott re analysis of opening.      MIG              0.20       79.00
20-Apr-20      Prepare email correspondence to City National Bank      KAS              0.50       87.50
               regarding change in collateral account for Q Burke
               Letter of Credit and follow up communications
               regarding same.
27-Apr-20      Review response from tenant's attorney; prepare new     AJW              1.40      553.00
               revision to lease with updated indemnification and
               waiver language; email exchanges with J. Farkas and
               G. Endicott (Verizon / Burke lease).
28-Apr-20      Follow up with City National Bank regarding letter of   KAS              0.20       35.00
               credit funding matter.
4-May-20       Research into question regarding PPP program.           LCM              0.40      158.00
               Correspondence to client.
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5-May-20       Call with Gary to discuss PPP. Follow up email with     LCM              0.30      118.50
               information.
6-May-20       Emails with J. Farkas and G. Endicott regarding         AJW              0.50      197.50
               outstanding issues to final lease agreement (Burke
               Mountain / Verizon lease).
7-May-20       Corresponded with Wright re opening.                    MIG              0.20       79.00
13-May-20      Conference with Endicott, McNeil and Gottlieb re        MIG              0.40      158.00
               Heartland issue.
13-May-20      Corresponded with Endicott, McNeil and Gottlieb re      MIG              0.40      158.00
               Heartland deposit.
13-May-20      Confer with M. Goldberg and D. McNeil regarding         MJG              2.20      869.00
               Heartland processing agreement and recovery of
               reserve (.4); review processing agreements r

               (.5); assess possible claims against Heartland,


                                   (1.3).
13-May-20      Call with D. McNeil regarding former credit card        KAS              0.40       70.00
               processing agreement; Research and send
               documentation regarding same.
14-May-20      Review merchant agreements and standard terms and       MJG              1.30      513.50
               conditions and draft and revise letter to Heartland
               requesting refund of reserve account (1.1); confer
               with Receiver and D. McNeil regarding same (.2).
14-May-20      Corresponded with DeNisi re Burke jobs report.          MIG              0.20       79.00
14-May-20      Corresponded re Heartland letter.                       MIG              0.30      118.50
14-May-20      Reviewed Heartland letter.                              MIG              0.20       79.00
15-May-20      Confer with D. McNeil regarding Heartland letter and    MJG              0.30      118.50
               review proposed revisions from D. McNeil.
15-May-20      Follow up with R. Perera at City National Bank          KAS              0.20       35.00
               regarding Burke LOC funding.
21-May-20      Finalize lease agreement and present to M. Goldberg     AJW              1.20      474.00
               and J. Levit to submit to the court; emails regarding
               approval process; communicate with tenant's attorney
               (Burke/Verizon lease).
21-May-20      Reviewed cell tower lease and corresponded re           MIG              0.30      118.50
               approval motion.
27-May-20      Reviewed and revised Heartland letter                   MIG              0.50      197.50
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27-May-20      Finalize letter to Heartland Payment Systems.          KAS              0.20       35.00
28-May-20      Review Building Rooftop Lease Burke Base Lodge         JML              0.40      158.00
               2020 for preparation of motion to approve cell tower
               lease.
28-May-20      Edited Motion to Approve Building and Rooftop          JML              0.70      276.50
               Lease Agreement.
28-May-20      Corresponded with Heartland and Leisure re             MIG              0.50      197.50
               holdback. Conference with EDA representative and
               NDVA re Bogner property.
28-May-20      Review correspondence with Heartland and assess        MJG              0.40      158.00
               options and next steps.
5-Jun-20       Reviewed spreadsheet and summary of opening            MIG              0.80      316.00
               hotels and attended Conference with Surgeon,
               Endicott and Tatge re same.
5-Jun-20       Follow up correspondence regarding cell tower lease    JML              0.10       39.50
               agreement.
5-Jun-20       Reopening call with staff.                             NSS              0.60      237.00
8-Jun-20       Follow up with R. Perera regarding Burke Letter of     KAS              0.30       52.50
               Credit and funding matters.
8-Jun-20       Corresponded re Heartland.                             MIG              0.40      158.00
9-Jun-20       Telephone conference with R. Perea regarding           KAS              0.40       70.00
               change in funding structure for Burke Letter of
               Credit.
9-Jun-20       Follow up with A. Wamsley regarding motion for         CRC              0.40       70.00
               Burke/Verizon lease; draft email to Joan Levit
               regarding comments and questions Hamilton
               boundary adjustment; forward Burke Mountain title
               work to A. Wamsley.
10-Jun-20      Follow up regarding Cell Tower motion.                 JML              0.70      276.50
10-Jun-20      Emails with M. Goldberg and J. Levit regarding         AJW              1.00      395.00
               details of trails indemnification agreement and also
               Burke antennae lease agreement (Burke Mountain).
12-Jun-20      Conference with Wright re opening.                     MIG              0.20       79.00
16-Jun-20      Conference with Endicott re opening.                   MIG              0.30      118.50
16-Jun-20      Corresponded with McNeil and Heartland re              MIG              0.30      118.50
               holdback.
23-Jun-20      Corresponded re Heartland holdback.                    MIG              0.30      118.50
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23-Jun-20      Composed email to R. Perera at City National Bank       KAS              0.10       17.50
               regarding Burke Letter of Credit.
24-Jun-20      Conference with        Graham re Burke.                 MIG              0.40      158.00
24-Jun-20      Review correspondence from Heartland regarding          MJG              0.50      197.50
               release of reserve funds and assess options, claims
               and ability to involve the receivership court if they
               refuse to release balance.
25-Jun-20      Corresponded with Heartland and Endicott re             MIG              0.40      158.00
               holdback.
25-Jun-20      Conference with Levenson re                         .   MIG              0.20       79.00
25-Jun-20      Corresponded with Endicott re PPP loan.                 MIG              0.20       79.00
26-Jun-20      Conference with Surgeon re PPP motion.                  MIG              0.30      118.50
26-Jun-20      Reviewed and revised PPP application.                   MIG              0.60      237.00
26-Jun-20      Conference with Endicott re PPP application.            MIG              0.30      118.50
26-Jun-20      Review and analyze assignment documents from City       KAS              0.50       87.50
               National Bank regarding change in collateral for
               Burke Letter of Credit; Correspond with M. Goldberg
               regarding same.
26-Jun-20      Review PPP provisions of CARES act. Draft motion        NSS              2.40      948.00
               to approve application for funds.
29-Jun-20      Prepare motion re: PPP application.                     NSS              2.30      908.50
29-Jun-20      Reviewed and executed corporate resolution to grant     MIG              0.20       79.00
               collateral to secure credit card processing.
30-Jun-20      Finalize motion regarding PPP application.              NSS              2.00      790.00
30-Jun-20      Communications with bank regarding collateral for       KAS              0.20       35.00
               LOC.
1-Jul-20       Review CARES Act provisions regarding PPP.              NSS              1.90      750.50
2-Jul-20       Reviewed PPP application and corresponded with          MIG              0.30      118.50
               Endicott.
3-Jul-20       Conference with Surgeon re PPP approval motion.         MIG              0.20       79.00
6-Jul-20       Emails with receiver and with tenant's counsel          AJW              0.50      197.50
               regarding final court approval in connection with
               lease agreement (Burke / Verizon lease).
6-Jul-20       Edited Motion to Approve Burke Building and             JML              0.90      355.50
               Rooftop Lease Agreement
6-Jul-20       Review and gather exhibit to Motion to Approve Cell     JML              0.40      158.00
               Tower and prepare correspondence to SEC counsel.
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6-Jul-20       Review SEC counsel comments to Cell Tower             JML              0.70      276.50
               motion and revise motion.
7-Jul-20       Prepare proposed Order Approving Lease Agreement      JML              0.40      158.00
               with Bell South.
7-Jul-20       Follow up regarding Motion to Approve Cell Tower;     JML              0.80      316.00
               review and revise prior to filing.
8-Jul-20       Composed email to Judge Gayles re Proposed Order      JML              0.10       39.50
               Approving Lease Agreement with Bell South.
8-Jul-20       Finalize PPP motion.                                  NSS              1.20      474.00
8-Jul-20       Conference with Surgeon re PPP motion.                MIG              0.20       79.00
8-Jul-20       Reviewed and corresponded re cell tower leases.       MIG              0.20       79.00
9-Jul-20       Corresponded re Burke finances.                       MIG              0.20       79.00
9-Jul-20       Corresponded re Burke escrow.                         MIG              0.20       79.00
10-Jul-20      Prepared for and attended conference with Tatge and   MIG              0.60      237.00
               Endicott re operations.
13-Jul-20      Conference with Wright re contract extension.         MIG              0.30      118.50
13-Jul-20      Corresponded re PPP loan.                             MIG              0.40      158.00
13-Jul-20      Finalize motion to authorize PPP loan.                NSS              1.90      750.50
13-Jul-20      Respond to correspondence regarding status of Burke   JML              0.20       79.00
               cell tower motion.
14-Jul-20      Modify PPP loan motion regarding forgiveness          NSS              1.20      474.00
               provisions.
14-Jul-20      Reviewed and revised PPP approval motion.             MIG              0.50      197.50
15-Jul-20      Conference with Surgeon re PPP motion and             MIG              0.40      158.00
               reviewed and revised motion.
15-Jul-20      Revise motion for PPP loan and forward to SEC.        NSS              1.20      474.00
16-Jul-20      Corresponded re PPP loan documents with Gary.         MIG              0.20       79.00
16-Jul-20      Reviewed PPP loan documents.                          MIG              0.40      158.00
16-Jul-20      Conference with Tatge re Wright.                      MIG              0.20       79.00
17-Jul-20      Conference with Tatge re Wright contract extension.   MIG              0.20       79.00
17-Jul-20      Corresponded with Endicott re operational issue.      MIG              0.20       79.00
17-Jul-20      Call with investment banker. Finalize PPP Loan        NSS              1.20      474.00
               motion.
17-Jul-20      Review motion and order regarding rooftop lease       KAS              0.30       52.50
               agreement.
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20-Jul-20      Conference with Tatge re Wright contract.              MIG              0.30      118.50
20-Jul-20      Corresponded with Endicott re relief funds.            MIG              0.20       79.00
21-Jul-20      Communications with City National Bank regarding       KAS              0.60      105.00
               Burke Letter of Credit and corresponding Certificate
               of Deposit Account; Correspond with Receiver
               regarding same.
21-Jul-20      Review court order approving motion to enter into      JML              0.30      118.50
               cell tower agreement and prepare correspondence to
               real estate counsel.
22-Jul-20      Correspond with Jay Peak team regarding wedding        KAS              0.40       70.00
               escrow deposit.
27-Jul-20      Reviewed PPP draft motion.                             MIG              0.40      158.00
29-Jul-20      Corresponded with Surgeon and Endicott re PPP          MIG              0.20       79.00
               loan.
30-Jul-20      Finalize motion for PPP loan under CARES Act           NSS              1.60      632.00
               using data provided by management company.
30-Jul-20      Study and review Receiver's Motion re: PPP.            JSR              0.30      118.50
               Communicate with Goldberg.
3-Aug-20       Study and review Order re: PPP Motion and discuss      JSR              0.20       79.00
               with Goldberg.
3-Aug-20       Corresponded re PPP loan and bank accounts.            MIG              0.30      118.50
4-Aug-20       Corresponded with Endicott and bank re ppp loan.       MIG              0.30      118.50
6-Aug-20       Corresponded with Endicott re PPP loan closing.        MIG              0.40      158.00
7-Aug-20       Corresponded with Wright re operations.                MIG              0.20       79.00
7-Aug-20       Corresponded with Graham re            .               MIG              0.20       79.00
10-Aug-20      Corresponded with Graham re            .               MIG              0.20       79.00
11-Aug-20      Corresponded with Graham re                lease.      MIG              0.20       79.00
11-Aug-20      Conference with Tatge re Wright contract and Burke.    MIG              0.40      158.00
12-Aug-20      Reviewed Wright proposed employment contact.           MIG              0.30      118.50
14-Aug-20      Emails with tenant's attorney to update final lease    AJW              1.80      711.00
               agreement; review final lease agreement and finalize
               for signature (Burke Mountain / Verizon lease).
20-Aug-20      Corresponded re census issues.                         MIG              0.10       39.50
20-Aug-20      Conference with Tatge re operational issue.            MIG              0.20       79.00
24-Aug-20      Conference with Tatge re Covid issues.                 MIG              0.20       79.00
24-Aug-20      Corresponded with Graham re Covid issues.              MIG              0.20       79.00
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25-Aug-20       Correspond with G. Endicott regarding Annual          KAS               0.20       35.00
                Business Survey.
                      Subtotal for Code 503 BUSINESS OPERATIONS                        71.00   26,835.00

Task Code:      504 CASE ADMINISTRATION
2-Mar-20        Follow up with Receiver regarding investor email      KAS               0.20       35.00
                inquiries regarding I-829 Request for Evidence.
2-Mar-20        Receipt and review of email communications from G.    KAS               0.30       52.50
                Endicott regarding issues with regarding registered
                agent change with State of Vermont.
2-Mar-20        Review and analysis of receivership mail and follow   KAS               0.70      122.50
                up on matters; Confer with A. McLaughlin regarding
                records organization.
2-Mar-20        Reviewed and revised draft letter to investors re     MIG               0.60      237.00
                USCIS and corresponded with Klasko re same.
2-Mar-20        Conference with investors re USCIS.                   MIG               0.30      118.50
2-Mar-20        Corresponded with Sven re denials.                    MIG               0.20       79.00
3-Mar-20        Conference with Smiley re Peoples' accounts.          MIG               0.20       79.00
3-Mar-20        Conference with US Trustee in Atlanta re bankruptcy   MIG               0.30      118.50
                case of investors and claim.
3-Mar-20        Reviewed Quiros bank reconstruction.                  MIG               0.30      118.50
3-Mar-20        Research information and confer with M. Goldberg      KAS               0.40       70.00
                regarding banking matters.
3-Mar-20        Review letter from People's United Bank regarding     KAS               0.40       70.00
                inactive account and abandonment of funds; Confer
                with Receiver on matter; Reserach records regarding
                same.
3-Mar-20        Telephone conference with Q Burke investor            KAS               0.30       52.50
                regarding mandamus action; Correspond with
                investor regarding mandamus update.
3-Mar-20        Conference with numerous investors re USCIS.          MIG               0.40      158.00
4-Mar-20        Corresponded re investors and their counsel re        MIG               0.60      237.00
                USCIS
4-Mar-20        Corresponded with Pieciak re call.                    MIG               0.10       39.50
4-Mar-20        Correspond with Chapter 7 Trustee who holds a         KAS               0.30       52.50
                claim to an investor's investment in Jay Peak
                regarding case status.
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4-Mar-20      Attend to inquiries from investors regarding case       KAS              2.50      437.50
              status and K-1s; Review incoming receivership mail;
              Work on current tax filing and organization matters.
4-Mar-20      Review email inquiry from Phase V investor              KAS              0.30       52.50
              regarding I-829 denials and Receiver's strategy and
              follow up with Receiver regarding same.
4-Mar-20      Telephone conference with investor regarding case       KAS              0.20       35.00
              status.
4-Mar-20      Research regarding change of address request form       AMM              0.60       45.00
              received from investor.
4-Mar-20      Conference with paralegal regarding K-1 request         AMM              0.20       15.00
              received from investor.
5-Mar-20      Conference with paralegal regarding status of the       AMM              0.20       15.00
              2019 K-1s.
5-Mar-20      Research and update investor information per change     AMM              1.10       82.50
              of address request forms received from investors;
              Prepare password encrypted digital copy of investor's
              K-1; Prepare email to investor with same and
              regarding the status of the mailing of the 2019 K-1s;
              Prepare email to Jay Peak management regarding
              address change of investor.
5-Mar-20      Communications with investors regarding K-1.            KAS              0.40       70.00
5-Mar-20      Correspond with team regarding e-discovery invoice      KAS              0.10       17.50
              and payment.
5-Mar-20      Conference with time share buyer re status.             MIG              0.30      118.50
5-Mar-20      Corresponded with investor re USCIS issues.             MIG              0.30      118.50
6-Mar-20      Confer with K. Smiley regarding discovery matters.      JML              0.30      118.50
6-Mar-20      Numerous correspondence with investors re USCIS         MIG              0.40      158.00
              issues.
6-Mar-20      Corresponded with Denisi re construction expenses       MIG              0.30      118.50
              and job creation.
6-Mar-20      Confer with J. Levit regarding status regarding         KAS              0.30       52.50
              Receiver's report matters.
6-Mar-20      Review receivership mail; Respond to investor           KAS              0.50       87.50
              inquiries regarding USCIS and K-1s; Organize
              records.
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6-Mar-20       Research various expenditures pertaining to Jay peak    KAS              1.10      192.50
               to support financial report and correspond with D.
               McNeil regarding same; Follow up with Receiver
               regarding same.
6-Mar-20       Research and assemble requested by J. DeNisi in         KAS              0.40       70.00
               preparation of job report.
7-Mar-20       Research and assemble information regarding Phase       KAS              0.80      140.00
               1 investor distribution for job creation report;
               Correspond with D. McNeil regarding same.
9-Mar-20       Research investor refund status and correspond with     KAS              0.30       52.50
               Receiver regarding same.
9-Mar-20       Conference with A. McLaughlin regarding                 KAS              0.20       35.00
               verification process for investor K-1 requests.
9-Mar-20       Research and compile information pertaining to          KAS              0.90      157.50
               Phase 1 payouts and prepare chart; Correspond with
               D. McNeil regarding same.
9-Mar-20       Review and analysis of tax correspondence and           KAS              0.30       52.50
               follow up with A. McLaughlin regarding further
               handling.
9-Mar-20       Calls with investors and counsel regarding case         KAS              0.50       87.50
               status; K-1 requests and mandamus.
9-Mar-20       Conference with investors re USCIS.                     MIG              0.40      158.00
9-Mar-20       Conference with SEC re            .                     MIG              0.30      118.50
9-Mar-20       Conference with Pieciak re        .                     MIG              0.30      118.50
9-Mar-20       Research and prepare email to investor regarding        AMM              0.30       22.50
               status of 2019 K-1s.
9-Mar-20       Research regarding change of address request form       AMM              0.60       45.00
               received from investor.
9-Mar-20       Research and prepare password encrypted digital         AMM              0.90       67.50
               copy of 2019 K-1 for investor; Prepare email to
               paralegal regarding same; Prepare email to investor
               verifying contact information; Prepare email to
               investor with password encrypted 2019 K-1.
10-Mar-20      Research and prepare email to investor regarding        AMM              0.60       45.00
               status of 2019 K-1s and the requirements to have a
               digital copy of the 2019 K-1 emailed to the investor.
10-Mar-20      Research regarding change of address request form       AMM              0.40       30.00
               received from investor.
10-Mar-20      Corresponded with Endicott re tax appeal bill.          MIG              0.10       39.50
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10-Mar-20      Corresponded with Wheeler re bill.                      MIG              0.10       39.50
10-Mar-20      Corresponded with investors re USCIS.                   MIG              0.30      118.50
10-Mar-20      Correspond with G. Endicott regarding People's          KAS              0.40       70.00
               United Bank dormant accounts.
10-Mar-20      Correspond with J. Stricter and M. Goldberg             KAS              0.40       70.00
               regarding dormant accounts.
10-Mar-20      Correspond with S. Lillis regarding NECS People's       KAS              0.30       52.50
               United Bank account and status.
10-Mar-20      Respond to calls and inquiries from investor and        KAS              0.70      122.50
               counsel; Review incoming third party mail and
               discuss further handling with A. McLaughlin.
11-Mar-20      Telephone conference with investor regarding case       KAS              0.20       35.00
               status.
11-Mar-20      Communications with investors regarding K-1             KAS              0.50       87.50
               request, mandamus, and case status matters.
11-Mar-20      Review and revise Receiver's letter to USCIS            KAS              0.40       70.00
               regarding Jay Peak Lodge and Townhouse project
               status.
11-Mar-20      Communications with Phase II investor regarding         KAS              0.40       70.00
               case status and K-1.
11-Mar-20      Research and prepare email to investor regarding the    AMM              0.60       45.00
               requirements to have a digital copy of their 2019 K-1
               emailed to them and how they may acquire past k-1s
               from Jay Peak management.
11-Mar-20      Research and prepare email to investor regarding the    AMM              0.60       45.00
               requirements for a change of address, what
               information is required to be able to email them a
               digital copy of their 2019 K-1, and how they may
               acquire their past K-1s from Jay Peak management.
11-Mar-20      Research and prepare email to investor regarding the    AMM              0.60       45.00
               status of the 2019 K-1s, the requirements to have a
               digital copy of their 2019 K-1 emailed to them and
               how they may acquire past k-1s from Jay Peak
               management.
11-Mar-20      Research and leave voice message for Investor           AMM              0.40       30.00
               regarding question about the release of the 2019 K-
               1s.
11-Mar-20      Research regarding change of address request form       AMM              0.50       37.50
               received from investor.
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12-Mar-20      Research and update investor's information per           AMM              0.90       67.50
               change of address form received; prepare password
               encrypted k-1s for investor; Prepare email to investor
               regarding same; Prepare email to Jay Peak
               management regarding change of address for
               investor.
12-Mar-20      Prepare email to paralegal regarding status of           AMM              0.10        7.50
               investor inquiry regarding 2019 K-1s.
12-Mar-20      Work on receivership banking matters with Jay Peak       KAS              0.30       52.50
               accounting team.
12-Mar-20      Review and revise Statement of Development letter.       KAS              0.20       35.00
12-Mar-20      Work on address change requests and updates.             KAS              0.50       87.50
12-Mar-20      Reviewed and revised DeNisi letter to Lodge and          MIG              0.60      237.00
               Townhouse re USCIS.
12-Mar-20      Corresponded with investors re status                    MIG              0.30      118.50
13-Mar-20      Corresponded with Klasko form re immigration             MIG              0.20       79.00
               issues
13-Mar-20      Corresponded with investors re USCIS.                    MIG              0.30      118.50
13-Mar-20      Correspond with J. DeNisi regarding Receiver's           KAS              0.20       35.00
               letter.
13-Mar-20      Research regarding change of address request form        AMM              0.40       30.00
               received from investor.
15-Mar-20      Work on investor address change requests and update      KAS              0.80      140.00
               charts; Correspond with Leisure team members
               regarding same.
15-Mar-20      Correspond with investor regarding K-1 request.          KAS              0.20       35.00
16-Mar-20      Correspond with Receiver regarding notice to             KAS              0.30       52.50
               investors.
16-Mar-20      Multiple communications with investors regarding K-      KAS              0.90      157.50
               1s, case status and address updates.
16-Mar-20      Review email regarding Stateside Request for             KAS              0.20       35.00
               Evidence and correspond with D. McNeil regarding
               same.
16-Mar-20      Follow up conference with J. Levit to coordinate         KAS              0.40       70.00
               financial reporting matters and discuss pending
               matters for report.
16-Mar-20      Correspond with A. McLaughlin regarding case             KAS              0.40       70.00
               administrative matters.
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16-Mar-20      Conference with M. Goldberg and J. Levit regarding      KAS              0.20       35.00
               status report.
16-Mar-20      Corresponded with Klasko re investor letter.            MIG              0.10       39.50
16-Mar-20      Corresponded with investors re USCIS.                   MIG              0.30      118.50
16-Mar-20      Revised draft of letter to investors re USCIS.          MIG              0.60      237.00
16-Mar-20      Conference with Kim and Joan re reports.                MIG              0.30      118.50
16-Mar-20      Scan and organize digital copies of certified mailing   AMM              0.40       30.00
               receipts for tax filings.
16-Mar-20      Catalog files in preparation for document storage.      AMM              1.30       97.50
17-Mar-20      Research matter regarding investor K-1; Prepare         AMM              0.20       15.00
               email to paralegal regarding same.
17-Mar-20      Research K-1 for investor; Prepare email to Paralegal   AMM              0.50       37.50
               regarding same.
17-Mar-20      Conference call with paralegal; Prepare materials for   AMM              0.70       52.50
               paralegal to work from home; Prepare mailing
               materials for paraleg l.
17-Mar-20      Review mail received from third parties; Prepare        AMM              0.40       30.00
               email to paralegal regarding same.
17-Mar-20      Corresponded with investors re status.                  MIG              0.40      158.00
17-Mar-20      Reviewed and revised letter to investors and            MIG              0.30      118.50
               corresponded with Denisi and smiley re mailing.
17-Mar-20      Reviewed Levit status report correspondence.            MIG              0.10       39.50
17-Mar-20      Reach out to professionals regarding Status Report.     JML              0.30      118.50
17-Mar-20      Research and review status for report.                  JML              2.80    1,106.00
17-Mar-20      Review of correspondence from State of Vermont          KAS              0.20       35.00
               regarding Jay Peak GP Services Lodge Inc.
17-Mar-20      Correspond with immigration counsel and Receiver        KAS              0.40       70.00
               regarding notice to investors.
17-Mar-20      Preparation of distribution email list for investors    KAS              2.00      350.00
               with pending I-526 and I-829 petitions and send
               mailing to investors regarding status of mandamus
               actions.
17-Mar-20      Work on file organization matters; Monitor              KAS              0.50       87.50
               emails/calls from investors regarding case matters.
17-Mar-20      Attend to follow up inquiries from investors and        KAS              0.40       70.00
               counsel regarding mandamus status update.
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18-Mar-20      Correspond with attorney for Q Burke investor            KAS              0.40       70.00
               regarding template for filing of investor I-829
               petition; Follow up email to J. DeNisi and D. McNeil.
18-Mar-20      Multiple communications regarding K-1 request,           KAS              1.50      262.50
               status updates and address changes; Review of
               incoming mail and follow up regarding same.
18-Mar-20      Conference re fee applications and reports.              MIG              0.30      118.50
18-Mar-20      Corresponded with investors re USCIS and                 MIG              0.30      118.50
               immigration issues
18-Mar-20      Research and prepare password encrypted digital          AMM              0.90       67.50
               copy of 2019 K-1 for investor; Prepare email
               regarding same to investor.
18-Mar-20      Research and prepare password encrypted digital          AMM              0.90       67.50
               copy of K-1 for investor; Prepare email regarding
               same to investor; File email records in filesite;
               Update investor records; Prepare email to Jay Peak
               management regarding update of investor's records.
18-Mar-20      Research and prepare password encrypted digital          AMM              1.00       75.00
               copy of investor's 2019 K-1; prepare email to
               investor and the investors attorney regarding same.
19-Mar-20      Research and prepare password encrypted digital          AMM              0.90       67.50
               copy of investor's 2019 K-1; Prepare email to
               investor and the investor's attorney regarding same.
19-Mar-20      Research regarding request received from investor for    AMM              0.20       15.00
               update regarding the status of their 2019 K-1: Prepare
               email to paralegal regarding same.
19-Mar-20      Corresponded with investors re USCIS and closure.        MIG              0.40      158.00
19-Mar-20      Update charts with investors address change              KAS              2.00      350.00
               information and notify Jay Peak team of same;
               Correspond with investors; Answer inquiries from
               investors regarding case status; Review incoming
               receivership mail; Confer with Receiver regarding
               accounting matters.
19-Mar-20      Correspond with attorney for investor regarding I-829    KAS              0.30       52.50
               template and follow up with Jay Peak team regarding
               same.
20-Mar-20      Review email regarding Q Burke Investor's award of       KAS              0.20       35.00
               provisional permanent resident card; Update records.
20-Mar-20      Corresponded with Denisi re Burke approval from          MIG              0.10       39.50
               USCIS.
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20-Mar-20      Corresponded with McNeil re approval.                   MIG              0.20       79.00
20-Mar-20      Research for Status Report.                             JML              2.30      908.50
20-Mar-20      Research and prepare password encrypted digital         AMM              0.80       60.00
               copy of investor's 2019 K-1; Prepare email to
               investor regarding same: Prepare additional email to
               investor regarding required documents to update their
               contact information.
23-Mar-20      Review, scan, and prepare email to paralegal            AMM              0.20       15.00
               regarding correspondence received from the IRS.
23-Mar-20      Research multiple 2019 K-1 requests received from       AMM              3.90      292.50
               investors; Prepare password encrypted copies of 2019
               K-1s for respective investors: Prepare emails
               regarding same to investors; Research and update
               investor information per change of address form and
               identification received from investor; Prepare email
               regarding same to investor and Jay Peak
               management; Prepare email to investor regarding
               request for update on the status of their 2019 K-1.
23-Mar-20      Corresponded with             Martinez payment and      MIG              0.20       79.00
               reviewed bill.
23-Mar-20      Corresponded with Smiley re payment and executed        MIG              0.20       79.00
               approval.
23-Mar-20      Corresponded with investors re USCIS.                   MIG              0.40      158.00
23-Mar-20      Correspond with M. Goldberg regarding e-Discovery       KAS              0.10       17.50
               invoices.
23-Mar-20      Composed email to Desjardin Bank regarding bank         KAS              0.20       35.00
               transfer.
23-Mar-20      Correspond with Jay Peak accounting team regarding      KAS              0.70      122.50
               Canadian bank transfer needed to effectuate refunds
               to vendors; Research requirements for bank transfers
               from US Bank to out of country financial institution
               and follow up with team regarding same.
23-Mar-20      Confer with A. McLaughlin regarding daily               KAS              0.10       17.50
               receivership mail and further handling of same.
23-Mar-20      Correspond with Receiver regarding professional fee     KAS              0.40       70.00
               payment for Baker Tilly economist work; Prepare
               and process check request for payment of work.
23-Mar-20      Correspond with accountants regarding Investor W9       KAS              0.30       52.50
               update; Prepare update to receivership records
               regarding same.
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23-Mar-20      Communications with multiple investors and counsel      KAS              1.30      227.50
               regarding case status, K-1 requests, and request for
               refund; Prepare updates to database regarding same
               and notify Leisure Group and accountants regarding
               changes in status.
24-Mar-20      Review and respond to email from S. Lillis regarding    KAS              0.80      140.00
               confirmation of Desjardin bank transfer details; Call
               with bank representative regarding same.
24-Mar-20      Review of email communication from investor's           KAS              0.20       35.00
               counsel regarding issuance of permanent resident
               green card for Q Burke Investors; Update
               receivership records.
24-Mar-20      Work on address change and K-1 requests; Update         KAS              1.40      245.00
               charts; Review and analysis of incoming receivership
               and follow up with clerk re: same.
24-Mar-20      Corresponded with investors re USCIS and status.        MIG              0.30      118.50
24-Mar-20      Corresponded with Pieciak re status.                    MIG              0.20       79.00
24-Mar-20      Corresponded with Donovan re status.                    MIG              0.20       79.00
24-Mar-20      Research and prepare response to investor regarding     AMM              0.30       22.50
               information required in order for a change of address
               request to be accepted.
25-Mar-20      Prepare email to paralegal regarding update for phase   AMM              0.60       45.00
               II investor on 2019 K-1s; Conference call with phase
               II investor regarding same; Prepare email to investor
               confirming conversation from conference call.
25-Mar-20      Corresponded with investors re USCIS denials.           MIG              0.60      237.00
25-Mar-20      Telephone conference with investor regarding case       KAS              0.30       52.50
               status and USCIS matters.
25-Mar-20      Work on investor address updates and K-1 requests.      KAS              0.80      140.00
26-Mar-20      Confer with J. Levit regarding status report.           KAS              0.40       70.00
26-Mar-20      Confer with A. McLaughlin regarding investor            KAS              0.40       70.00
               inquiry; Confer regarding case administration
               matters.
26-Mar-20      Numerous calls with investors re USCIS.                 MIG              0.30      118.50
26-Mar-20      Corresponded with Klasko re AnC Bio and USCIS.          MIG              0.20       79.00
26-Mar-20      Gather information for Status Report.                   JML              2.60    1,027.00
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27-Mar-20      Gather and review information for status report;       JML              4.30    1,698.50
               confer with outside counsel regarding information
               needed for report.
27-Mar-20      Corresponded with investors re USCIS.                  MIG              0.30      118.50
27-Mar-20      Prepared for and attended call with Klasko team re     MIG              0.30      118.50
               USCIS.
27-Mar-20      Prepared for and attended call with Meschara, Klasko   MIG              0.60      237.00
               and attorneys.
27-Mar-20      Work on Status Report.                                 JML              1.40      553.00
27-Mar-20      Monitor investor email communications; Update          KAS              0.70      122.50
               chart regarding change in contact information;
               Correspond with S. Lillis regarding same.
27-Mar-20      Confer with M. Goldberg regarding AnC Bio investor     KAS              0.10       17.50
               redeployment status.
30-Mar-20      Correspond with A. McLaughlin regarding investor       KAS              0.20       35.00
               inquiry.
30-Mar-20      Correspond with investors regarding K-1s.              KAS              0.40       70.00
30-Mar-20      Prepare Status Report.                                 JML              4.70    1,856.50
30-Mar-20      Corresponded with investors re USCIS.                  MIG              0.30      118.50
30-Mar-20      Corresponded with Stenger re status.                   MIG              0.20       79.00
30-Mar-20      Corresponded with Barr re state insurance policies.    MIG              0.20       79.00
30-Mar-20      Research and update investor's information per         AMM              0.70       52.50
               change of address request form; Prepare email to
               investor and Jay Peak management regarding same.
30-Mar-20      Research regarding request for 2019 K-1 received       AMM              0.50       37.50
               from investor; Prepare email to paralegal regarding
               same.
31-Mar-20      Research and prepare password encrypted digital        AMM              1.10       82.50
               copy of 2019 K-1 for investor; Prepare email to
               investor regarding 2019 K-1 and address discrepancy
               present on K-1; Prepare email to accountant
               regarding address discrepancy and request for
               information to be corrected.
31-Mar-20      Research and prepare email to investor regarding       AMM              0.30       22.50
               previously sent email to investor that provided a
               password encrypted digital copy of their 2019 K-1.
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31-Mar-20      Research and update investor information per their     AMM              0.60       45.00
               change of address form; Prepare email to investor
               regarding confirmation of information update and the
               password encrypted digital copy of their 2019 K-1.
31-Mar-20      Reviewed and executed amendment to VR-004              MIG              0.20       79.00
               listing agreement.
31-Mar-20      Corresponded with investors re status.                 MIG              0.40      158.00
1-Apr-20       Corresponded with investors re USCIS.                  MIG              0.30      118.50
1-Apr-20       Research case matters for Status Report.               JML              4.80    1,896.00
1-Apr-20       Respond to investor inquiries for K-1's (.2); Review   KAS              0.40       70.00
               receivership incoming mail (.2).
2-Apr-20       Review of information from Klasko.                     KAS              0.40       70.00
2-Apr-20       Review of email exchanges regarding Darling Hill       KAS              0.20       35.00
               post sale expenses and follow up with A. McLaughlin
               regarding same.
2-Apr-20       Review of IRS refund check and arrange for deposit     KAS              0.50       87.50
               of funds.
2-Apr-20       Review of final Phase 2 Tax Returns and K-1's and      KAS              1.40      245.00
               update Receiver's records regarding same;
               Correspond with investors regarding K-1 requests.
2-Apr-20       Conference with Levenson re status.                    MIG              0.60      237.00
2-Apr-20       Conference with creditors re USCIS.                    MIG              0.40      158.00
2-Apr-20       Research regarding payment received in connection      AMM              0.20       15.00
               to the sale of the Darling Hill property.
2-Apr-20       Research regarding the status of investor K-1;         AMM              0.80       60.00
               Prepare password encrypted digital copy of K-1 and
               email regarding same to investor.
3-Apr-20       Research and prepare emails to paralegal and           AMM              0.80       60.00
               accountant regarding payment received in connection
               to the sale of the Darling Hill property.
3-Apr-20       Research and prepare password encrypted digital        AMM              0.60       45.00
               copy of 2019 K-1 for investor; Prepare email
               regarding same to investor.
3-Apr-20       Review of investor inquiries and dealt with K-1 and    KAS              1.20      210.00
               address change requests.
3-Apr-20       Composed email to McLaughlin, Amanda 2019 K-1s         KAS              0.10       17.50
               for Phase II Investors.
3-Apr-20       Corresponded with investors re USCIS.                  MIG              0.30      118.50
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6-Apr-20      Review and respond to several investor inquiries       KAS              1.70      297.50
              regarding K-1 and address change requests; Update
              charts and prepare and send secure emails to
              investors with encrypted K-1 forms; Review email
              from investor regarding USCIS denial; Correspond
              with D. McNeil regarding same.
6-Apr-20      Corresponded with investors re USCIS.                  MIG              0.30      118.50
6-Apr-20      Research and prepare email to investor regarding       AMM              0.50       37.50
              information required to confirm identity in order to
              provide digital copy of K-1.
6-Apr-20      Research and prepare password encrypted digital        AMM              0.70       52.50
              copy of 2019 K-1 for investor; Prepare email
              regarding same to investor; Prepare email to
              Paralegal regarding update needed to investor's tax
              payer number.
6-Apr-20      Research and prepare email to accountant regarding     AMM              0.40       30.00
              update needed to investor's taxpayer number.
7-Apr-20      Corresponded with investors re USCIS issues.           MIG              0.40      158.00
7-Apr-20      Reviewed banking documents.                            MIG              0.30      118.50
7-Apr-20      Multiple communications regarding tax filing matters   KAS              2.30      402.50
              and deadline; Review email exchange regarding
              USCIS I-829 denials and responses; Follow up on
              investor K-1 requests and address changes; Assist
              Receiver with finalize Phase 2 Federal Tax Returns
              and organize client copy; Review incoming
              receivership mail; Correspond with accountant
              regarding IRS letters and removal of penalties
              associated with AnC Bio VT LLC.
8-Apr-20      Correspond with multiple investors regarding address   KAS              2.10      367.50
              change and K-1 requests; Update records (1.3);
              Receipt and review of Stateside investor email
              regarding USCIS' request for evidence and
              correspond with D. McNeil (.2); Correspond with S.
              Lillis regarding address change updates (.3);
              Correspond with L. Johnson regarding corrected K-1
              (.3).
8-Apr-20      Gather information needed for preparation of SFAR      KAS              0.50       87.50
              and correspond with F. Centeno regarding same.
8-Apr-20      Communications with counsel for AnC Bio investor       KAS              0.20       35.00
              regarding investment refund.
8-Apr-20      Work on Status Report.                                 JML              3.80    1,501.00
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8-Apr-20       Corresponded with investors re USCIS status.          MIG              0.40      158.00
8-Apr-20       Corresponded with Levit re report and fee             MIG              0.00        0.00
               application.
8-Apr-20       Prepare password encrypted digital copy of K-1 for    AMM              0.50       37.50
               Investor; Prepare email regarding same to investor.
9-Apr-20       Corresponded with Felipe re USCIS.                    MIG              0.20       79.00
9-Apr-20       Conference with Donovan re status.                    MIG              0.20       79.00
9-Apr-20       Work on K-1 and address change requests; Update       KAS              1.00      175.00
               records.
9-Apr-20       Work on Jay Peak domain name renewal.                 KAS              0.40       70.00
9-Apr-20       Correspond with F. Centeno regarding quarterly        KAS              0.30       52.50
               financial report.
9-Apr-20       Review of billing statement from Downs Rachlin and    KAS              0.20       35.00
               discuss with J. Levit.
10-Apr-20      Review and redact billing statements for two year     KAS              0.00        0.00
               period for all professionals.
10-Apr-20      Review address change and K-1 inquries; Update        KAS              2.00      350.00
               receivership records; correspond with investors and
               counsel; Update team on address changes; Review
               receivership mail and follow up with same; Follow
               up with L. Johnson regarding tax matters.
10-Apr-20      Corresponded with investors re financial issues and   MIG              0.40      158.00
               USCIS.
13-Apr-20      Reviewed and revised fee application.                 MIG              0.00        0.00
13-Apr-20      Reviewed Accioly RFE.                                 MIG              0.30      118.50
13-Apr-20      Correspond with accountant regarding revising         KAS              0.20       35.00
               investor K-1.
13-Apr-20      Research information on status of mandamus action     KAS              0.20       35.00
               and prepare email to J. Levit regarding same for
               reporting purposes.
13-Apr-20      Review investor communication regarding Request       KAS              0.10       17.50
               for Evidence received.
13-Apr-20      Telephone conference with two investors regarding     KAS              0.70      122.50
               sales process and address change/K-1 requests;
               Review incoming receivership entity mail to
               determine next steps.
13-Apr-20      Work on receivership domain name renewal.             KAS              0.40       70.00
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13-Apr-20      Work on investor change of address and K-1              KAS              1.10      192.50
               requests.
14-Apr-20      Follow up conference with J. Levit regarding status     KAS              0.40       70.00
               report matters.
14-Apr-20      Review of People's United Bank account monthly          KAS              0.10       17.50
               statement and forward to accountant.
14-Apr-20      Review email from J. Shen, Esq. regarding AnC Bio       KAS              0.70      122.50
               investor's request for refund of principal per escrow
               agreement; Research status of same and correspond
               with Receiver.
14-Apr-20      Review SEC Billing Instructions for verification        KAS              0.40       70.00
               compliance; Update verification to be executed by
               Receiver.
14-Apr-20      Review status report from Endicott and correspond       KAS              0.20       35.00
               with J. Levit regarding same.
14-Apr-20      Review and revise draft status report.                  KAS              0.80      140.00
14-Apr-20      Review summary report on Jay Peak financial for         JML              7.20    2,844.00
               Status Report, review status of litigation for Status
               Report and prepare Status Report.
14-Apr-20      Corresponded with Josh Simonds re meeting.              MIG              0.20       79.00
14-Apr-20      Corresponded with investors re USCIS.                   MIG              0.40      158.00
14-Apr-20      Research and prepare password encrypted digital         AMM              0.70       52.50
               copy of 2019 K-1 for investor; Prepare email
               regarding same to investor;
15-Apr-20      Review and prepare summary of efforts to aid with       JML              3.20    1,264.00
               immigration matters.
15-Apr-20      Research and prepare report on business operations.     JML              2.70    1,066.50
15-Apr-20      Edited Receiver's 8th Interim Omnibus Application       KAS              0.00        0.00
               for Fees Expenses.
15-Apr-20      Send email to J. Shen, Esq. regarding refund.           KAS              0.20       35.00
15-Apr-20      Prepare email to Receiver regarding investor refund     KAS              0.40       70.00
               request.
15-Apr-20      Review investor email regarding Request for             KAS              0.10       17.50
               Evidence.
15-Apr-20      Process AnC Bio investor $500,000 refund request.       KAS              0.60      105.00
15-Apr-20      Update property chart regarding non-payment of real     KAS              0.30       52.50
               property taxes per Receiver due to dispute over
               amount of taxes owed.
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15-Apr-20      Correspond with F. Centeno to provide background       KAS              0.10       17.50
               on City Bank's letters of credit issued to Burke and
               Jay Peak.
16-Apr-20      Update Jay Peak Biomedical tracking chart regarding    KAS              0.40       70.00
               refunds.
16-Apr-20      Edited Receiver's Status Report.                       KAS              0.50       87.50
16-Apr-20      Edited Letter to Ms. Lie XIe enclosing $500,000 and    KAS              0.60      105.00
               Executed Assignment and arrange for overnight
               mailing.
16-Apr-20      Work on reconciliation of cash accounting to           KAS              2.70      472.50
               determine amount of funds available for payment of
               professional fees and other expenses.
16-Apr-20      Correspond with A. McLaughlin regarding K-1            KAS              0.10       17.50
               update.
16-Apr-20      Research and prepare update on Iron Shore appeal.      JML              0.80      316.00
16-Apr-20      Review court dockets for Vermont cases and prepare     JML              1.30      513.50
               report.
16-Apr-20      Review filings in MSK matter and status of             JML              2.20      869.00
               discovery.
16-Apr-20      Research status of resolution of discovery disputes.   JML              2.70    1,066.50
16-Apr-20      Corresponded with investors re sales status.           MIG              0.30      118.50
16-Apr-20      Reviewed escrow and return of Phase 7 investors        MIG              0.30      118.50
               funds.
16-Apr-20      Research and prepare email to paralegal regarding      AMM              0.60       45.00
               error made on investor's 2019 K-1.
17-Apr-20      Prepare email to paralegal regarding prior invoice     AMM              0.10        7.50
               payments.
17-Apr-20      Corresponded with investors re status.                 MIG              0.40      158.00
17-Apr-20      Monitor calls and emails from investor regarding       KAS              0.90      157.50
               case status, K-1 requests and address changes and
               attend to same; Review incoming receivership mail
               and determine action to be taken.
17-Apr-20      Edited Receiver's Status Report.                       KAS              0.80      140.00
17-Apr-20      Composed email to F. Giallanza (Salcedo Attorneys      KAS              0.10       17.50
               at Law PA) re: Receiver's report.
17-Apr-20      Process address change requests; Update charts;        KAS              0.60      105.00
               Correspond with accountant and Leisure regarding
               updates.
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17-Apr-20      Edited doc List of All Property Sales Net Proceeds     KAS              0.10       17.50
               Received Per SEC's Judgment deposited in SunTrust.
17-Apr-20      Continue preparation of reconcilation of trust         KAS              2.60      455.00
               accounting to confirm amount of non-restricted funds
               in etate.
20-Apr-20      Review correspondence regarding taxes; Follow up       KAS              0.90      157.50
               with accountant regarding same; Monitor investor
               address change and K-1 inquiries and attend to same;
               Revie receivership mail.
20-Apr-20      Continue preparation of unrestricted cash report and   KAS              1.80      315.00
               multiple communications with Receiver regarding
               same.
20-Apr-20      Review Receiver's comments to Status Report and        JML              3.20    1,264.00
               make revisions.
20-Apr-20      Reviewed and revised fee application.                  MIG              0.00        0.00
20-Apr-20      Reviewed and revised status report.                    MIG              0.80      316.00
20-Apr-20      Corresponded with creditors re sales status and        MIG              0.40      158.00
               USCIS.
20-Apr-20      Research and prepare password encrypted digital        AMM              0.60       45.00
               copy of 2019 K-1 for investor; Prepare email to
               investor regarding same.
21-Apr-20      Corresponded with Klasko and Smiley re Lodge and       MIG              0.30      118.50
               Townhouse FAQs.
21-Apr-20      Corresponded with investors re status.                 MIG              0.30      118.50
21-Apr-20      Work on finalizing financial 8th report exhibits;      KAS              3.50      612.50
               Assemble exhibits for review by SEC; Continue to
               redact professional fee invoice for privileged
               information; Review final draft of 8th report for
               accuracy of information; Confer with J. Levit
               regarding report.
21-Apr-20      Correspond with M. Goldberg regarding status           KAS              1.90      332.50
               update to Jay Peak Lodge and Townhouse Investors;
               Prepare and update email database for investor's and
               their counsel to be used in conjunction with update;
               Draft email to investors and their counsel regarding
               udpate and send to Receiver for approval.
22-Apr-20      Multiple communciations with investors regarding       KAS              0.70      122.50
               address changes and K-1 requests and process
               requests.
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22-Apr-20      Follow up with City National Bank regarding bank        KAS              0.20       35.00
               accounts.
22-Apr-20      Correspond with counsel for Jay Peak Lodge &            KAS              0.30       52.50
               Townhouse investor regarding RFE requests
               received.
22-Apr-20      Composed email to investor with instructions for        KAS              0.20       35.00
               addres change request.
22-Apr-20      Correspond with immigration counsel regarding           KAS              0.10       17.50
               Lodge & Townhouse I-829 Request for Evidence.
23-Apr-20      Correspond with T. Geng, Esquire regarding AnC          KAS              0.40       70.00
               Bio refund and provide instructions; Confer with
               Receiver on matter.
23-Apr-20      Review and discuss suggested revisions to Receiver's    KAS              0.40       70.00
               report.
23-Apr-20      Review receivership mail and follow up with address     KAS              0.50       87.50
               change and K-1 requests.
23-Apr-20      Edited Receiver's Status Report.                        KAS              0.40       70.00
23-Apr-20      Conference with Levenson re status of case.             MIG              0.80      316.00
23-Apr-20      Research regarding investor's request for 2019 K-1      AMM              0.40       30.00
               and Address Change.
24-Apr-20      Research and prepare password encrypted digital         AMM              0.80       60.00
               copy of 2019 K-1 for investor; Prepare email to
               investor regarding same and instructions for updating
               investor contact information.
24-Apr-20      Review documents submitted by investor; Prepare         AMM              0.30       22.50
               email to investor regarding missing information and
               corrections needed to their Change of Address Form.
24-Apr-20      Conference with Klasko re filing.                       MIG              0.20       79.00
24-Apr-20      Corresponded with investors re USCIS.                   MIG              0.40      158.00
24-Apr-20      Respond to inquiry from investor's attorney regarding   KAS              2.70      472.50
               refund of principal; Respond to address update and
               K-1 request and update records; Correspond with
               Receiver's professionals regarding updates to contact
               information and request for revised K-1.; Review of
               incoming receivership mail and determine further
               handling; Confer with A. McLaughlin regarding
               expenses.
24-Apr-20      Continue analysis of property expenses from case        KAS              1.60      280.00
               inception and cataloging of journal entries.
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24-Apr-20      Review emails regarding Canadian check                  KAS              0.10       17.50
               verification.
24-Apr-20      Follow up with L. Johnson regarding analysis of         KAS              0.10       17.50
               inter-company transfer report.
24-Apr-20      Make revisions to Status Report to reflect comments.    JML              1.80      711.00
27-Apr-20      Correspond with M. Goldberg regarding notice to Jay     KAS              0.20       35.00
               Peak Lodge & Townhouse Investors regarding
               pending USCIS matters.
27-Apr-20      Review receivership mail; Correspond with investors     KAS              1.60      280.00
               regarding K-1 requests; Correspond with D. McNeil
               regarding historical K-1 request; Correspond with S.
               Lillis and L. Johnson regarding address changes.
27-Apr-20      Gather information requested by accountants             KAS              0.90      157.50
               pertaining to receivership bank accounts and prepare
               chart.
27-Apr-20      Corresponded with investors re status.                  MIG              0.30      118.50
27-Apr-20      Research and update investor information per address    AMM              0.60       45.00
               change request form received from Investor; Prepare
               email to Investor and Jay Peak management
               regarding same.
27-Apr-20      Confer with         on I-526 stipulation.               NSS              1.00      395.00
28-Apr-20      Prepare payment request for vendor invoice; Prepare     AMM              0.30       22.50
               email regarding same with mailing instructions to
               trust and office manager.
28-Apr-20      Preparation of Escrow Deposit form for tax refund       KAS              0.40       70.00
               and process same; Update accountant and refund
               status.
28-Apr-20      Prepare chart regarding banking activity requested by   KAS              1.50      262.50
               forensic accountants for reconciliation report.
28-Apr-20      Revise trust cash reconciliation chart.                 KAS              0.70      122.50
28-Apr-20      Composed email to Jessica DeNisi (Klasko                KAS              0.10       17.50
               Immigration Law Partner), David McNeil (Leisure
               Hotels, LLC) regarding Jay Peak Golf and Mountain
               Request for Evidence.
28-Apr-20      Multiple conferences with Receiver and staff            JML              2.80    1,106.00
               regarding litigation matters and revise report.
29-Apr-20      Composed email to McLaughlin re: Darling Hill           KAS              0.10       17.50
               Invoice.
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29-Apr-20      Work on responding to K-1 request and address           KAS              1.00      175.00
               changes.
29-Apr-20      Composed email to McLaughlin, Amanda re:                KAS              0.10       17.50
               Statement from Butlers Family Auto Inc.
29-Apr-20      Corresponded with investors re USCIS and sale           MIG              0.40      158.00
               status.
29-Apr-20      Prepare payment request for insurance renewal           AMM              0.30       22.50
               invoice; Prepare email regarding same to paralegal.
29-Apr-20      Prepare email to Paralegal regarding the status of a    AMM              0.40       30.00
               contested vendor invoice; Prepare email to
               accountant regarding same; Prepare email to
               paralegal regarding the source of payment for the
               invoice.
29-Apr-20      Research and prepare payment request for vendor         AMM              0.40       30.00
               invoice.
30-Apr-20      Prepare payment request for vendor invoice; Prepare     AMM              0.40       30.00
               email regarding same to trust and office manager
               with mailing instructions.
30-Apr-20      Organize and save digital scan of invoice payment.      AMM              0.10        7.50
30-Apr-20      Corresponded with investors re status.                  MIG              0.30      118.50
30-Apr-20      Monitored and dealt with receivership email inquiries   KAS              0.70      122.50
               regarding address updates, K-1's and immigration
               matters; Update charts pertaining to address changes.
30-Apr-20      Prepare for and attend telephone conference with M.     KAS              1.00      175.00
               Davis, L. Johnson, and F. Diaz-Drago regarding trust
               accounting matters pertaining to inter-company
               transfers (.8); Research information on QBurke
               operations and send to M. Davis (.2).
30-Apr-20      Reviewed draft Summary of Receipts from                 KAS              0.40       70.00
               accountants regarding inter-company transfers.
1-May-20       Review receivership email inquiries regarding case      KAS              0.60      105.00
               status and K-1 requests; Review receivership mail.
1-May-20       Corresponded with creditors re USCIS.                   MIG              0.30      118.50
4-May-20       Review and respond to investor inquiries; Work on       KAS              1.80      315.00
               banking matters; Review receivership mail and
               determine next steps; Calls with investors regarding
               case status; Work on K-1 requests.
5-May-20       Correspond with Receiver regarding banking matters.     KAS              0.40       70.00
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5-May-20       Review receivership mail and deal with K-1 and case    KAS              0.60      105.00
               status inquiries.
5-May-20       Corresponded with investors re USCIS.                  MIG              0.30      118.50
5-May-20       Corresponded with Klasko re USCIS.                     MIG              0.20       79.00
5-May-20       Research and prepare password encrypted digital        AMM              0.80       60.00
               copy of 2019 K-1 for investor; Prepare email to
               investor regarding same and the process for updating
               personal contact information.
6-May-20       Prepare payment request for the commercial general     AMM              0.40       30.00
               liability insurance coverage invoice for the 172
               Bogner Dr. property.
6-May-20       Corresponded with Schneider re                         MIG              0.20       79.00
6-May-20       Reviewed spreadsheets received from Kapila to          MIG              0.40      158.00
               prepare for call on intercompany loans.
6-May-20       Attended call on intercompany loans.                   MIG              0.50      197.50
6-May-20       Corresponded with creditors re USCIS.                  MIG              0.30      118.50
6-May-20       Work on receivership banking matters; Follow up        KAS              0.80      140.00
               with investor inquiries; Review receivership mail.
6-May-20       Follow up on asset disposition matters.                KAS              0.30       52.50
7-May-20       Research inquiry from K. Foster regarding trust        KAS              0.40       70.00
               transaction.
7-May-20       Prepared for and attended call with Klasko team and    MIG              0.60      237.00
               economists re jobs report.
7-May-20       Corresponded with investors re USCIS.                  MIG              0.40      158.00
8-May-20       Corresponded with investors re USCIS.                  MIG              0.30      118.50
8-May-20       Work on reactiviation of Desjardin login credentials   KAS              0.50       87.50
               for Receiver's professional.
8-May-20       Correspond with T. Geng, Esquire regarding investor    KAS              0.40       70.00
               refund; Follow up on matters regarding same.
8-May-20       Correspond with accountant regarding investor's tax    KAS              0.10       17.50
               inquiry.
8-May-20       Attend to inquiries regarding K-1s; address changes    KAS              2.00      350.00
               and immigration matters; Work on file organization
               matters.
11-May-20      Correspond with T. Geng, Esq. regarding instructions   KAS              0.50       87.50
               for refund of AnC Bio investor's principal;
               Communications with Receiver regarding same.
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11-May-20      Correspond with accountant regarding LCP Groups        KAS              0.20       35.00
               tax inquiry.
11-May-20      Work on payment and billing matters pertaining to e-   KAS              0.50       87.50
               Discovery services.
11-May-20      Corresponded with creditor and McNeil re K-1.          MIG              0.20       79.00
11-May-20      Corresponded with creditors re sale status.            MIG              0.30      118.50
12-May-20      Reviewed correspondence re insurance claim.            MIG              0.20       79.00
12-May-20      Corresponded with investors re status of USCIS and     MIG              0.40      158.00
               sale.
12-May-20      Correspond with D. McNeil regarding investor           KAS              0.10       17.50
               inquiry.
12-May-20      Respond to email inquiry from immigration counsel      KAS              0.10       17.50
               regarding response to Request for Evidence.
12-May-20      Work on address change updates for investors.          KAS              0.60      105.00
12-May-20      Review correspondence from Peoples United Bank;        KAS              0.40       70.00
               Update records.
12-May-20      Respond to receivership inquIries regarding address    KAS              1.60      280.00
               changes, case status and K-1 request; Review
               receivership mail.
13-May-20      Work on banking and administrative matters.            KAS              0.50       87.50
13-May-20      Work on verifying documents supporting AnC Bio         KAS              0.50       87.50
               Investors refund request.
13-May-20      Confer with J. Levit regarding status reporting        KAS              0.30       52.50
               matters.
13-May-20      Confer with Receiver regarding status; follow up       JML              0.00        0.00
               with special counsel, Receiver and paralegal.
13-May-20      Corresponded with creditors re USCIS.                  MIG              0.30      118.50
13-May-20      Corresponded with       re hotel.                      MIG              0.10       39.50
14-May-20      Corresponded with investors re sale status.            MIG              0.40      158.00
14-May-20      Multiple revisions to Status Report to reflect         JML              0.00        0.00
               Receiver and SEC comments.
14-May-20      Work on investor address change and K-1 requests;      KAS              0.70      122.50
               Review receivership mail.
14-May-20      Correspond regarding payment to B. Stenger for         KAS              0.40       70.00
               meeting with tax appraiser; Prepare and process
               check request for same.
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14-May-20      Preparation of wire request/funds transfer documents     KAS              1.10      192.50
               regarding to AnC Bio Investor Refund Request;
               Update charts re: same.
15-May-20      Follow up regarding $500,000 wire transfer of funds      KAS              0.40       70.00
               for investor refund.
15-May-20      Correspond regarding banking and administrative          KAS              0.20       35.00
               matters.
15-May-20      Reviewed revised notice of filing and corresponded       MIG              0.60      237.00
               re same.
15-May-20      Corresponded with creditors re USCIS.                    MIG              0.30      118.50
18-May-20      Corresponded with investors re status of USCIS.          MIG              0.40      158.00
18-May-20      Work on address changes and K-1 requests; Calls          KAS              1.60      280.00
               with investors regarding immigration inquiries;
               Review incoming mail; Confer with A. McLaughlin
               regarding administrative matters.
18-May-20      Work on payment of professional fees and property        KAS              0.50       87.50
               maintenance expenses.
18-May-20      Multiple correspondence with Receiver and SEC            JML              0.00        0.00
               regarding Receiver's 8th Interim Omnibus
               Application for Fees Expenses
18-May-20      Edited Jay Peak - Receiver's 8th Status Report.          JML              0.00        0.00
18-May-20      Multiple follow up regarding Receiver's 8th Interim      JML              0.00        0.00
               Omnibus Application for Fees & Expenses
18-May-20      Prepare payment request for invoice regarding            AMM              0.60       45.00
               utilities used by the 172 Bogner Dr. property; Prepare
               email to trust regarding same; Prepare email to office
               manager regarding mailing instructions;
19-May-20      Research and prepare password encrypted digital          AMM              0.90       67.50
               copy of K-1 for Investor; Prepare email to investor
               regarding same and documents required to update
               personal information.
19-May-20      Prepare email to paralegal regarding K-1 request         AMM              0.20       15.00
               received from investor.
19-May-20      Edited Receiver's 8th Status Report per SEC's            JML              0.00        0.00
               comments.
19-May-20      Telephone conference with investors regarding case       KAS              1.30      227.50
               status and K-1 requests; Review mail; Monitor
               receivership email requests; Arrange for payment of
               Baker Tilly professional fee invoice.
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19-May-20      Attend to investor address changes, K-1 request and      KAS              1.60      280.00
               immigration inquiries; Follow up re: banking matters.
19-May-20      Corresponded with investors re USCIS. Reviewed           MIG              0.20       79.00
               and approved economist bill.
19-May-20      Reviewed and approved economist bill.                    MIG              0.10       39.50
19-May-20      Conference with Wakschlag re Burke jobs.                 MIG              0.40      158.00
19-May-20      Reviewed Burke jobs report and corresponded with         MIG              0.60      237.00
               Wakschlag re same.
20-May-20      Respond to investor inquiries; Work on                   KAS              0.60      105.00
               administrative matters.
21-May-20      Work on address change and K-1 requests; Update          KAS              0.70      122.50
               charts re: same; Review incoming mail and follow up
               re: same.
21-May-20      Review draft Receiver's letter for Stateside Template.   KAS              0.60      105.00
21-May-20      Corresponded with creditors re sales status.             MIG              0.30      118.50
22-May-20      Corresponded with creditors re USCIS.                    MIG              0.30      118.50
22-May-20      Attend to investor inquiries, address changes and K-1    KAS              0.80      140.00
               requests.
22-May-20      Correspond with J. DeNisi regarding draft letter to      KAS              0.40       70.00
               USCIS.
22-May-20      Revise exhibits for Fee Application                      JML              0.00        0.00
22-May-20      Review and finalize fee application and status report.   JML              0.00        0.00
26-May-20      Edited doc Jay Peak - Receiver's 8th Interim             JML              0.00        0.00
               Omnibus Application for Fees Expenses.
26-May-20      Composed email to Goldberg, Michael, Smiley,             JML              0.00        0.00
               Kimberly: Jay Peak - Receiver's 8th Interim Omnibus
               Application for Fees Expenses
26-May-20      Final review of Fee Application and Status Report.       JML              0.00        0.00
26-May-20      Revise and finalize Receiver's 8th Reports and           KAS              0.00        0.00
               Exhibits for filing with court.
26-May-20      Finalize drafts of Receiver's letters for USCIS denial   KAS              0.50       87.50
               response templates and correspond with J. Denisi re:
               same.
26-May-20      Study and review Receiver's Eighth Report and            JSR              0.00        0.00
               discuss with Godlberg.
26-May-20      Reviewed and executed letter to USCIS.                   MIG              0.40      158.00
26-May-20      Corresponded with investors re status.                   MIG              0.30      118.50
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26-May-20      Final review of status report and fee application.     MIG              0.00        0.00
27-May-20      Conference with investors re status.                   MIG              0.30      118.50
27-May-20      Conference with                                        MIG              0.40      158.00

27-May-20      Reviewed Burke report and corresponded with Denisi     MIG              0.20       79.00
               re green cards.
27-May-20      Corresponded with creditors re USCIS.                  MIG              0.30      118.50
27-May-20      Corresponded with Klasko and Denisi re USCIS.          MIG              0.30      118.50
27-May-20      Correspond regarding immigration matters.              KAS              0.30       52.50
27-May-20      Prepared proposed Order and composed email to          JML              0.00        0.00
               Judge Gayles re proposed Order
27-May-20      Prepare payment request for invoice received from      AMM              0.30       22.50
               vendor; Prepare email to office administrator
               regarding instructions for the mailing of payment.
28-May-20      Research and update investor records per change of     AMM              0.50       37.50
               address requests.
28-May-20      Reviewed USCIS denial and corresponded with            MIG              0.40      158.00
               investors counsel re same.
28-May-20      Corresponded with investors re USCIS issues.           MIG              0.30      118.50
28-May-20      Conference with Tropin and Schneider re                MIG              0.30      118.50
                    .
29-May-20      Conference with Jessica and Klasko re USCIS denial     MIG              0.50      197.50
               of 526 petitions.
29-May-20      Research and prepare email to Jay Peak management      AMM              0.40       30.00
               and accountant regarding change of address form
               received from investor.
1-Jun-20       Research and prepare password encrypted digital        AMM              0.60       45.00
               copy of K-1 for Investor; Prepare email to investor
               regarding same and directions to update personal
               information.
1-Jun-20       Monitor investor email communications and follow       KAS              1.30      227.50
               up regarding same; Follow up with team immigration
               inquiries; Work on investor address updates.
2-Jun-20       Work on immigration, K-1 and address change            KAS              2.20      385.00
               inquires; Follow up with J. DiNisi regarding jobs
               report and petition denials; Follow up with Receiver
               regarding property tax matters.
2-Jun-20       Conference with          re status.                    MIG              0.40      158.00
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2-Jun-20      Corresponded with creditor re USCIS.                   MIG              0.20       79.00
2-Jun-20      Review proposed filing.                                NSS              1.00      395.00
3-Jun-20      Corresponded with investors re USCIS.                  MIG              0.40      158.00
3-Jun-20      Response to email inquiry from A. Pampanin             KAS              0.50       87.50
              regarding Q Burke Investor's immigration status;
              Correspond with Receiver regarding same.
4-Jun-20      Correspond regarding investor K-1 and immigration      KAS              0.70      122.50
              inquiries.
4-Jun-20      Research and prepare email to investor regarding       AMM              0.40       30.00
              information needed to provide digital copy of 2019
              K-1.
4-Jun-20      Research and prepare email to paralegal regarding      AMM              0.30       22.50
              status of receivership inbox.
5-Jun-20      Research and prepare password protected digital copy   AMM              0.70       52.50
              of K-1 for investor; Prepare email to investor
              regarding same.
5-Jun-20      Prepare emails to paralegal regarding status of        AMM              0.20       15.00
              investor matter.
5-Jun-20      Review immigration inquiries, K-1 requests and         KAS              1.30      227.50
              address change updates; Work on file organization
              matters.
5-Jun-20      Corresponded with investor re USCIS.                   MIG              0.30      118.50
8-Jun-20      Corresponded with creditors re USCIS.                  MIG              0.50      197.50
8-Jun-20      Reviewed Burke jobs report to prepare for call with    MIG              0.60      237.00
              Wakschlag.
8-Jun-20      Multiple communications with investors and counsel     KAS              1.30      227.50
              regarding immigration matters, address changes and
              K-1 requests; Update charts with changes.
8-Jun-20      Prepare memo to Receiver regarding banking             KAS              0.70      122.50
              matters.
9-Jun-20      Correspond with M. Goldberg regarding AnC Bio          KAS              0.50       87.50
              escrowed funds.
9-Jun-20      Revise notice to Q Burke investors; Correspond with    KAS              0.60      105.00
              M. Goldberg regarding same.
9-Jun-20      Work on updates to Q Burke investor database.          KAS              1.70      297.50
9-Jun-20      Corresponded with Klasko re USCIS.                     MIG              0.30      118.50
9-Jun-20      Corresponded with         Boyles re Burke.             MIG              0.10       39.50
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9-Jun-20       Conference with Smiley re Burke refunds.               MIG              0.20       79.00
9-Jun-20       Corresponded with investors re USCIS.                  MIG              0.40      158.00
9-Jun-20       Research and prepare emails to Jay Peak                AMM              0.40       30.00
               management and paralegal regarding bank statements
               from 2017 and 2018 for various accounts.
10-Jun-20      Reviewed Baker Tilly report and had conference with    MIG              1.10      434.50
               Raymond James and counsel re Phase 8 escrow.
10-Jun-20      Reviewed letter to Burke investors re status.          MIG              0.30      118.50
10-Jun-20      Conference with                                        MIG              0.30      118.50
10-Jun-20      Conference with Schneider re                           MIG              0.30      118.50
10-Jun-20      Reviewed People's bank demand letter                   MIG              0.60      237.00
                                    .
10-Jun-20      Attend to investor inquiries and K-1 requests; Work    KAS              1.30      227.50
               on billing and administrative matters; Update chart.
10-Jun-20      Finalize notice to Q Burke investors; Correspond       KAS              1.10      192.50
               with Klasko regarding same; Attend to email
               inquiries from investors regarding same.
10-Jun-20      Composed email to Margolies re: Baker Tilly            KAS              0.30       52.50
               Virchow Krause LLP invoice.
11-Jun-20      Work on revised notice to Q Burke investors            KAS              2.20      385.00
               regarding I-526 denials; Multiple follow up
               communications with investors re: same.
11-Jun-20      Work on investor address change and K-1 requests.      KAS              1.20      210.00
11-Jun-20      Correspond with M. Goldberg regarding meeting.         KAS              0.30       52.50
11-Jun-20      Corresponded with investors re K-1s and USCIS.         MIG              0.40      158.00
11-Jun-20      Corresponded with Smiley re Burke immigration          MIG              0.20       79.00
               meeting.
11-Jun-20      Corresponded with Schneider and Tropin and Lifshitz    MIG              0.40      158.00
               re            .
11-Jun-20      Corresponded with Smiley re call from claimant.        MIG              0.20       79.00
12-Jun-20      Corresponded with investors re USCIS.                  MIG              0.40      158.00
12-Jun-20      Corresponded with Jarvo re Jay Peak.                   MIG              0.10       39.50
12-Jun-20      Reviewed banking documents with Smiley re              MIG              0.20       79.00
               available funds.
12-Jun-20      Corresponded with Pieciak re meeting.                  MIG              0.10       39.50
12-Jun-20      Corresponded with Barr re claims.                      MIG              0.20       79.00
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12-Jun-20      Work on yearly renewal payment of Hangar Lot              KAS              0.80      140.00
               Lease with State of Vermont.
12-Jun-20      Review People's United Bank account statement for         KAS              0.20       35.00
               Q Burke; Correspond with S. Lillis regarding same.
15-Jun-20      Correspond with S. Lillis regarding Desjardin             KAS              0.40       70.00
               banking matters.
15-Jun-20      Analyze cash balances in accounts and to determine        KAS              0.60      105.00
               unrestricted funds.
15-Jun-20      Review and address receivership inquiries regarding       KAS              0.40       70.00
               immigration matters and case status.
15-Jun-20      Corresponded with investor and Wright re                  MIG              0.30      118.50
               accommodations policy.
15-Jun-20      Conference with Pieciak and Griffin.                      MIG              0.40      158.00
16-Jun-20      Conference with Vermont re Regional Center.               MIG              0.10       39.50
16-Jun-20      Corresponded with investors the USCIS.                    MIG              0.40      158.00
16-Jun-20      Reviewed banking documents re transfers.                  MIG              0.40      158.00
16-Jun-20      Conference with Smiley re bank accounts.                  MIG              0.20       79.00
16-Jun-20      Work on updating cash accounting and analysis of          KAS              2.30      402.50
               funds for transfer into receivership operating account;
               Call with accounting team re: same.
17-Jun-20      Prepare multiple wire requests pertaining to              KAS              2.00      350.00
               unrestricted cash to be transfer to receivership
               operating account; Multiple communications
               regarding same; Confirm transfer amounts with
               billing team and Receiver.
17-Jun-20      Respond to investor email inquiries regarding address     KAS              0.80      140.00
               changes, K-1's and immigration matters.
17-Jun-20      Call with investor regarding case status.                 KAS              0.20       35.00
17-Jun-20      Reviewed banking documents and conference with            MIG              0.50      197.50
               Smiley re unrestricted cash and reimbursement of
               property expenses.
17-Jun-20      Reviewed            ruling.                               MIG              0.40      158.00
17-Jun-20      Research and update investor information; Prepare         AMM              0.70       52.50
               email to paralegal regarding same; Save electronic
               correspondence and documents to investor file;
               Prepare email to investor's attorney regarding
               additional identification for investor.
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18-Jun-20      Research and prepare email to paralegal regarding       AMM              0.60       45.00
               investor records.
18-Jun-20      Prepared for and attended conference with               MIG              0.50      197.50
               replacement Regional Center.
18-Jun-20      Corresponded with investors re USCIS.                   MIG              0.30      118.50
18-Jun-20      Corresponded re Miller estate.                          MIG              0.20       79.00
18-Jun-20      Reviewed bank documents.                                MIG              0.20       79.00
18-Jun-20      Prepare wire request for unrestricted funds;            KAS              0.40       70.00
               Communications with trust team regarding same.
18-Jun-20      Review and edit Q Burke Mountain Resort Hotel and       KAS              0.30       52.50
               Conference Center LP contact list to reflect attorney
               contact information.
18-Jun-20      Edited doc Jay Peak Elite Webview Notes of Cash In      KAS              0.30       52.50
               Accounts 6-16-20.
18-Jun-20      Continue to work on trust accounting matters;           KAS              2.90      507.50
               Arrange for payments to professional pursuant to
               Court's fee award; Multiple communications with
               Receiver and accounting team re: same.
19-Jun-20      Corresponded with investors re USCIS and sale           MIG              0.30      118.50
               status.
19-Jun-20      Corresponded with oak point.                            MIG              0.20       79.00
22-Jun-20      Corresponded with investors re USCIS.                   MIG              0.40      158.00
22-Jun-20      Corresponded with DeNisi re job creation.               MIG              0.30      118.50
22-Jun-20      Follow up on payment of professional fees and           KAS              0.00        0.00
               expenses.
22-Jun-20      Attend to multiple requests for K-1's and address       KAS              1.40      245.00
               change updates; Follow up with D. McNeil regarding
               immigration inquiry.
22-Jun-20      Correspond with immigration counsel regarding           KAS              0.20       35.00
               notice of denial.
23-Jun-20      Work on payment of invoice for e-Discovery services     KAS              0.50       87.50
               and correspond with Receiver regarding same.
23-Jun-20      Attend to inquires regarding K-1s, immigration issues   KAS              1.40      245.00
               and address changes; Work on case administrative
               matters.
23-Jun-20      Conference with State of Vermont auditor re regional    MIG              1.00      395.00
               center.
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23-Jun-20      Conference with DeNisi and potential new regional       MIG              0.50      197.50
               center.
23-Jun-20      Reviewed correspondence from Vermont auditor.           MIG              0.20       79.00
24-Jun-20      Drafted fee agreement.                                  MIG              0.30      118.50
24-Jun-20      Reviewed and executed USCIS letter.                     MIG              0.30      118.50
24-Jun-20      Corresponded with investors re USCIS.                   MIG              0.30      118.50
24-Jun-20      Corresponded with Smiley re bank accounts.              MIG              0.10       39.50
24-Jun-20      Work on banking matters and communications with         KAS              0.90      157.50
               Receiver regarding same.
24-Jun-20      Correspond with S. Lillis regarding bank documents      KAS              0.60      105.00
               and research reqeusted information.
24-Jun-20      Review and revise draft letter to USCIS from J.         KAS              0.40       70.00
               DeNisi and correspond regarding same.
25-Jun-20      Follow up regarding payment of data room for            KAS              0.20       35.00
               securing records.
25-Jun-20      Corresponded with investors re status.                  MIG              0.30      118.50
25-Jun-20      Conference call with lawyers and replacement            MIG              0.60      237.00
               regional center.
25-Jun-20      Reviewed and executed letter to JP Morgan Chase.        MIG              0.20       79.00
26-Jun-20      Corresponded with investor re K-1.                      MIG              0.20       79.00
26-Jun-20      Conference with          Raymond re regional center.    MIG              0.20       79.00
26-Jun-20      Prepare payment request for invoice; Prepare email to   AMM              0.40       30.00
               office manager regarding payment records and
               mailing instructions.
26-Jun-20      Research and prepare email to paralegal regarding       AMM              0.80       60.00
               investor's request for 2019 K-1; Prepare email to
               investor regarding K-1 inquiry.
29-Jun-20      Corresponded with creditors re status.                  MIG              0.30      118.50
29-Jun-20      Reviewed letters to USCIS.                              MIG              0.20       79.00
29-Jun-20      Review draft letters from J. DeNisis regarding I-829    KAS              0.40       70.00
               template response.
29-Jun-20      Review and analyze incoming mail and respond to         KAS              0.60      105.00
               investor immigration inquiries.
30-Jun-20      Review draft correspondence to USCIS over               KAS              0.50       87.50
               Receiver's signature to support Golf & Mountain I-
               829 template; Correspond with Receiver re: same.
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30-Jun-20      Work on investor K-1 inquiries and address changes.    KAS              0.50       87.50
30-Jun-20      Corresponded with investors re USCIS.                  MIG              0.30      118.50
30-Jun-20      Research and prepare password encrypted K-1 for        AMM              0.80       60.00
               investor; Prepare email to investor regarding same.
1-Jul-20       Conference with investors re USCIS issues.             MIG              0.30      118.50
1-Jul-20       Reviewed bank account balances and transfers.          MIG              0.70      276.50
1-Jul-20       Reviewed and executed USCIS letters.                   MIG              0.20       79.00
1-Jul-20       Work on finalizing USCIS letter/statement for I-829    KAS              0.70      122.50
               template and correspond with DeNisi.
1-Jul-20       Review receivership mail; Attend to investor           KAS              1.50      262.50
               immigration and K-1 inquiries; Work on address
               updates; Call with accountant regarding tax filings.
2-Jul-20       Work on address updates, K-1 request and               KAS              1.70      297.50
               correspond regarding immigration inquires; Prepare
               updates to Receiver's records.
2-Jul-20       Corresponded with investors re USCIS.                  MIG              0.30      118.50
2-Jul-20       Corresponded with Denisi re Regional Center.           MIG              0.20       79.00
2-Jul-20       Prepare email to accountant regarding the certified    AMM              0.50       37.50
               mailing receipts for various 2019 tax returns.
2-Jul-20       Research and prepare email to paralegal regarding      AMM              0.40       30.00
               investor's K-1 request and name change; Prepare
               password encrypted digital copy of 2019 K-1 for
               investor; Prepare email to investor regarding same
               and the requirements to update personal information.
3-Jul-20       Corresponded with investors re USCIS.                  MIG              0.30      118.50
3-Jul-20       Corresponded with DeNisi re USCIS and new              MIG              0.30      118.50
               Regional Center.
6-Jul-20       Research bank information relating to Q Burke          KAS              0.50       87.50
               escrow accounts and correspond with Receiver
               regarding same.
6-Jul-20       Work on investor inquiries including address changes   KAS              1.70      297.50
               and K-1 requests; Review incoming receivership mail
               and determine action to be taken, if any; Work on
               administrative matters.
7-Jul-20       Review incoming mail; Monitor and respond to           KAS              0.60      105.00
               investor inquiries.
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7-Jul-20       Multiple communications with Receiver regarding        KAS              1.20      210.00
               Phase 7 status; Prepare chart regarding Phase 7
               redeployed investors.
7-Jul-20       Drafted response to Vermont auditor re Phase 7         MIG              0.70      276.50
               investors and use of Raymond James settlement
               proceeds.
7-Jul-20       Conference re bank accounts.                           MIG              0.30      118.50
7-Jul-20       Research and prepare email to investor regarding       AMM              0.60       45.00
               information needed to provide password encrypted
               digital copy of 2019 K-1.
8-Jul-20       Reviewed amended appraisal.                            MIG              0.40      158.00
8-Jul-20       Conference with Phase 8 investor lawyer re escrow.     MIG              0.40      158.00
8-Jul-20       Corresponded with investors re USCIS.                  MIG              0.30      118.50
8-Jul-20       Research and obtain information requested by           KAS              0.60      105.00
               Receiver regarding limited partnerships and
               administrative fee paid.
9-Jul-20       Research veracity of demand letter sent to Receiver.   JML              0.40      158.00
9-Jul-20       Corresponded with Kim re payment of bill.              MIG              0.10       39.50
9-Jul-20       Corresponded with creditor re USCIS.                   MIG              0.40      158.00
9-Jul-20       Research and prepare password encrypted digital        AMM              0.60       45.00
               copy of 2019 K-1 for investor; Prepare email
               regarding same to investor.
10-Jul-20      Follow up regarding demand for payment forwarded       JML              0.20       79.00
               from Receiver.
10-Jul-20      Follow up with Klasko regarding immigration            KAS              0.70      122.50
               inquiries; Work on database updates.
13-Jul-20      Attend to investor inquiries regarding K-1's and       KAS              0.50       87.50
               immigration issues.
13-Jul-20      Conference with creditor re sale process.              MIG              0.20       79.00
13-Jul-20      Corresponded with Vermont auditor re immigration       MIG              0.40      158.00
               status.
13-Jul-20      Corresponded with investors counsel re USCIS.          MIG              0.30      118.50
13-Jul-20      Organize, scan, and save digital copies of certified   AMM              0.40       30.00
               mail cards from the mailing of tax filings.
14-Jul-20      Conference call with new Regional Center to finalize   MIG              0.40      158.00
               agreement.
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14-Jul-20      Conference with Denisi to discuss new Regional        MIG              0.20       79.00
               Center.
14-Jul-20      Corresponded with investors re immigration issues.    MIG              0.30      118.50
14-Jul-20      Corresponded with Lundy re K-1s.                      MIG              0.30      118.50
14-Jul-20      Analyze and assemble records requested by Receiver    KAS              0.80      140.00
               regarding investor administrative fees paid.
14-Jul-20      Correspond with accountant regarding Q Burke tax      KAS              0.20       35.00
               lien notice.
14-Jul-20      Correspond regarding People's United invoices for     KAS              0.60      105.00
               fees posted to several frozen accounts; Confer with
               Receiver on matter.
14-Jul-20      Respond to address change request and immigration     KAS              0.80      140.00
               inquiries.
15-Jul-20      Confer with Receiver regarding fees assessed on       KAS              0.40       70.00
               frozen accounts at People's United Bank.
15-Jul-20      Review correspondence from L. Johnson regarding       KAS              0.10       17.50
               Burke lien.
15-Jul-20      Work on case administrative matters, address change   KAS              1.10      192.50
               and K-1 requests.
15-Jul-20      Work with Receiver on finalizing template letter to   KAS              0.50       87.50
               USCIS and correspond with Klasko re: same.
15-Jul-20      Correspond with D. McNeil regarding escrow fees.      KAS              0.10       17.50
15-Jul-20      Corresponded with McNeil and accountants re K1        MIG              0.30      118.50
               issues .
15-Jul-20      Reviewed and revised DeNisi letters re new regional   MIG              0.50      197.50
               center and corresponded re same.
15-Jul-20      Organize, scan and save digital copies of monthly     AMM              0.40       30.00
               statements received from bank; Prepare email to Jay
               Peak management regarding same.
16-Jul-20      Conference with DeNisi re Regional Center.            MIG              0.20       79.00
16-Jul-20      Conference with investor re sale status.              MIG              0.20       79.00
16-Jul-20      Corresponded re replacement regional center.          MIG              0.20       79.00
16-Jul-20      Correspond regarding immigration issues; Work on      KAS              0.60      105.00
               address change updates; Review mail.
17-Jul-20      Work on professional fee payments; Call with          KAS              0.30       52.50
               investor regarding case status.
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17-Jul-20      Review of incoming receivership mail; Work on          KAS              0.40       70.00
               administrative matters.
17-Jul-20      Corresponded re tax issues.                            MIG              0.20       79.00
17-Jul-20      Corresponded with creditors re USCIS and status.       MIG              0.40      158.00
20-Jul-20      Corresponded with creditors we USCIS.                  MIG              0.30      118.50
20-Jul-20      Conference with Schneider re                           MIG              0.60      237.00

20-Jul-20      Work on address change requests and immigration        KAS              0.70      122.50
               inquiries.
21-Jul-20      Review and respond to email inquiry from E.            KAS              0.40       70.00
               Perkinson at People's United Bank regarding fee
               statements.
21-Jul-20      Work on K-1 requests and banking matters.              KAS              0.70      122.50
21-Jul-20      Research and update investor information per change    AMM              0.70       52.50
               of address forms received from investors; Save
               change of address forms to investor folders.
22-Jul-20      Prepare request for tax payment to Vermont's           AMM              0.60       45.00
               Department of Taxes; Prepare email to trust to
               request payment; Prepare certified mailing or
               payment and accompanying tax form.
22-Jul-20      Research and update investor information per change    AMM              0.40       30.00
               of address from.
22-Jul-20      Work on address changes, K-1 requests and follow       KAS              0.80      140.00
               up with immigration template requests.
22-Jul-20      Correspond with City National Bank regarding W-9.      KAS              0.30       52.50
22-Jul-20      Corresponded with investors re status.                 MIG              0.30      118.50
23-Jul-20      Conference with investor re status.                    MIG              0.20       79.00
23-Jul-20      Work on K-1 request and address updates.               KAS              1.20      210.00
23-Jul-20      Telephone conference with investor regarding case      KAS              0.30       52.50
               status.
23-Jul-20      Review and track eDiscovery payments due and           KAS              0.60      105.00
               owing and arrange for payment of same.
23-Jul-20      Correspond with S. Lillis regarding banking matters;   KAS              0.70      122.50
               Work on administrative matters.
23-Jul-20      Scan and save financial records of tax payment to      AMM              0.50       37.50
               Vermont's Dept. of Taxes; Prepare mailing for tax
               form and payment.
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23-Jul-20      Review and save monthly bank statements received         AMM              0.60       45.00
               from People's United bank accounts
24-Jul-20      Monitor receivership inquiries and calls; Work on        KAS              1.50      262.50
               case administrative matters; Review mail.
24-Jul-20      Research information request by Receiver regarding       KAS              0.40       70.00
               Phase 1 investor releases.
24-Jul-20      Corresponded with investors the USCIS.                   MIG              0.30      118.50
24-Jul-20      Corresponded with DeNisi re regional center.             MIG              0.30      118.50
24-Jul-20      Drafted letter to Russ Barr re                 .         MIG              0.40      158.00
27-Jul-20      Corresponded with creditors re USCIS.                    MIG              0.40      158.00
27-Jul-20      Receipt and review of invoices from Klakso Law           KAS              0.30       52.50
               Partners and update files for future payment.
27-Jul-20      Monitor receivership inquiries; Work on case             KAS              0.60      105.00
               administrative matters.
27-Jul-20      Review correspondence from Intralinks and arrange        KAS              0.10       17.50
               for payment of same.
27-Jul-20      Review and follow up with immigration counsel            KAS              0.70      122.50
               regarding Penthouse Suites RFE response
               documentation.
27-Jul-20      Prepare payment request per invoice received from        AMM              0.40       30.00
               vendor; Prepare email to trust regarding same.
28-Jul-20      Prepare email to office manager regarding invoice        AMM              0.10        7.50
               payment.
28-Jul-20      Research and correspond with Receiver regarding          KAS              0.40       70.00
               Vermont auditor inquiry.
28-Jul-20      Corresponded with tax appeal attorney.                   MIG              0.20       79.00
28-Jul-20      Corresponded with Vermont auditor re Stateside.          MIG              0.20       79.00
28-Jul-20      Reviewed and approved tax expense checks for             MIG              0.30      118.50
               Bogner and Newport properties.
29-Jul-20      Corresponded with investors re USCIS.                    MIG              0.30      118.50
29-Jul-20      Prepare email to paralegal regarding status of invoice   AMM              0.10        7.50
               payment records.
29-Jul-20      Scan, save financial records, and prepare mailing for    AMM              0.60       45.00
               Vermont property tax payments; Prepare email to
               paralegal regarding same.
29-Jul-20      Scan 2019 tax form; Prepare email to Receiver            AMM              0.40       30.00
               regarding signature needed for filing of same.
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30-Jul-20      Prepare certified mailing for 2019 tax form; Scan and   AMM              0.40       30.00
               save digital copy of endorsed tax form and certified
               mailing information; Prepare email to legal
               administrative assistant regarding mailing status of
               same.
30-Jul-20      Corresponded with investors re USCIS.                   MIG              0.30      118.50
30-Jul-20      Reviewed and executed Penthouse Suites letters to       MIG              0.30      118.50
               USCIS.
30-Jul-20      Finalize letters for Receiver in connection with        KAS              0.60      105.00
               Penthouse Suites template.
30-Jul-20      Work on K-1 requests and address changes; Review        KAS              0.80      140.00
               incoming receivership mail and attend to same.
30-Jul-20      Prepare update for website.                             KAS              0.40       70.00
30-Jul-20      Correspond with M. Goldberg regarding investor          KAS              0.10       17.50
               USCIS inquiry.
31-Jul-20      Follow up with estate administrative payments; Work     KAS              1.60      280.00
               on address changes and K-1 requests; Update charts
               and files re: same. Follow up with McLaughlin
               regarding records upkeep.
31-Jul-20      Reviewed and executed expense checks.                   MIG              0.20       79.00
31-Jul-20      Corresponded with DeNisi re regional center.            MIG              0.20       79.00
31-Jul-20      Corresponded with Taylor re          .                  MIG              0.20       79.00
3-Aug-20       Work on investor K-1 requests and address changes       KAS              0.80      140.00
               updates; Follow up regarding tax filings.
3-Aug-20       Review docket and work on website updates.              KAS              0.60      105.00
3-Aug-20       Prepare follow up email to investor regarding change    AMM              0.30       22.50
               of name and address request.
4-Aug-20       Work on address change requests; Attend to banking      KAS              0.80      140.00
               matters; Review mail.
4-Aug-20       Corresponded with Schneider re                          MIG              0.30      118.50
5-Aug-20       Conference with Surgeon re status report.               MIG              0.20       79.00
5-Aug-20       Corresponded with investor re USCIS.                    MIG              0.20       79.00
5-Aug-20       Review investor case status and immigration inquiry;    KAS              0.60      105.00
               Correspond with Receiver regarding same; Work on
               K-1 requests.
5-Aug-20       Prepare mailing and certified mailing cards for tax     AMM              2.10      157.50
               forms; Scan and save digital copies of tax forms and
               respective certified mailing cards.
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6-Aug-20       Review of correspondence from Phelps Dunbar LLP            KAS              0.30       52.50
               regarding OBE Insurance E&O policy status.
6-Aug-20       Reviews correspondence re new regional center.             MIG              0.20       79.00
7-Aug-20       Corresponded with investors re USCIS.                      MIG              0.30      118.50
7-Aug-20       Reviewed and executed checks.                              MIG              0.40      158.00
10-Aug-20      Corresponded with investors re status.                     MIG              0.30      118.50
10-Aug-20      Reviewed letter from investor's counsel and follow         KAS              0.40       70.00
               up re: same.
10-Aug-20      Review invoice for Newport property tax protest and        KAS              0.30       52.50
               arrange for payment of same.
10-Aug-20      Prepare certified mail forms for tax filings; Scan tax     AMM              1.10       82.50
               filings and certified mail forms; Save scans to
               imanage.
10-Aug-20      Prepare email to LAA regarding tax filings.                AMM              0.10        7.50
11-Aug-20      Research and prepare email to paralegal regarding          AMM              0.10        7.50
               banking records.
11-Aug-20      Review receivership mail; and to investor inquiries;       KAS              0.60      105.00
               Correspond with D. McNeil regarding reservation
               inquiry.
11-Aug-20      Corresponded with investors re return of funds.            MIG              0.20       79.00
12-Aug-20      Corresponded with investors re USCIS.                      MIG              0.30      118.50
12-Aug-20      Follow up with People's United Bank regarding              KAS              0.20       35.00
               account charges.
12-Aug-20      Prepare check request for payment of Downs Rachlin         KAS              0.20       35.00
               invoice.
12-Aug-20      Respond to investor inquiries; Review incoming             KAS              0.60      105.00
               mail.
12-Aug-20      Save scans of tax filings and their respective certified   AMM              0.40       30.00
               mailing cards to imanage.
13-Aug-20      Prepare mailing for vendor payment; Scan and profile       AMM              0.30       22.50
               payment information in imanage.
13-Aug-20      Composed email to trust regarding check requests.          KAS              0.20       35.00
13-Aug-20      Monitor investor inquiries and requests.                   KAS              0.40       70.00
13-Aug-20      Corresponded with investors re USCIS.                      MIG              0.20       79.00
13-Aug-20      Reviewed correspondence re regional center.                MIG              0.20       79.00
17-Aug-20      Corresponded with investors re USCIS.                      MIG              0.30      118.50
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17-Aug-20      Correspond with investor's daughter regarding K-1        KAS              0.50       87.50
               and address change; Update receivership records.
17-Aug-20      Prepare mailing and certified mailing forms for tax      AMM              1.10       82.50
               filings; Scan tax filings and certified mailing forms;
               Profile scans in file management system.
18-Aug-20      Correspond with investor regarding completion of         KAS              0.40       70.00
               IRS Form W-9.
19-Aug-20      Prepare pass code encrypted copy of K-1 to be            KAS              0.50       87.50
               emailed to investor's representative and correspond
               regarding same.
19-Aug-20      Work on address updates and correspond with              KAS              0.40       70.00
               accounting and financial teams regarding same.
19-Aug-20      Telephone conference with S. Mathews of People's         KAS              0.70      122.50
               United regarding account charges on frozen accounts;
               Prepare and send email with enclosures to S.
               Mathews regarding same.
19-Aug-20      Corresponded with creditor re USCIS.                     MIG              0.20       79.00
20-Aug-20      Corresponded with investors re USCIS).                   MIG              0.30      118.50
20-Aug-20      Correspond with M. Goldberg regarding City of            KAS              0.10       17.50
               Newport tax notice.
21-Aug-20      Review and correspond with Receiver regarding            KAS              0.30       52.50
               Supplemental Special Counsel Engagement
               Agreement for Vermont litigation.
21-Aug-20      Corresponded with Prescott re tax appeal.                MIG              0.30      118.50
21-Aug-20      Corresponded with creditors re USCIS.                    MIG              0.40      158.00
24-Aug-20      Reviewed and executed tax documents.                     MIG              0.70      276.50
24-Aug-20      Telephone conference with investor regarding             KAS              0.50       87.50
               expired permanent resident alien card and case status;
               Follow up re: same.
24-Aug-20      Process and udpate files regarding investor address      KAS              0.70      122.50
               change requests; Review incoming mail; Update
               electronic records.
24-Aug-20      Composed email to A. McLaughlin regarding                KAS              0.10       17.50
               IntraLinks Invoice.
25-Aug-20      Gather documents in preparation of fee application.      JML              0.00        0.00
25-Aug-20      Corresponded with Kellogg and Schneider re               MIG              0.20       79.00
                    .
25-Aug-20      Corresponded with DeNisi re regional center.             MIG              0.20       79.00
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25-Aug-20       Corresponded with Mack and Tatge re the solar            MIG                0.20        79.00
                contract.
25-Aug-20       Prepare payment request for invoice received from        AMM                0.40        30.00
                vendor; Prepare mailing for payment; Scan and
                profile payment records.
25-Aug-20       Prepare email to paralegal regarding utilities payment   AMM                0.30        22.50
                and inquiry regarding banking accounts;
26-Aug-20       Corresponded re USCIS.                                   MIG                0.40       158.00
26-Aug-20       Review miscellaneous third party mail and determine      KAS                0.40        70.00
                whether follow up is required.
26-Aug-20       Work on investor address change and K-1 requests;        KAS                0.80       140.00
                Update charts.
26-Aug-20       Review email to professionals regarding coordination     KAS                0.00         0.00
                of filing omnibus fee application; Begin assembly of
                information pertaining to same.
27-Aug-20       Work on investor address change and K-1 requests;        KAS                0.60       105.00
                Update charts.
27-Aug-20       Work on K-1 request and address changes.                 KAS                0.60       105.00
27-Aug-20       Gather information for fee application.                  JML                0.00         0.00
27-Aug-20       Corresponded with investors re status.                   MIG                0.30       118.50
28-Aug-20       Correspondence with investors re USCIS.                  MIG                0.20        79.00
28-Aug-20       Review correspondence from successor trustee in          KAS                0.80       140.00
                investor bankruptcy matter along with notice of
                appointment; Draft response email and update
                records.
31-Aug-20       Review monthly e-Discovery invoice and correspond        KAS                0.10        17.50
                with Receiver regarding same.
31-Aug-20       Work on case administrative matters.                     KAS                0.40        70.00
31-Aug-20       Corresponded with DeNisi re new regional center.         MIG                0.20        79.00
                      Subtotal for Code 504 CASE ADMINISTRATION                           390.30    91,956.50

Task Code:      515
2-Mar-20        Review and organize tax records.                         AMM                1.80       135.00
3-Mar-20        Review and organize tax records.                         AMM                1.40       105.00
3-Mar-20        Review and organize tax records.                         AMM                2.80       210.00
3-Mar-20        Reviewed tax documents.                                  MIG                0.30       118.50
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3-Mar-20       Correspond with R. Marquard regarding JPBRP tax          KAS              0.20       35.00
               matters.
4-Mar-20       Corresponded with accountants re 2019 tax returns        MIG              0.40      158.00
               and reviewed returns.
4-Mar-20       Review and organize tax records.                         AMM              2.80      210.00
5-Mar-20       Review and organize tax records.                         AMM              2.80      210.00
5-Mar-20       Work on finalizing Jay Peak Hotel Suites Stateside       KAS              0.60      105.00
               LP state and federal tax filings and correspond with
               accountant regarding same.
6-Mar-20       Finalize Stateside tax returns for State filing and      KAS              0.70      122.50
               process payment; Organize records.
6-Mar-20       Review and organize tax records.                         AMM              3.40      255.00
9-Mar-20       Reviewed and executed tax returns.                       MIG              0.40      158.00
11-Mar-20      Confer with A. McLaughlin regarding tax filings.         KAS              0.30       52.50
12-Mar-20      Research and prepare email to paralegal regarding the    AMM              0.30       22.50
               status of tax documents from accountant.
13-Mar-20      Prepare mailing for Tax payments; Organize financial     AMM              0.80       60.00
               records.
13-Mar-20      Research matter regarding Tax payments; conference       AMM              0.40       30.00
               call with accountants regarding corrected payments.
13-Mar-20      Work on submission of State of Vermont tax               KAS              0.60      105.00
               extensions and payment of fees for Jay Peak
               partnerships.
13-Mar-20      Correspond with L. Johnson regarding Jay Peak tax        KAS              0.20       35.00
               matters.
17-Mar-20      Review correspondence from New York Department           KAS              0.10       17.50
               of Finance regarding unpaid tax liabilities pertaining
               to GSI of Dade County.
17-Mar-20      Follow up on tax filing matters with accountant;         KAS              0.40       70.00
               Organize Stateside tax filing information; Confer
               with A. McLaughlin regarding same.
17-Mar-20      Corresponded with Johnson re tax matter.                 MIG              0.20       79.00
18-Mar-20      Scan and organize certified mailing receipts received    AMM              0.40       30.00
               for tax return mailings.
19-Mar-20      Assemble tax records at the request of D. McNeil.        KAS              0.40       70.00
23-Mar-20      Review of correspondence from taxing authorities         KAS              0.30       52.50
               and follow up with accountants regarding same.
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24-Mar-20      Follow up with accountant regarding Phase 2 federal   KAS              0.10       17.50
               tax return.
30-Mar-20      Correspond with D. McNeil regarding tax return.       KAS              0.10       17.50
31-Mar-20      Correspond with Receiver regarding finalization of    KAS              0.20       35.00
               Phase 2 tax filings.
1-Apr-20       Follow up with Receiver's accountant regarding tax    KAS              0.40       70.00
               matters and download draft return for Receiver's
               review and approval.
1-Apr-20       Review of correspondence from the Internal Revenue    KAS              0.10       17.50
               Service regarding status of prompt assessment
               request for Jay Peak tax filing.
2-Apr-20       Review of correspondence from IRS regarding           KAS              0.30       52.50
               penalty removal for AnC Bio VT LLC tax filings.
3-Apr-20       Composed email to L Johnson re Response from          KAS              0.20       35.00
               Texas Comptroller regarding HBO final Franchise
               Report and Penalty
6-Apr-20       Correspond with L. Johnson regarding tax matters.     KAS              0.20       35.00
6-Apr-20       Organize receivership tax records.                    KAS              0.40       70.00
6-Apr-20       Corresponded with Endicott re property tax appeal.    MIG              0.20       79.00
7-Apr-20       Reviewed and executed tax documents for phase 2 .     MIG              0.40      158.00
7-Apr-20       Corresponded with Prescott and EndIcott re tax        MIG              0.20       79.00
               appeal.
8-Apr-20       Prepared for and attended conference with Endicott    MIG              0.40      158.00
               and Prescott re tax appeals.
14-Apr-20      Review of correspondence from State of Vermont        KAS              0.30       52.50
               regarding 2018 tax refund payment.
15-Apr-20      Correspond with A. McLaughlin regarding property      KAS              0.10       17.50
               tax payments.
15-Apr-20      Corresponded with Prescott re tax appeals.            MIG              0.30      118.50
15-Apr-20      Prepare email to Paralegal regarding payment          AMM              0.20       15.00
               approval for quarterly taxes on receivership
               properties.
16-Apr-20      Prepared for and attended call re tax appeal.         MIG              0.30      118.50
16-Apr-20      Corresponded with Gordon and Kopp re tax appeal.      MIG              0.20       79.00
17-Apr-20      Confer with accountant regarding tax filing.          KAS              0.20       35.00
17-Apr-20      Correspond with L. Johnson regarding Federal Tax      KAS              0.20       35.00
               Lien notice.
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20-Apr-20      Prepared for and attended conference call in tax            MIG              0.70      276.50
               challenge.
22-Apr-20      Correspond with L. Johnson regarding Jay Peak               KAS              0.30       52.50
               accounting matters.
21-May-20      Reviewed Prescott correspondence re tax appeal.             MIG              0.10       39.50
17-Jun-20      Corresponded re tax grievance hearing.                      MIG              0.20       79.00
19-Jun-20      Corresponded with Prescott and Wright the tax               MIG              0.30      118.50
               appeal.
22-Jun-20      Review correspondence from IRS regarding                    KAS              0.20       35.00
               additional filing requirement for Stateside and
               correspond with accountant regarding same.
24-Jun-20      Correspond with L. Foster regarding IRS Form 8804           KAS              0.10       17.50
               and POA for Jay Peak Stateside.
24-Jun-20      Prepared for and attended conference call with              MIG              0.80      316.00
               Prescott Endicott and Mack re tax appeal.
25-Jun-20      Reviewed and executed tax returns.                          MIG              0.40      158.00
25-Jun-20      Follow up with Receiver regarding tax forms.                KAS              0.20       35.00
26-Jun-20      Correspond with Receiver regarding tax matters.             KAS              0.10       17.50
29-Jun-20      Multiple conferences with accounting team regarding         KAS              0.60      105.00
               trust banking matters.
6-Jul-20       Assist with finalization and execution of receivership      KAS              1.30      227.50
               entity tax filings pursuant to accountant's instructions.
6-Jul-20       Reviewed and executed tax documents for jay Peak            MIG              0.60      237.00
               and Burke.
7-Jul-20       Corresponded with Vermont auditor re information.           MIG              0.20       79.00
7-Jul-20       Corresponded with Smiley re information for auditor.        MIG              0.30      118.50
7-Jul-20       Review tax filings and correspond with team                 KAS              0.50       87.50
               regarding preparation for submission to State of
               Vermont and IRS.
10-Jul-20      Review tax notice regarding Q Burke lien and follow         KAS              0.40       70.00
               up with accountant.
13-Jul-20      Corresponded with attorney re tax appeal.                   MIG              0.30      118.50
14-Jul-20      Corresponded with Vermont auditor re                        MIG              0.30      118.50
                                 .
16-Jul-20      Multiple communications regarding Vermont                   KAS              0.40       70.00
               estimated tax vouchers and payment of same.
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16-Jul-20      Correspond regarding Newport Property Tax protest      KAS              0.50       87.50
               and fees and arrange for payment to local counsel.
16-Jul-20      Phone conference with paralegal regarding tax forms.   AMM              0.30       22.50
16-Jul-20      Analyze and prepare email to paralegal regarding       AMM              0.20       15.00
               question pertaining to Vermont tax payments.
20-Jul-20      Conference with Prescott re tax appeal.                MIG              0.20       79.00
21-Jul-20      Corresponded with a Vermont auditor re questions.      MIG              0.20       79.00
21-Jul-20      Corresponded with Davis re accounting.                 MIG              0.20       79.00
23-Jul-20      Corresponded with Prescott re tax appeal and           MIG              0.20       79.00
               reviewed proposed letter.
23-Jul-20      Conference call with LAA regarding tax forms due in    AMM              0.40       30.00
               September; Prepare email to attorney regarding same.
29-Jul-20      Reviewed and executed Jay Peak Hotel Suites tax        MIG              0.50      197.50
               return.
30-Jul-20      Correspond with L. Johnson regarding tax returns.      KAS              0.30       52.50
3-Aug-20       Reviewed and executed tax returns for Jay Peak,        MIG              1.20      474.00
               QResorts and other entities.
4-Aug-20       Research and assemble documents for auditors           KAS              0.50       87.50
               request and correspond regarding same.
7-Aug-20       Corresponded re Jay Peak tax appeal with Prescott      MIG              0.30      118.50
               and Wright.
10-Aug-20      Corresponded with Prescott re tax appeal.              MIG              0.20       79.00
11-Aug-20      Conference with Attorney re tax appeal.                MIG              0.30      118.50
12-Aug-20      Reviewed tax documents.                                MIG              0.40      158.00
13-Aug-20      Reviewed and executed ANC Bio and Jay Resort tax       MIG              0.80      316.00
               returns.
13-Aug-20      Corresponded re tax appeal.                            MIG              0.30      118.50
18-Aug-20      Reviewed Prescott correspondence re Newport taxes.     MIG              0.20       79.00
18-Aug-20      Corresponded with Prescott re Burke tax proceeding.    MIG              0.20       79.00
18-Aug-20      Review status of unpaid property taxes and follow up   KAS              0.50       87.50
               re: same.
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                                    Subtotal for Code 515                                 43.20    8,554.00

Task Code:      530 LITIGATION
2-Mar-20        Conference with Schneider and Carvall & Scribner         MIG               0.80      316.00
                attorneys re settlement.
4-Mar-20        Corresponded with Barr re settlement status.             MIG               0.20       79.00
9-Mar-20        Conference with Surgeon re third party complaints.       MIG               0.20       79.00
9-Mar-20        Review file and prepare response to lawsuit.             NSS               1.20      474.00
10-Mar-20       Corresponded with Schneider re                           MIG               0.10       39.50

11-Mar-20       Conference with Barr re settlements.                     MIG               0.30      118.50
11-Mar-20       Confer with N. Surgeon regarding Quiros' bar order       KAS               0.80      140.00
                and other case matters; Research and review
                Receiver's settlement with Quiros regarding bar
                order.
11-Mar-20       Receipt and review complaint served on Receiver in       KAS               0.30       52.50
                connection with Mountain Brook Condominium v.
                Coughlin, et al. mortgage foreclosure.
12-Mar-20       Corresponded with Schneider re                           MIG               0.50      197.50

17-Mar-20       Conference with Tropin re                                MIG               0.30      118.50
18-Mar-20       Corresponded with Barr and Schneider re                  MIG               0.30      118.50
                                 .
19-Mar-20       Reviewed C&S settlement correspondence.                  MIG               0.20       79.00
19-Mar-20       Corresponded with Barr re                                MIG               0.20       79.00
19-Mar-20       Conference with Schneider, Lipshitz and Tropin           MIG               0.40      158.00

20-Mar-20       Corresponded with Barr re lawsuits.                      MIG               0.20       79.00
20-Mar-20       Reviewed                                             .   MIG               0.60      237.00
                Corresponded with investors re USCIS and
                immigration issues.
24-Mar-20       Conference with Schneider re                   .         MIG               0.20       79.00
24-Mar-20       Corresponded with Barr re                                MIG               0.30      118.50
24-Mar-20       Corresponded with Simonds re continuance and             MIG               0.20       79.00
                reviewed stipulation.
25-Mar-20       Conference with Schneider re            .                MIG               0.20       79.00
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26-Mar-20      Corresponded with Schneider re                                   .           MIG              0.30      118.50
26-Mar-20      Corresponded with Barr re                .                                   MIG              0.20       79.00
30-Mar-20      Corresponded with Schneider re                                   .           MIG              0.20       79.00
31-Mar-20      Corresponded with Barr re                                                    MIG              0.50      197.50

2-Apr-20       Confer with         regarding USCIS cases and                                NSS              1.00      395.00
               proposed stipulation.
3-Apr-20       Conference with Barr re              .                                       MIG              0.50      197.50
6-Apr-20       Conference with Schneider re                                         .       MIG              0.10       39.50
6-Apr-20       Revised tolling agreement                    .                               MIG              0.60      237.00
6-Apr-20       Corresponded with Barr                                   .                   MIG              0.20       79.00
6-Apr-20       Reviewed Traband correspondence re               .                           MIG              0.10       39.50
6-Apr-20       Conference with TJ Donovan re                                            .   MIG              0.50      197.50
6-Apr-20       Review correspondence from Stephanie Traband (.2);                           JLR              1.10      434.50
               review previous emails regarding
               (.6); telephone call with Stephanie Traband (.3).
7-Apr-20       Reviewed and executed                                tolling                 MIG              0.20       79.00
               agreement.
8-Apr-20       Corresponded with Barr re                                                .   MIG              0.20       79.00
8-Apr-20       Reviewed and executed                                                .       MIG              0.20       79.00
8-Apr-20       Conference with Donovan re                                   .               MIG              0.30      118.50
8-Apr-20       Review correspondence involving privilege assertion                          JLR              2.30      908.50
                                          (.6); Telephone call
                                                       (.5); send e
               mails to                 (1.2).
9-Apr-20       Corresponded with Barr re                                                    MIG              0.30      118.50
9-Apr-20       Conference with Pieciak re                           .                       MIG              0.90      355.50
10-Apr-20      Reviewed Scribner demand                                                     MIG              0.60      237.00

13-Apr-20      Reviewed letter                                                              MIG              0.30      118.50
14-Apr-20      Corresponded with Barr re        .                                           MIG              0.20       79.00
15-Apr-20      Conference with Tom Archer the Degreenia lawsuit.                            MIG              0.30      118.50
15-Apr-20      Corresponded with Schneider and Kellogg re                                   MIG              0.10       39.50
                     .
15-Apr-20      Review and revise proposed stipulation.                                      NSS              1.00      395.00
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17-Apr-20      Confer with immigration counsel. Finalize terms of              NSS              0.80      316.00
               stipulation.
17-Apr-20      Reviewed and revised                       .                    MIG              0.60      237.00
17-Apr-20      Conference with Barr re status.                                 MIG              0.50      197.50
20-Apr-20      Reviewed Schneider correspondence re              .             MIG              0.10       39.50
21-Apr-20      Draft revised stipulations concerning USCIS.                    NSS              1.40      553.00
                                                regarding
               stipulations.
22-Apr-20      Conference with Schneider re                                    MIG              0.30      118.50
28-Apr-20      Corresponded with Schneider re                          .       MIG              0.20       79.00
1-May-20       Finalize and file stipulations to resolve actions re:           NSS              0.80      316.00
               adjudication of petitions.
4-May-20       Conference with Schneider, Tropin and Lifshitz re               MIG              0.50      197.50
                           .
4-May-20       Conference with Tropin re                                       MIG              0.40      158.00
                                      .
4-May-20       Reviewed                                                        MIG              0.70      276.50

5-May-20       Corresponded with Tropin and Schneider re                       MIG              0.30      118.50
                             .
5-May-20       Corresponded with Schneider re                              .   MIG              0.20       79.00
7-May-20       Reviewed                           conference with              MIG              0.40      158.00
               Schneider re revisions.
7-May-20       Conference with Schneider, Lifshitz and Tropin re               MIG              0.40      158.00

7-May-20       Reviewed                                                        MIG              0.50      197.50
                       .
8-May-20       Conference with Schneider and local counsel re                  MIG              0.30      118.50
               status.
12-May-20      Confer with immigration counsel regarding request               NSS              0.50      197.50
               for information.
13-May-20      Corresponded with Jeff Schneider re                             MIG              0.30      118.50
15-May-20      Corresponded with Barr re status of litigation.                 MIG              0.40      158.00
18-May-20      Researched case law                                   .         MIG              0.80      316.00
18-May-20      Conference with Visconti and Schneider re                       MIG              0.30      118.50
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18-May-20      Spoke with Tropin re                                        MIG              0.20       79.00
18-May-20      Conference with Schneider re          .                     MIG              0.20       79.00
20-May-20      Attended Iron Shore oral argument.                          MIG              1.00      395.00
20-May-20      Conference with Tropin and Schneider re                     MIG              0.40      158.00

20-May-20      Conference with Schneider re                                MIG              0.30      118.50
21-May-20      Corresponded with Barr re                     .             MIG              0.40      158.00
21-May-20      Corresponded with counsel re                                MIG              0.20       79.00
                    .
22-May-20      Correspond regarding the Estate of DeGreenia                KAS              0.70      122.50
               discovery request.
27-May-20      Conference with Schneider re                                MIG              0.10       39.50
29-May-20      Conference with Schneider re                                MIG              0.30      118.50

29-May-20      Conference with Schneider re                                MIG              0.30      118.50

1-Jun-20       Conference with Schneider re                      and       MIG              0.40      158.00
               other issues.
1-Jun-20       Reviewed and executed                                   .   MIG              0.20       79.00
1-Jun-20       Conference with Schneider Tropin and Lipshitz re            MIG              0.60      237.00
                                .
1-Jun-20       Follow up on third party discovery matters.                 KAS              0.40       70.00
1-Jun-20       Review response to notice by third parties.                 NSS              0.90      355.50
2-Jun-20       Conference with Schneider re                                MIG              0.40      158.00
                    .
2-Jun-20       Review order granting motion to withdraw as counsel         JLR              0.20       79.00
               (.2).
4-Jun-20       Confer with Court                             .             NSS              0.50      197.50
4-Jun-20       Researched                       .                          MIG              1.80      711.00
4-Jun-20       Prepared for and attended call                              MIG              0.80      316.00
5-Jun-20       Researched                                         and      MIG              1.70      671.50
               conference with Schneider re same.
5-Jun-20       Conference with Tal, Harley and Jeff re                 .   MIG              0.80      316.00
5-Jun-20       Corresponded with Barr re Vermont suit.                     MIG              0.20       79.00
8-Jun-20       Conference with Barr re Vermont lawsuit.                    MIG              0.20       79.00
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11-Jun-20      Conference with Barr re lawsuit.                                MIG              0.30      118.50
12-Jun-20      Reviewed                                                        MIG              0.20       79.00
15-Jun-20      Conference with Schneider re                                    MIG              0.30      118.50
17-Jun-20      Conference with Barr re status.                                 MIG              0.30      118.50
18-Jun-20      Corresponded with Lifshitz re                                   MIG              0.20       79.00
22-Jun-20      Corresponded with Schneider re                                  MIG              0.30      118.50
23-Jun-20      Conference call with                                            MIG              0.30      118.50

24-Jun-20      Conference with Schneider re                                    MIG              0.30      118.50
26-Jun-20      Reviewed and approved                                           MIG              0.40      158.00
29-Jun-20      Corresponded with Schneider re                         .        MIG              0.20       79.00
29-Jun-20      Reviewed                                                        MIG              0.40      158.00
29-Jun-20      Conference with Schneider re                                    MIG              0.30      118.50
29-Jun-20      Reviewed and approved order of relief from stay.                MIG              0.10       39.50
30-Jun-20      Conference with Schneider re            mediation.              MIG              0.40      158.00
1-Jul-20       Conference with                                            re   MIG              0.40      158.00
               hearing.
1-Jul-20       Conference with Schneider re                                    MIG              0.40      158.00
1-Jul-20       Conference with Barr                                            MIG              0.40      158.00
2-Jul-20       Corresponded with Schneider re                                  MIG              0.60      237.00


2-Jul-20       Reviewed mediation statement.                                   MIG              1.10      434.50
6-Jul-20       Conference with Schneider re                                    MIG              0.40      158.00
                                                         .
6-Jul-20       Reviewed mediation statement.                                   MIG              0.40      158.00
8-Jul-20       Reviewed Degreenia interrogatories and request to               MIG              0.70      276.50
               produce and documents and corresponded with
               counsel.
8-Jul-20       Conference with Schneider re                       .            MIG              0.50      197.50
8-Jul-20       Corresponded with Tropin re                                     MIG              0.10       39.50
9-Jul-20       Corresponded re                    with Schneider.              MIG              0.20       79.00
10-Jul-20      Corresponded with Schneider re                                  MIG              0.80      316.00

10-Jul-20      Conference with Schneider re                   .                MIG              0.40      158.00
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10-Jul-20      Finalize Receiver's discovery responses in DeGreenia        KAS              0.50       87.50
               litigation.
13-Jul-20      Reviewed                                                    MIG              0.40      158.00
                                                           .
14-Jul-20      Reviewed Scribner reply to mediation statement.             MIG              0.30      118.50
15-Jul-20      Conference with Schneider re                                MIG              0.80      316.00
                        .
16-Jul-20      Corresponded with Schneider re                          .   MIG              0.20       79.00
17-Jul-20      Numerous correspondence with Schneider and                  MIG              0.40      158.00
               mediator                   .
17-Jul-20      Reviewed mediation statement to prepare for                 MIG              0.30      118.50
               mediation.
21-Jul-20      Corresponded with Schneider and mediator                    MIG              0.40      158.00
                                .
22-Jul-20      Prepared for and attended Scribner mediation.               MIG              7.80    3,081.00
23-Jul-20      Conference with Schneider                                   MIG              0.50      197.50
                                                               .
23-Jul-20      Prepared for and attended call re                           MIG              0.80      316.00
                       .
23-Jul-20      Conference with Schneider re                                MIG              0.40      158.00
24-Jul-20      Corresponded with Schneider re              .               MIG              0.30      118.50
24-Jul-20      Conference with Tropin, Lifshitz and Schneider              MIG              0.40      158.00

27-Jul-20      Reviewed, revised and executed third set of                 MIG              0.40      158.00
               interrogatories.
28-Jul-20      Corresponded with Stephanie                                 MIG              0.20       79.00
30-Jul-20      Conference with Schneider and Tropin re             .       MIG              0.20       79.00
30-Jul-20      Conference with Barr re Vermont.                            MIG              0.30      118.50
30-Jul-20      Conference with Schneider                                   MIG              0.60      237.00

31-Jul-20      Conference with Barr re a Vermont action.                   MIG              0.30      118.50
31-Jul-20      Corresponded with Schneider                             .   MIG              0.20       79.00
4-Aug-20       Conference with                         .                   MIG              0.40      158.00
5-Aug-20       Conference with                re status.                   MIG              0.20       79.00
5-Aug-20       Corresponded with         re documents.                     MIG              0.20       79.00
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5-Aug-20       Conference with Schneider re documents.                                  MIG              0.20       79.00
5-Aug-20       Conference with Levenson re                      .                       MIG              0.20       79.00
6-Aug-20       Corresponded with                                    .                   MIG              0.20       79.00
6-Aug-20       Corresponded with                                            .           MIG              0.20       79.00
6-Aug-20       Conference with Barr                                                     MIG              0.30      118.50
7-Aug-20       Conference with Barr                                                     MIG              0.40      158.00
10-Aug-20      Review                                       .                           MIG              0.40      158.00
10-Aug-20      Correspond with J. Schneider                                             KAS              0.40       70.00

11-Aug-20      Conference with Schneider re         .                                   MIG              0.30      118.50
11-Aug-20      Corresponded with Tropin re      .                                       MIG              0.10       39.50
11-Aug-20      Corresponded with Barr re                                                MIG              0.20       79.00
11-Aug-20      Reviewed fee agreement                                                   MIG              0.30      118.50

12-Aug-20      Conference with Schneider re                                         .   MIG              0.30      118.50
12-Aug-20      Reviewed Schneider email re              .                               MIG              0.20       79.00
13-Aug-20      Corresponded with Schneider re                                           MIG              0.30      118.50
14-Aug-20      Corresponded with Tropin and Schneider re                        .       MIG              0.20       79.00
17-Aug-20      Conference with Schneider re                                             MIG              0.30      118.50
19-Aug-20      Corresponded with Prescott re                .                           MIG              0.40      158.00
19-Aug-20      Corresponded with Barr re                                                MIG              0.20       79.00
19-Aug-20      Conference with Schneider re         .                                   MIG              0.20       79.00
19-Aug-20      Corresponded with Tropin re Vermont.                                     MIG              0.20       79.00
19-Aug-20      Corresponded with Davis re                               .               MIG              0.30      118.50
21-Aug-20      Conference with Tropin and Schneider re                                  MIG              0.50      197.50
                        .
21-Aug-20      Conference with Schneider re         .                                   MIG              0.40      158.00
26-Aug-20      Conference with Schneider re                                 .           MIG              0.50      197.50
26-Aug-20      Reviewed Scribner documents.                                             MIG              0.80      316.00
27-Aug-20      Conference with Schneider re                                             MIG              1.20      474.00
                                                                    .
27-Aug-20      Conference with Pieciak and Schneider re                                 MIG              0.70      276.50
                                     .
31-Aug-20      Conference with Schneider re         .                                   MIG              0.30      118.50
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31-Aug-20       Corresponded with Schneider and Tropin re                   MIG               0.30      118.50

                             Subtotal for Code 530 LITIGATION                                81.00   31,313.00

Task Code:      532
9-Mar-20        Email communication with process server re status of        KSC               0.20       35.00
                outstanding summonses and amended complaint to be
                served.
9-Mar-20        Conference with Schneider re                            .   MIG               0.30      118.50
10-Mar-20       Email communication with Paralegal Specialist with          KSC               0.50       87.50
                US Attorneys Office re obtaining proper address to
                serve Summons and Amended Complaint for
                Kenneth Cuccinelli and Sarah Kendall.
11-Mar-20       Email communication with process server re status of        KSC               0.60      105.00
                outstanding summonses and amended complaint to be
                served; email communication with Paralegal
                Specialist of US Attorney's Office re process of
                serving government companies.
16-Mar-20       Draft Notice of Filing Proof of Service of Summons          KSC               1.90      332.50
                and Amended Complaint on Defendants pursuant to
                Court's order; file revised Notice of Filing with
                Court.
16-Mar-20       Finalize notice of filing to court regarding service of     NSS               0.30      118.50
                process.
19-Mar-20       Corresponded with Kapila re                .                MIG               0.20       79.00
25-Mar-20       Numerous email communications with process server           KSC               0.30       52.50
                re status of service of process for all defendants.
3-Apr-20        Confer with AUSA regarding status of cases.                 NSS               1.20      474.00
6-Apr-20        Follow-up re return of service via certified mail for       KSC               0.20       35.00
                U.S. Attorney's Office - service of Complaint,
                Amended Complaint and all Summonses.
9-Apr-20        Follow-up re return of service via certified mail for       KSC               0.20       35.00
                Sarah Kendall - service of Complaint, Amended
                Complaint and all Summonses.
20-Apr-20       Confer with AUSA regarding stipulations and USCIS           NSS               1.80      711.00
                discussions. Draft update to immigration counsel.
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                                     Subtotal for Code 532                               7.70    2,183.50

Task Code:      533
19-Mar-20       Corresponded re privileged documents.                   MIG              0.10       39.50
25-Mar-20       Conference with Kellogg re            .                 MIG              0.20       79.00
26-Mar-20       Corresponded with Kellogg re              .             MIG              0.20       79.00
30-Mar-20       Corresponded with Schneider re                .         MIG              0.20       79.00
27-May-20       Work on DeGreenia discovery matters.                    KAS              1.60      280.00
28-May-20       Telephone conference with T. Aicher and R. Sweet        KAS              0.60      105.00
                regarding discovery matters in connection with
                DeGreenia litigation.
28-May-20       Work on documentation regarding document                KAS              1.30      227.50
                production in response to subpoena.
29-May-20       Call with R. Sweet and T. Aicher, Esquire regarding     KAS              0.70      122.50
                DeGreenia discovery request.
29-May-20       Correspond with S. Traband regarding corporate          KAS              0.30       52.50
                records.
3-Jun-20        Review and analyze receivership records responsive      KAS              1.40      245.00
                to DeGreenia Discovery Request; Upload records to
                FTP portal for transfer to outside counsel; Prepare
                memo to R. Sweet regarding same.
9-Jun-20        Composed email to Receiver's counsel in eGreenia        KAS              0.20       35.00
                regarding status of discovery
19-Jun-20       Reviewed Ediscovery privileged report.                  MIG              0.20       79.00
8-Jul-20        Review draft proposed discovery responses in            KAS              0.40       70.00
                DeGreenia litigation.
                                     Subtotal for Code 533                               7.40    1,493.00

Task Code:      535
10-Mar-20       Draft contempt letter.                                  NSS              0.00        0.00
11-Mar-20       Prepare and finalize response to third-party            NSS              0.00        0.00
                complaint.
11-Mar-20       Confer with Receiver regarding permanent injunction     KAS              0.00        0.00
                and bar orders in response to third party litigation.
11-Mar-20       Reviewed and revised demand letter to Potius and        MIG              0.00        0.00
                May re contempt violations.
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11-Mar-20      Corresponded with Miller re                                     MIG              0.00        0.00

11-Mar-20      Corresponded with Surgeon                      .                MIG              0.00        0.00
12-Mar-20      Revised Quiros letter                                           MIG              0.00        0.00
13-Mar-20      Conference with Levenson               .                        MIG              0.00        0.00
17-Mar-20      Conference with Miller associate                   .            MIG              0.00        0.00
17-Mar-20      Conference with Schneider re                                    MIG              0.00        0.00
                  .
18-Mar-20      Corresponded with Pocius re extension.                          MIG              0.00        0.00
19-Mar-20      Corresponded with Schneider re                         .        MIG              0.00        0.00
19-Mar-20      Corresponded re                        .                        MIG              0.00        0.00
19-Mar-20      Conference with Surgeon re         .                            MIG              0.00        0.00
19-Mar-20      Conference with Simonds re         .                            MIG              0.00        0.00
19-Mar-20      Conference with Pocius re                                  r.   MIG              0.00        0.00
19-Mar-20      Conference with Schneider re                                    MIG              0.00        0.00
                      .
20-Mar-20      Conference with Schneider re                                    MIG              0.00        0.00
27-Mar-20      Corresponded with Simonds re                                    MIG              0.00        0.00
27-Mar-20      Conference with Schneider re P                                  MIG              0.00        0.00

1-Apr-20       Reviewed correspondence re deadlines in SSVR                    MIG              0.00        0.00
6-Apr-20       Conference with Schneider re                                    MIG              0.00        0.00
14-Apr-20      Corresponded with Schneider re             .                    MIG              0.50      197.50
15-Apr-20      Conference with Simonds, Schneider and Traband re               MIG              0.00        0.00

15-Apr-20      Conference with Schneider and Pocius                       .    MIG              0.00        0.00
15-Apr-20      Researched                                                      MIG              0.00        0.00
17-Apr-20      Corresponded with Schneider re             .                    MIG              0.00        0.00
22-Apr-20      Corresponded with Schneider and Pocius                          MIG              0.00        0.00

22-Apr-20      Review Order to Show Cause.                                     KSC              0.00        0.00
22-Apr-20      Research information on                                         KAS              0.00        0.00

22-Apr-20      Prepare notice regarding                                        NSS              0.00        0.00
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23-Apr-20      Respond to email from S. Traband                     KAS              0.00        0.00

23-Apr-20      Confer with M. Goldberg regarding                    KAS              0.00        0.00




23-Apr-20      Drafted contempt motion against SSVR corresponded    MIG              0.00        0.00
               with
23-Apr-20      Conference with Schneider, Wakschlag, Viscounti      MIG              0.00        0.00
               and Corbishly
23-Apr-20      Drafted motion for order to show cause.              MIG              0.00        0.00
24-Apr-20      Researched                                           MIG              0.00        0.00

27-Apr-20      Drafted motion for contempt.                         MIG              0.00        0.00
27-Apr-20      Reviewed and revised letter                          MIG              0.00        0.00

27-Apr-20      Draft            letter regarding                    NSS              0.00        0.00

28-Apr-20      Reviewed revisions to memorandum in support of       MIG              0.00        0.00
               order to show cause

30-Apr-20      Reviewed and revised memorandum for order to         MIG              0.00        0.00
               show cause
30-Apr-20      Prepare update exhibit chart based on revisions to   KAS              0.00        0.00
               motion to show cause.
30-Apr-20      Telephone conference with J. Schneider and M.        KAS              0.00        0.00
               Goldberg
30-Apr-20      Research and prepare exhibits to Motion to Show      KAS              0.00        0.00
               Cause
30-Apr-20      Analysis of                                          KAS              0.00        0.00

30-Apr-20      Multiple communications with M. Goldberg             KAS              0.00        0.00
               regarding

30-Apr-20      Review and revise motion for order to show cause.    NSS              0.00        0.00
1-May-20       Finalize motion for order to show cause.             NSS              0.00        0.00
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1-May-20       Multiple revisions to draft motion for order to show   KAS              0.00        0.00
               cause; Research, revise and organize exhibits in
               support of same; Preparation of documents for court
               filing.
1-May-20       Call with M. Goldberg and J. Schneider                 KAS              0.00        0.00

1-May-20       Final review and correspondence                        MIG              0.00        0.00

1-May-20       Corresponded with Schneider                            MIG              0.00        0.00
1-May-20       Conference with Levenson                               MIG              0.00        0.00
4-May-20       Review motion for order to show cause and prepare      NSS              0.00        0.00
               proposed order.
7-May-20       Conference with Wakschlag                              MIG              0.00        0.00
7-May-20       Research                                               MIG              0.00        0.00

8-May-20       Review Court's order grating motion to show cause      KAS              0.00        0.00
               and follow up with Receiver regarding same.
11-May-20      Perform research in Relativity                         KAS              0.00        0.00


13-May-20      Corresponded with Wakschlag                            MIG              0.00        0.00

14-May-20      Prep for strategy call                                 NSS              0.00        0.00

15-May-20      Finalize and file notice of supplemental filing re:    NSS              0.00        0.00
               order to show cause.
15-May-20      Prepared for and attended meeting                      MIG              0.00        0.00

15-May-20      Reviewed case law                                      MIG              0.00        0.00

15-May-20      Research information request by Receiver in            KAS              0.00        0.00
               connection with reply brief.
15-May-20      Study and review                                       JSR              0.00        0.00

16-May-20      Review response from SSVR parties.                     NSS              0.00        0.00
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17-May-20      Review draft of proposed reply and provide              NSS              0.00        0.00
               comments.
17-May-20      Conference call with Schneider, Traband, Surgeon,       MIG              0.00        0.00
               Wakschlag and Corbishley
17-May-20      Reviewed draft of reply to response to order to show    MIG              0.00        0.00
               cause.
18-May-20      Conference with Levenson                                MIG              0.00        0.00
18-May-20      Conference with Schneider                               MIG              0.00        0.00
18-May-20      Reviewed draft reply to response to order to show       MIG              0.00        0.00
               cause.
18-May-20      Conference with Wakschlag, Corbishley, Surgeon,         MIG              0.00        0.00
               Schneider and Traband
18-May-20      Finalize reply in support of motion for order to show   NSS              0.00        0.00
               cause. Numerous conferences regarding reply and
               hearing. Prepare for hearing on motion for order to
               show cause.
18-May-20      Assemble information for Receiver in preparation for    KAS              0.00        0.00
               court hearing.
19-May-20      Prepare for and attend hearing on motion for order to   NSS              0.00        0.00
               show cause.
19-May-20      Prepared for and attended order to show cause           MIG              0.00        0.00
               hearing.
19-May-20      Conference with Surgeon and Schneider                   MIG              0.00        0.00
22-May-20      Drafted motion to dismiss counter claims                MIG              0.00        0.00

26-May-20      Finished first draft of motion to dismiss.              MIG              0.00        0.00
29-May-20      Corresponded re                                         MIG              0.00        0.00
1-Jun-20       Conference with Levenson and Schneider                  MIG              0.00        0.00
1-Jun-20       Conference with Schneider re                            MIG              0.00        0.00
1-Jun-20      Researched case law on                                   MIG              0.00        0.00
                            .
2-Jun-20       Reviewed              draft of contempt response and    MIG              0.00        0.00

2-Jun-20       Drafted motion to dismiss third party complaint         MIG              0.00        0.00

3-Jun-20       Reviewed        memo            .                       MIG              0.00        0.00
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3-Jun-20       Finalized motion to dismiss                              MIG              0.00        0.00

3-Jun-20       Finalize and file response to SSVR Parties' Notices.     NSS              0.00        0.00
9-Jun-20       Finalized motion to dismiss counterclaim.                MIG              0.00        0.00
10-Jun-20      Conference with Schneider, Simonds and Traband           MIG              0.00        0.00

15-Jun-20      Reviewed and revised motion to dismiss                   MIG              0.00        0.00
               counterclaim.
15-Jun-20      Review SSVR reply to contempt motion.                    MIG              0.00        0.00
15-Jun-20      Study and review Joint Motion for Order to Show          JSR              0.00        0.00
               Cause Re: Sauveur Valley

25-Jun-20      Corresponded with Surgeon and Schneider                  MIG              0.00        0.00

29-Jun-20      Reviewed SSVR discovery response.                        MIG              0.00        0.00
30-Jun-20      Conference with Surgeon and Schneider                    MIG              0.00        0.00

1-Jul-20       Confer about and prepare for hearing                     NSS              0.00        0.00

2-Jul-20       Prepared for and attended order to show cause            MIG              0.00        0.00
               hearing.
6-Jul-20       Study and review Order re:                       .       JSR              0.00        0.00
               Communicate with Goldberg re: same.
13-Jul-20      Reviewed SSVR motion to dismiss.                         MIG              0.00        0.00
20-Jul-20      Conference with Schneider re                         .   MIG              0.00        0.00
28-Jul-20      Reviewed and revised reply to SSVR's response to         MIG              0.00        0.00
               motion to dismiss.
6-Aug-20       Conference with Schneider re        .                    MIG              0.00        0.00
10-Aug-20      Reviewed counsel agreement re               .            MIG              0.00        0.00
11-Aug-20      Corresponded with Schneider re              .            MIG              0.00        0.00
12-Aug-20      Reviewed SSVR reply to motion to dismiss.                MIG              0.00        0.00
14-Aug-20      Reviewed and executed discovery certifications           MIG              0.00        0.00
                                                           .
18-Aug-20      Corresponded with Schneider re          .                MIG              0.00        0.00
25-Aug-20      Corresponded with Schneider and Miller re            .   MIG              0.00        0.00
                                    Subtotal for Code 535                                0.50      197.50
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               Total Fees for Services Rendered............................................................................$181,644.50



Date                                      Disbursements                                                                       Value

6-Mar-20     POSTAGE                                                                                       6.90
11-Mar-20    POSTAGE                                                                                       7.80
11-Mar-20    POSTAGE                                                                                       7.60
11-Mar-20    POSTAGE                                                                                       7.60
11-Mar-20    POSTAGE                                                                                      16.00
11-Mar-20    POSTAGE                                                                                       2.00
12-Mar-20    POSTAGE                                                                                       0.50
12-Mar-20    POSTAGE                                                                                       7.60
12-Mar-20    POSTAGE                                                                                       8.40
13-Mar-20    POSTAGE                                                                                       0.50
13-Mar-20    POSTAGE                                                                                       6.90
13-Mar-20    POSTAGE                                                                                      13.80
13-Mar-20    POSTAGE                                                                                       6.90
13-Mar-20    POSTAGE                                                                                       7.80
13-Mar-20    POSTAGE                                                                                       8.20
13-Mar-20    POSTAGE                                                                                      13.80
17-Mar-20    POSTAGE                                                                                       5.00
23-Mar-20    POSTAGE                                                                                       0.50
1-Apr-20     POSTAGE                                                                                       0.50
1-Apr-20     POSTAGE                                                                                       0.50
30-Apr-20    POSTAGE                                                                                       0.50
14-May-20    POSTAGE                                                                                       0.50
14-May-20    POSTAGE                                                                                       0.50
18-May-20    POSTAGE                                                                                       0.50
19-May-20    POSTAGE                                                                                       0.50
27-May-20    POSTAGE                                                                                       6.50
28-May-20    POSTAGE                                                                                       0.50
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Date                           Disbursements                                             Value
10-Jun-20    POSTAGE                                                     0.50
15-Jun-20    POSTAGE                                                     0.50
22-Jun-20    POSTAGE                                                     1.50
22-Jun-20    POSTAGE                                                     0.50
29-Jun-20    POSTAGE                                                     1.50
29-Jun-20    POSTAGE                                                     0.50
29-Jun-20    POSTAGE                                                     3.50
20-Jul-20    POSTAGE                                                     0.50
20-Jul-20    POSTAGE                                                     8.70
20-Jul-20    POSTAGE                                                     1.60
20-Jul-20    POSTAGE                                                     2.00
20-Jul-20    POSTAGE                                                     1.95
20-Jul-20    POSTAGE                                                     1.30
20-Jul-20    POSTAGE                                                     2.00
20-Jul-20    POSTAGE                                                     0.50
20-Jul-20    POSTAGE                                                     0.65
20-Jul-20    POSTAGE                                                     0.65
23-Jul-20    POSTAGE                                                     6.90
29-Jul-20    POSTAGE                                                     0.50
29-Jul-20    POSTAGE                                                     6.90
5-Aug-20     POSTAGE                                                     1.95
5-Aug-20     POSTAGE                                                     1.50
13-Aug-20    POSTAGE                                                     0.50
17-Aug-20    POSTAGE                                                     8.20
17-Aug-20    POSTAGE                                                     8.20
17-Aug-20    POSTAGE                                                     8.40
17-Aug-20    POSTAGE                                                     0.50
17-Aug-20    POSTAGE                                                     1.95
17-Aug-20    POSTAGE                                                     1.30
17-Aug-20    POSTAGE                                                     0.50
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Date                               Disbursements                                                    Value
17-Aug-20    POSTAGE                                                                8.40
17-Aug-20    POSTAGE                                                                8.40
17-Aug-20    POSTAGE                                                                8.80
17-Aug-20    POSTAGE                                                                8.40
17-Aug-20    POSTAGE                                                                8.20
Total for POSTAGE                                                                                  256.15

5-Mar-20     DUPLICATING - COLOR                                                72.00
Total for DUPLICATING - COLOR                                                                        72.00

31-Jul-20    EDISCOVERY - Inv 551 July 2020                                   4,217.84
Total for EDISCOVERY                                                                              4,217.84

30-Apr-20    PACER PUBLIC RECORDS SYSTEM Pacer Charges                          32.60
31-May-20    PACER PUBLIC RECORDS SYSTEM Pacer Charges                          13.70
Total for PACER PUBLIC RECORDS SYSTEM                                                                46.30

3-Mar-20     DUPLICATING                                                            1.20
3-Mar-20     DUPLICATING                                                            0.20
4-Mar-20     DUPLICATING                                                            0.20
4-Mar-20     DUPLICATING                                                            0.60
6-Mar-20     DUPLICATING                                                            0.20
13-Mar-20    DUPLICATING                                                            8.20
13-Mar-20    DUPLICATING                                                            0.40
13-Mar-20    DUPLICATING                                                            0.80
13-Mar-20    DUPLICATING                                                            0.40
14-Mar-20    DUPLICATING - KELLY S. CONNOLLY: Duplicating -                     67.33
             Copies and Postage of Certified Mail of Amended Complaint
             and Summonses. KC/3982
17-Mar-20    DUPLICATING                                                            1.20
23-Mar-20    DUPLICATING                                                            0.40
1-Apr-20     DUPLICATING                                                            0.40
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Date                                Disbursements                                                      Value
10-Jun-20    DUPLICATING                                                               0.20
Total for DUPLICATING                                                                                   81.73

20-Mar-20    FEDERAL EXPRESS Airbill: 391183194671 per 6158 Invoice                15.02
             No: 696413960 Ship Dt: 03/17/20
24-Apr-20    FEDERAL EXPRESS Airbill: 391956727201 per 0805 Invoice                14.98
             No: 699425939 Ship Dt: 04/16/20
3-Jul-20     FEDERAL EXPRESS Airbill: 813871967961 per 0803 Invoice                10.19
             No: 705544555 Ship Dt: 06/30/20
10-Jul-20    FEDERAL EXPRESS Airbill: 813871967940 per 0803 Invoice                10.19
             No: 706266754 Ship Dt: 07/06/20
21-Aug-20    FEDERAL EXPRESS Airbill: 813871967858 per 0803 Invoice                10.24
             No: 710087612 Ship Dt: 08/17/20
Total for FEDERAL EXPRESS                                                                               60.62

6-Mar-20     SERVICE OF PROCESS - BURKE PROCESS SERVICE INC                       350.00
             - Process Server for Summons Out of State, Rush Service.
             Inv#BII2020001720. NS/4602
19-Mar-20    SERVICE OF PROCESS - BURKE PROCESS SERVICE INC                       175.00
             - Fee for attempted out-of-state service of process on Kenneth
             Cuccinelli, Acting Director, United States Citizenship and
             Immigration Services. NS/4602
25-Mar-20    SERVICE OF PROCESS - BURKE PROCESS SERVICE INC                       175.00
             - Attempted service of Amended Complaint on UNITED
             STATES CITIZENSHIP AND IMMIGRATION SERVICES
             on March 25, 2020.. NS/4602
25-Mar-20    SERVICE OF PROCESS - BURKE PROCESS SERVICE INC                       175.00
             - Attempted service of Amended Complaint on UNITED
             STATES CITIZENSHIP AND IMMIGRATION SERVICES,
             OFFICE OF THE GENERAL COUNSEL on March 25, 2020..
             NS/4602
25-Mar-20    SERVICE OF PROCESS - BURKE PROCESS SERVICE INC                       175.00
             - Attempted service of Amended Complaint on KENNETH
             CUCCINELLI on March 5, 2020.. NS/4602
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Date                                                   Disbursements                                                                                 Value
27-Mar-20            SERVICE OF PROCESS - BURKE PROCESS SERVICE INC                                                         350.00
                     - Fee for Service of Process on Sarah Kendall, Chief,
                     Immigrant Investor Program Office, United States Citizenship
                     and Immigration Services (served at two addresses) on
                     February 20, 2020. Inv#BII2020001716. NS/4602
Total for SERVICE OF PROCESS                                                                                                                     1,400.00

16-Mar-20            WESTLAW RESEARCH 031620 REBAK,JOSEPH L MIAMI                                                           183.00
13-Apr-20            WESTLAW RESEARCH 041320 REBAK,JOSEPH L MIAMI                                                             91.50
2-May-20             WESTLAW RESEARCH 050220 REBAK,JOSEPH L MIAMI                                                           366.00
11-May-20            WESTLAW RESEARCH 051120 REBAK,JOSEPH L MIAMI                                                             91.50
18-May-20            WESTLAW RESEARCH 051820 SURGEON,NAIM MIAMI                                                             107.25
15-Jun-20            WESTLAW RESEARCH 061520 LEVITT,JOAN FORT                                                               162.00
                     LAUDERDALE
20-Jul-20            WESTLAW RESEARCH 072020 REBAK,JOSEPH L MIAMI                                                             91.50
3-Aug-20             WESTLAW RESEARCH 080320 REBAK,JOSEPH L MIAMI                                                           593.25
17-Aug-20            WESTLAW RESEARCH 081720 REBAK,JOSEPH L MIAMI                                                           640.50
31-Aug-20            WESTLAW RESEARCH 083120 REBAK,JOSEPH L MIAMI                                                           431.25
Total for WESTLAW RESEARCH                                                                                                                       2,757.75

16-Mar-20            OTHER CHARGES - KELLY S. CONNOLLY: Other - Copies                                                      112.85
                     and Postage of Certified Mail of Amended Complaint and
                     Summonses. KC/3982
Total for OTHER CHARGES                                                                                                                             112.85

Total Disbursements .................................................................................................................................$9,005.24
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           Initial   Name                                Hours            Amount
           AJW       A. J. WAMSLEY                        15.80           6,241.00
           AMM       A. M. MCLAUGHLIN                     77.80           5,835.00
           CRC       C. R. COTLER                         12.30           2,152.50
           JLR       J. L. REBAK                           3.60           1,422.00
           JML       J.M. LEVIT                           78.90          31,165.50
           JSR       J. S. ROBBINS                         0.50            197.50
           KAS       K. A. SMILEY                        229.80          40,215.00
           KSC       K. S. CONNOLLY                        3.90            682.50
           LCM       L. C. MARSH                           2.90           1,145.50
           MIG       M. I. GOLDBERG                      197.50          78,012.50
           MJG       M.J. GOTTLIEB                         4.70           1,856.50
           NSS       N.S SURGEON                          32.20          12,719.00
                                     Total               659.90     $181,644.50
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                                  Exhibit 4(b)
                   Levine Kellogg Lehman Schneider + Grossman LLP




   52782416;1
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                                     283
               Levine Kellogg Lehman Schneider + Grossman LLP
                                        22nd Floor, Citigroup Center
                                           201 S. Biscayne Blvd.
                                           Miami, Florida 33131
                                          Tax ID No.



   Tax I.D.:



   Michael I. Goldberg, Receiver                                               September 1, 2020
                                                                                     Bill # 29064

   Re:
               Jay Peak, Inc., et al.

                                            Professional Fees

               Atty     Description                                           Hours      Amount
   03/02/20    JCS      Conference with Receiver.                              0.20        52.00
   03/03/20    SRT      Communicate with Kapila team and Ehounds               1.50       375.00
                        regarding various document requests.
   03/04/20    SRT      Correspond with AUSA regarding documents.              0.20        50.00
   03/05/20    SRT      Call with e-vendor regarding document retrieval and    0.30        75.00
                        storage.
   03/05/20    SRT      Correspond with AUSA regarding additional              2.00       500.00
                        questions regarding documents and follow up
                        regarding various productions.
   03/06/20    SRT      Call with AUSA.                                        0.30        75.00
   03/06/20    SRT      Continue working on document request.                  2.00       500.00
   03/07/20    JCS      Review and respond to Receiver emails.                 0.20        52.00
   03/07/20    JCS      Draft emails to Raymond James counsel and A.           0.30        78.00
                        Quiros' counsel.
   03/07/20    SRT      Communicate with Mr. Lifshitz regarding document       0.40       100.00
                        production.
   03/09/20    JCS      Review transcript of hearing on motion to approve      1.10       286.00
                        settlement with Ironshore regarding objections by
                        same counsel.
   03/09/20    SRT      Meet with AUSA and communicate with Mr. Lifshitz       1.40       350.00
                        regarding documents.
   03/09/20    SRT      Continue working on documents requested by AUSA.       1.80       450.00
   03/11/20    SRT      Follow up on inquiries regarding document              0.60       150.00
                        production.
   03/12/20    JCS      Conferences with Receiver regarding status of          0.60       156.00
                        various matters.
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   Bill # 29064                                                                         Page 3

                                        Professional Fees

              Atty   Description                                             Hours      Amount
   04/01/20   SRT    Conference regarding response to requests for            1.00      250.00
                     documents and strategize regarding same.
   04/01/20   JL     Review and analyze correspondence relating to            1.00      250.00
                     post-mediation information request.
   04/02/20   SRT    Conference regarding reporting and conference            0.50      125.00
                     regarding response.
   04/02/20   SRT    Follow up with AUSA and Mr. Lifshitz regarding           0.40      100.00
                     documents questions.
   04/02/20   JL     Review and analyze demand letters and responses in       0.90      225.00
                     preparation for drafting response to post-mediation
                     information request.
   04/02/20   JL     Review and analyze mediation statements in               1.30      325.00
                     preparation for drafting response to post-mediation
                     information request.
   04/02/20   JL     Review and analyze mediation power point                 0.80      200.00
                     presentations in preparation for drafting response to
                     post-mediation information request.
   04/03/20   SRT    Correspond with AUSA.                                    0.20       50.00
   04/03/20   SRT    Review and suggest revisions to response to third        1.00      250.00
                     party’s document requests; conference with team
                     regarding document production.
   04/03/20   JCS    Review and respond to emails regarding response in       0.60      156.00
                     connection with mediation.
   04/03/20   JL     Draft response to request for post-mediation             1.40      350.00
                     information.
   04/03/20   JL     Conference with Melissa Davis (Soneet Kapila)            0.30       75.00
                     regarding request for post-mediation information.
   04/03/20   JL     Draft memo regarding conference with Melissa Davis       0.30       75.00
                     (Soneet Kapila) regarding request for post-mediation
                     information.
   04/06/20   JCS    Complete acknowledgement for Ironshore oral              0.20       52.00
                     argument.
   04/06/20   JCS    Review and respond to emails regarding requests          0.70      182.00
                     and the Receiver’s response.
   04/06/20   SRT    Call with clerk and file acknowledgment of oral          0.80      200.00
                     argument calendar.
   04/06/20   SRT    Call with AUSA.                                          0.50      125.00
   04/06/20   SRT    Call with Mr. Rebak.                                     0.50      125.00
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   Bill # 29064                                                                          Page 4

                                         Professional Fees

              Atty   Description                                              Hours      Amount
   04/06/20   SRT    Follow up on various inquiries.                           1.30      325.00
   04/06/20   SRT    Review bills for fee application.                         1.00      250.00
   04/07/20   SRT    Work on response on document requests.                    1.00      250.00
   04/08/20   SRT    Conference with AUSA and Mr. Rebak; follow up on          3.00      750.00
                     document questions; correspond with Mr. Lifshitz.
   04/08/20   SRT    Finalize bills for fee application; prepare update for    2.00      500.00
                     status report.
   04/08/20   SRT    Conference regarding response to document                 0.30       75.00
                     demand.
   04/08/20   JL     Revise response to document demand.                       0.40      100.00
   04/14/20   JL     Confer with Jeff Schneider regarding responding to        0.30       75.00
                     information request and draft correspondence to
                     Kapila regarding additional information.
   04/20/20   SRT    Communicate with AUSA..                                   0.20       50.00
   04/20/20   JCS    Review and respond to emails regarding mediation.         0.30       78.00
   04/20/20   JCS    Strategize regarding response to post-mediation           0.40      104.00
                     letter.
   04/20/20   JL     Review and analyze documents provided by Kapila           1.30      325.00
                     and draft follow up questions to Kapila.
   04/20/20   JL     Revise letter based upon documents provided to us         0.40      100.00
                     by Kapila.
   04/22/20   SRT    Conference regarding oral argument.                       0.30       75.00
   04/23/20   JL     Review additional spreadsheet from Kapila in              0.30       75.00
                     connection with post-mediation request.
   04/23/20   JCS    Review materials produced by Kapila team.                 1.20      312.00
   04/26/20   JCS    Strategize regarding Ironshore oral argument.             0.20       52.00
   04/26/20   SRT    Conference regarding oral argument and follow up          0.30       75.00
                     with Ms. Visconti regarding same .
   04/27/20   JCS    Review 11th Circuit decision regarding Ironshore oral     0.10       26.00
                     argument.
   04/27/20   JCS    Review and respond to emails from appellant               0.60      156.00
                     Ironshore and A. Quiros counsel regarding same.
   04/27/20   SRT    Review court notice about oral argument and               0.50      125.00
                     correspond with all counsel regarding same.
   04/28/20   JCS    Prepare for call with M. Visconti regarding Ironshore     0.60      156.00
                     appeal.
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                                        Professional Fees

              Atty   Description                                             Hours      Amount
   04/28/20   JCS    Conferences with M. Visconti and S. Traband              0.80      208.00
                     regarding Ironshore appeal and request to waive oral
                     argument.
   04/28/20   SRT    Call with Ms. Visconti regarding Ironshore oral          0.80      200.00
                     argument and review correspondence from the court
                     regarding same.
   04/29/20   JCS    Prepare for call with counsel in Ironshore regarding     0.30       78.00
                     dispensing with oral argument.
   04/29/20   JCS    Conference with co-counsel regarding Ironshore oral      0.30       78.00
                     argument.
   04/29/20   SRT    Call with Ms. Visconti and Mr. Galardi regarding oral    0.50      125.00
                     argument.
   04/30/20   JCS    Review correspondence to 11th Circuit regarding oral     0.10       26.00
                     argument.
   05/01/20   JCS    Review court orders for impact on possible claims.       1.10      286.00
   05/01/20   JCS    Review response to motion to submit case on briefs       0.10       26.00
                     (regarding Ironshore).
   05/01/20   JCS    Final revisions to response to post-mediation            1.40      364.00
                     requests for information.
   05/01/20   JCS    Review and respond to emails regarding same.             0.30       78.00
   05/01/20   JCS    Review notice of election by appellant (Ironshore).      0.10       26.00
   05/01/20   JCS    Conference with Receiver regarding Ironshore.            0.60      156.00
   05/03/20   SRT    (Ironshore) Prepare motion to submit case on briefs.     1.50      375.00
   05/04/20   JCS    Review and revise motion to submit Ironshore case        0.30       78.00
                     on briefs.
   05/04/20   JCS    Prepare for call with Receiver and class counsel.        0.40      104.00
   05/04/20   JCS    Attend same.                                             0.30       78.00
   05/04/20   JCS    Review and respond to emails regarding          .        0.10       26.00
   05/04/20   JCS    Conference with Receiver regarding same.                 0.20       52.00
   05/04/20   SRT    Conference regarding                                     0.30       75.00
                                                            .
   05/04/20   JL     Compile responsive documents to be produced in           1.20      300.00
                     response to demand.
   05/05/20   JCS    Review and analyze orders issued in the various          2.80      728.00
                     cases relative to various claims.
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                                        Professional Fees

              Atty   Description                                              Hours      Amount
   05/06/20   SRT    Follow up with EHounds regarding additional               1.00      250.00
                     production in response to AUSA subpoena.
   05/06/20   SRT    (Ironshore) Communicate with counsel regarding            0.20       50.00
                     motion to submit case on briefs.
   05/07/20   JCS    Prepare for call with class counsel and Receiver          0.40      104.00
                     regarding claims.
   05/07/20   JCS    Attend same.                                              0.40      104.00
   05/07/20   JCS    Review briefing in A. Quiros criminal case.               1.40      364.00
   05/07/20   JCS    Review A. Quiros revisions to motion to dispense with     0.20       52.00
                     Ironshore oral argument.
   05/07/20   SRT    (Ironshore) Correspond with Ms. Visconti and Mr.          0.40      100.00
                     Galardi regarding revisions to motion.
   05/07/20   SRT    Continue working on document production in                1.00      250.00
                     response to subpoena.
   05/07/20   SRT    Review recent orders regarding impact on potential        1.60      400.00
                     claims discuss same with Receiver and team.
   05/08/20   SRT    (Ironshore) Revise and finalize joint motion to submit    1.00      250.00
                     case on briefs and communicate with Ms. Visconti
                     regarding same.
   05/11/20   JCS    Conference with class counsel regarding         .         0.30       78.00
   05/11/20   JCS    Conference with counsel regarding                         0.80      208.00
                              .
   05/11/20   JCS    Draft emails regarding same.                              0.20       52.00
   05/11/20   TA     Document review in preparation for responding to          2.80      560.00
                     request for production.
   05/11/20   SRT    Follow up regarding negotiations in various matters.      0.30       75.00
   05/13/20   JCS    Review and respond to 11th Circuit clerk regarding        0.10       26.00
                     Ironshore oral argument.
   05/13/20   JCS    Make arrangements with counsel regarding                  0.60      156.00
                     presentation of arguments at Ironshore oral
                     argument.
   05/13/20   JCS    Conference with class counsel.                            0.60      156.00
   05/13/20   SRT    (Ironshore) Call with court manager regarding oral        0.80      200.00
                     argument and follow up with appellee team regarding
                     same.
   05/13/20   SRT    (Ironshore) Begin preparing for oral argument and         2.30      575.00
                     update case law research.
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                                          Professional Fees

              Atty   Description                                              Hours      Amount
   05/13/20   SRT    Call with AUSA regarding document production and          1.00      250.00
                     follow up on certain related questions.
   05/13/20   SRT    Additional work for fee application.                      0.40      100.00
   05/14/20   JCS    Review Ironshore order regarding oral argument.           0.10       26.00
   05/14/20   TA     Research regarding bar orders/receiverships in            2.50      500.00
                     preparation for oral argument.
   05/14/20   AMS    Retrieve Ironshore Order for Jeffrey Schneider's          0.10       12.50
                     review.
   05/14/20   SRT    (Ironshore) Communicate with team and case                1.00      250.00
                     manager regarding oral argument.
   05/14/20   SRT    Communicate with receivership team regarding              0.20       50.00
                     status.
   05/14/20   SRT    Correspond with Receiver regarding various matters.       0.20       50.00
   05/15/20   AMS    Compile various documents from multiple lawsuit.          2.10      262.50
   05/15/20   SRT    (Ironshore) Correspond with appellee team regarding       0.50      125.00
                     panel.
   05/16/20   SRT    (Ironshore) Continue preparing for oral argument.         3.00      750.00
   05/17/20   SRT    (Ironshore) Continue preparing for oral argument and      3.50      875.00
                     communicate with oral argument team.
   05/18/20   SRT    (Ironshore) Continue preparing for oral argument.         5.00     1,250.00
   05/19/20   SRT    (Ironshore) Continue preparing for oral argument,         6.00     1,500.00
                     including call with other appellees and call with 11th
                     Circuit.
   05/19/20   SRT    Communicate with Receiver regarding fee                   0.20       50.00
                     application.
   05/20/20   JCS    Strategize with S. Traband regarding Ironshore oral       0.80      208.00
                     argument and attend same.
   05/20/20   JCS    Discuss with the Receiver.                                0.40      104.00
   05/20/20   JCS    Conference with the Receiver and class counsel            0.40      104.00
                     regarding claims.
   05/20/20   SRT    Prepare for and participante in oral argument.            3.50      875.00
   05/20/20   SRT    Finalize bill for fee application.                        0.50      125.00
   05/21/20   JCS    Conference with Receiver regarding next steps.            0.40      104.00
   05/27/20   JCS    Conference with counsel regarding claims.                 0.70      182.00
   05/27/20   JL     Draft complaint for use with negotiations.                4.70     1,175.00
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                                        Professional Fees

              Atty   Description                                            Hours      Amount
   06/12/20   JCS    Review and respond to emails regarding                  0.40      104.00
                     analysis.
   06/15/20   JCS    Conference with Receiver regarding potential            0.60      156.00
                     settlement.
   06/15/20   SRT    Correspond with KL Discovery regarding privilege        1.00      250.00
                     review.
   06/16/20   SRT    Communicate with KL Discovery regarding privilege       0.50      125.00
                     review.
   06/16/20   JCS    Prepare for call with forensic accountants.             0.50      130.00
   06/16/20   JCS    Attend call with Kapila team.                           0.40      104.00
   06/16/20   JCS    Review materials provided by Kapila team.               1.20      312.00
   06/16/20   JL     Prepare for and attend call with Jeff Schneider and     0.50      125.00
                     Kapila team regarding post-mediation discovery
                     request.
   06/16/20   AMS    Attend conference call with Jeffrey Schneider,          0.40       50.00
                     Jezabel Lima and Kapila team.
   06/16/20   AMS    Review information from Kapila team.                    2.10      262.50
   06/17/20   SRT    Correspond with KL Discovery regarding privilege        0.20       50.00
                     review.
   06/17/20   SRT    Review order on Receiver’s compliance with              0.80      200.00
                     subpoena and production of documents.
   06/17/20   JCS    Review Kastigar decision and strategize with S.         0.90      234.00
                     Traband and Receiver regarding same.
   06/19/20   SRT    Correspond with KL Discovery regarding completion       0.30       75.00
                     of privilege review.
   06/22/20   JCS    Review and respond to emails from class counsel.        0.30       78.00
   06/22/20   JCS    Conference with counsel regarding potential claim.      0.80      208.00
   06/22/20   JCS    Conference with Receiver regarding pending matters.     0.70      182.00
   06/22/20   JCS    Strategize with J. Lima regarding pending motions to    0.60      156.00
                     be heard and responses to same.
   06/23/20   JCS    Prepare for call with forensic accountants.             0.70      182.00
   06/23/20   JCS    Attend call with M. Davis and F. Diaz.                  0.60      156.00
   06/23/20   JL     Attend conference call with Jeff Schneider and          0.50      125.00
                     Melissa Davis.
   06/29/20   AMS    Serve mediation statement.                              0.10       12.50
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                                        Professional Fees

              Atty   Description                                          Hours      Amount
   07/06/20   JCS    Conference with the Receiver regarding various        0.60      156.00
                     matters.
   07/06/20   SRT    Conference with Vermont AUSA.                         0.30       75.00
   07/07/20   JCS    Preliminary review of response to mediation           1.40      364.00
                     statements.
   07/09/20   JCS    Conference with counsel regarding Ironshore.          0.50      130.00
   07/10/20   JCS    Conference with J. Lima regarding same.               0.40      104.00
   07/10/20   JCS    Conferences with investor counsel regarding same.     0.90      234.00
   07/10/20   JCS    Transmit to Receiver and conference with Receiver     0.60      156.00
                     regarding same.
   07/10/20   JCS    Conference with counsel regarding                     0.80      208.00
                          .
   07/10/20   JCS    Review and respond to emails regarding same.          0.30       78.00
   07/10/20   JL     Draft follow up correspondence to Melissa Davis       0.10       25.00
                     regarding damage analysis.
   07/13/20   JL     Review and analyze correspondence regarding           0.10       25.00
                     extension of tolling agreement.
   07/14/20   JCS    Review and respond to emails regarding production     0.40      104.00
                     search terms.
   07/16/20   JCS    Prepare for call with M. Davis regarding analysis.    0.70      182.00
   07/16/20   JCS    Review spreadsheets prepared by M. Davis and          1.20      312.00
                     conference with M. Davis regarding same.
   07/16/20   JCS    Review and respond to emails regarding document       0.20       52.00
                     production.
   07/16/20   JL     Review and analyze documents from Kapila in           0.60      150.00
                     preparation for call.
   07/16/20   JL     Attend conference call with Melissa Davis and Jeff    0.40      100.00
                     Schneider on this issue.
   07/20/20   SRT    Review Eleventh Circuit order                         0.30       75.00
   07/20/20   JCS    Review Ironshore decision.                            0.30       78.00
   07/20/20   JCS    Conference with with Receiver regarding same.         0.20       52.00
   07/23/20   JCS    Review class counsel’s motion to dismiss People’s     0.40      104.00
                     counterclaim.
   07/24/20   JCS    Conference with Receiver and class counsel.           0.40      104.00
   07/24/20   JCS    Conference with Receiver regarding claims.            0.40      104.00
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                                        Professional Fees

              Atty   Description                                             Hours      Amount
   07/24/20   JCS    Conference with counsel regarding same.                  0.60      156.00
   07/27/20   JCS    Conference with counsel regarding claims.                1.10      286.00
   07/28/20   JCS    Review Leon Cosgrove’s bill of costs (Ironshore).        0.30       78.00
   07/30/20   JCS    Conference with counsel regarding                        0.80      208.00
                                       .
   07/30/20   JCS    Draft status email to Receiver and class counsel         0.40      104.00
                     regarding same.
   07/30/20   SRT    Communicate with AUSA and E-Hounds regarding             1.00      250.00
                     document production.
   08/03/20   JCS    Review revised charts delineating transfers.             1.20      312.00
   08/03/20   JL     Review and analyze           analysis from Melissa       0.40      100.00
                     Davis.
   08/04/20   JCS    Conference with counsel regarding claim.                 0.70      182.00
   08/04/20   JCS    Conference with Receiver regarding same and MSK.         0.70      182.00
   08/04/20   JCS    Review and respond to emails from class counsel.         0.30       78.00
   08/04/20   JCS    Conference with H. Tropin regarding                 .    0.40      104.00
   08/04/20   JCS    Review M. Davis responses to questions.                  0.40      104.00
   08/05/20   JCS    Continued review of          analysis.                   0.80      208.00
   08/05/20   JCS    Strategize with J. Lima regarding same.                  0.50      130.00
   08/05/20   JL     Strategize regarding damages analysis.                   0.30       75.00
   08/06/20   JCS    Conference with the Receiver regarding pending           0.40      104.00
                     matters.
   08/06/20   JL     Draft response letter to counsel regarding               0.50      125.00
                     post-mediation discovery.
   08/11/20   AMS    Prepare binder for Jeffrey Schneider of relevant         1.20      150.00
                     documents pertaining to mediation.
   08/11/20   SRT    Communicate with EHounds regarding document              0.50      125.00
                     production to AUSA .
   08/11/20   JCS    Conference with counsel regarding                        0.80      208.00
   08/13/20   SRT    Conference regarding mediation.                          0.20       50.00
   08/14/20   JCS    Conference with counsel regarding mediation              0.40      104.00
                     possibility.
   08/17/20   SRT    Follow up regarding document management and              0.40      100.00
                     production.
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                                        Professional Fees

              Atty    Description                                             Hours      Amount
   08/19/20   SRT     Work on production in response to subpoena.              0.30        75.00
   08/20/20   SRT     Conference regarding document production.                0.10        25.00
   08/24/20   JCS     Conference with counsel regarding claims.                0.80      208.00
   08/24/20   JCS     Review and revise response.                              1.20      312.00
   08/25/20   JCS     Review spreadsheets provided by M. Davis regarding       1.40      364.00
                                and finalize response In advance of
                      potential mediation.
   08/26/20   JCS     Review and respond to emails regarding answers to        0.40      104.00
                      questions and resumption of mediation.
   08/26/20   JCS     Review additional spreadsheets provided by M.            1.10      286.00
                      Davis.
   08/26/20   SRT     Communicate with AUSA regarding document                 0.30        75.00
                      production.
   08/27/20   AGS     Review and analyze discovery for use in case.            3.40      680.00
   08/31/20   AGS     Prepare subpoena duces tecum.                            0.70      140.00

                                            Fee Summary

              Name                                                    Hours              Amount
              Tal Aburos                                               5.30             1,060.00
              Ana Maria Salazar                                       25.60             3,200.00
              Jeffrey C. Schneider                                    82.40            21,424.00
              Jezabel Lima                                            20.30             5,075.00
              Stephanie Reed Traband                                  78.90            19,725.00
              Alexander G. Strassman                                   4.10               820.00

                               Total Fees                           216.60            $51,304.00

                                                Costs

              Expenses                                                                   Amount
              Mediation Lunch                                                               0.00
              Domain name                                                                 249.90
              Postage                                                                       0.50
              In House Duplicating                                                         28.20
              Overnight Delivery                                                          218.72
              Westlaw Research                                                            124.30
              Searches                                                                     80.10
              eDiscovery Platform                                                      56,717.55
                                Total Costs                                           $57,419.27
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   Client Ref:                                                September 1, 2020
   Bill # 29064                                                        Page 14


   Current Bill Total Amount Due                                   $108,723.27
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              Please return this page with remittance
                                                to
                       Levine Kellogg Lehman Schneider + Grossman LLP
                                   22nd Floor, Citigroup Center
                                      201 S. Biscayne Blvd.
                                      Miami, Florida 33131

   Bill #          29064
   Bill Date:      September 1, 2020
   Client Code:    78539
   Client Name:    Michael I. Goldberg, Receiver
   Matter Code:    003
   Matter Name:    Jay Peak, Inc., et al.

                                    Current Bill Total Amount Due         $108,723.27


                  Amount enclosed: ____________________________________
Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 133 of
                                     283
               Levine Kellogg Lehman Schneider + Grossman LLP
                                      22nd Floor, Citigroup Center
                                         201 S. Biscayne Blvd.
                                         Miami, Florida 33131
                                        Tax ID No.



   Tax I.D.:



   Michael I. Goldberg, Receiver                                                  September 1, 2020
                                                                                        Bill # 29066

   Re:
               Investor Case

                                          Professional Fees

               Atty    Description                                               Hours      Amount
   03/02/20    JCS     Conference with investor counsel.                          0.40       104.00
   03/02/20    JCS     Conference with Receiver and other counsel.                0.50       130.00
   03/02/20    JCS     Conference with counsel regarding                          0.30        78.00
                                     .
   03/03/20    JCS     Conference with investor counsel regarding                 0.60       156.00
                                          .
   03/05/20    JCS     Continued review of analysis strategy for resolution of    1.60       416.00
                       invesor claims
   03/13/20    JCS     Continued analysis of response to the Receiver's           0.50       130.00
                       demand.
   03/13/20    JCS     Conference with counsel regarding same.                    0.70       182.00
   03/13/20    JCS     Conferences with Receiver regarding same.                  0.60       156.00
   03/13/20    JCS     Draft demand letters.                                      0.60       156.00
   03/16/20    JCS     Conference with investor counsel regarding status of       0.60       156.00
                       settlement negotiations.
   03/16/20    JCS     Review and respond to emails from counsel.                 0.30        78.00
   03/17/20    JCS     Draft settlement demand.                                   0.30        78.00
   03/17/20    JCS     Conference with investor counsel regarding status of       0.60       156.00
                       settlement negotiations.
   03/17/20    JCS     Review and respond to emails from counsel.                 0.30        78.00
   03/18/20    JCS     Conference with counsel regarding potential                0.80       208.00
                       resolution of investor counsel.
   03/18/20    JCS     Conference with counsel regarding settlement               0.80       208.00
                       investor counsel.
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   Client Ref:                                                                September 1, 2020
   Bill # 29066                                                                         Page 2

                                       Professional Fees

              Atty   Description                                             Hours      Amount
   03/18/20   JCS    Review and response to emails from receiver and          0.50      130.00
                     counsel.
   03/19/20   JCS    Conference with investor counsel regarding potential     0.60      156.00
                             .
   03/19/20   JCS    Review counsel letter.                                   0.30       78.00
   03/19/20   JCS    Review materials provided by investor counsel.           1.10      286.00
   03/20/20   JCS    Conferences with counsel regarding                       0.90      234.00
                          .
   03/24/20   JCS    Review letter from counsel and discuss with              0.40      104.00
                     Receiver.
   03/25/20   JCS    Review                   and draft letter to counsel.    0.60      156.00
   03/26/20   JCS    Conference with counsel regarding                        1.10      286.00
                     and           .
   03/26/20   JCS    Review and respond to emails from counsel                0.40      104.00
                     regarding                .
   03/26/20   JCS    Conference with investor counsel regarding               0.90      234.00
                              .
   03/27/20   JCS    Review and respond to emails regarding                   0.80      208.00
                              .
   03/27/20   JCS    Review and respond to investor counsel's emails          0.90      234.00
                     regarding same.
   03/27/20   JCS    Draft email to counsel regarding                         1.10      286.00
                     and outlining                                      .
   03/27/20   JCS    Conferences with investor counsel regarding status,      0.70      182.00
                                      , and next steps.
   03/27/20   JCS    Preliminary review of background materials for use in    1.10      286.00
                     investor case.
   03/30/20   JCS    Numerous conferences with investor counsel               0.90      234.00
                     regarding                          .
   03/30/20   JCS    Continued review of summaries, and the underlying        2.90      754.00
                     source documents, in preparation for
                                .
   03/30/20   JK     Review initial documents regarding                       0.50      125.00
                          .
   03/31/20   JCS    Continued review of materials provided by investor       2.30      598.00
                     counsel regarding claims.
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   Bill # 29066                                                                         Page 3

                                        Professional Fees

              Atty   Description                                             Hours      Amount
   03/31/20   JCS    Numerous conferences with investor counsel               1.30      338.00
                     regarding same.
   03/31/20   JCS    Review email with attached                        and    0.70      182.00
                     respond to same.
   03/31/20   SRT    Conferences regarding draft complaint.                   0.20       50.00
   04/01/20   JCS    Numerous conferences with investor counsel               1.20      312.00
                     regarding settlement.
   04/01/20   JCS    Strategize regarding                  , status of        0.40      104.00
                     settlement negotiations, and preparation of
                     complaint.
   04/01/20   JCS    Prepare for call with counsel regarding tolling          0.80      208.00
                     agreement.
   04/01/20   JCS    Attend same.                                             0.90      234.00
   04/01/20   JCS    Review and respond to emails from Receiver               0.50      130.00
                     regarding                                           .
   04/01/20   JCS    Conferences with counsel regarding settlement.           0.80      208.00
   04/01/20   JCS    Review and respond to emails regarding settlement.       0.40      104.00
   04/01/20   SRT    Revise                    and conference regarding       0.70      175.00
                     next steps.
   04/01/20   JK     Confer with J. Lima regarding drafting complaint;        0.20       50.00
                     draft correspondence to J. Lima regarding
                     same.
   04/02/20   JCS    Review and respond to emails regarding                   0.60      156.00
                              .
   04/02/20   JCS    Review caselaw regarding pertinent issues.               0.70      182.00
   04/02/20   JCS    Strategize regarding draft complaint.                    0.80      208.00
   04/02/20   JK     Research in support of Complaint; confer with J. Lima    2.50      625.00
                     regarding same; draft correspondence to investor
                     counsel regarding                             .
   04/02/20   JL     Review and analyze summaries from attorneys from         0.70      175.00
                     EB-5 investors relating to claims in preparation for
                     drafting complaint.
   04/03/20   SRT    Conference regarding next steps regarding                0.20       50.00
                          .
   04/03/20   JCS    Conferences with investor counsel regarding              0.70      182.00
                                        .
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                                         Professional Fees

              Atty   Description                                                  Hours      Amount
   04/03/20   JCS    Review and respond to emails from counsel                     0.60      156.00
                     regarding same and                  .
   04/03/20   JCS    Strategize regarding same and drafting of complaint.          0.50      130.00
   04/04/20   JK     Review correspondence regarding exhibits.                     0.10       25.00
   04/05/20   JCS    Conferences with investor counsel regarding                   0.80      208.00
                     Vermont Regional Center case.
   04/05/20   JCS    Preliminary review of pleadings regarding same.               1.40      364.00
   04/05/20   JL     Review and analyze                          in preparation    1.20      300.00
                     for drafting complaint.
   04/05/20   JL     Begin to draft complaint.                                     1.30      325.00
   04/06/20   AMS    Compile exhibits for Jezabel Lima.                            0.60       75.00
   04/06/20   JCS    Review and respond to emails regarding tolling                0.30       78.00
                     agreement.
   04/06/20   JCS    Review revisions to                     .                     0.60      156.00
   04/06/20   JCS    Conference with counsel.                                      0.40      104.00
   04/06/20   JCS    Conference with Receiver regarding various matter.            0.80      208.00
   04/06/20   JCS    Conference with investor counsel regarding same.              0.70      182.00
   04/06/20   JCS    Review and respond to emails with revisions to                1.10      286.00
                               and further revise
                     based on same.
   04/06/20   SRT    Work on                     inserts.                          0.50      125.00
   04/06/20   AMS    Resesarch documents relating to claims                        2.10      262.50

   04/06/20   AMS    Compile exhibits; organize and extract exhibits in            1.80      225.00
                     electronic format.
   04/06/20   JL     Review and analyze             in connection with             1.40      350.00
                     drafting complaint.
   04/06/20   JL     Continue to draft complaint.                                  2.80      700.00
   04/06/20   JL     Edit, proofread and finalize draft complaint.                 0.60      150.00
   04/07/20   SRT    Assist with                    and initial draft of           0.30       75.00
                     settlement agreement.
   04/07/20   JCS    Review preliminary draft of complaint and review and          1.70      442.00
                     respond to emails regarding same.
   04/07/20   JCS    Review and respond to emails regarding                        0.80      208.00
                              .
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                                         Professional Fees

              Atty   Description                                            Hours      Amount
   04/07/20   JCS    Review and respond to emails from counsel               0.40      104.00
                     regarding                .
   04/07/20   JCS    Review emails from counsel regarding                    0.70      182.00
                           .
   04/07/20   JCS    Review and revise                     .                 0.90      234.00
   04/07/20   JK     Review and revise Complaint; research for               1.60      400.00
                     complaint.
   04/07/20   JL     Revise complaint.                                       0.50      125.00
   04/08/20   JCS    Review draft complaint.                                 1.60      416.00
   04/08/20   JCS    Review and respond to emails regarding revised          0.40      104.00
                                    .
   04/08/20   JCS    Conference with counsel regarding same.                 0.30       78.00
   04/08/20   JCS    Review and respond to investor counsel.                 0.70      182.00
   04/08/20   JCS    Review and revise insert to report.                     0.30       78.00
   04/08/20   JCS    Numerous conferences with investor counsel              1.10      286.00
                     regarding same.
   04/09/20   JCS    Conferences with investor counsel regarding             0.80      208.00
                             .
   04/09/20   JCS    Draft                      .                            3.80      988.00
   04/10/20   JCS    Conferences with investor counsel regarding             1.20      312.00
                     demand.
   04/10/20   JCS    Continued revisions to                        .         2.40      624.00
   04/10/20   JCS    Conferences with the Receiver regarding same.           0.30       78.00
   04/10/20   JK     Draft correspondence regarding strategy.                0.10       25.00
   04/13/20   JCS    Review and respond to emails regarding demand           0.20       52.00
                     letter/                 .
   04/13/20   JCS    Conference with counsel regarding same.                 0.90      234.00
   04/13/20   JCS    Conferences with investor regarding status.             0.70      182.00
   04/13/20   JCS    Review documents in preparation for drafting            2.20      572.00
                                         .
   04/14/20   JCS    Conference with investor counsel regarding status of    0.90      234.00
                     negotiations.
   04/14/20   JCS    Begin drafting settlement agreement.                    2.40      624.00
   04/14/20   JCS    Conference with counsel regarding settlement.           0.30       78.00
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                                       Professional Fees

              Atty   Description                                             Hours      Amount
   04/15/20   JCS    Review and respond to investor counsel.                  0.40      104.00
   04/15/20   JCS    Review and respond to emails regarding settlement        0.30       78.00
                     agreement.
   04/15/20   JCS    Continue drafting settlement agreement.                  2.70      702.00
   04/16/20   JCS    Conferences with counsel regarding mediation of          0.80      208.00
                     claims and extending discovery suspension.
   04/16/20   JCS    Conferences with investor counsel regarding same.        0.40      104.00
   04/16/20   JCS    Continue drafting settlement agreement.                  3.20      832.00
   04/17/20   JCS    Conferences with investor counsel.                       0.80      208.00
   04/17/20   JCS    Review and respond to emails.                            0.40      104.00
   04/17/20   JCS    Continue drafting settlement agreement.                  3.20      832.00
   04/17/20   JCS    Discuss with Receiver and redraft same.                  0.90      234.00
   04/17/20   JCS    Review and respond to emails regarding draft             0.40      104.00
                     settlement agreement.
   04/17/20   JCS    Conference with counsel regarding same.                  0.90      234.00
   04/18/20   JCS    Review and respond to investor counsel.                  0.30       78.00
   04/18/20   JCS    Conference with investor counsel regarding same.         0.80      208.00
   04/20/20   JCS    Numerous conferences with investor counsel               0.80      208.00
                     regarding                                  .
   04/20/20   JCS    Review counsel email and motion to extend                0.70      182.00
                     deadlines pending settlement discussions.
   04/20/20   JCS    Conferences with counsel regarding changes to            0.80      208.00
                                      and settlement agreement.
   04/20/20   AMS    Review previously produced documents.                    1.80      225.00
   04/21/20   JCS    Review and respond to emails regarding                   1.10      286.00
                               and review investor counsel analysis of
                     potential                  .
   04/21/20   JCS    Review letter and review attached                   .    1.20      312.00
   04/22/20   JCS    Conferences with investor counsel regarding              0.70      182.00
                                          .
   04/22/20   JCS    Conferences with Receiver regarding same.                0.40      104.00
   04/23/20   JCS    Review and respond to email regarding demands.           0.90      234.00
   04/23/20   JCS    Numerous conferences with investor counsel by text,      1.20      312.00
                     email and telephonically regarding same.
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                                        Professional Fees

              Atty   Description                                           Hours      Amount
   04/24/20   JCS    Review and respond to emails regarding demand.         0.30       78.00
   04/24/20   JCS    Conferences with investor counsel regarding same.      0.70      182.00
   04/27/20   JCS    Review and respond to emails regarding settlement      0.60      156.00
                     negotiations.
   04/27/20   JCS    Prepare for call with counsel.                         0.40      104.00
   04/27/20   JCS    Attend same.                                           0.90      234.00
   04/27/20   JCS    Conference with Receiver regarding same.               0.40      104.00
   04/27/20   JCS    Review and respond to emails regarding same.           0.30       78.00
   05/05/20   JCS    Conference with investor counsel the pending           1.20      312.00
                     negotiations, mediation, and J. Reiss order.
   05/05/20   JCS    Conferences with counsel.                              0.90      234.00
   05/05/20   JCS    Review and respond to email agreement.                 0.40      104.00
   05/05/20   JCS    Research regarding potential mediators.                1.10      286.00
   05/06/20   JCS    Numerous conferences with investor counsel             1.70      442.00
                     regarding mediation and settlement.
   05/07/20   JCS    Conference regarding mediation and potential           0.80      208.00
                     mediators.
   05/07/20   JCS    Review and respond to emails regarding mediation       0.40      104.00
                     agreement.
   05/07/20   JCS    Review revisions to proposed settlement agreement.     1.40      364.00
   05/07/20   JCS    Conference with Receiver regarding same.               0.20       52.00
   05/08/20   JCS    Redline settlement agreement and transmit to other     1.80      468.00
                     counsel.
   05/09/20   JCS    Review and respond to counsel emails regarding         0.30       78.00
                     hearing on order to show cause.
   05/09/20   JCS    Review emails to and from proposed mediator.           0.30       78.00
   05/11/20   JCS    Review and respond to emails with counsel regarding    0.80      208.00
                     mediator selection.
   05/11/20   JCS    Conference with counsel regarding same.                0.70      182.00
   05/12/20   JCS    Review and respond to emails regarding mediation       0.30       78.00
                     logistics.
   05/12/20   JCS    Conference with investor counsel regarding same.       0.80      208.00
   05/13/20   JCS    Prepare for call with counsel regarding mediation.     0.50      130.00
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   Bill # 29066                                                                      Page 8

                                        Professional Fees

              Atty   Description                                          Hours      Amount
   05/13/20   JCS    Conference with counsel regarding mechanics of        1.10      286.00
                     mediation.
   05/13/20   JCS    Conference with investor counsel regarding same.      0.60      156.00
   05/13/20   JCS    Review and respond to emails from mediator.           0.20       52.00
   05/14/20   AMS    Communicate with Jeff Schneider regarding             0.10       12.50
                             .
   05/15/20   JCS    Review and analyze revisions to settlement            1.30      338.00
                     agreement.
   05/15/20   JCS    Review and respond to emails from S. Kapila           0.40      104.00
                     regarding accounting matters.
   05/15/20   JCS    Conference with S. Kapila regarding same.             0.40      104.00
   05/15/20   JCS    Conference with investor counsel regarding            1.10      286.00
                     mechanics of mediation.
   05/18/20   JCS    Prepare for call with mediator.                       0.40      104.00
   05/18/20   JCS    Attend call with mediator and counsel.                1.40      364.00
   05/18/20   JCS    Conference with Receiver regarding same.              0.40      104.00
   05/18/20   JCS    Conference with investor counsel regarding same.      0.70      182.00
   05/19/20   JCS    Conference with investor counsel regarding            0.80      208.00
                     settlement and mediation.
   05/20/20   JCS    Conference with investor counsel regarding            0.80      208.00
                     conference with other counsel.
   05/21/20   AMS    Review document production; research emails.          2.10      262.50
   05/26/20   JCS    Conference with investor counsel regarding            0.80      208.00
                     mediation.
   05/27/20   JCS    Conference with investor counsel regarding            0.60      156.00
                     mediation agreement.
   05/27/20   JCS    Review mediation agreement, and terms of              0.90      234.00
                     engagement, and email mediator questions regarding
                     same.
   05/27/20   JCS    Conference with counsel regarding mediator            0.40      104.00
                     expenses.
   05/28/20   JCS    Review and respond to emails regarding mediation.     0.30       78.00
   05/28/20   JCS    Conference with counsel regarding same.               0.70      182.00
   05/28/20   JCS    Review and respond to emails from mediator.           0.30       78.00
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                                       Professional Fees

              Atty   Description                                            Hours      Amount
   05/29/20   AMS    Meet and confer with Jeffrey Schneider regarding        0.10       12.50
                                    and strategy going foward.
   05/29/20   AMS    Review documents produced by third party.               1.80      225.00
   06/01/20   AMS    Review                    and confirm new revisions.    0.40       50.00
   06/01/20   JCS    Review and respond to emails regarding settlement       0.30       78.00
                     agreement and                  .
   06/01/20   JCS    Review changes to settlement agreement and final        1.40      364.00
                     review of settlement agreement.
   06/01/20   JCS    Conference with counsel regarding same.                 0.80      208.00
   06/01/20   JCS    Conference with investor counsel regarding              0.90      234.00
                     settlement agreement,                  , and
                     mediation.
   06/02/20   JCS    Conferences with counsel regarding settlement           0.80      208.00
                     agreement and                  .
   06/02/20   JCS    Draft email to counsel memorializing same.              0.70      182.00
   06/03/20   SRT    Communicate regarding claims to be brought.             0.80      200.00
   06/03/20   JCS    Review and respond to counsel's emails regarding        0.80      208.00
                     draft complaint and                .
   06/03/20   JCS    Conference with investor counsel regarding              0.70      182.00
                     mediation statement.
   06/04/20   JCS    Continued analysis of Vermont orders to address         1.30      338.00
                     claims and to compose mediation statement.
   06/04/20   JCS    Review and respond to emails regarding same.            0.40      104.00
   06/04/20   JCS    Conference with investor counsel regarding              0.70      182.00
                     co-counsel consent.
   06/04/20   SRT    Conference regarding potential claims.                  0.70      175.00
   06/05/20   JCS    Conference with investor counsel regarding              1.30      338.00
                                                            .
   06/08/20   JL     Begin to draft mediation statement.                     1.50      375.00
   06/09/20   SRT    Confer regarding information for mediation              0.30       75.00
                     statement.
   06/09/20   JL     Continue to draft mediation statement.                  2.50      625.00
   06/10/20   SRT    Conference regarding mediation statement.               0.40      100.00
   06/10/20   JL     Continue to draft mediation statement.                  4.80     1,200.00
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   Client Ref:                                                              September 1, 2020
   Bill # 29066                                                                      Page 10

                                        Professional Fees

              Atty   Description                                           Hours      Amount
   06/11/20   JL     Review and analyze timeline regarding in connection    0.40      100.00
                     with drafting mediation statement.
   06/11/20   JL     Review and analyze key documents in connection         3.50      875.00
                     with drafting mediation statement.
   06/12/20   AMS    Compile exhibits for purposes of drafting the          3.00      375.00
                     mediation statement.
   06/12/20   JCS    Conference with investor counsel regarding             0.70      182.00
                     mediation summaries.
   06/12/20   JCS    Conference with J. Lima regarding same.                0.30       78.00
   06/13/20   JL     Review and analyze additional documents in             3.00      750.00
                     connection with drafting mediation statement.
   06/15/20   JL     Continue to draft mediation statement.                 1.50      375.00
   06/15/20   JL     Draft timeline                                   .     1.80      450.00
   06/15/20   AMS    Review documents produced.                             3.80      475.00
   06/16/20   JL     Continue to draft mediation statement.                 1.80      450.00
   06/17/20   JL     Review and analyze key documents with drafting         1.40      350.00
                     mediation statement.
   06/17/20   JL     Revise mediation statement to include a discussion     1.60      400.00
                     regarding liability.
   06/17/20   JL     Proofread and finalize mediation statement.            0.60      150.00
   06/17/20   AMS    Compile key documents for mediation statement.         1.80      225.00
   06/17/20   AMS    Review documents produced in connection with           2.80      350.00
                     drafting mediation statement.
   06/18/20   JCS    Conference with investor counsel regarding             0.80      208.00
                     mediation.
   06/18/20   AMS    Review documents produced in connection with           2.80      350.00
                     drafting mediation statement.
   06/22/20   JCS    Conference with investor counsel regarding             1.10      286.00
                     mediation statement and mediation.
   06/22/20   JCS    Strategize with J. Lima regarding same.                0.40      104.00
   06/23/20   JCS    Begin reviewing and revising mediation statement to    4.20     1,092.00
                     be used at mediation.
   06/24/20   JCS    Continue to review and revise mediation statement.     2.10      546.00
   06/24/20   SRT    Review and suggest revisions to mediation              1.00      250.00
                     statement.
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                                        Professional Fees

              Atty   Description                                              Hours      Amount
   06/24/20   JL     Revise mediation statement .                              1.20      300.00
   06/25/20   JCS    Continue to revise and finalize mediation statement.      1.10      286.00
   06/25/20   JCS    Conference with investor counsel regarding same.          0.70      182.00
   06/26/20   AMS    Compile exhibits for inclusion in mediation statement.    5.80      725.00
   06/26/20   JCS    Final review of mediation statement.                      1.20      312.00
   06/26/20   JCS    Conferences with investor counsel regarding same.         0.90      234.00
   06/26/20   JCS    Conference with receiver regarding same.                  0.30       78.00
   06/26/20   JCS    Strategize regarding additional coverage.                 0.40      104.00
   06/26/20   JCS    Conference with counsel.                                  0.10       26.00
   06/28/20   AMS    Compile exhibits for mediation statement.                 1.20      150.00
   06/30/20   JL     Review and analyze other mediation statement in           1.80      450.00
                     connection with preparing a reply and draft outline of
                     points to rebut.
   06/30/20   JCS    Conference with counsel regarding current                 0.80      208.00
                               and timing of mediation.
   06/30/20   JCS    Review and respond to emails confirming                   0.30       78.00
                            .
   07/01/20   JCS    Conference with investor counsel regarding                0.80      208.00
                     mediation statements.
   07/01/20   JCS    Strategize regarding                    .                 0.80      208.00
   07/01/20   JCS    Continued analysis of                       .             3.10      806.00
   07/01/20   JCS    Review and revise demand letter and review                0.40      104.00
                                         .
   07/01/20   JL     Strategize with Jeff Schneider regarding                  0.70      175.00
                     analysis.
   07/01/20   JL     Perform            analysis.                              1.30      325.00
   07/01/20   JL     Perform            analysis.                              0.80      200.00
   07/01/20   JL     Draft correspondence to counsel regarding request         0.30       75.00
                     for additional information.
   07/01/20   JL     Review and analyze mediation statement in                 2.10      525.00
                     connection with preparing a reply and draft outline of
                     points to rebut.
   07/01/20   JL     Review and analyze a portion of deposition transcript     1.00      250.00
                     in preparation for drafting reply mediation statement.
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   Client Ref:                                                                  September 1, 2020
   Bill # 29066                                                                          Page 12

                                        Professional Fees

              Atty   Description                                               Hours      Amount
   07/01/20   AMS    Organize exhibits obtained from investor counsel           9.40     1,175.00
                     Jeffrey Schneider and prepare exhibit folders.
   07/02/20   JL     Review and analyze the investor plaintiffs’ mediation      1.10      275.00
                     statement in connection with preparing a reply in
                     support of Receiver’s mediation statement.
   07/02/20   JL     Strategize with investor counsel regarding mediation       0.40      100.00
                     replies.
   07/02/20   JL     Review and analyze deposition transcript in                5.80     1,450.00
                     preparation for drafting reply mediation statement.
   07/02/20   AMS    Strategize with Jeffrey Schneider regarding                0.10       12.50
                     inquiry.
   07/02/20   AMS    Continue compiling and organizing information.             7.50      937.50
   07/03/20   JCS    Review mediation statement submitted by other              1.30      338.00
                     counsel.
   07/03/20   JCS    Review mediation statement submitted by other              1.40      364.00
                     parties.
   07/03/20   JCS    Review                   complaint against                 0.80      208.00
                     documents pertinent for Receiver’s use in various
                     matters.
   07/03/20   JL     Review and analyze additional materials from               0.90      225.00
                     investor counsel in connection with drafting mediation
                     reply statement.
   07/03/20   JL     Begin to draft mediation reply statement.                  2.50      625.00
   07/05/20   JL     Review and analyze deposition transcript in                4.50     1,125.00
                     preparation for drafting reply mediation statement.
   07/06/20   AMS    Compile documents and exhibits for purposes of filing      1.20      150.00
                     mediation response.
   07/06/20   JCS    Review summaries of proposed response to                   1.20      312.00
                     mediation submissions.
   07/06/20   AMS    Review and analyze deposition transcripts.                 2.80      350.00
   07/06/20   JL     Continue review and analysis of deposition transcript      2.50      625.00
                     in preparation for drafting reply mediation statement.
   07/06/20   JL     Strategize with Jeff Schneider regarding              .    0.30       75.00
   07/06/20   JL     Continue to draft reply mediation statement.               1.30      325.00
   07/06/20   JL     Research Vermont case law.                                 0.70      175.00
   07/07/20   AMS    Review deposition transcript; highlight excerpts of        2.80      350.00
                     testimony regarding retainer.
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   Client Ref:                                                                 September 1, 2020
   Bill # 29066                                                                         Page 13

                                        Professional Fees

              Atty   Description                                              Hours      Amount
   07/07/20   AMS    Research for use in mediation.                            1.80      225.00
   07/07/20   JL     Complete review and analysis of deposition transcript     2.00      500.00
                     in connection with drafting reply mediation statement.
   07/07/20   JL     Research and analyze case law regarding                   0.70      175.00
                             .
   07/07/20   JL     Research and analyze relevant case law.                   1.30      325.00
   07/07/20   JL     Continue to draft reply mediation statement.              2.40      600.00
   07/07/20   JL     Edit, proofread and finalize draft reply mediation        0.60      150.00
                     statement.
   07/08/20   AMS    Retrieve case law cited in other party's Mediation        1.40      175.00
                     Statement.
   07/08/20   AMS    Review and summarize exhibits to other party's            1.20      150.00
                     Mediation Statement.
   07/08/20   AMS    Continued review of deposition transcript; highlight      2.80      350.00
                     and summarize testimony in preparation for filing
                     Mediation Response.
   07/08/20   JL     Call with investor counsel to discuss mediation           0.30       75.00
                     strategy.
   07/09/20   JCS    Preliminary review of response to mediation               1.40      364.00
                     statements.
   07/09/20   JCS    Conference with investor counsel regarding same.          1.20      312.00
   07/09/20   JCS    Strategize with J. Lima regarding same.                   0.40      104.00
   07/09/20   JCS    Review and respond to emails regarding               .    0.30       78.00
   07/09/20   JCS    Conference with counsel regarding same.                   0.60      156.00
   07/09/20   JL     Strategize with Jeff Schneider regarding mediation        0.30       75.00
                     reply statement.
   07/09/20   JL     Draft follow up correspondence to counsel regarding       0.90      225.00
                                issue and review and analyze his response.
   07/09/20   JL     Review and respond to correspondence from                 0.30       75.00
                     investor counsel regarding        analysis.
   07/10/20   JCS    Continue reviewing and revising response to both          3.80      988.00
                     mediation statements.
   07/10/20   JL     Proofread, edit and finalize mediation reply statement    0.90      225.00
                     for service.
   07/13/20   JCS    Review questions posed by mediator and prepare            1.10      286.00
                     draft answers to same.
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   Client Ref:                                                                September 1, 2020
   Bill # 29066                                                                        Page 14

                                        Professional Fees

              Atty   Description                                             Hours      Amount
   07/13/20   JCS    Review analysis by J. Lima.                              0.40      104.00
   07/13/20   JCS    Conference with Receiver regarding questions from        0.60      156.00
                     mediator and strategy at mediation.
   07/13/20   JCS    Conference with investor counsel regarding               0.90      234.00
                     questions by mediator, responses thereto, and reply
                     mediation statement.
   07/13/20   JCS    Review investor counsel responses to questions           0.50      130.00
                     posed by mediator.
   07/13/20   JCS    Finalize reply mediation statement.                      0.70      182.00
   07/13/20   JL     Review and analyze questions from the mediator.          0.20       50.00
   07/13/20   JL     Review and analyze proposed answers to mediator.         0.20       50.00
   07/13/20   JL     Review and analyze mediation reply.                      0.30       75.00
   07/13/20   JL     Confer with Jeff Schneider regarding additional          0.20       50.00
                               information.
   07/14/20   JCS    Review reply mediation statement.                        0.70      182.00
   07/14/20   JCS    Review mediation statement.                              1.20      312.00
   07/14/20   JCS    Conference with investor counsel regarding               1.10      286.00
                     mediation strategy and conference with mediator.
   07/14/20   JL     Strategize with investor counsel regarding mediation     0.10       25.00
                     reply.
   07/14/20   JL     Strategize with Jeff Schneider regarding mediation       0.20       50.00
                     reply.
   07/14/20   AMS    Review exhibits attached to Mediation Statement.         2.70      337.50
   07/15/20   JCS    Conference with Receiver regarding zoom call with        0.70      182.00
                     mediator and mediation.
   07/15/20   JCS    Review and respond to emails from mediator and           0.70      182.00
                     investor counsel.
   07/15/20   JCS    Conference with investor counsel regarding               0.90      234.00
                     mediation.
   07/16/20   JCS    Prepare for call with Receiver, Mediator and investor    0.80      208.00
                     counsel regarding mediation.
   07/16/20   JCS    Attend call with Receiver, Mediator and investor         1.10      286.00
                     counsel regarding logistics at mediation and
                     questions by mediator.
   07/16/20   JCS    Conference with investor counsel regarding same          0.80      208.00
                     and coordinating logistics for mediation.
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   Client Ref:                                                                September 1, 2020
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                                        Professional Fees

              Atty   Description                                             Hours      Amount
   07/16/20   JCS    Review timeline.                                         0.60      156.00
   07/16/20   JCS    Conference with Receiver regarding call with             0.40      104.00
                     mediator.
   07/16/20   JCS    Review documents culled from production for              0.80      208.00
                     mediation.
   07/16/20   AMS    Prepare Mediation Binder for Jeffrey Schneider.          3.20      400.00
   07/16/20   AMS    Retrieve case law cited in Mediation Statement.          2.10      262.50
   07/16/20   JL     Review and analyze mediation reply.                      0.70      175.00
   07/16/20   JL     Review and analyze timeline.                             0.20       50.00
   07/17/20   JCS    Conference with investor counsel regarding               0.80      208.00
                     mediation.
   07/17/20   JCS    Review and respond to emails from receiver and           0.40      104.00
                     mediator.
   07/17/20   JCS    Conference with counsel for the investor plaintiffs      1.10      286.00
                     regarding settlement.
   07/17/20   AMS    Review exhibits attached to Receiver's Mediation         7.50      937.50
                     statement; highlight and tag exhibit pages referenced
                     in mediation statement.
   07/18/20   AMS    Review and analyze mediation exhibits; highlight and     6.10      762.50
                     mark exhibits referenced in mediation statements.
   07/19/20   AMS    Review and analyze mediation exhibits; highlight and     5.40      675.00
                     mark exhibits referenced in mediation statement.
   07/20/20   AMS    Retrieve case law cited in Reply Mediation               1.10      137.50
                     Statement.
   07/20/20   JCS    Review email with attached economic loss report and      1.20      312.00
                     review and respond to emails regarding same.
   07/20/20   JCS    Conference with Receiver regarding settlement.           0.80      208.00
   07/20/20   JCS    Conference with investor counsel regarding               0.80      208.00
                     mediation.
   07/20/20   JCS    Continue preparing for mediation.                        1.80      468.00
   07/20/20   AMS    Review and analyze mediation exhibits; highlight and     6.40      800.00
                     mark exhibits referenced in mediation statement.
   07/21/20   JCS    Continue preparing for mediation.                        1.80      468.00
   07/21/20   JCS    Review and respond to emails from counsel for the        1.10      286.00
                     investor plaintiffs.
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   Client Ref:                                                                  September 1, 2020
   Bill # 29066                                                                          Page 16

                                        Professional Fees

              Atty   Description                                               Hours      Amount
   07/21/20   JCS    Review and respond to questions from mediator              1.70      442.00
                     regarding
                                    .
   07/21/20   JCS    Review spreadsheet of pertinent payments.                  0.40      104.00
   07/21/20   JCS    Numerous conferences with investor counsel                 1.60      416.00
                     regarding mediation presentation, questions from
                     mediator, and strategy for mediation offers and
                     responses.
   07/21/20   AMS    Prepare summary of mediation exhibits.                     7.80      975.00
   07/22/20   JCS    Attend mediation with Receiver, investor plaintiffs and    9.80     2,548.00
                     other parties.
   07/22/20   JCS    Review term sheet and revised term sheet and               0.80      208.00
                     discuss with Receiver.
   07/22/20   JCS    Conference with investor counsel regarding term            1.10      286.00
                     sheet and allocations.
   07/22/20   AMS    Assist Mr. Schneider during mediation by retrieving        7.80      975.00
                     documents to be used by Mr. Schneider during
                     negotiations.
   07/23/20   JCS    Review and revise modified term sheet.                     0.70      182.00
   07/23/20   JCS    Conferences with the Receiver regarding same.              0.40      104.00
   07/23/20   JCS    Numerous conferences with investor counsel                 1.80      468.00
                     regarding settlement agreement.
   07/23/20   JCS    Conference with Receiver and counsel for investor          0.70      182.00
                     plaintiffs regarding settlement amount.
   07/23/20   JCS    Numerous conferences with the Receiver regarding           0.50      130.00
                     same.
   07/23/20   JCS    Begin drafting settlement agreement.                       2.40      624.00
   07/23/20   SRT    Conference regarding motion to approve settlements         0.30       75.00
   07/24/20   JCS    Conference with investor counsel regarding term            0.80      208.00
                     sheet and settlement agreement.
   07/24/20   JCS    Review and respond to emails.                              0.20       52.00
   07/24/20   JCS    Conference with other counsel regarding MOU and            0.70      182.00
                     settlement agreement.
   07/24/20   JCS    Conference with counsel for the plaintiffs regarding       1.40      364.00
                     settlement amount.
   07/24/20   JCS    Review email from Receiver regarding settlement            0.10       26.00
                     agreement.
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                                       Professional Fees

              Atty   Description                                            Hours      Amount
   07/27/20   JCS    Continue drafting settlement agreement.                 1.80      468.00
   07/28/20   JCS    Continue drafting settlement agreements.                2.80      728.00
   07/29/20   JCS    Continue drafting and revising settlement agreement.    3.10      806.00
   07/29/20   JCS    Conference with investor counsel regarding same.        0.80      208.00
   07/29/20   JCS    Conference with counsel regarding status of             0.70      182.00
                     agreement.
   07/29/20   SRT    Conference regarding motion to approve                  0.20       50.00
                     settlements .
   07/30/20   JCS    Conferences with Receiver regarding revisions to        0.90      234.00
                     settlement agreement.
   07/30/20   JCS    Revise settlement agreement as per Receiver             1.80      468.00
                     changes.
   07/30/20   JCS    Conferences with investor counsel regarding             0.80      208.00
                     settlement agreement.
   07/31/20   JCS    Conference with investor counsel regarding              0.70      182.00
                     settlement agreement.
   07/31/20   JCS    Draft email to counsel regarding same.                  0.60      156.00
   08/03/20   JCS    Conference with counsel regarding settlement            0.80      208.00
                     agreement and attachments to same.
   08/03/20   JCS    Review and respond to counsel emails.                   0.20       52.00
   08/03/20   JCS    Conference with investor counsel.                       0.70      182.00
   08/04/20   JCS    Conference with investor counsel regarding              0.80      208.00
                          and settlement agreement.
   08/04/20   JCS    Conference with counsel regarding same.                 0.50      130.00
   08/05/20   JCS    Conference with counsel regarding                r      0.80      208.00
                         .
   08/05/20   JCS    Conference with counsel regarding same.                 0.40      104.00
   08/05/20   JCS    Conference with Receiver regarding same.                0.40      104.00
   08/05/20   SRT    Compile documents for use in preparation of             0.20       50.00
                     settlement package.
   08/06/20   SRT    Conference regarding motion for approval.               0.20       50.00
   08/07/20   JCS    Review and respond to counsel emails regarding          0.20       52.00
                     orders.
   08/07/20   JCS    Conference with counsel regarding same.                 0.40      104.00
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   Client Ref:                                                                 September 1, 2020
   Bill # 29066                                                                         Page 18

                                        Professional Fees

              Atty   Description                                              Hours      Amount
   08/07/20   JCS    Begin drafting preliminary approval order, notice, and    2.10      546.00
                     other documents regarding settlement between
                     investor plaintiffs and oher parties.
   08/10/20   JCS    Conference with counsel regarding status of               0.70      182.00
                     settlement papers for investor plaintiffs.
   08/11/20   JCS    Continue drafting preliminary approval order, notice,     2.30      598.00
                     and related documents.
   08/12/20   JCS    Conference with counsel regarding settlement              0.50      130.00
                     agreement and orders.
   08/12/20   JCS    Continue drafting bar order, preliminary approval         1.70      442.00
                     order, and notice regarding same.
   08/13/20   JCS    Conference with counsel regarding status of notice        0.70      182.00
                     and approval orders.
   08/14/20   JCS    Finalize preliminary approval order,             and      2.70      702.00
                     notice to affected parties.
   08/14/20   JCS    Review and respond to counsel emails regarding            0.30       78.00
                     same.
   08/17/20   JCS    Conference with counsel regarding separate                0.60      156.00
                     settlement agreements with each party.
   08/17/20   JCS    Review and respond to counsel emails regarding            0.40      104.00
                                    .
   08/17/20   JCS    Conference with counsel regarding approval orders,        0.70      182.00
                     settlement agreement, and next steps.
   08/18/20   JCS    Conferences with the Receiver re             and          0.80      208.00
                     preliminary approval orders.
   08/18/20   JCS    Conference with investor counsel regarding same.          0.40      104.00
   08/18/20   JCS    Review spreadsheets regarding pertinent payments.         0.60      156.00
   08/19/20   JCS    Finalize preliminary approval order                       1.20      312.00
                     based on conversations with Receiver.
   08/19/20   JCS    Transmit attachments to settlement agreement to           0.30       78.00
                     counsel for investor plaintiffs.
   08/19/20   JCS    Conference with investor counsel regarding same.          0.80      208.00
   08/20/20   JCS    Conference with investor counsel regarding drafts.        0.70      182.00
   08/21/20   SRT    Assist with motion to approve settlements.                0.30       75.00
   08/28/20   JCS    Begin drafting motion to approve settlements              1.40      364.00
                     between investor Plaintiffs and other parties.
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   Client Ref:                                                                September 1, 2020
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                                        Professional Fees

              Atty    Description                                            Hours       Amount
   08/31/20   JCS     Continue drafting motion to approve settlements.        3.30       858.00
   08/31/20   JCS     Conference with investor counsel regarding same.        0.80       208.00
   08/31/20   JCS     Review and respond to emails regarding                  0.40       104.00
                      same and revisions to settlement agreement.

                                            Fee Summary

              Name                                                   Hours               Amount
              Ana Maria Salazar                                     113.10             14,137.50
              Jeffrey C. Schneider                                  257.60             66,976.00
              Jason Kellogg                                           5.00              1,250.00
              Jezabel Lima                                           73.90             18,475.00
              Stephanie Reed Traband                                  6.30              1,575.00

                               Total Fees                           455.90           $102,413.50

                                                Costs

              Expenses                                                                   Amount
              Westlaw Research                                                            143.72
              Mediation Fee                                                            18,075.00
                              Total Costs                                             $18,218.72

   Current Bill Total Amount Due                                                     $120,632.22
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                                     283

              Please return this page with remittance
                                                 to
                        Levine Kellogg Lehman Schneider + Grossman LLP
                                    22nd Floor, Citigroup Center
                                       201 S. Biscayne Blvd.
                                       Miami, Florida 33131

   Bill #           29066
   Bill Date:       September 1, 2020
   Client Code:
   Client Name:     Michael I. Goldberg, Receiver
   Matter Code:
   Matter Name:    Investor Case

                                     Current Bill Total Amount Due        $120,632.22


                  Amount enclosed: ____________________________________
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                                     283
               Levine Kellogg Lehman Schneider + Grossman LLP
                                     22nd Floor, Citigroup Center
                                        201 S. Biscayne Blvd.
                                        Miami, Florida 33131
                                       Tax ID No.



   Tax I.D.:



   Michael I. Goldberg, Receiver                                              September 1, 2020
                                                                                    Bill # 29065

   Re:
               Claim against MSK

                                         Professional Fees

               Atty   Description                                            Hours      Amount
   03/02/20    AGS    Prepare expert retainer agreement.                      0.40        80.00
   03/05/20    AGS    Prepare retainer agreement for expert.                  0.30        60.00
   03/08/20    AGS    Coordinate engagement of expert witness.                0.10        20.00
   03/09/20    AGS    Facilitate engagement of expert witness.                0.20        40.00
   03/12/20    JCS    Conference with A. Cortinas regarding negotiations.     0.80       208.00
   04/01/20    JCS    Conference with A. Cortinas regarding settlement        0.50       130.00
                      negotiations.
   04/01/20    JK     Confer with J. Schneider regarding strategy and         0.20        50.00
                      settlement.
   04/15/20    JCS    Review and respond to A. Cortinas email regarding       0.30        78.00
                      continued stay and discuss with Receiver.
   04/28/20    JCS    Strategize with S. Traband regarding MSK case.          0.30        78.00
   05/01/20    JK     Review other order on motion to dismiss.                0.10        25.00
   05/04/20    JK     Confer with J. Schneider regarding strategy.            0.30        75.00
   05/04/20    JCS    Conference with J. Kellogg regarding various orders.    0.50       130.00
   05/07/20    JK     Review other court and SEC orders for use in this       0.70       175.00
                      case.
   05/08/20    JK     Review other orders for use in this case.               0.90       225.00
   05/13/20    JCS    Conference with A. Cortinas regarding mediation with    0.70       182.00
                      MSK.
   05/20/20    JK     Conference with J. Schneider regarding strategy.        0.20        50.00
   05/27/20    AGS    Review and analyze case law regarding support for       1.40       280.00
                      discovery motion practice.
   05/27/20    JCS    Conference with MSK counsel regarding stay and          0.80       208.00
                      resuming discovery.
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                                         Professional Fees

              Atty   Description                                            Hours      Amount
   05/27/20   JCS    Conferences with Receiver regarding same.               0.70      182.00
   05/28/20   JCS    Conference with J. Kellogg and J. Lima regarding        0.30       78.00
                     MSK discovery issues and next steps.
   05/28/20   JCS    Strategize with Receiver regarding same.                0.60      156.00
   05/28/20   JL     Strategy call with Jason Kellogg in preparation for     0.50      125.00
                     lifting of stay.
   05/29/20   JK     Review file, compile documents and draft                0.40      100.00
                     correspondence to J. Lima regarding next steps.
   06/02/20   JCS    Conferences with Receiver regarding MSK mediation.      0.70      182.00
   06/02/20   AMS    Review document production.                             3.10      387.50
   06/03/20   JCS    Review letter from counsel.                             0.10       26.00
   06/03/20   JCS    Strategize with the Receiver regarding same.            0.50      130.00
   06/03/20   JL     Review and analyze complaint in preparation for         1.50      375.00
                     preparing additional discovery after stay is lifted.
   06/03/20   JK     Review settlement correspondence.                       0.20       50.00
   06/04/20   JL     Review, analyze and summarize deposition.               3.00      750.00
   06/05/20   JL     Review, analyze and summarize the deposition.           3.00      750.00
   06/15/20   JL     Review, analyze and summarize the confidential          0.70      175.00
                     portion of deposition.
   06/17/20   JCS    Review summary deposition.                              1.30      338.00
   06/18/20   JCS    Conference with Receiver regarding various matters.     0.70      182.00
   06/22/20   JCS    Conference with D. Atkinson regarding MSK               0.80      208.00
                     mediation.
   06/26/20   JCS    Draft email to MSK's counsel regarding resumed          0.40      104.00
                     mediation.
   07/06/20   JK     Analyze                                                 0.20       50.00
   07/08/20   JCS    Review and respond to emails from Receiver              0.40      104.00
                     regarding MSK mediation.
   07/08/20   JCS    Conference with Receiver regarding same.                0.40      104.00
   07/10/20   JK     Review information related to Quiros action in          0.10       25.00
                     criminal case.
   07/18/20   JK     Review complete file; draft to do list; research in     2.50      625.00
                     support of opposition to motion to dismiss; prepare
                     for mediation.
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                                       Professional Fees

              Atty   Description                                           Hours      Amount
   07/20/20   AGS    Review and analyze discovery for potential use in      1.80      360.00
                     case.
   07/20/20   AGS    Prepare summary of deposition.                         1.10      220.00
   07/20/20   TA     Conference with J. Kellogg and A. Strassman            0.50      100.00
                     regarding discovery/case materials.
   07/20/20   TA     Review and analyze case materials in preparation of    2.00      400.00
                     document review/deposition summaries.
   07/21/20   AGS    Prepare summary of deposition.                         2.40      480.00
   07/21/20   TA     Review and analyze depositions; draft summary          3.50      700.00
                     regarding same.
   07/22/20   AGS    Prepare deposition summary.                            5.10     1,020.00
   07/22/20   SRT    Communicate with Mr. Kellogg regarding impact of       0.20       50.00
                     Quiros action in criminal case.
   07/22/20   TA     Review, analyze and summarize depositions.             3.40      680.00
   07/22/20   JL     Review, analyze and summarize deposition.              3.70      925.00
   07/23/20   JCS    Strategize with S. Traband regarding MSK mediation     0.70      182.00
                     and Quiros action in criminal case.
   07/23/20   AMS    Organize deposition exhibits and documents.            5.80      725.00
   07/23/20   SRT    Strategy conference for mediation                      0.60      150.00
   07/24/20   AGS    Review, analyze and summarize deposition.              2.00      400.00
   07/24/20   TA     Review, analyze and summarize deposition.              1.00      200.00
   07/26/20   AGS    Review, analyze and summarize deposition.              1.50      300.00
   07/27/20   AGS    Review, analyze and summarize deposition.              2.00      400.00
   07/27/20   TA     Review, analyze and summarize deposition.              2.00      400.00
   07/27/20   JL     Begin to draft deposition summary.                     3.50      875.00
   07/28/20   AGS    Review, analyze and summarize deposition.              1.10      220.00
   07/29/20   JCS    Conference with M. Visconti regarding A. Quiros.       0.70      182.00
   07/29/20   AMS    Organize deposition exhibits and documents.            5.80      725.00
   07/29/20   TA     Review/analyze depositions.                            0.50      100.00
   07/29/20   SRT    Communicate regarding depositions and additional       0.20       50.00
                     discovery tasks.
   07/30/20   TA     Review/analyze depositions; draft summary regarding    6.50     1,300.00
                     same.
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   Bill # 29065                                                                       Page 4

                                        Professional Fees

              Atty   Description                                           Hours      Amount
   07/30/20   TA     Review/analyze depositions; draft summary regarding    2.00      400.00
                     same.
   07/31/20   TA     Review/analyze depositions; draft summary regarding    6.50     1,300.00
                     same.
   07/31/20   JL     Continue to draft deposition summary.                  3.50      875.00
   08/03/20   JCS    Strategize regarding A. Quiros action in criminal      0.60      156.00
                     case.
   08/03/20   SRT    Conference regarding mediation and Quiros’ actions     0.40      100.00
                     in criminal case.
   08/04/20   AGS    Review and analyze deposition; prepare deposition      1.40      280.00
                     summary.
   08/04/20   TA     Revie and analyze depositions; draft summary           1.40      280.00
                     regarding same.
   08/05/20   AGS    Review and analyze deposition; prepare deposition      3.00      600.00
                     summary.
   08/05/20   AGS    Review and analyze deposition transcript ; prepare     1.30      260.00
                     summary of transcript.
   08/05/20   JCS    Conference with Receiver regarding conferences with    0.40      104.00
                     A. Quiros counsel.
   08/05/20   AMS    Attend to issues regarding document review.            0.80      100.00
   08/06/20   TA     Review and analyze depositions; draft summary          1.00      200.00
                     regarding same.
   08/07/20   TA     Review depositions; draft summary regarding same.      3.30      660.00
   08/10/20   AGS    Review and analyze deposition transcript; prepare      0.50      100.00
                     deposition summary.
   08/10/20   TA     Review/analyze depositions; draft summary regarding    5.80     1,160.00
                     same.
   08/11/20   AGS    Review deposition transcript; prepare deposition       1.50      300.00
                     summaries.
   08/11/20   TA     Review/analyze depositions; draft summary regarding    1.50      300.00
                     same.
   08/12/20   TA     Review/analyze depositions; draft summaries            3.00      600.00
                     regarding same.
   08/12/20   JCS    Review M. Visconti email and strategize with           0.40      104.00
                     Receiver regarding same.
   08/13/20   JCS    Review and respond to M. Visconti email regarding      0.20       52.00
                     MSK mediation.
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                                     283

   Client Ref:                                                              September 1, 2020
   Bill # 29065                                                                       Page 5

                                        Professional Fees

              Atty   Description                                           Hours      Amount
   08/13/20   JCS    Begin preparing for MSK mediation.                     2.30      598.00
   08/14/20   JCS    Conference with mediator regarding MSK mediation.      0.80      208.00
   08/14/20   JCS    Continue review of materials relating to prior MSK     1.80      468.00
                     mediation in preparation for same.
   08/14/20   JCS    Conference with M. Visconti regarding same.            0.50      130.00
   08/16/20   JK     Research in support of Response to Motion to           0.30       75.00
                     Dismiss.
   08/17/20   AGS    Research arguments in opposition to Defendants'        1.60      320.00
                     motion to dismiss amended complaint.
   08/17/20   TA     Review/analyze case materials in preparation for       1.00      200.00
                     research regarding motion to dismiss.
   08/17/20   JCS    Continue reviewing materials in preparation for MSK    1.20      312.00
                     mediation.
   08/17/20   JK     Revise response to motion to Dismiss Amended           0.50      125.00
                     Complaint.
   08/18/20   AGS    Review and analyze document production.                0.40       80.00
   08/18/20   TA     Review/analyze deposition transcript; draft summary    2.30      460.00
                     regarding same.
   08/19/20   AGS    Review and analyze case law in support of response     1.50      300.00
                     to motion to dismiss amended complaint.
   08/19/20   AMS    Document Management; review deposition exhibits;       3.10      387.50
                     summarize and index deposition exhibits in
                     attorney-review platform.
   08/19/20   TA     Review/analyze case law in preparation for drafting    1.50      300.00
                     motion to dismiss.
   08/19/20   TA     Review/analyze depositions; draft summary regarding    2.00      400.00
                     same.
   08/19/20   JCS    Prepare for call with mediator.                        0.80      208.00
   08/19/20   JCS    Attend same.                                           1.30      338.00
   08/19/20   SRT    Begin working on mediation update.                     1.00      250.00
   08/20/20   TA     Draft deposition summary.                              4.30      860.00
   08/20/20   JCS    Continued review of materials relating to MSK          1.20      312.00
                     mediation.
   08/20/20   SRT    Prepare mediation update and conference regarding      1.50      375.00
                     same.
   08/21/20   JCS    Conference with Receiver regarding mediation.          0.40      104.00
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   Bill # 29065                                                                       Page 6

                                        Professional Fees

              Atty   Description                                           Hours      Amount
   08/21/20   JCS    Conference with class counsel and receiver             0.40      104.00
                     regarding mediation.
   08/21/20   SRT    Conference regarding mediation update.                 0.40      100.00
   08/24/20   AMS    Review document production; compile documents for      7.50      937.50
                     mediation.
   08/25/20   AMS    Review and compile relevant documents in               3.80      475.00
                     preparation for mediation.
   08/25/20   AGS    Review and analyze case law in support of response     3.20      640.00
                     in opposition to Defendants' motion to dismiss
                     amended complaint.
   08/25/20   JK     Research for response to motion to dismiss.            0.30       75.00
   08/26/20   AGS    Prepare response to motion to dismiss amended          2.50      500.00
                     complaint.
   08/26/20   AGS    Prepare for mediation.                                 1.60      320.00
   08/26/20   JCS    Continue preparing for mediation with D. Gordon and    4.70     1,222.00
                     MSK.
   08/26/20   AMS    Assemble relevant documents; prepare mediation         4.50      562.50
                     binder for Jeffrey Schneider.
   08/26/20   AMS    Prepare summary of mediation exhibits for Jeffrey      3.40      425.00
                     Schneider.
   08/26/20   TA     Strategize in preparation for drafting motion to       0.20       40.00
                     dismiss.
   08/26/20   JK     Review case law for response to motion to dismiss      0.20       50.00
                     and mediation.
   08/26/20   SRT    Conference regarding mediation strategy.               0.20       50.00
   08/27/20   AGS    Review and analyze discovery in preparation of         1.50      300.00
                     mediation, and prepare for mediation.
   08/27/20   AGS    Prepare response to motion to dismiss amended          0.10       20.00
                     complaint.
   08/27/20   AMS    Continue compiling and organizing documents for        5.30      662.50
                     mediation.
   08/27/20   TA     Review/analyze case law in preparation for drafting    0.70      140.00
                     motion to dismiss.
   08/27/20   JK     Review deposition transcripts in advance of            0.20       50.00
                     mediation; conference with J. Schneider regarding
                     mediation preparation.
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   Bill # 29065                                                                       Page 7

                                       Professional Fees

              Atty   Description                                           Hours      Amount
   08/27/20   SRT    Communicate with client regarding documents for        0.50      125.00
                     mediation.
   08/28/20   AMS    Compile documents for deposition summaries.            3.20      400.00
   08/28/20   AGS    Review and analyze discovery for use at mediation.     1.60      320.00
   08/28/20   JCS    Begin reviewing douments in preparation for resumed    2.70      702.00
                     MSK mediation.
   08/28/20   JK     Review stay order; prepare mediation presentation;     0.60      150.00
                     conference with J. Schneider regarding strategy.
   08/28/20   SRT    Conferences regarding document production and          1.00      250.00
                     strategy.
   08/30/20   AGS    Review and analyze discovery for potential use at      0.30        60.00
                     mediation.
   08/30/20   AGS    Review and analyze discovery for potential use in      0.20        40.00
                     case.
   08/31/20   AGS    Review and analyze discovery for potential use at      2.60      520.00
                     mediation.
   08/31/20   AMS    Compile exhibits for presentation in advance of        1.80      225.00
                     mediation.
   08/31/20   JCS    Conference with the Receiver regarding MSK             0.40      104.00
                     mediation.
   08/31/20   JCS    Conference with S. Richmond regarding MSK              0.40      104.00
                     mediation.
   08/31/20   JCS    Review and respond to emails from Judge Ryan,          0.70      182.00
                     class counsel, the Receiver and S. Richmond
                     regarding MSK mediation.

                                           Fee Summary

              Name                                                 Hours              Amount
              Tal Aburos                                           55.90            11,180.00
              Ana Maria Salazar                                    48.10             6,012.50
              Jeffrey C. Schneider                                 33.40             8,684.00
              Jason Kellogg                                         7.90             1,975.00
              Jezabel Lima                                         19.40             4,850.00
              Stephanie Reed Traband                                6.00             1,500.00
              Alexander G. Strassman                               44.20             8,840.00

                              Total Fees                          214.90           $43,041.50
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   Bill # 29065                                                         Page 8

                                              Costs

              Expenses                                                  Amount
              Expert Retainer                                          1,350.00
              Mediation Fee                                            4,950.00
                                Total Costs                           $6,300.00

   Current Bill Total Amount Due                                    $49,341.50
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              Please return this page with remittance
                                                 to
                        Levine Kellogg Lehman Schneider + Grossman LLP
                                    22nd Floor, Citigroup Center
                                       201 S. Biscayne Blvd.
                                       Miami, Florida 33131

   Bill #           29065
   Bill Date:       September 1, 2020
   Client Code:
   Client Name:     Michael I. Goldberg, Receiver
   Matter Code:
   Matter Name:    Claim against MSK

                                     Current Bill Total Amount Due        $49,341.50


                  Amount enclosed: ____________________________________
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March 1, 2020 to August 31, 2020                             283

Matter: Jay Peak, Inc.
Invoice No.: 29064
                                                                      Year       Standard   Reduced   Total hours
Name                     Practice Area                    Title       licensed       Rate      Rate         billed Amount Billed
Tal Aburos               Commercial Litigation            Associate   2018            345       200          5.30      1,060.00
Ana Maria Salazar        Receivership Support             Paralegal                   255       125         25.60      3,200.00
Jeffrey C. Schneider     Receiver/Commercial Litigation   Partner     1992            695       260         82.40     21,424.00
Jezabel Lima             Commercial Litigation            Partner     2001            555       250         20.30      5,075.00
Stephanie Reed Traband   Commercial Litigation            Partner     1998            620       250         78.90     19,725.00
Victoria J. Wilson       Commercial Litigation            Associate   2011            450       200          4.10        820.00
                                                                                                          216.60      51,304.00

Matter: Claims against MSK
Invoice No.: 29065
                                                                      Year       Standard   Reduced   Total hours
Name                     Practice Area                    Title       licensed       Rate      Rate         billed Amount Billed
Tal Aburos               Commercial Litigation            Associate   2018            345       200         55.90     11,180.00
Ana Maria Salazar        Receivership Support             Paralegal                   255       125         48.10      6,012.50
Jeffrey C. Schneider     Receiver/Commercial Litigation   Partner     1992            695       260         33.40      8,684.00
Jason Kellogg            Commercial Litigation            Partner     2002            555       250          7.90      1,975.00
Jezabel Lima             Commercial Litigation            Partner     2001            555       250         19.40      4,850.00
Stephanie Reed Traband   Commercial Litigation            Partner     1998            620       250          6.00      1,500.00
Alexander G. Strassman   Commercial Litigation            Associate   2014            425       200         44.20      8,840.00
                                                                                                          214.90      43,041.50

Matter: Investor Case
Invoice No.: 29066
                                                                      Year       Standard   Reduced   Total hours
Name                     Practice Area                    Title       licensed       Rate      Rate         billed Amount Billed
Ana Maria Salazar        Receivership Support             Paralegal                   255       125       113.10      14,137.50
Jeffrey C. Schneider     Receiver/Commercial Litigation   Partner     1992            695       260       257.60      66,976.00
Jason Kellogg            Commercial Litigation            Partner     2002            555       250          5.00      1,250.00
Jezabel Lima             Commercial Litigation            Partner     2001            555       250         73.90     18,475.00
Stephanie Reed Traband   Commercial Litigation            Partner     1998            620       250          6.30      1,575.00
                                                                                                          455.90     102,413.50
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                                 Exhibit 4(c)
                                 Kapila Mukamal




   52782416;1
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                                       283



                                       1000 S. Federal Highway, Suite 200
                                           Fort Lauderdale, FL 33316
                        Phone - 954-761-1011 F - 954-761-1033 www.kapilamukamal.com
                                                EIN #XX-XXXXXXX
SEC V. Q RESORTS, ET AL
C/O MICHAEL I. GOLDBERG, RECEIVER                                                     Invoice: 6974
                                                                                      08/31/2020
                                                                                      Client ID: 90107

For Professional Services Rendered Through August 31, 2020

DATE         STAFF                       DESCRIPTION                                  HRS          AMOUNT
LITIGATION SUPPORT
03/03/2020   FDD      T/C WITH S. REED AND KM STAFF RE: MERRILL LYNCH                 0.40            118.40
                      REQUEST FOR PRODUCTION.
03/03/2020   FDD      T/C WITH KLASKO LAW AND M. DAVIS RE: FLOW OF FUNDS FOR          0.30             88.80
                      LODGE AND TOWNHOMES.
03/03/2020   KM       TC WITH M DAVIS, F DIAZ AND S TRABAND (COUNSEL) TO 0.40                         158.00
                      REVIEW MERRILL LYNCH DOCUMENT PRODUCTION REQUESTS.
03/03/2020   MMD      TC WITH COUNSEL RE PRODUCTION REQUEST.                          0.40            158.00
03/03/2020   MMD      TC WITH COUNSEL RE FLOW OF FUNDS TRACING. ASSEMBLE              1.80            711.00
                      INFORMATION REQUESTED FOR IMMIGRATION.
03/04/2020   FDD      T/C WITH JUAN CARLOS, ALICIA, AND M.DAVIS RE: TRACING           0.50            148.00
                      ANALYSIS FOR JAY PEAK LODGE AND TOWNHOMES
                      INVESTMENT.
03/04/2020   MMD      ASSEMBLE INFORMATION REQUESTED BY COUNSEL FOR                   2.30            908.50
                      IMMIGRATION.
03/06/2020   FDD      FOLLOW UP T/C WITH JUAN CARLOS, ALICIA, A. SANCHEZ AND          0.50            148.00
                      M.DAVIS RE: TRACING ANALYSIS FOR JAY PEAK LODGE AND
                      TOWNHOMES INVESTMENT.
03/06/2020   MMD      REVIEW EMAILS AS REQUESTED BY COUNSEL RE PRODUCTION 0.70                        276.50
                      OF QUIROS DATA.
03/09/2020   FDD      PREPARE A SUMMARY OF JCM CONSTRUCTION COST FOR JAY              0.30             88.80
                      PEAK LODGE AND TOWNHOMES.
03/09/2020   SRK      ADDRESS SPECIFIC INVESTOR REQUESTS FOR FUNDS                    0.30            118.50
                      TRACING AND FOLLOW UP WITH RECEIVER GOLDBERG
03/10/2020   FDD      EXTRACT MERRILL LYNCH BANK ACCOUNT ACTIVITY FOR                 1.30            384.80
                      VARIOUS ENTITIES RE: MERRILL LYNCH RFP.
03/10/2020   FDD      EXTRACT MERRILL LYNCH BANK ACCOUNT ACTIVITY FOR                 1.20            355.20
                      VARIOUS ENTITIES RE: MERRILL LYNCH RFP (CONTINUED).
03/10/2020   FDD      EXTRACT MERRILL LYNCH BANK ACCOUNT ACTIVITY FOR                 1.90            562.40
                      VARIOUS ENTITIES RE: MERRILL LYNCH RFP (CONTINUED).
03/10/2020   FDD      COMPILE SOURCE DOCUMENTS UTILIZED FOR JAY PEAK                  0.40            118.40
                      LODGE AND TOWNHOME ANALYSIS RE: KLASKO REQUEST.
03/10/2020   MMD      PREPARE SCHEDULES AND NARRATIVES REQUESTED BY                   3.10         1,224.50
                      COUNSEL FOR IMMIGRATION PURPOSES.
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03/11/2020   FDD   DRAFT MEMO REQUESTED BY KLASKO RE: LTH FLOW OF       3.60    1,065.60
                   FUNDS.
03/11/2020   MMD   CONTINUE TO PREPARE SCHEDULES AND NARRATIVES         2.30       908.50
                   REQUESTED BY COUNSEL FOR IMMIGRATION PURPOSES.
03/12/2020   MMD   FINALIZE MEMO REGARDING LTH FLOW OF FUNDS FOR        0.70       276.50
                   IMMIGRATION COUNSEL.
03/13/2020   MMD   REVIEW MEMO AND FINALIZE.                            0.60       237.00
03/13/2020   KM    REVIEW MEMO AND ACCOMPANYING EXHIBITS RE: LTH FLOW   1.20       474.00
                   OF FUNDS PER IMMIGRATION COUNSEL REQUEST.
04/02/2020   FDD   REVIEW RECEIVERSHIP LEDGER.                          0.20        59.20
04/03/2020   MMD   T/C WITH COUNSEL RE QBURKE ANALYSIS AND DOCUMENT     0.60       237.00
                   REQUEST.
04/03/2020   MMD   REVIEW QBURKE BANK RECONSTRUCTIONS AND ACCOUNTING 0.80          316.00
                   RECORDS FOR PURPOSES OF PRODUCTION IN LITIGATION
                   MATTER.
04/08/2020   MMD   PREPARE ANALYSIS REQUESTED BY IMMIGRATION COUNSEL.   1.10       434.50
04/08/2020   MMD   CONTINUE TO REVIEW Q BURKE IN CONNECTION WITH        1.40       553.00
                   PRODUCTION REQUEST.
04/09/2020   FDD   T/C WITH KLASKO RE: STATESIDE PROJECT.               0.40       118.40
04/09/2020   MMD   TC WITH IMMIGRATION COUNSEL.                         0.50       197.50
04/09/2020   MMD   PREPARE ANALYSIS REQUESTED BY IMMIGRATION COUNSEL.   0.80       316.00
04/14/2020   MMD   ATTEND TO PRODUCT ON OF RECORDS - ML MATTER.         0.70       276.50
04/14/2020   MMD   ANALYZE Q BURKE ACTIVITY.                            0.80       316.00
04/15/2020   MMD   CONTINUE TO COMPILE INFORMATION REQUESTED BY         0.40       158.00
                   COUNSEL FOR PRODUCTION REQUEST.
04/17/2020   FDD   RECONSTRUCT RECEIVERSHIP LEDGER.                     2.80       828.80
04/17/2020   FDD   COMPILE DOCUMENTS RE: Q BURKE DOCUMENT REQUEST.      1.60       473.60
04/20/2020   FDD   ANALYZE INVESTOR FUNDS FOR BIOMEDICAL AND Q BURKE    1.30       384.80
                   POST DECEMBER 31, 2014.
04/20/2020   FDD   PREPARE MEMO AND ACCOMPANYING EXHIBITS RE: STATESIDE 2.80       828.80
                   FLOW OF FUNDS.
04/23/2020   FDD   REVIEW MEMO FOR STATESIDE AND REVISE EXHIBITS.       0.60       177.60
04/23/2020   FDD   RECONSTRUCT RECEIVERSHIP LEDGER (CONTINUED).         1.00       296.00
04/23/2020   FDD   RECONSTRUCT RECEIVERSHIP LEDGER (CONTINUED).         0.80       236.80
                   PREPARE ALPHA SORT.
04/23/2020   FDD   PREPARE ALPHA SORT (CONTINUED).                      1.30       384.80
04/23/2020   MMD   PROVIDE DATA RE Q BURKE TO COUNSEL FOR ML MATTER.    0.70       276.50
04/23/2020   MMD   PREPARE STATESIDE MEMO FOR IMMIGRATION COUNSEL.      1.00       395.00
04/27/2020   FDD   PREPARE ALPHA SORT. RECONCILE INTRACOMPANY           2.40       710.40
                   TRANSACTIONS.
04/27/2020   MMD   ANALYSIS OF RECEIPTS IN RECEIVERSHIP ACCOUNTS FOR    0.80       316.00
                   PURPOSES OF DETERMINING IF AMENDED TAX RETURNS ARE
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                   REQUIRED.
04/29/2020   FDD   REVIEW ACTIVITY DURING THE RECEIVERSHIP PERIOD AND       2.10       621.60
                   SUMMARIZE RECEIPTS BY RECEIVERSHIP ACCOUNT.
04/29/2020   MMD   REVIEW RECEIVERSHIP RECEIPTS AND CLASSIFICATION OF       1.70       671.50
                   SAME.
04/30/2020   FDD   REVIEW INTERCOMPANY TRANSACTIONS BETWEEN JAY PEAK        0.90       266.40
                   ENTITIES AND Q BURKE MOUNTAIN.
04/30/2020   MMD   ANALYSIS OF RECEIPTS AND TAX TREATMENT OF SAME.          1.90       750.50
04/30/2020   SRK   INTER COMPANY RECEIVER'S ACCOUNTING                      0.40       158.00
05/01/2020   FDD   REVIEW TRUST LEDGERS.                                    0.10        29.60
05/01/2020   FDD   SUMMARIZE RECEIVERSHIP ACTIVITY BY ACCOUNT.              0.60       177.60
05/01/2020   FDD   SUMMARIZE RECEIVERSHIP ACTIVITY BY ACCOUNT               1.50       444.00
                   (CONTINUED). REVISE SUMMARY SCHEDULES.
05/01/2020   SRK   CASE UPDATE.                                             0.20        79.00
05/04/2020   MMD   CONTINUE TO REVIEW ALLOCATION OF SETTLEMENT              0.80       316.00
                   PROCEEDS.
05/05/2020   MMD   REVIEW INTERCOMPANY ACCOUNT ACTIVITY.                    0.40       158.00
05/05/2020   CDM   PREPARE SUMMARY SCHEDULES OF INTER COMPANY               0.70       196.00
                   ACCOUNT BALANCES FOR JAY PEAK WITH QBURKE AND BMOC
                   FOR FISCAL YEARS ENDING 04/30/16 THROUGH 04/30/20
                   ILLUSTRATING TOTAL INFLOWS AND OUTFLOWS AND ENDING
                   BALANCES FOR EACH ENTITY. PREPARE CHARTS
                   SUMMARIZING DATA.
05/06/2020   MMD   T/C WITH RECEIVER RE ALLOCATION OF SETTLEMENT FUNDS.     0.50       197.50
05/06/2020   SRK   INTER COMPANY ACCOUNT ISSUES AND ADJUSTMENTS             0.60       237.00
05/06/2020   MMD   ANALYSIS OF RECEIPTS AND ALLOCATION OF SETTLEMENT        0.80       316.00
                   FUNDS.
05/08/2020   SRK   ADDRESS QUERY FROM JEFF SCHNEIDER RE SETTLEMENT          0.30       118.50
                   TERMS FOR TAX COMPLIANCE
05/15/2020   SRK   CARSONS SETTLEMENT - EMAILS AND T/C WITH JEFF            0.70       276.50
                   SCHNEIDER RE TAX COMPLIANCE
05/18/2020   FDD   DRAFT MEMO AND PREPARE ACCOMPANYING EXHIBITS FOR         2.10       621.60
                   GOLF AND MOUNTAIN PROJECT INFLOWS AND OUTFLOWS RE:
                   KLASKO REQUEST.
05/18/2020   FDD   DRAFT MEMO AND PREPARE ACCOMPANYING EXHIBITS FOR         2.60       769.60
                   PENTHOUSE PROJECT INFLOWS AND OUTFLOWS RE: KLASKO
                   REQUEST.
05/18/2020   MMD   RESEARCH                            FOR S. TREYBAND.     0.40       158.00
05/19/2020   FDD   T/C WITH J. DENISI AND M. DAVIS RE: PENTHOUSE AND GOLD   0.50       148.00
                   AND MOUNTAIN PROJECT.
05/19/2020   MMD   TC WITH IMMIGRATION COUNSEL.                             0.50       197.50
05/19/2020   MMD   PREPARE TWO MEMOS (PHS AND GM) FOR IMMIGRATION           2.30       908.50
                   COUNSEL RE FLOW OF FUNDS. REVIEW JPI BANK RECON.
                   PREPARE FOR CALL.
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05/27/2020   MMD   CONTINUE TO PREPARE MEMOS RE FLOW OF FUNDS AS           2.40       948.00
                   REQUESTED BY COUNSEL.
05/28/2020   FDD   REVIEW BANK RECONSTRUCTION FOR JPI AND CATEGORIZE       0.50       148.00
                   TRANSACTIONS RE: KLASKO REQUEST.
05/28/2020   FDD   REVIEW BANK RECONSTRUCTION FOR JPI AND CATEGORIZE       2.80       828.80
                   TRANSACTIONS RE: KLASKO REQUEST (CONTINUED).
05/28/2020   MMD   PREPARE ANALYSIS OF JAY PEAK TRANSACTIONS AS            0.70       276.50
                   REQUESTED BY IMMIGRATION COUNSEL.
06/10/2020   FDD   PREPARE A SCHEDULE OF INVESTOR FUNDS                    1.20       355.20
                                                   .
06/10/2020   FDD   DRAFT MEMO RE: INFLOWS AND OUTFLOWS FOR Q BURKE.        0.40       118.40
06/10/2020   FDD   DRAFT MEMO RE: INFLOWS AND OUTFLOWS FOR Q BURKE         2.40       710.40
                   (CONTINUED). PREPARE ACCOMPANYING EXHIBIT.
06/11/2020   FDD   ANALYZE INVESTOR ACTIVITY FOR BIOMEDICAL                1.00       296.00

06/11/2020   MMD   RESPOND TO EMAILS FROM COUNSEL RE FLOW OF FUNDS         1.10       434.50
                   FOR BURKE AND ANC BIO.
06/12/2020   FDD   ANALYZE INVESTOR ACTIVITY FOR BIOMEDICAL                0.80       236.80
                                            (CONTINUED).
06/12/2020   FDD   ANALYZE INVESTOR ACTIVITY FOR BIOMEDICAL                0.90       266.40
                                                         PREPARE
                   SUMMARY SCHEDULE.
06/12/2020   FDD   ANALYZE INVESTOR ACTIVITY FOR Q BURKE                   1.30       384.80

06/14/2020   MMD   PREPARE MEMO REGARDING Q BURKE FLOW OF FUNDS.           1.30       513.50
06/16/2020   FDD   T/C WITH M DAVIS AND COUNSEL RE: MERRILL LYNCH MATTER. 0.50        148.00
06/16/2020   MMD   TC WITH COUNSEL RE MERRILL LYNCH, QBURKE AND ANC BIO. 0.50         197.50
06/16/2020   FDD   ANALYZE INVESTOR ACTIVITY FOR Q BURKE                   0.50       148.00
                                        .
06/16/2020   MMD   ANALYSIS OF Q BURKE AND ANC BIO CASH INFLOWS AND        1.60       632.00
                   OUTFLOWS                                            .
06/17/2020   FDD   ANALYZE INVESTOR ACTIVITY FOR BIOMEDICAL                0.40       118.40
                                            (CONTINUED).
06/17/2020   FDD   ANALYZE INVESTOR ACTIVITY FOR Q BURKE                   0.70       207.20
                                        (CONTINUED).
06/17/2020   FDD   ANALYZE INVESTOR ACTIVITY FOR Q BURKE                   4.90    1,450.40
                                        (CONTINUED).
06/23/2020   FDD   T/C WITH M. DAVIS AND COUNSEL RE: MERRILL LYNCH MATTER. 0.50       148.00
06/23/2020   MMD   TC WITH COUNSEL RE MERRILL LYNCH DAMAGE ANALYSIS.       0.50       197.50
06/23/2020   FDD   ANALYZE MERRILL LYNCH ACCOUNT ACTIVITY.                 0.50       148.00
06/23/2020   MMD   PREPARE MERRILL LYNCH DAMAGE ANALYSIS.                  1.40       553.00
06/23/2020   MMD   PREPARE MEMO AS REQUESTED BY IMMIGRATION COUNSEL        1.40       553.00
                   FOR GM.
06/26/2020   MMD   REVIEW AND FINALIZE GMS TRACING MEMO.                   0.60       237.00
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07/06/2020   CDM   REVIEW AND UPDATE CLAIMS DATABASE; RECEIVE CALL FROM      0.20        56.00
                   INVESTOR
07/10/2020   FDD   ANALYZE INVESTOR ACTIVITY                                 0.90       266.40
07/13/2020   FDD   ANALYZE INVESTOR ACTIVITY                                 1.80       532.80

07/13/2020   MMD   CONTINUE ML INVESTIGATION AND IDENTIFY TRANSACTIONS       2.40       948.00

07/14/2020   FDD   ANALYZE INVESTOR ACTIVITY RE: MERRILL LYNCH ACCOUNTS      1.70       503.20
                   (CONTINUED).
07/16/2020   FDD   T/C WITH M. DAVIS AND COUNSEL RE: MERRILL LYNCH.          0.60       177.60
07/16/2020   MMD   TC WITH COUNSEL RE MERRILL LYNCH ANALYSIS.                0.60       237.00
07/16/2020   MMD   CONTINUE TO PREPARE ML DAMAGE ANALYSIS. REVIEW            1.70       671.50
                   TRACING CHARTS.
07/20/2020   MMD   TRACING ANALYSIS FOR MERRILL LYNCH DAMAGES.               1.10       434.50
07/20/2020   FDD   REVIEW DOCUMENTS FOR LODGE AND TOWNHOUSES RE:             0.20        59.20
                   INVESTOR - SHANGSHANG CHEN.
07/20/2020   SRK   UPDATE ON CASE STATUS                                     0.10        39.50
07/21/2020   MMD   T/C WITH ATTORNEY RAMOS RE INVESTOR    . SEND             0.50       197.50
                   EMAILS WITH SUPPORTING DOCS AS REQUESTED.
07/21/2020   MMD   COMPILE TRANS ER SCHEDULED FOR SELECTED TARGET AS         0.60       237.00
                   REQUESTED BY COUNSEL FOR USE IN MEDIATION.
07/22/2020   MMD   TC WITH COUNSEL EDWARD RAMOS RE                           0.10        39.50
07/22/2020   FDD   REVIEW DOCUMENTS FOR LODGE AND TOWNHOUSES RE:             0.30        88.80
                   INVESTOR -                (CONTINUED).
07/22/2020   FDD   REVIEW TRANSFERS MADE TO CITIBANK                         1.10       325.60
                                                                    .
07/22/2020   FDD   REVIEW TRANSFERS MADE TO CITIBANK                         0.90       266.40



07/22/2020   FDD   PREPARE TRACING ANALYSIS                                  1.80       532.80
                               .
07/22/2020   FDD   PREPARE A TRACING ANALYSIS FOR DIVERTED FUNDS             0.70       207.20
                   SUBSEQUENT TO MARCH 15, 2015                  .
07/22/2020   MMD   DRAFT MEMO RE PHS CASH FLOW AS REQUESTED BY               0.70       276.50
                   IMMIGRATION COUNSEL.
07/22/2020   MMD   DRAFT MEMO RE INVESTOR             AS REQUESTED BY        0.80       316.00
                   IMMIGRATION COUNSEL.
07/23/2020   FDD   PREPARE A TRACING ANALYSIS FOR DIVERTED FUNDS             3.70    1,095.20
                   SUBSEQUENT TO MARCH 15, 2015 RE:
                               PREPARE FLOWCHARTS.
07/23/2020   FDD   REVIEW TRACING ANALYSIS.                                  0.30        88.80
07/23/2020   MMD   PREPARE MEMORANDUM OF LTH -                           .   0.60       237.00
07/23/2020   MMD   PREPARE MEMORANDUM OF PHS CASH FLOWS.                     0.40       158.00
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07/23/2020   MMD   PREPARE TRACING ANALYSIS                                    1.30       513.50
                               .
07/24/2020   FDD   REVISE TRACING ANALYSIS EXHIBITS                    .       0.80       236.80
07/26/2020   MMD   FINALIZE                 TRACING CHARTS. SEND TO            1.20       474.00
                   COUNSEL.
07/27/2020   FDD   COMPILE BANK RECORDS FOR PENTHOUSE SUITES RE: JAY           0.20        59.20
                   PEAK REQUEST.
07/29/2020   MMD   PREPARE MEMOS REQUESTED BY INVESTOR IMMIGRATION             2.60    1,027.00
                   COUNSEL.
07/30/2020   MMD   CONTINUE TO PREPARE MEMOS FOR IMMIGRATION COUNSEL.          0.90       355.50
07/30/2020   WDV   REVIEWED PRIOR CORRESPONDENCE TO THE CASE;                  3.40       782.00
                   PREPARED INDIVIDUAL REPORT FOR EACH INVESTOR AND
                   MADE REVISIONS TO EXHIBITS
07/31/2020   WDV   PREPARED INDIVIDUAL REPORTS FOR EACH INVESTOR AND           2.30       529.00
                   MADE REVISIONS TO EXHIBITS
08/03/2020   MMD   MERRILL LYNCH DAMAGES - TRACING ANALYSIS.                   1.80       711.00
08/18/2020   MMD   RESPOND TO EMAIL FROM RECEIVER REQUESTING                   0.50       197.50
                   INFORMATION                                             .
08/19/2020   MMD   PREPARE MEMO RE INVESTOR FUNDS AS REQUESTED BY              1.00       395.00
                   BEHAR LAW GROUP.
08/26/2020   FDD   REVIEW                                                      0.40       118.40
                                     .
08/26/2020   MMD   RESPOND TO EMAIL FROM COUNSEL RE MERRILL LYNCH AND          0.60       237.00
                   TRACING OF INVESTOR FUNDS.



                                                                                      48,520.70

TAX SERVICES - PREPARE FORMS
03/02/2020   LJJ   RECONCILIATION OF CAPITAL FOR JAY PEAK STATESIDE            3.00    1,185.00
03/03/2020   SRK   UPDATE WITH LESLEY JOHNSON AND MELISSA DAVIS                0.40       158.00
03/03/2020   KJJ   PROCESSED PARTNER K-1S FOR MAILING - JAY PEAK LODGE &       0.80       136.00
                   TOWNHOUSES
03/03/2020   KJJ   COMPLETION OF FORM 8804 FOR SIGNATURE - JAY PEAK            0.10        17.00
                   PENTHOUSE SUITES
03/03/2020   KJJ   COMPLETION OF FORM 8804 FOR SIGNATURE - JAY PEAK GOLF 0.10              17.00
                   & MOUNTAIN SUITES
03/03/2020   KJJ   COMPLETION OF FORM 8804 FOR SIGNATURE - JAY PEAK            0.20        34.00
                   LODGE & TOWNHOUSES
03/03/2020   KJJ   COMPLETION OF FORM 8804 FOR SIGNATURE - Q BURKE             0.30        51.00
                   MOUNTAIN RESORT HOTEL & CONFERENCE CENTER
03/04/2020   LJJ   FINALIZE 8804 AND 2848 FOR FILING AND SIGN - PENTHOUSE      0.60       237.00
                   SUITES
03/04/2020   LJJ   FINALIZE 8804 AND 2848 FOR FILING AND SIGN - LODGE AND      0.60       237.00
                   TOWNHOUSES
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03/04/2020   LJJ   FINALIZE 8804 AND 2848 FOR FILING AND SIGN - GOLF &      0.60       237.00
                   MOUNTAIN
03/04/2020   LJJ   FINALIZE 8804 AND 2848 FOR FILING AND SIGN - QBURKE      0.60       237.00
                   MOUNTAIN
03/04/2020   LJJ   REVIEW AND RECONCILE ACCOUNTING INFORMATION              3.40    1,343.00
                   RECEIVED FROM S. LILLIS, FORWARD OPEN ISSUES FOR
                   STATESIDE AND PHASE II
03/04/2020   LJJ   SAVE AND FORWARD E-COPIES OF RETURNS FOR Q BURKE,        0.80       316.00
                   GOLF & MOUNTAIN, LODGE & TOWNHOUSES AND PENTHOUSE
                   SUITES.
03/04/2020   KJJ   PREPARED AND PROCESSED PARTNER K-1S FOR MAILING - Q      4.50       765.00
                   BURKE MOUNTAIN RESORT HOTEL & CONFERENCE CENTER
03/05/2020   LJJ   SPECIAL ALLOCATION OF PASS-THROUGH ITEMS TO PARTNERS 2.40           948.00
                   FOR STATESIDE
03/05/2020   LJJ   CLEAR DIAGNOSTICS AND E-FILE FORM 1065                   0.40       158.00
03/05/2020   KJJ   FINALIZE AND TRANSMIT FORM 8804 - JAY PEAK LODGE &       0.10        17.00
                   TOWNHOUSES
03/05/2020   KJJ   FINALIZE AND TRANSMIT FORM 8804 - JAY PEAK PENTHOUSE     0.10        17.00
                   SUITES
03/05/2020   KJJ   FINALIZE AND TRANSMIT FORM 8804 - JAY PEAK GOLF &        0.10        17.00
                   MOUNTAIN SUITES
03/05/2020   KJJ   FINALIZE AND TRANSMIT FORM 8804 - Q BURKE MOUNTAIN       0.10        17.00
                   RESORT HOTEL AND CONFERENCE CENTER
03/09/2020   LJJ   RECONCILIATION OF 1042-S INFORMATION RECEIVED FROM       3.20    1,264.00
                   JAY PEAK FOR INPUT
03/09/2020   KJJ   PREPARED PARTNER K-1S FOR MAILING - JAY PEAK HOTEL       1.00       170.00
                   SUITES STATESIDE
03/10/2020   KJJ   PROCESSED PARTNER K-1S FOR MAILING - JAY PEAK HOTEL      3.00       510.00
                   SUITES STATESIDE
03/11/2020   LJJ   RECONCILIATION OF CAPITAL ACCOUNTING BEGINNING AND       3.80    1,501.00
                   ENDING FOR PHASE II
03/11/2020   KJJ   COMPLETION OF FORMS 1042 & 1042-T FOR SIGNATURE;         0.50        85.00
                   FINALIZE AND TRANSMIT - JAY PEAK
03/12/2020   LJJ   PHASE II ACCOUNTING FOR 2019                             2.20       869.00
03/13/2020   LJJ   RESEARCH, PREPARE AND E-FILE FEDERAL EXTENSIONS FOR      0.50       197.50
                   PARTNERSHIPS, PREPARE STATE EXT
03/13/2020   LJJ   EMAIL QUESTIONS TO SHANE REGARDING UNRECONCILED          1.80       711.00
                   ACCOUNTS FOR PHASE II, PREPARE AND EMAIL STATE
                   EXTENSIONS TO K. SMILEY, FORWARD STATESIDE EFILED TAX
                   RETURN TO CLIENT.
03/14/2020   LJJ   RESEARCH, PREPARE AND E-FILE EXTENSION                   0.10        39.50
03/14/2020   LJJ   RESEARCH, PREPARE AND E-FILE EXTENSION                   0.10        39.50
03/23/2020   LJJ   JAY PEAK PHASE II - REVIEW AND REVISE ACCOUNTING FOR     8.60    3,397.00
                   2019 IDENTIFY FINAL ISSUES THAT REMAIN OPEN TO RELEASE
                   OF TAX RETURN.
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03/24/2020   LJJ   DRAFT 2019 FORM 1065 AND TRANSMIT FINAL OPEN ITEMS TO       3.60    1,422.00
                   ACCOUNTING PERSONNEL FOR RESOLUTION.
03/30/2020   LJJ   REVIEW LATEST CHANGES FROM VERMONT ACCOUNTING TO            1.20       474.00
                   FINALIZE PHASE II
03/31/2020   LJJ   FINALIZE TRIAL BALANCE FOR 12/31/2019, RESEARCH             4.60    1,817.00
                   EXCHANGE LOSS AND COMPARE WITH FOUR YEARS
                   HISTORICAL RATES, FINISH FORM 1065 AND ALLOCATE
                   PARTNER LOSSES, TRANSMIT TO RECEIVER FOR APPROVAL.
03/31/2020   KJJ   UPDATE ADDRESSES IN LACERTE - JAY PEAK LODGE &              0.20        34.00
                   TOWNHOUSES
03/31/2020   KJJ   PREPARE DRAFT RETURN FOR REVIEW - JAY PEAK HOTEL            0.30        51.00
                   SUITES PHASE II
04/01/2020   LJJ   PREPARE 2019 FORMS 8804, 8805 AND POA                       1.00       395.00
04/02/2020   LJJ   EFILE JAY PEAK PHASE II, FINAL REVIEW AND SIGN FORMS 8804 0.40         158.00
04/02/2020   KJJ   COMPLETION OF FORM 8804 FOR SIGNATURE - JAY PEAK            0.20        34.00
                   HOTEL SUITES PHASE II
04/03/2020   KJJ   PREPARED AND PROCESSED GRANTOR STATEMENTS FOR               4.00       680.00
                   MAILING - JAY PEAK HOTEL SUITES PHASE II
04/03/2020   KJJ   UPDATE ADDRESSES IN LACERTE - JAY PEAK GOLF &               0.30        51.00
                   MOUNTAIN SUITES
04/06/2020   LJJ   EMAILS REGARDING FORMS 1042                                 0.10        39.50
04/06/2020   LJJ   K-I ADDRESS CHANGES FROM PARTNERS                           0.20        79.00
04/06/2020   KJJ   FINALIZE AND TRANSMIT FORM 8804 - JAY PEAK HOTEL SUITES     0.10        17.00
                   PHASE II
04/06/2020   KJJ   UPDATED INVESTOR INFORMATION IN LACERTE - JAY PEAK          0.20        34.00
                   HOTEL SUITES STATESIDE
04/07/2020   LJJ   UPDATE PARTNER INFORMATION                                  0.20        79.00
04/13/2020   LJJ   UPDATE PARTNER ADDRESS EIN CHANGES AND TRANSMIT TO          0.60       237.00
                   K. SMILEY
04/17/2020   LJJ   Q BURKE EMAIL FROM K. SMILEY REGARDING LIEN. RESEARCH 0.40             158.00
                   LIEN AND RELEASE.
04/22/2020   LJJ   REVIEW TAX FILE AND FOLLOW-UP REGARDING                     0.20        79.00
                   INTERCOMPANY ANALYSIS
04/24/2020   LJJ   FOLLOW-UP AMENDED K-1S AND INTERCOMPANY ANALYSIS            0.30       118.50
04/29/2020   LJJ   REVIEW OF CASH RECEIPTS RECONSTRUCTION FOR CONF             0.80       316.00
                   CALL
04/30/2020   LJJ   CONF CALL WITH M. DAVID, F. DIAZ AND K. SMILEY REGARDING    1.00       395.00
                   INTERCOMPANY LOAN AND SETTLEMENT ANALYSIS
05/02/2020   KAF   (ALL ENTITIES) - T/C WITH M. DAVIS AND EMAIL TO K. SMILEY   0.10        33.00
                   AND C. COTLER FOR DATA NEEDED TO PREPARE 1/1/20-4/30/20
                   RECEIVER ACTIVITY AJE'S.
05/05/2020   KAF   RE: CO. #390 QBURKE MTN RESORT HOTEL & CONF CTR LLP         3.10    1,023.00
                   AND CO. #008 JAY PEAK, INC. - ANALYZE INTERCOMPANY
                   ACCOUNT TO DETERMINE THE NATURE OF CHANGES TO THE
                   INTERCOMPANY BALANCE SINCE THE START OF THE
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                   RECEIVERSHIP; EMAIL TO M. DAVIS TO DISCUSS, (ALL
                   ENTITIES) - DOWNLOAD AND SAVE DOCUMENTS RECEIVED
                   FROM RECEIVER AND SET UP FOLDER FOR PREPARATION OF
                   01/01/20-04/30/20 RECEIVER ACTIVITY AJE.
05/06/2020   KAF   (ALL ENTITIES) - SUMMARIZE INTERCOMPANY ANALYSIS            7.40    2,442.00
                   PREPARED 5/5/20 AND EMAIL TO M. DAVIS FOR T/C WITH
                   RECEIVER; T/C WITH RECEIVER, M. DAVIS, S. KAPILA; ANALYZE
                   CITIBANK SETTLEMENT RECEIVED IN 2016 AND EMAIL
                   TRANSACTION SUMMARY TO M. DAVIS FOR REVIEW (PENDING
                   DATA TO BE RECEIVED FROM RECEIVER); BEGIN
                   01/01/20-04/30/20 RECEIVER TRANSACTION AJE INCLUDING
                   PULL CASE DOCKET FROM PACER AND DOWNLOAD COURT
                   PAPERS FOR READ AND REVIEW.
05/06/2020   LJJ   DISC INTERCOMPANY ANALYSIS WITH M DAVIS                     0.20        79.00
05/07/2020   KAF   (ALL ENTITIES) - CONTINUE AND COMPLETE RECEIVER             5.10    1,683.00
                   TRANSACTION AJE'S FOR 01/01/20-04/30/20 AND EMAIL TO E.
                   FRADY AND LEISURE HOTELS FOR POSTING, REQUEST
                   ADDITIONAL SUPPORT FROM K. SMILEY RE: VT MEALS & ROOM
                   TAX REFUND, EMAIL TO L. JOHNSON RE: POTENTIAL FYE
                   04/30/19 VERMONT TAX RETURN AMENDMENT.
05/11/2020   LJJ   RESEARCH AND RESPOND TO QUESTIONS FROM BIOMEDICAL           1.00       395.00
                   PARTNER REGARDING PARTNER CAPITAL BALANCE AND
                   PASS-THROUGHS
05/19/2020   KAF   RE: CO. #08-JAY PEAK, INC. - RESPOND TO E. FRADY REQUEST    0.20        66.00
                   FOR NAICS CODE ON FYE 4/30/19 TAX RETURN (FOR COVID
                   REFUND), FORWARD RECEIVER SUPPORT FOR UNIDENTIFIED
                   VT SALES TAX REFUND TO E. FRADY FOR EXPLANATION; MISC
                   EMAIL TRAFFIC
05/25/2020   KAF   RE: CO. #08-JAY PEAK INC. - RESPOND TO E. FRADY RE: HOW     0.10        33.00
                   TO RECORD VT SALES TAX REFUND RECEIVED BY RECEIVER
                   DURING 01/01/20-04/30/20 PERIOD
06/12/2020   LJJ   EMAILS WITH K. MOREY REGARDING INFORMATION NEEDED           1.20       474.00
                   FOR 9/30/19 TAX RETURNS. SET UP 2019 TAX FILES AND
                   REVIEW 2018 WORKPAPERS.
06/15/2020   LJJ   REVIEW SHAREFILE DOCUMENTS, DISC DOWNLOAD WITH K.           0.40       158.00
                   JOHNSON
06/19/2020   KAF   RE: CO. #380-BURKE MOUNTAIN OPERATING CO - BEGIN            1.30       429.00
                   PREPARATION OF FYE 09/30/19 CONSOLIDATED TAX
                   WORKPAPER
06/20/2020   KAF   RE: CO. #380-BURKE MOUNTAIN OPERATING CO - CONTINUE         2.80       924.00
                   PREPARATION OF FYE 09/30/19 CONSOLIDATED TAX
                   WORKPAPER
06/21/2020   KAF   RE: CO. #380-BURKE MOUNTAIN OPERATING CO - CONTINUE         7.20    2,376.00
                   PREPARATION OF FYE 09/30/19 CONSOLIDATED TAX
                   WORKPAPER
06/22/2020   KAF   RE: CO. #380-BURKE MOUNTAIN OPERATING CO - CONTINUE         6.10    2,013.00
                   AND COMPLETE PREPARATION OF FYE 09/30/19
                   CONSOLIDATED TAX WORKPAPER, PENDING OPEN ITEMS;
                   EMAIL TO K. MOREY WITH OPEN ITEMS/QUESTIONS AND TO L.
                   JOHNSON WITH STATUS
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06/22/2020   LJJ   PREPARE 8804/8805 FOR 2019 AND POA FOR JAY PEAK           1.80        711.00
                   STATESIDE. ASSIST WITH EFILE REPLICATION OF TAX FILES
06/23/2020   KJJ   COMPLETION OF FORM 8804 FOR SIGNATURE - JAY PEAK          0.20         34.00
                   HOTEL SUITES STATESIDE
06/24/2020   KAF   RE: CO. #380-BURKE MTN OPER CO - BRIEF REVIEW OF K.       0.10         33.00
                   MOREY PARTIAL ANSWERS TO QUESTIONS RE: FYE 09/30/19
06/24/2020   LJJ   ADDRESS K-1 ADDRESS CHANGES RE GOLF & MOUNTAIN            0.40        158.00
06/24/2020   LJJ   EMAILS REGARDING BURKE MOUNTAIN 2019 ACCOUNTING           0.60        237.00
06/24/2020   KJJ   FINALIZE AND TRANSMIT FORM 8804 - JAY PEAK HOTEL SUITES   0.20         34.00
                   STATESIDE
06/27/2020   KAF   RE: CO. #380-BURKE MOUNTAIN OPERATING CO - FINALIZE FYE 10.30       3,399.00
                   09/30/19 CONSOLIDATED TAX WORKPAPER, PENDING ONE
                   REMAINING OPEN ITEM; EMAIL TO K. MOREY TO RESOLVE
                   OPEN ITEM AND TO L. JOHNSON WITH STATUS
06/30/2020   LJJ   PREPARE FEDERAL AND STATE EXTENSIONS FOR 4/30 YEAR        0.60        237.00
                   END ENTITIES.
06/30/2020   LJJ   REVIEW EMAILS WITH FINAL ENTRIES FOR BURKE MOUNTAIN       0.60        237.00
                   AND BEGIN TAX RETURN FOR 9/30/19
07/01/2020   LJJ   REVIEW ACCOUNTING FOR 2018 FISCAL YEAR                    2.80      1,106.00
07/01/2020   LJJ   ES STATE VOUCHERS FOR 4-30-21                             0.80        316.00
07/02/2020   LJJ   PREPARE 2018 FISCAL YEAR FORM 1120S                       4.80      1,896.00
07/02/2020   KJJ   COMPLETION OF FORMS 1120S, 4810, & VT BI-471 FOR          0.70        119.00
                   SIGNATURE; FINALIZE AND TRANSMIT
07/07/2020   LJJ   CHANGE 9/30/19 VT TAX RETURN AND EMAIL TO KIM             0.20         79.00
07/14/2020   LJJ   CAPITAL ANALYSIS ND E-MAIL RESPONSE TO FORENSIC CPA       0.80        316.00
                   QUESTIONS - STATESIDE
07/14/2020   LJJ   CAPITAL ANALYSIS ND E-MAIL RESPONSE TO FORENSIC CPA       0.80        316.00
                   QUESTIONS - LODGE & TOWNHOUSES
07/14/2020   LJJ   FOLLOW-UP DISTRIBUTION QUESTIONS REGARDING                0.40        158.00
                   STATESIDE AND LODGE AND TOWNHOUSE
07/14/2020   LJJ   FORWARD FORMS 1042 TO JAY PEAK, INC. TO RESOLVE           0.40        158.00
                   HOMEOWNER QUESTIONS
07/14/2020   LJJ   RESEARCH TAX LIEN INQUIRE RE Q BURKE                      0.10         39.50
07/15/2020   LJJ   T/C/W D. MCNEIL REGARDING STATESIDE AND LODGE AND         0.20         79.00
                   TOWNHOUSE DISTRIBUTIONS
07/15/2020   LJJ   PULL QBURKE LIEN RELEASE AND FORWARD TO KIM               0.20         79.00
07/15/2020   KJJ   ASSEMBLY OF VT ES TAX VOUCHERS - JAY PEAK, INC.           0.20         34.00
07/17/2020   LJJ   DISC WITH K. FOSTER                                       0.20         79.00
07/17/2020   LJJ   REVIEW EMAILS REGARDING EB-5 REQUIREMENTS OF LODGE        0.20         79.00
                   AND TOWNHOUSE AND STATESIDE.
07/17/2020   LJJ   FORWARD FORMS 1042 TO VERMONT ACCOUNTING                  0.40        158.00
07/17/2020   LJJ   REVIEW AND SCAN INVESTOR UPDATES FROM RECEIVER            0.20         79.00
07/21/2020   LJJ   CONFERENCE CALL WITH CPA AND ATTORNEY FOR EB-5            1.00        395.00
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                   INVESTORS REGARDING PREVIOUS RESPONSES REGARDING
                   DISTRIBUTIONS TO PARTNERS
07/22/2020   LJJ   DETAILED NOTES REGARDING CONF CALL AND ISSUES WITH        1.00        395.00
                   PRIOR LETTER
07/25/2020   KAF   RE: CO. #402-JAY CONSTRUCTION MGT, INC - PREPARE 2019     1.40        462.00
                   1120, (VT) CO-411
07/25/2020   KAF   RE: CO. #401-Q RESORTS, INC - PREPARE 2019 1120S          2.20        726.00
07/25/2020   KAF   RE: CO. #403-GSI OF DADE COUNTY INC. - PREPARE 2019 FORM 1.30         429.00
                   1120S
07/26/2020   KAF   RE: CO. #404--NE CONTRACT SVCS INC. - PREPARE 2019 FORM   1.00        330.00
                   1120S
07/27/2020   LJJ   REVIEW 2019 ACCOUNTING, FORM 1120 AND VERMONT             1.60        632.00
                   CORPORATE TAX RETURN FOR JAY CONSTRUCTION
                   MANAGEMENT
07/27/2020   LJJ   REVIEW 2019 ACCOUNTING, FORM 1120S \ TAX RETURN FOR Q     0.60        237.00
                   RESORTS, INC.
07/27/2020   LJJ   REVIEW 2019 ACCOUNTING, FORM 1120S \ TAX RETURN FOR NE 0.60           237.00
                   CONTRACT SERVICES
07/27/2020   LJJ   REVIEW 2019 ACCOUNTING, FORM 1120S \ TAX RETURN FOR       0.60        237.00
                   GSI OF DADE COUNTY
07/28/2020   KJJ   COMPLETION OF FORM 1120S FOR SIGNATURE - NORTH EAST       0.30         51.00
                   CONTRACT SERVICES
07/28/2020   KJJ   COMPLETION OF FORM 1120S FOR SIGNATURE - GSI OF DADE      0.40         68.00
                   COUNTY
07/28/2020   KJJ   COMPLETION OF FORM 1120S FOR SIGNATURE - Q RESORTS        0.30         51.00
07/28/2020   KJJ   COMPLETION OF FORMS 1120 & CO-411 FOR SIGNATURE - JAY     0.40         68.00
                   CONSTRUCTION MANAGEMENT
07/29/2020   LJJ   FINAL REVIEW AND SIGN TAX RETURNS FOR Q RESORTS, NE       0.60        237.00
                   CONTRACT SERVICES, GSI OF DADE COUNTY AND JAY
                   CONSTRUCTION MANAGEMENT
07/31/2020   KJJ   FINALIZE AND TRANSMIT FORM 1120S - NORTHEAST CONTRACT 0.10             17.00
                   SERVICES
07/31/2020   KJJ   FINALIZE AND TRANSMIT FORM 1120S - GSI OF DADE COUNTY     0.10         17.00
07/31/2020   KJJ   FINALIZE AND TRANSMIT FORM 1120S - Q RESORTS              0.10         17.00
07/31/2020   KJJ   FINALIZE AND TRANSMIT FORM 1120 - JAY CONSTRUCTION        0.10         17.00
                   MANAGEMENT
08/04/2020   LJJ   FINALIZE 2019 ACCOUNTING, PREPARE FORM 1120 AND           2.10        829.50
                   VERMONT CORP. TAX RETURN FOR JAY PEAK MANAGEMENT.
08/04/2020   LJJ   FINAL REVIEW AND SIGN 2019 FORMS 1120 AND VERMONT         0.20         79.00
                   CORP. RETURN FOR JAY PEAK MANAGEMENT
08/04/2020   KJJ   COMPLETION OF FORMS 1120 & CO-411 FOR SIGNATURE - JAY     0.30         51.00
                   PEAK MANAGEMENT
08/05/2020   KJJ   FINALIZE AND TRANSMIT FORMS 1120 & CO-411 - JAY PEAK      0.20         34.00
                   MANAGEMENT
08/06/2020   KAF   RE: CO. #383-BURKE 2000 LLC AND #391--Q BURKE MOUNTAIN    0.20         66.00
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                   RESORT LLC - REVIEW 2018 & 2019 TAX FILES, REQUEST CASH
                   ACTIVITY 2019 FOR PREPARATION OF 2019 SMLLC LETTERS.
08/06/2020   KAF   RE: CO #081-ANC BIO VT, LLC - BEGIN PREPARATION OF 2019    1.10        363.00
                   TAX RETURN
08/06/2020   KAF   RE: CO 405-Q BURKE MTN RESORT GP SVCS LLC - BEGIN          1.00        330.00
                   PREPARATION OF 2019 TAX RETURN
08/07/2020   KAF   RE: CO 405-Q BURKE MTN RESORT GP SVCS LLC - CONTINUE &     0.90        297.00
                   COMPLETE PREPARATION OF 2019 TAX RETURN
08/07/2020   KAF   RE: CO #081-ANC BIO VT, LLC - CONTINUE & COMPLETE          1.00        330.00
                   PREPARATION OF 2019 TAX RETURN
08/08/2020   KAF   RE: CO. #383-BURKE 2000, LLC - PREPARE 2019 SMLLC LETTER, 1.80         594.00
                   INCLUDING GATHER FOUR (4) HUDS AND SUPPORT FOR REAL
                   PROPERTY SALES
08/08/2020   KAF   RE: CO. #391-Q BURKE MOUNTAIN RESORT LLC - PREPARE 2019 0.50           165.00
                   SMLLC LETTER
08/08/2020   KAF   RE: ALL ENTITIES - REVIEW 12/31/19 ENTITY TRIAL BALANCES   1.00        330.00
                   PREPARED BY LEISURE HOTELS, AND COMPARE WITH 12/31/19
                   RECEIVER CASH BALANCES, NOTE DISCREPANCIES AND
                   ADVISE L. JOHNSON (LEISURE DID NOT RECORD CERTAIN
                   RECEIVER CASH ACTIVITY AJE'S)
08/10/2020   LJJ   FINAL REVIEW AND SIGN PARTNERSHIP RETURNS AND SINGLE       0.40        158.00
                   MEMBER LLC LETTERS FOR BURKE MOUNTAIN GROUP.
08/10/2020   LJJ   REVIEW 2019 ACCOUNTING AND FORM 1065 AND BI-471 FOR        0.60        237.00
                   ANC BIO VERMONT, LLC
08/10/2020   LJJ   REVIEW 2019 ACCOUNTING AND FORMS 1065 BI-471 FOR Q         0.40        158.00
                   BURKE MOUNTAIN RESORT GP SERVICES
08/10/2020   KJJ   ASSEMBLED FORMS 1065 & BI-471 - ANC BIO VT                 0.30         51.00
08/10/2020   KJJ   ASSEMBLED FORMS 1065 & BI-471 - Q BURKE MOUNTAIN           0.30         51.00
                   RESORTS GP SERVICES
08/10/2020   LJJ   REVIEW 2019 SMLLC LETTER FOR BURKE 2000                    0.20         79.00
08/10/2020   KJJ   ASSEMBLED SMLLC LETTER - Q BURKE MOUNTAIN RESORT           0.20         34.00
08/10/2020   KJJ   ASSEMBLED SMLLC LETTER - BURKE 2000                        0.20         34.00
08/11/2020   KJJ   COMPLETION OF SMLLC LETTER FOR SIGNATURE - Q BURKE         0.20         34.00
                   MOUNTAIN RESORT
08/11/2020   KJJ   COMPLETION OF SMLLC LETTER FOR SIGNATURE - BURKE 2000 0.20              34.00
08/11/2020   KJJ   COMPLETION OF FORMS 1065 & BI-471 FOR SIGNATURE - Q        0.30         51.00
                   BURKE MOUNTAIN RESORT GP SERVICES
08/11/2020   KJJ   COMPLETION OF FORMS 1065 & BI-471 FOR SIGNATURE - ANC      0.20         34.00
                   BIO VT
08/12/2020   LJJ   FINAL REVIEW AND SIGN FORMS 1065 AND BI471 FOR Q BURKE     0.40        158.00
                   MTN RESORT GP AND ANC BIO VERMONT, LLC, Q BURKE
                   MOUNTAIN, LLC AND BURKE 2000 SINGLE MEMBER LLC
                   LETTERS.
08/12/2020   KJJ   FINALIZE AND TRANSMIT FORMS 1065 & BI-471 - Q BURKE        0.10         17.00
                   MOUNTAIN RESORT GP SERVICES
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                                       283
KapilaMukamal, LLP                     Invoice #6974         9/2/2020                 Page 13 of 15




08/12/2020   KJJ   FINALIZE AND TRANSMIT FORMS 1065 & BI-471 - ANC BIO VT      0.10         17.00
08/12/2020   KJJ   FINALIZE AND TRANSMIT SMLLC LETTER - Q BURKE MOUNTAIN       0.10         17.00
                   RESORT
08/12/2020   KJJ   FINALIZE AND TRANSMIT SMLLC LETTER - BURKE 2000             0.10         17.00



                                                                                       53,166.50

                                                                                      101,687.20
EXPENSES
03/01/2020   EXP   LACERTE SEARCH - FEBRUARY 2020 (02/13/20) - JAY PEAK                     62.00
                   LODGE & TOWNHOUSES
03/01/2020   EXP   LACERTE SEARCH - FEBRUARY 2020 (02/14/20) - JAY PEAK GOLF                62.00
                   & MOUNTAIN SUITES
03/01/2020   EXP   LACERTE SEARCH - FEBRUARY 2020 (02/20/20) - Q BURKE                      62.00
                   MOUNTAIN RESORT HOTEL & CONFERENCE CENTER
03/01/2020   EXP   LACERTE SEARCH - FEBRUARY 2020 (02/25/20) - JAY PEAK                     62.00
                   HOTEL SUITES STATESIDE
03/01/2020   EXP   LACERTE SEARCH - MARCH 2020 - JAY PEAK SUITES PHASE II                   62.00
03/01/2020   EXP   LACERTE SEARCH - MARCH 2020 - Q BURKE MOUNTAIN                           62.00
                   RESORTS GP SERVICES
03/03/2020   EXP   POSTAGE - JAY PEAK LODGE & TOWNHOUSES                                      4.80
03/03/2020   EXP   POSTAGE - JAY PEAK LODGE & TOWNHOUSES                                      8.32
03/03/2020   EXP   POSTAGE - JAY PEAK LODGE & TOWNHOUSES                                    40.50
03/04/2020   EXP   POSTAGE - Q BURKE MOUNTAIN RESORT HOTEL &                                  7.20
                   CONFERENCE CENTER
03/04/2020   EXP   POSTAGE - Q BURKE MOUNTAIN RESORT HOTEL &                                38.08
                   CONFERENCE CENTER
03/04/2020   EXP   POSTAGE - Q BURKE MOUNTAIN RESORT HOTEL &                                56.16
                   CONFERENCE CENTER
03/04/2020   EXP   POSTAGE - Q BURKE MOUNTAIN RESORT HOTEL &                                16.00
                   CONFERENCE CENTER
03/04/2020   EXP   POSTAGE - Q BURKE MOUNTAIN RESORT HOTEL &                                27.30
                   CONFERENCE CENTER
03/05/2020   EXP   FEDEX                                                                    25.14
03/06/2020   EXP   OPENVOICE - MARCH 2020 - JAY PEAK, INC.                                    9.79
03/10/2020   EXP   POSTAGE - JAY PEAK HOTEL SUITES STATESIDE                                15.68
03/10/2020   EXP   POSTAGE - JAY PEAK HOTEL SUITES STATESIDE                                  2.08
03/10/2020   EXP   POSTAGE - JAY PEAK HOTEL SUITES STATESIDE                                  1.20
03/10/2020   EXP   POSTAGE - JAY PEAK HOTEL SUITES STATESIDE                                  2.60
03/10/2020   EXP   POSTAGE - JAY PEAK HOTEL SUITES STATESIDE                                60.50
03/11/2020   EXP   POSTAGE - JAY PEAK, INC.                                                 21.60
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                                       283
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03/11/2020   EXP   POSTAGE - JAY PEAK, INC.                                        13.44
03/11/2020   EXP   FEDEX - JAY PEAK, INC.                                          23.82
03/31/2020   EXP   SHAREFILE - MARCH 2020                                            9.31
03/31/2020   EXP   PRINTED COPIES - MARCH 2020 (03/01/20-03/31/20)                341.55
04/01/2020   EXP   LACERTE SEARCH - MARCH 2020 (03/10/20) - JAY PEAK, INC.         62.00
04/01/2020   EXP   LACERTE SEARCH - MARCH 2020 (03/13/20) - ANC BIO VT             62.00
04/01/2020   EXP   LACERTE SEARCH - MARCH 2020 (03/13/20) - JAY                    62.00
                   CONSTRUCTION MANAGEMENT
04/06/2020   EXP   POSTAGE - JAY PEAK HOTEL SUITES PHASE II                          1.95
04/06/2020   EXP   POSTAGE - JAY PEAK HOTEL SUITES PHASE II                          4.80
04/06/2020   EXP   POSTAGE - JAY PEAK HOTEL SUITES PHASE II                          6.24
04/06/2020   EXP   POSTAGE - JAY PEAK HOTEL SUITES PHASE II                        13.44
04/06/2020   EXP   POSTAGE - JAY PEAK HOTEL SUITES PHASE II                        68.00
04/06/2020   EXP   POSTAGE - JAY PEAK HOTEL SUITES PHASE II                          4.60
04/13/2020   EXP   POSTAGE - JAY PEAK HOTEL SUITES PHASE II                          1.00
04/14/2020   EXP   CERTIFIED MAIL - JAY PEAK, INC.                                   1.12
04/15/2020   EXP   PRINTED COPIES - APRIL 2020 (04/01/20-04/15/20)                132.75
04/30/2020   EXP   SHAREFILE - APRIL 2020                                            8.24
04/30/2020   EXP   PRINTED COPIES - APRIL 2020 (04/16/20-04/30/20)                   2.25
05/01/2020   EXP   OPENVOICE - MAY 2020 - JAY PEAK (04/30/20)                      16.05
05/05/2020   EXP   CERTIFIED MAIL - Q BURKE MOUNTAIN RESORT HOTEL &                  0.60
                   CONFERENCE CENTER
05/15/2020   EXP   PRINTED COPIES - MAY 2020 (05/01/20-05/15/20)                     0.30
05/31/2020   EXP   SHAREFILE - MAY 2020                                              8.18
05/31/2020   EXP   PRINTED COPIES - MAY 2020 (05/16/20-05/31/20)                     2.55
05/31/2020   EXP   PACER - MAY 2020                                                11.00
06/15/2020   EXP   PRINTED COPIES - JUNE 2020 (06/01/20-06/15/20)                    0.75
06/24/2020   EXP   FEDEX - JAY PEAK HOTEL SUITES STATESIDE                         27.58
06/25/2020   EXP   CERTIFIED MAIL                                                    1.64
06/30/2020   EXP   SHAREFILE - JUNE 2020                                           13.07
06/30/2020   EXP   PRINTED COPIES - JUNE 2020 (06/16/20-06/30/20)                  26.25
07/01/2020   EXP   CERTIFIED MAIL - JAY PEAK                                         6.70
07/01/2020   EXP   LACERTE SEARCH - JULY 2020 - BURKE MOUNTAIN OPERATING           62.00
                   COMPANY
07/02/2020   EXP   FEDEX - BURKE MOUNTAIN OPERATING COMPANY                        19.83
07/15/2020   EXP   PRINTED COPIES - JULY 2020 (07/01/20-07/15/20)                  68.10
07/31/2020   EXP   SHAREFILE - JULY 2020                                             8.54
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07/31/2020   EXP   PRINTED COPIES - JULY 2020 (07/16/20-07/31/20)                                          91.80
08/01/2020   EXP   FEDEX (07/31/20)                                                                        33.50
08/05/2020   EXP   FEDEX - JAY PEAK MANAGEMENT                                                             27.41
08/12/2020   EXP   POSTAGE - Q BURKE MOUNTAIN RESORT                                                         0.50
08/12/2020   EXP   POSTAGE - BURKE 2000                                                                      8.25
08/12/2020   EXP   FEDEX - ANC BIO VT                                                                      16.44
08/12/2020   EXP   FEDEX - Q BURKE MOUNTAIN RESORT GP SERVICES                                             16.45
08/15/2020   EXP   PRINTED COPIES - AUGUST (08/01/20-08/15/20)                                            154.50
08/31/2020   EXP   SHAREFILE - AUGUST 2020                                                                   8.50



                                                                                                       2,157.95

                                                                                                       2,157.95


                                                                Total amount of this invoice        $103,845.15




                   Invoice payable upon receipt. Thank you for this opportunity to be of service.
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                                     283



                                 Exhibit 4(d)
                       Klasko Immigration Law Partners, LLP




   52782416;1
                                                                      Klasko Law Immigration Law Partners, LLP
   Case 1:16-cv-21301-DPG Document 614 Entered on FLSDPHILADELPHIA
                                                       Docket 10/12/2020   Page 180 of
                                                                      NEW YORK
                                        283



                                                                CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                                MATTER NO.:         417927
                                                                INVOICE NO.:        70549
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:       February 25, 2020
JayPeak Receivership




Re:    Jay Peak Lodge & Townhouses, LP                                              Hours        Charge

JAD         Jan 10/20     Call with Luis Vidal, filing attorney, re L&T RFE            0.30        105.00
                          response.

JAD         Jan 13/20     Email to filing attorney re template for L&T RFE             0.10         35.00
                          response

JAD         Jan 14/20     Call with Anibal Sanchez re L&T template                     0.20         70.00

JAD         Jan 15/20     Email to attorney Sim re RFE response template               0.10         35.00

JAD         Jan 27/20     Email to Doug Hauer re L&T RFE response                      0.10         35.00

HRK         Jan 29/20     Review RFE                                                   0.30        148.50

HRK         Jan 29/20     Review RFE                                                   0.10         49.50

JAD         Jan 31/20     Email to HRK re Lodge and Townhouse RFE response.            0.10         35.00


JAD         Jan 31/20     Email to Anibal Sanchez and Claudia re RFE response          0.10         35.00
                          template
                                                                                 ________ ______________
                                                                                       1.40     $548.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $21.92
                         photocopy, fax)(4% of fee) 548 @ 0.04
                                                                                      ______________
                 Invoice Total:                                                                $569.92
Jay Peak Lodge & Townhouses, LP                                           February 25, 2020
       Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 181 of
Invoice #:   70549                          283                         Page No.        2
                                                                                    ________________
                   Total due presently:                                                    $569.92
                                                                                   ===============




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  Klasko Immigration Law Partners, LLP
  1601 Market Street
  Suite 2600
  Philadelphia, PA 19103
  ATTN: Accounts Receivable
  FEDERAL TAX ID NO.: XX-XXXXXXX



            For your convenience you may pay your invoice online at www.klaskolaw.com/contactus.




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                                             1601 Market Street
                                                 Suite 2600
                                           Philadelphia, PA 19103
                                                                     Klasko Law Immigration Law Partners, LLP
   Case 1:16-cv-21301-DPG Document 614 Entered on FLSDPHILADELPHIA
                                                       Docket 10/12/2020   Page 182 of
                                                                      NEW YORK
                                        283



                                                               CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                               MATTER NO.:         418114
                                                               INVOICE NO.:        71326
Michael Goldberg as receiver of Jay Peak, et al.
                                                               INVOICE DATE:       March 23, 2020
JayPeak Receivership




Re:    Q Burke Mountain Resort, Hotel and Conference Center L.P.                   Hours        Charge

JAD         Feb 05/20    Review Q Burke jobs report, email to Terri Goforth,            0.90     315.00
                         email to Dave McNeil, email to Michael and Ron re jobs
                         created, jobs needed, and investor status, review investor
                         status chart.
                                                                                 ________ ______________
                                                                                       0.90     $315.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $12.60
                         photocopy, fax)(4% of fee) 315 @ 0.04
                                                                                     ______________
                  Invoice Total:                                                              $327.60

                                                                                        ________________
                  Total due presently:                                                           $327.60
                                                                                      ===============




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Philadelphia, PA 19103
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                                                       Docket 10/12/2020   Page 183 of
                                                                      NEW YORK
                                        283



                                                                 CLIENT NO.:          507624
Via Email     michael.goldberg@akerman.com
                                                                 MATTER NO.:          417927
                                                                 INVOICE NO.:         71328
Michael Goldberg as receiver of Jay Peak, et al.
                                                                 INVOICE DATE:        March 24, 2020
JayPeak Receivership




Re:    Jay Peak Lodge & Townhouses, LP                                                Hours       Charge

DBL         Feb 10/20     Review Lodge and Townhomes 829 denial, emails with            0.80        396.00
                          investor attorney and team, call with Jessica

DBL         Feb 11/20     Meet with Ron and Jessica re Lodge and Townhomes              0.80        396.00
                          denial

HRK         Feb 11/20     Review I-829 denial                                           0.20         99.00

HRK         Feb 11/20     Conference re: strategy for I-829 denial                      0.80        396.00

HRK         Feb 11/20     Email Goldberg                                                0.10         49.50

HRK         Feb 11/20     Memo of call and next steps                                   0.20         99.00

HRK         Feb 11/20     Review RFE template                                           0.20         99.00

JAD         Feb 11/20     Review L&T Denial, conference call with Ron and Dan,          2.10        735.00
                          review documents from Kapila

DBL         Feb 12/20     Call with Ron, Jessica, Goldberg re L&T denial and            1.00        495.00
                          strategy/next steps

HRK         Feb 12/20     Telephone Goldberg re: I-829 denial issues; preparation       1.10        544.50
                          for call

HRK         Feb 12/20     Memo of call                                                  0.20         99.00

JAD         Feb 12/20     Memo of L&T call with DBL and HRK, prep for call              2.50        875.00
                          with Michael, call with Michael, brief memo of call with
                          Michael, email to Tom, Terri and Dave
DBL         Feb 13/20     Call with Ron, Jessica, John Pratt re investor denial and     0.80        396.00
                          strategy
Jay Peak Lodge & Townhouses, LP                                            March 24, 2020
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  HRK       Feb 13/20   Telephone Pratt re: strategy for denied I-829; memo of   0.80   396.00
                        call

  HRK       Feb 13/20   Telephone Rostova and Pratt re: denied I-829             0.60   297.00

  JAD       Feb 13/20   Email to Kapila, review at bank statements, email to     0.70   245.00
                        HRK/DBL

  JAD       Feb 13/20   Call with Irina, Rostova, John Pratt, Michael and        0.60   210.00
                        HRK/DBL re investor denial in L&T

  JAD       Feb 13/20   JayPeak jobs doc review and call to Terri                0.50   175.00

  JAD       Feb 13/20   Call with John Pratt and HRK/DBL re investor denial      0.70   245.00


  DBL       Feb 14/20   Call with Ron, Jessica, Michael and Tom Martin re job    0.30   148.50
                        creation

  HRK       Feb 14/20   Telephone Martin and Goldberg re: job creation           0.40   198.00

  HRK       Feb 14/20   Advise re: investor travel                               0.10    49.50

  JAD       Feb 14/20   Call with Tom Martin, Michael, HRK and DBL re            0.40   140.00
                        JayPeak job creation

  JAD       Feb 14/20   Call with Luis Mendoza and email to Ron.                 0.60   210.00

  DBL       Feb 19/20   Call with Ron, Jessica, MIchael, Melissa and Frank re    0.50   247.50
                        Kapila report

  HRK       Feb 19/20   Review Kapila reports; telephone Goldberg and Kapila     0.60   297.00
                        re: source and use of funds

  JAD       Feb 19/20   Review JayPeak jobs report and email                     0.60   210.00

  JAD       Feb 19/20   Email to John Pratt                                      0.10   35.00

  JAD       Feb 19/20   Call with Michael and Kapila                             0.60   210.00



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                                               Suite 2600
                                         Philadelphia, PA 19103
Jay Peak Lodge & Townhouses, LP                                            March 24, 2020
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Invoice #:   71328                          283                         Page No.      3

  HRK       Feb 21/20   Conference re: investor with denied I-829                    0.10    49.50

  JAD       Feb 21/20   Call with Michael Liberatore re denied investor              0.20    70.00

  HRK       Feb 26/20   Conference re: strategy issues for denied investors          0.20    99.00

  HRK       Feb 26/20   Telephone Silver (attorney for investor with denied I-829)   0.30   148.50


  JAD       Feb 26/20   Call with HRK re L&T                                         0.20    70.00

  JAD       Feb 26/20   Email with Michael Liberatore re denial                      0.10   35.00

  DBL       Feb 27/20   Meet with Ron and Jessica re RFEs and denials                0.50   247.50

  HRK       Feb 27/20   Prepare email to investors' counsel                          0.40   198.00

  JAD       Feb 27/20   Read and respond to filing attorneys emails and investor     1.50   525.00
                        emails and investor and filing attorney calls re L&T
                        denials and next steps
  JAD       Feb 27/20   Call to Frank Fountain per his emails and calls re L&T       0.40   140.00
                        denial

  JAD       Feb 27/20   Call with HRK and DBL re JayPeak next steps                  0.50   175.00

  JAD       Feb 27/20   Email to Luis Mendoza re L&T denial and next steps           0.20    70.00


  DBL       Feb 28/20   Call with Ron, Michael, Jessica re denials                   0.70   346.50

  HRK       Feb 28/20   Review and revise Goldberg email to investors; email to      1.10   544.50
                        Goldberg re: issues for decision

  HRK       Feb 28/20   Telephone Goldberg and Surgeon                               0.70   346.50

  HRK       Feb 28/20   Revise Goldberg letter based on conference call              0.60   297.00

  JAD       Feb 28/20   Meet with Michael Liberatore re L&T denial                   0.50   175.00


                                  Klasko Immigration Law Partners, LLP
                                          1601 Market Street
                                              Suite 2600
                                        Philadelphia, PA 19103
Jay Peak Lodge & Townhouses, LP                                            March 24, 2020
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  JAD        Feb 28/20     Review Ron email for Receiver re next steps and L&T       0.50      175.00
                           denial

  JAD        Feb 28/20     Klasko call with Michael Goldberg and Naim re denial      0.70      245.00
                           and other matters
                                                                                  ______________________
                                                                                      28.30 $11,949.50
                          Plus: Miscellaneous costs (express delivery, long distance, telephone, $477.98
                          photocopy, fax)(4% of fee) 11949.50 @ 0.04
                                                                                    ______________
                   Invoice Total:                                                          $12,427.48

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                   Total due presently:                                                     $12,427.48
                                                                                     ===============




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                                        283



                                                                 CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                                 MATTER NO.:         423711
                                                                 INVOICE NO.:        71329
Michael Goldberg as receiver of Jay Peak, et al.
                                                                 INVOICE DATE:       March 24, 2020
JayPeak Receivership




Re:    Mandamus and Litigation for JayPeak Projects                                  Hours        Charge

JAD         Feb 03/20     Call from JayPeak investor seeking Mandamus update            0.10         35.00

JAD         Feb 03/20     Review JayPeak jobs report, investor lists and emails to      0.50        175.00
                          economist

JAD         Feb 19/20     Call with Gao (Jay Peak Investor)                             0.40        140.00

JAD         Feb 19/20     Call with Jay Peak filing attorney                            0.20         70.00

DBL         Feb 20/20     Email OSC to Michael and Naim                                 0.10         49.50

HRK         Feb 25/20     Email Surgeon                                                 0.10         49.50
                                                                                 ________ ______________
                                                                                       1.40     $519.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $20.76
                         photocopy, fax)(4% of fee) 519 @ 0.04
                                                                                       ______________
                 Invoice Total:                                                                 $539.76

                                                                                          ________________
                 Total due presently:                                                              $539.76
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Mandamus and Litigation for JayPeak Projects                               March 24, 2020
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   Case 1:16-cv-21301-DPG Document 614 Entered on FLSDPHILADELPHIA
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                                        283



                                                               CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                               MATTER NO.:         417926
                                                               INVOICE NO.:        72376
Michael Goldberg as receiver of Jay Peak, et al.
                                                               INVOICE DATE:       April 22, 2020
JayPeak Receivership




Re:    Jay Peak Hotel Suites Stateside, LP                                         Hours        Charge

HRK         Mar 17/20     Conference with JAD re: RFE                                 0.10         49.50

JAD         Mar 17/20     Review Stateside RFE received from filing attorney          0.30        105.00

JAD         Mar 17/20     Call with HRK re Stateside                                  0.10         35.00

HRK         Mar 19/20     Conference JAD re: RFE responses                            0.20         99.00

JAD         Mar 19/20     Call with HRK re Stateside                                  0.20         70.00
                                                                                 ________ ______________
                                                                                       0.90     $358.50
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $14.34
                         photocopy, fax)(4% of fee) 358.50 @ 0.04
                                                                                     ______________
                 Invoice Total:                                                               $372.84

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                 Total due presently:                                                            $372.84
                                                                                      ===============
Jay Peak Hotel Suites Stateside, LP                                          April 22, 2020
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Invoice #:   72376                          283                         Page No.        2



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                                                                CLIENT NO.:          507624
Via Email     michael.goldberg@akerman.com
                                                                MATTER NO.:          417928
                                                                INVOICE NO.:         72378
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:        April 22, 2020
JayPeak Receivership




Re:    Jay Peak Biomedical Research Park, LP                                         Hours        Charge

JAD         Mar 25/20     AnC Bio email to filing attorney and investor                 0.20         70.00

HRK         Mar 27/20     Telephone Goldberg re: investor litigation                    0.30        148.50

HRK         Mar 27/20     Telephone Goldberg and investor re: litigation                0.60        297.00

JAD         Mar 27/20     Call with Michael re AnC Bio, call with investor and          0.90        315.00
                          Elana re AnC Bio status and potential litigation.

                                                                                 ________ ______________
                                                                                       2.00     $830.50
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $33.22
                         photocopy, fax)(4% of fee) 830.50 @ 0.04
                                                                                       ______________
                 Invoice Total:                                                                 $863.72

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                 Total due presently:                                                              $863.72
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Jay Peak Biomedical Research Park, LP                                        April 22, 2020
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Invoice #:   72378                          283                         Page No.        2



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                                                                      NEW YORK
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                                                                  CLIENT NO.:          507624
Via Email     michael.goldberg@akerman.com
                                                                  MATTER NO.:          417927
                                                                  INVOICE NO.:         72505
Michael Goldberg as receiver of Jay Peak, et al.
                                                                  INVOICE DATE:        April 28, 2020
JayPeak Receivership




Re:    Jay Peak Lodge & Townhouses, LP                                                 Hours       Charge

IXP         Mar 02/20     Reviewed the Kapila flow of funds summary for JayPeak          0.30         49.50
                          Lodge and Townhouses LP.

DBL         Mar 03/20     Emails re contents of motion to reopen template                0.10         49.50

HRK         Mar 03/20     Email re: MTR                                                  0.10         49.50

HRK         Mar 03/20     Research zipper clause re: jurisdiction for federal court;     0.40        198.00
                          review of denied I-829

HRK         Mar 03/20     Conference re: federal court jurisdiction                      0.10         49.50

JAD         Mar 03/20     Draft MTR response for L&T investors and call with             1.00        350.00
                          Melissa, call with HRK

IXP         Mar 03/20     Call w. JAD and Kapila re: flow of funds                       0.20         33.00

DBL         Mar 04/20     Conference with HRK and JAD re MTR                             0.20         99.00

HRK         Mar 04/20     Conference re: MTR with JAD and DBL                            0.20         99.00

JAD         Mar 04/20     MTR conference with HRK and DBL                                0.20         70.00

DBL         Mar 05/20     Brief research on federal court jurisdiction over I-829        0.30        148.50
                          denial

JAD         Mar 05/20     Draft MTR template, review documents provided by               5.10      1,785.00
                          Kapila/Dave McNeil, emails to Kapila re flow of funds,
                          emails with filing attorneys, meet with IXP
Jay Peak Lodge & Townhouses, LP                                              April 28, 2020
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  IXP       Mar 05/20   Reviewed the L&T bank account activity reports,              0.30     49.50
                        meeting w. JAD.

  JAD       Mar 06/20   Review documents and draft motion to reopen template         5.80   2,030.00
                        for L&T denied investors, emails with Dave McNeil and
                        Michael and call with Michael re use of funds by the
                        Receiver at the Resort, draft statement for Receiver,
                        review court document on use of funds from Raymond
                        James settlement from Kimberly, review expenditure
                        back up information and spreadsheet from Dave McNeil,
                        respond to various emails from filing attorney re delivery
                        of the template response, meet with IXP.



  IXP       Mar 06/20   Meeting w. JAD re Kapila report, e-mailed JAD.               0.20     33.00

  JAD       Mar 07/20   Document review, emails, and continue drafting Motion        1.90    665.00
                        to reopen template for denied investors.

  JAD       Mar 08/20   Document review and drafting Motion to Reopen for            2.20    770.00
                        Denied Lodge and Townhouse investors

  DBL       Mar 09/20   Review and revise MTR for L&T                                1.30    643.50

  IXP       Mar 09/20   Reviewed the Kapila report, e-mailed JAD.                    0.50     82.50

  HRK       Mar 10/20   Review Motion to Reopen                                      0.70    346.50

  JAD       Mar 10/20   Call with Melissa from Kapila re flow of funds for L&T       0.40    140.00


  HRK       Mar 11/20   Conference re: MTR                                           0.10     49.50

  JAD       Mar 11/20   Review and comment on Kapila memo with flow of               1.70    595.00
                        funds explanation, email to DBL for review

  DBL       Mar 12/20   Review Kapila memo on methodology etc for L&T,               0.30    148.50
                        email Jessica

  JAD       Mar 12/20   Review updated memo from Melissa, updates to Motion          3.10   1,085.00
                        to Reopen, email to IXP for review and confirmation of
                        numbers used in MTR.



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Jay Peak Lodge & Townhouses, LP                                              April 28, 2020
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  JAD       Mar 13/20   Review document from Kapila, update motion to reopen           3.00   1,050.00
                        template, finalize MTR and exhibits, emails to filing
                        attorneys with MTR, call with IXP


  IXP       Mar 13/20   Reviewed the MTR and exhibits, drafted the Index, call         1.30    214.50
                        w. JAD.

  HRK       Mar 17/20   Conference re: communication with investors                    0.10     49.50

  JAD       Mar 17/20   Call with HRK re L&T response and communication                0.10     35.00


  JAD       Mar 17/20   Drafting updated RFE response for L&T investors with           1.20    420.00
                        documents from MTR, call with DBL

  DBL       Mar 18/20   Call with JAD re L&T RFE response template                     0.10     49.50

  JAD       Mar 18/20   Drafting updated RFE response for L&T investors with           3.80   1,330.00
                        documents from MTR, call with DBL

  HRK       Mar 19/20   Conference JAD re: RFE responses                               0.20     99.00

  JAD       Mar 19/20   Drafting L&T updated RFE response                              1.80    630.00

  JAD       Mar 19/20   Call with HRK re L&T status and RFE response and use           0.20     70.00
                        of economic report

  JAD       Mar 20/20   Finalize L&T updated RFE response with documents               2.40    840.00
                        from MTR and emails to filing attorneys with the updated
                        template

  HRK       Mar 23/20   Conference re: MTR, RFE, NTA and other issues relating         0.50    247.50
                        to USCIS adjudications

  HRK       Mar 23/20   Review email re: RFE response                                  0.10     49.50

  JAD       Mar 25/20   Call w. Rana Jazayerli/investor call re L&T and denial         0.60    210.00


  HRK       Mar 27/20   Research re: federal court jurisdiction for I-829 litigation   1.40    693.00


  JAD       Mar 30/20   Call with HRK re L&T options for investor and whether          0.60    210.00
                        they can go straight to district court,

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                                         Philadelphia, PA 19103
Jay Peak Lodge & Townhouses, LP                                              April 28, 2020
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                           brief research on zipper clause


  HRK        Mar 31/20     Conference re: Federal court jurisdiction issues          0.10       49.50
                                                                                  ______________________
                                                                                      44.20 $15,865.50
                          Plus: Miscellaneous costs (express delivery, long distance, telephone, $634.62
                          photocopy, fax)(4% of fee) 15865.50 @ 0.04
                                                                                    ______________
                   Invoice Total:                                                          $16,500.12

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                   Total due presently:                                                     $16,500.12
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                                                       Docket 10/12/2020   Page 197 of
                                                                      NEW YORK
                                        283



                                                                  CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                                  MATTER NO.:         423711
                                                                  INVOICE NO.:        72566
Michael Goldberg as receiver of Jay Peak, et al.
                                                                  INVOICE DATE:       April 29, 2020
JayPeak Receivership




Re:    Mandamus and Litigation for JayPeak Projects                                   Hours        Charge

HRK         Mar 02/20     Transmit proposed investor; email to Goldberg                  0.10         49.50

JAD         Mar 04/20     Call with Rahul Shaikh re RFE response, potential denial       0.30        105.00
                          and next steps

HRK         Mar 11/20     Email Goldberg and Surgeon                                     0.10         49.50

JAD         Mar 13/20     Email to Tom and Terri at Baker Tilly re overall jobs          0.10         35.00
                          report for the Resort

HRK         Mar 26/20     Conference JAD re: investor federal court filing               0.10         49.50

JAD         Mar 26/20     Call with HRK re investor federal court filing                 0.10         35.00

JAD         Mar 31/20     Research on bringing an I-829 petition denial to district      4.70      1,645.00
                          court prior to removal proceedings and the possible
                          "zipper clause" issue precluding district court review.

                                                                                 ________ ______________
                                                                                       5.50    $1,968.50
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $78.74
                         photocopy, fax)(4% of fee) 1968.50 @ 0.04
                                                                                        ______________
                 Invoice Total:                                                                $2,047.24

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                 Total due presently:                                                             $2,047.24
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Mandamus and Litigation for JayPeak Projects                                 April 29, 2020
       Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 198 of
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                                                                CLIENT NO.:           507624
Via Email     michael.goldberg@akerman.com
                                                                MATTER NO.:           417882
                                                                INVOICE NO.:          72567
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:         April 29, 2020
JayPeak Receivership




Re:    General Immigration                                                            Hours        Charge

HRK         Mar 27/20     Conference re: status of 4 projects                            0.20         99.00

JAD         Mar 27/20     Call with HRK re status of JayPeak projects                    0.20         70.00
                                                                                 ________ ______________
                                                                                       0.40     $169.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $6.76
                         photocopy, fax)(4% of fee) 169 @ 0.04
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                  Invoice Total:                                                                 $175.76

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Via Email     michael.goldberg@akerman.com
                                                                MATTER NO.:         417928
                                                                INVOICE NO.:        73028
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:       May 14, 2020
JayPeak Receivership




Re:    Jay Peak Biomedical Research Park, LP                                        Hours        Charge

JAD         Apr 07/20     Call from Marjan Kasra re AnC Bio investor having            0.10         35.00
                          trouble with I-551 stamp and questions about next steps

                                                                                 ________ ______________
                                                                                       0.10      $35.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $1.40
                         photocopy, fax)(4% of fee) 35 @ 0.04
                                                                                      ______________
                  Invoice Total:                                                                $36.40

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                  Total due presently:                                                             $36.40
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                                                                CLIENT NO.:          507624
Via Email     michael.goldberg@akerman.com
                                                                MATTER NO.:          417927
                                                                INVOICE NO.:         73032
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:        May 14, 2020
JayPeak Receivership




Re:    Jay Peak Lodge & Townhouses, LP                                               Hours       Charge

HRK         Apr 01/20     Conference call with Greg Romanovsky re: federal court       0.40        198.00
                          jurisdiction issues and strategies

HRK         Apr 01/20     Memo re: jurisdiction                                        0.10         49.50

JAD         Apr 01/20     Research on investor with rumored I-829 approval for         0.30        105.00
                          L&T in order to respond to investor questions, email to
                          filing attorney, Larry Behar
JAD         Apr 07/20     Email re RFE for L&T investor ( forwarded from               0.40        140.00
                          Michael), email to Murtaza (Michael copied), emails to
                          filing attorneys re template
HRK         Apr 15/20     Email Goldberg                                               0.10         49.50

JAD         Apr 15/20     Call with Claudia MOreno ( filing attorney) and investor     0.30        105.00
                          re denial of L&T I-829 petition

JAD         Apr 20/20     Review denial from Attorney William Sim, filing              0.60        210.00
                          attorney for L&T investor, compare the denial with
                          previous denials, review the response Atty. Sim said he
                          filed in order to confirm that USCIS ignored newly
                          submitted documents, email to Ron and Dan with denial
                          and results of comparison

HRK         Apr 21/20     Conference with investor re denied I-829                     0.10         49.50

JAD         Apr 21/20     L&T call with HRK re: recent denials received by             0.10         35.00
                          investors

JAD         Apr 21/20     Email to William Sim, filing attorney regarding denied       0.10         35.00
                          investor and requesting a copy of filing.

JAD         Apr 21/20     Read email from Kristal Ozmun from Miller Mayer and          0.20         70.00
                          review the L&T denial received by her investor
Jay Peak Lodge & Townhouses, LP                                              May 14, 2020
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Invoice #:   73032                          283                         Page No.      2

  HRK        Apr 22/20     Review FAQ's; email DBL and JAD                            0.10       49.50

  HRK        Apr 22/20     Email Goldberg                                             0.10       49.50

  HRK        Apr 24/20     Telephone Goldberg                                         0.20       99.00

  HRK        Apr 24/20     Email Goldberg                                             0.20       99.00

  JAD        Apr 24/20     Email to Pearl Tang Law Group re RFE response              0.10       35.00
                           template and link to template

  HRK        Apr 27/20     Review and reply to emails to Hauer re: L&T denial         0.20       99.00

                                                                                  ______________________
                                                                                       3.60     $1,477.50
                          Plus: Miscellaneous costs (express delivery, long distance, telephone, $59.10
                          photocopy, fax)(4% of fee) 1477.50 @ 0.04
                                                                                    ______________
                   Invoice Total:                                                          $1,536.60

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                                                               CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                               MATTER NO.:         421140
                                                               INVOICE NO.:        73051
Michael Goldberg as receiver of Jay Peak, et al.
                                                               INVOICE DATE:       May 14, 2020
JayPeak Receivership




Re:    Golf & Mountain Suites, LP                                                  Hours        Charge

JAD         Apr 22/20     Golf and Mountain RFE review                                0.20         70.00

JAD         Apr 24/20     Read Golf and Mountain RFE received by second               0.40        140.00
                          investor

HRK         Apr 27/20     Review I-829 RFE                                            0.20         99.00
                                                                                 ________ ______________
                                                                                       0.80     $309.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $12.36
                         photocopy, fax)(4% of fee) 309 @ 0.04
                                                                                     ______________
                 Invoice Total:                                                               $321.36

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                 Total due presently:                                                            $321.36
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Golf & Mountain Suites, LP                                                   May 14, 2020
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                                                               CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                               MATTER NO.:         417926
                                                               INVOICE NO.:        73058
Michael Goldberg as receiver of Jay Peak, et al.
                                                               INVOICE DATE:       May 14, 2020
JayPeak Receivership




Re:    Jay Peak Hotel Suites Stateside, LP                                         Hours        Charge

JAD         Apr 03/20     Document review and drafting Stateside RFE response         0.60        210.00

JAD         Apr 06/20     Review documents, emails, and drafting Stateside RFE        3.10      1,085.00
                          response

JAD         Apr 09/20     Call with Melissa from Kapila re new flow of funds          0.20         70.00
                          analysis for RFE response for Stateside.

JAD         Apr 25/20     Review development information narrative on Stateside       2.20        770.00
                          from Dave McNeil, review info provided to USCIS in
                          L&T template, begin draft of statement re development
                          for Receiver, review letter from Kapila, research on
                          specific flow of funds issues raised in RFE.


JAD         Apr 30/20    Stateside RFE response drafting, emails to Dave McNeil,        1.90     665.00
                         review Kapila report, review investor list
                                                                                 ________ ______________
                                                                                       8.00    $2,800.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $112.00
                         photocopy, fax)(4% of fee) 2800 @ 0.04
                                                                                     ______________
                 Invoice Total:                                                             $2,912.00

                                                                                        ________________
                 Total due presently:                                                          $2,912.00
                                                                                      ===============
Jay Peak Hotel Suites Stateside, LP                                          May 14, 2020
       Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 206 of
Invoice #:   73058                          283                         Page No.      2



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   Case 1:16-cv-21301-DPG Document 614 Entered on FLSDPHILADELPHIA
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                                        283



                                                                CLIENT NO.:        507624
Via Email     michael.goldberg@akerman.com
                                                                MATTER NO.:        423711
                                                                INVOICE NO.:       73090
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:      June 25, 2020
JayPeak Receivership




Re:    Mandamus and Litigation for JayPeak Projects                                Hours        Charge

HRK         Apr 03/20     Review revised Stipulation                                  0.10         49.50

HRK         Apr 03/20     Telephone Surgeon re: stipulation                           0.20         99.00

DBL         Apr 10/20     Call with Ron, Jessica, Naim and AUSA re stipulation        0.20         99.00
                          and timing.

HRK         Apr 10/20     Review stipulation; telephone AUSA Diaz                     0.40        198.00

JAD         Apr 10/20     Call with AUSA/HRK/Naim re stipulations for response        0.20         70.00
                          for JayPeak Mandamus

DBL         Apr 17/20     Review stipulation, email Ron                               0.30        148.50

HRK         Apr 17/20     Review file; email Surgeon re: stipulation and moving       0.30        148.50
                          litigation forward

HRK         Apr 17/20     Review draft stipulation                                    0.20         99.00

HRK         Apr 17/20     Reply to Surgeon email                                      0.10         49.50

HRK         Apr 24/20     Review and reply to Surgeon                                 0.10         49.50

HRK         Apr 28/20     Review I-526 Stipulation; email Surgeon                     0.20         99.00
                                                                                 ______________________
                                                                                      2.30     $1,109.50
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $44.38
                         photocopy, fax)(4% of fees) 1109.50 @ 0.04
Mandamus and Litigation for JayPeak Projects                                 June 25, 2020
       Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 208 of
Invoice #:  73090                            283                        Page No.       2
                                                                     ______________
                  Invoice Total:                                             $1,153.88

                                                                                    ________________
                   Total due presently:                                                   $1,153.88
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                                                       Docket 10/12/2020   Page 209 of
                                                                      NEW YORK
                                        283



                                                               CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                               MATTER NO.:         421140
                                                               INVOICE NO.:        74258
Michael Goldberg as receiver of Jay Peak, et al.
                                                               INVOICE DATE:       June 22, 2020
JayPeak Receivership




Re:    Golf & Mountain Suites, LP                                                  Hours        Charge

JAD         May 05/20    Golf and Mountain RFE review, review I-829 petition            1.20     420.00
                         template prepared by the Project, emails to Tom Martin
                         and Terri Goforth re G&M.
                                                                                 ________ ______________
                                                                                       1.20     $420.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $16.80
                         photocopy, fax)(4% of fee) 420 @ 0.04
                                                                                     ______________
                  Invoice Total:                                                              $436.80

                                                                                        ________________
                  Total due presently:                                                           $436.80
                                                                                      ===============




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                                                       Docket 10/12/2020   Page 210 of
                                                                      NEW YORK
                                        283



                                                                 CLIENT NO.:        507624
Via Email     michael.goldberg@akerman.com
                                                                 MATTER NO.:        418206
                                                                 INVOICE NO.:       74262
Michael Goldberg as receiver of Jay Peak, et al.
                                                                 INVOICE DATE:      June 22, 2020
JayPeak Receivership




Re:    Penthouse Suites                                                             Hours        Charge

HRK         May 06/20     Brief review of Penthouse Suites RFE                         0.10         49.50

JAD         May 06/20     Review of Penthouse Suites RFE                               0.30        105.00

JAD         May 07/20     Call with Adam Moses re RFE for investor in Penthouse        0.50        175.00
                          Suites

JAD         May 12/20     Review JPI flow of funds, review Penthouse I-829 petition 2.20          770.00
                          original template, find job creation calculation from
                          original petitions, emails to Terri
                                                                                  ______________________
                                                                                       3.10     $1,099.50
                          Plus: Miscellaneous costs (express delivery, long distance, telephone, $43.98
                          photocopy, fax)(4% of fee) 1099.50 @ 0.04
                                                                                      ______________
                 Invoice Total:                                                              $1,143.48

                                                                                         ________________
                 Total due presently:                                                           $1,143.48
                                                                                       ===============
Penthouse Suites                                                             June 22, 2020
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Invoice #:   74262                          283                         Page No.       2



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                                                       Docket 10/12/2020   Page 212 of
                                                                      NEW YORK
                                        283



                                                                 CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                                 MATTER NO.:         417882
                                                                 INVOICE NO.:        74296
Michael Goldberg as receiver of Jay Peak, et al.
                                                                 INVOICE DATE:       June 23, 2020
JayPeak Receivership




Re:    General Immigration                                                           Hours        Charge

HRK         May 14/20     Conference call re: economic report re: resort-wide job       0.30        148.50
                          creation

DBL         May 19/20     Call with Ron, Jessica, Ioana re overall Jay Peak job         0.10         49.50
                          creation strategy

HRK         May 19/20     Conference call with JAD/IXP/DBL re: resort - wide job        0.10         49.50
                          creation

JAD         May 19/20     Conference call with HRK/DBL/IXP re job creation              0.10         35.00
                          across the Resort.
                                                                                 ________ ______________
                                                                                       0.60     $282.50
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $11.30
                         photocopy, fax)(4% of fee) 282.50 @ 0.04
                                                                                       ______________
                 Invoice Total:                                                                 $293.80

                                                                                          ________________
                 Total due presently:                                                              $293.80
                                                                                        ===============
General Immigration                                                          June 23, 2020
       Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 213 of
Invoice #:  74296                           283                         Page No.       2



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   Case 1:16-cv-21301-DPG Document 614 Entered on FLSDPHILADELPHIA
                                                       Docket 10/12/2020   Page 214 of
                                                                      NEW YORK
                                        283



                                                                   CLIENT NO.:        507624
Via Email     michael.goldberg@akerman.com
                                                                   MATTER NO.:        418114
                                                                   INVOICE NO.:       74418
Michael Goldberg as receiver of Jay Peak, et al.
                                                                   INVOICE DATE:      June 25, 2020
JayPeak Receivership




Re:    Q Burke Mountain Resort, Hotel and Conference Center L.P.                      Hours        Charge

JAD         May 06/20     Call with Christine Alden re Q Burke template                  0.20         70.00
                          preparation

JAD         May 13/20     Call from Q Burke investor re potential RFE and status of      0.10         35.00
                          mandamus

JAD         May 14/20     Review email from Terri, re Q Burke jobs, respond to           0.40        140.00
                          email from Michael, check new regs for priority date
                          retention application.
HRK         May 21/20     Conference re: NVC remand for administrative                   0.10         49.50
                          processing

JAD         May 21/20     Call with HRK re Q Burke and NVC remand                        0.10         35.00

JAD         May 21/20     Email to Q Burke investor re mandamus and potential            0.20         70.00
                          denial

JAD         May 21/20     Call from Q Burke investor re potential denial                 0.10         35.00

HRK         May 27/20     Review I-526 denial                                            0.20         99.00

HRK         May 27/20     Email Goldberg re: I-526 denial issues                         0.20         99.00

JAD         May 27/20     Review status of investors re denials and pending              0.30        105.00
                          petitions, email to Michael re Q Burke denial and pending
                          petitions
HRK         May 29/20     Conference Goldberg and JAD re: I-526 denials                  0.50        247.50

HRK         May 29/20     Memo of call                                                   0.10         49.50
Q Burke Mountain Resort, Hotel and Conference Center L.P.                    June 25, 2020
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Invoice #:  74418                                     283               Page No.       2

  JAD        May 29/20     Review RFE and investor status to prep for call, call with    1.10     385.00
                           HRK and Michael Goldberg re I-562 denial for Q Burke


  JAD        May 29/20     Call with Marjan Kasra re Q Burke denial                      0.20      70.00
                                                                                  ______________________
                                                                                       3.80     $1,489.50
                          Plus: Miscellaneous costs (express delivery, long distance, telephone, $59.58
                          photocopy, fax)(4% of fee) 1489.50 @ 0.04
                                                                                        ______________
                   Invoice Total:                                                              $1,549.08

                                                                                          ________________
                   Total due presently:                                                         $1,549.08
                                                                                         ===============




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   Case 1:16-cv-21301-DPG Document 614 Entered on FLSDPHILADELPHIA
                                                       Docket 10/12/2020   Page 216 of
                                                                      NEW YORK
                                        283



                                                                 CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                                 MATTER NO.:         417926
                                                                 INVOICE NO.:        74421
Michael Goldberg as receiver of Jay Peak, et al.
                                                                 INVOICE DATE:       June 25, 2020
JayPeak Receivership




Re:    Jay Peak Hotel Suites Stateside, LP                                           Hours        Charge

JAD         May 01/20     Stateside document review, emails, and RFE response           2.20        770.00
                          drafting.

JAD         May 04/20     Document review and drafting Stateside RFE response           3.90      1,365.00


JAD         May 05/20     Stateside RFE response emails and review current              0.30        105.00
                          investors.

JAD         May 06/20     Emails re jobs report for Resort-wide jobs                    0.10         35.00

JAD         May 07/20     Stateside investor question from HRK - draft and send         0.30        105.00
                          email

JAD         May 18/20     Review documents and draft Stateside RFE response             6.20      2,170.00


JAD         May 19/20     Call with Kapila re flow of funds for JPI.                    0.70        245.00

JAD         May 20/20     RFE response drafting and emails.                             0.70        245.00

HRK         May 21/20     Conference re: I-829s                                         0.10         49.50

JAD         May 21/20     Call with HRK re Stateside RFE response for I-829s            0.10         35.00


JAD         May 21/20     Document review and drafting RFE response for                 4.10      1,435.00
                          Stateside

JAD         May 22/20     Stateside RFE response drafting and document review           3.70      1,295.00


JAD         May 23/20     Stateside RFE response drafting and document review           2.80        980.00
Jay Peak Hotel Suites Stateside, LP                                          June 25, 2020
       Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 217 of
Invoice #:   74421                          283                         Page No.       2

  JAD        May 26/20     Stateside I-829 template update                            6.10    2,135.00

  IXP        May 26/20     Reviewed documents, drafted the new version of the         0.50       82.50
                           I-829 Form, e-mailed JAD.

  JAD        May 28/20     Stateside RFE response drafting, document review,          7.20    2,520.00
                           emails

  HRK        May 29/20     Review template response to Filing Fee - I-829 RFE;        1.60      792.00
                           conference JAD

  JAD        May 29/20     Conference with HRK to review stateside RFE response          0.30     105.00
                           with HRK
                                                                                  ________ ______________
                                                                                      40.90 $14,469.00
                          Plus: Miscellaneous costs (express delivery, long distance, telephone, $578.76
                          photocopy, fax)(4% of fee) 14469 @ 0.04
                                                                                    ______________
                   Invoice Total:                                                          $15,047.76

                                                                                       ________________
                   Total due presently:                                                      $15,047.76
                                                                                      ===============




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   Case 1:16-cv-21301-DPG Document 614 Entered on FLSDPHILADELPHIA
                                                       Docket 10/12/2020   Page 218 of
                                                                      NEW YORK
                                        283



                                                                  CLIENT NO.:          507624
Via Email     michael.goldberg@akerman.com
                                                                  MATTER NO.:          423711
                                                                  INVOICE NO.:         74424
Michael Goldberg as receiver of Jay Peak, et al.
                                                                  INVOICE DATE:        June 25, 2020
JayPeak Receivership




Re:    Mandamus and Litigation for JayPeak Projects                                    Hours       Charge

JAD         May 05/20     Review jobs created by Golf and Mountain,Penthouse             2.10        735.00
                          Suites and Stateside; review past I-829 petition filings.



JAD         May 07/20     Conference call re jobs report for JayPeak jobs across the     0.40        140.00
                          Resort

JAD         May 08/20     Penthouse Suites document review, emails re Q Burke            2.10        735.00
                          jobs report with Terri, L&T review and review letter from
                          Kurzban, email to Dave re Stateside.



HRK         May 14/20     Review two Stipulations                                        0.10          49.50
                                                                                 ________ ______________
                                                                                       4.70    $1,659.50
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $66.38
                         photocopy, fax)(4% of fee) 1659.50 @ 0.04
                                                                                        ______________
                 Invoice Total:                                                                $1,725.88

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                 Total due presently:                                                             $1,725.88
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Mandamus and Litigation for JayPeak Projects                                 June 25, 2020
       Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 219 of
Invoice #:  74424                            283                        Page No.       2



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   Case 1:16-cv-21301-DPG Document 614 Entered on FLSDPHILADELPHIA
                                                       Docket 10/12/2020   Page 220 of
                                                                      NEW YORK
                                        283



                                                                CLIENT NO.:           507624
Via Email     michael.goldberg@akerman.com
                                                                MATTER NO.:           417927
                                                                INVOICE NO.:          74425
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:         June 25, 2020
JayPeak Receivership




Re:    Jay Peak Lodge & Townhouses, LP                                              Hours        Charge

JAD         May 01/20     Call with Anibal Sanchez re job creation report for Lodge     0.50       175.00
                          and Townhouses and questions about other phases


DBL         May 08/20     Review letter from Kurzban and compare RFE response.          0.70       346.50
                          Email Ron and Jessica.

HRK         May 08/20     Review letter from Ramos re: L & T jobs                       0.10          49.50

HRK         May 08/20     Conference re: template issues                                0.10          49.50

JAD         May 08/20     Call with HRK re Kurzban                                      0.10          35.00

DBL         May 11/20     Review response to Kurzban letter, emails with Ron and        0.20          99.00
                          Jessica

HRK         May 11/20     Review response to Ramos letter re: investor Chen             0.30       148.50

DBL         May 14/20     Call with Jessica and John Pratt, Ed Ramos re RFE             1.00       495.00
                          response template

JAD         May 20/20    Update L&T RFE response with "final" Kapila report in          0.50     175.00
                         the economic impact report. .
                                                                                 ________ ______________
                                                                                      3.50     $1,573.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $62.92
                         photocopy, fax)(4% of fee) 1573 @ 0.04
                                                                                       ______________
                 Invoice Total:                                                               $1,635.92
Jay Peak Lodge & Townhouses, LP                                              June 25, 2020
       Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 221 of
Invoice #:   74425                          283                         Page No.       2
                                                                                    ________________
                   Total due presently:                                                   $1,635.92
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   Case 1:16-cv-21301-DPG Document 614 Entered on FLSDPHILADELPHIA
                                                       Docket 10/12/2020   Page 222 of
                                                                      NEW YORK
                                        283



                                                               CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                               MATTER NO.:         421140
                                                               INVOICE NO.:        75317
Michael Goldberg as receiver of Jay Peak, et al.
                                                               INVOICE DATE:       July 22, 2020
JayPeak Receivership




Re:    Golf & Mountain Suites, LP                                                  Hours        Charge

JAD         Jun 23/20     Document review and drafting RFE response template          3.30      1,155.00
                          for RFE for Golf and Mountain I-829 petition


JAD         Jun 26/20     Document review, emails, and drafting template RFE          2.20         770.00
                          response for Golf and Mountain I-829 petitions

JAD         Jun 29/20     Golf and Mountain document review, template drafting,       4.00      1,400.00
                          drafting letters, and emails

JAD         Jun 30/20     Golf and Mountain document review and response              5.20      1,820.00
                          drafting
                                                                                 ______________________
                                                                                     14.70     $5,145.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $205.80
                         photocopy, fax)(4% of fee) 5145 @ 0.04
                                                                                     ______________
                 Invoice Total:                                                             $5,350.80

                                                                                        ________________
                 Total due presently:                                                          $5,350.80
                                                                                      ===============
Golf & Mountain Suites, LP                                                    July 22, 2020
       Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 223 of
Invoice #:  75317                           283                         Page No.        2



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                                           Philadelphia, PA 19103
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   Case 1:16-cv-21301-DPG Document 614 Entered on FLSDPHILADELPHIA
                                                       Docket 10/12/2020   Page 224 of
                                                                      NEW YORK
                                        283



                                                                  CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                                  MATTER NO.:         418114
                                                                  INVOICE NO.:        75402
Michael Goldberg as receiver of Jay Peak, et al.
                                                                  INVOICE DATE:       July 23, 2020
JayPeak Receivership




Re:    Q Burke Mountain Resort, Hotel and Conference Center L.P.                      Hours        Charge

HRK         Jun 01/20     Prepare email for Goldberg to send to investors                0.40         198.00

HRK         Jun 01/20     Email Goldberg re: new regional center                         0.10         49.50

HRK         Jun 01/20     Telephone Goldberg re: regional center                         0.20         99.00

HRK         Jun 01/20     Memo of call re: new regional center                           0.10         49.50

JAD         Jun 01/20     Emails with Christine Alden re Q Burke I-829 template;         0.20         70.00
                          emails with HRK and DBL re denials, litigation and
                          potential RC sponsorship.
HRK         Jun 02/20     Conference re: new regional center                             0.10         49.50

JAD         Jun 03/20     Brief call with Rose and IXP re Rose tracking investor         0.20         70.00
                          status on the USCIS website and updating the investor list
                          for the Q Burke investors
JAD         Jun 04/20     Document review for Q Burke I-829 template update and          3.70      1,295.00
                          I-526 petition denial motion to reopen focusing on the
                          flow of funds and job creation, review invoices, email to
                          Kapila, email to Baker Tilly, email to Dave McNeil.


JAD         Jun 04/20     Email to Dave re templates and pay app for Burke               0.10         35.00

JAD         Jun 04/20     Call to Q Burke filing attorney re denials per attorney        0.10         35.00
                          request

HRK         Jun 05/20     Conference re: MTR and new regional center                     0.20         99.00
Q Burke Mountain Resort, Hotel and Conference Center L.P.                    July 23, 2020
       Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 225 of
Invoice #:  75402                                     283               Page No.       2

  JAD       Jun 05/20   Email to Q Burke investor re MTR and denial                  0.10     35.00

  JAD       Jun 06/20   Document review and drafting for Q Burke MTR                 0.90    315.00
                        template

  HRK       Jun 09/20   Email Goldberg re: investor communication                    0.10     49.50

  JAD       Jun 09/20   Q Burke investor list review and update                      0.60    210.00

  JAD       Jun 09/20   Q Burke I-829 petition template update.                      0.40    140.00

  HRK       Jun 10/20   Review email to receiver re: jobs                            0.10     49.50

  JAD       Jun 10/20   Call with Michael, review Q Burke economic report, call      1.30    455.00
                        to HRK, email to Michael re new jobs report


  JAD       Jun 11/20   Q Burke I-829 template drafting                              1.90    665.00

  JAD       Jun 11/20   Email Kimberly re Q Burke and denied investor                0.10     35.00

  JAD       Jun 12/20   Call with Q Burke investor Bruce Chen re next steps          0.50    175.00


  JAD       Jun 12/20   Review documents and update Q Burke I-829 template           1.30    455.00


  HRK       Jun 15/20   Prepare for call with investors; conference JAD              0.60    297.00

  HRK       Jun 15/20   Conference call with investors re: status of I-526s and I-   1.00    495.00
                        829s and options going forward

  JAD       Jun 15/20   Call with HRK to prep for his webinar presentation.          0.20     70.00


  JAD       Jun 15/20   Q Burke template response drafting, webinar and prep for     1.20    420.00
                        webinar.

  JAD       Jun 18/20   Call re new RC for Q Burke                                   0.80    280.00

  JAD       Jun 19/20   Document review, emails, and drafting I-829 petition         3.80   1,330.00
                        template update and Motion to Reopen for denied
                        investors
                                   Klasko Immigration Law Partners, LLP
                                           1601 Market Street
                                               Suite 2600
                                         Philadelphia, PA 19103
Q Burke Mountain Resort, Hotel and Conference Center L.P.                    July 23, 2020
       Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 226 of
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  HRK       Jun 22/20   Research and prepare arguments for MTR petition                  1.80     891.00
                        denials and response to Notices of Intent and Revoke


  JAD       Jun 22/20   Document review, emails and drafting Q Burke Motion        4.90         1,715.00
                        to Reopen for denied investors and I-829 petition template
                        update.
  HRK       Jun 23/20   Telephone Goldberg re: new regional center sponsor               0.20      99.00


  JAD       Jun 23/20   Document review and drafting Q Burke I-829 petition              2.50     875.00
                        template update

  JAD       Jun 23/20   Conference call with HRK and Michael re renting the              0.30     105.00
                        new RC, email scheduling a call with the RC operators


  JAD       Jun 24/20   Emails to filing attorneys re notices of intent to revoke for    0.40     140.00
                        Q Burke

  JAD       Jun 24/20   Document review, emails, and drafting updated I- 829             2.40     840.00
                        template for Q Burke

  HRK       Jun 25/20   Research re: MTR and NOIR responses                              0.50     247.50

  JAD       Jun 25/20   Finish drafting, review and revise template memo, call           4.50   1,575.00
                        with potential regional center, drafting template I-829
                        form.
  HRK       Jun 26/20   Conference re: new regional center                               0.10      49.50

  JAD       Jun 26/20   Finalize index, combine exhibits into PDF, review PDF            2.90   1,015.00
                        of entire template, email to Christine Alden, revisions to
                        form, call with HRK
  JAD       Jun 29/20   Email Q Burke link to filing attorney                            0.10      35.00
                                                                                ______________________
                                                                                    40.90 $15,112.50
                        Plus: Miscellaneous costs (express delivery, long distance, telephone, $604.50
                        photocopy, fax)(4% of fee) 15112.50 @ 0.04
                                                                                        ______________
                 Invoice Total:                                                                $15,717.00




                                   Klasko Immigration Law Partners, LLP
                                           1601 Market Street
                                               Suite 2600
                                         Philadelphia, PA 19103
Q Burke Mountain Resort, Hotel and Conference Center L.P.                    July 23, 2020
       Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 227 of
Invoice #:  75402                                     283               Page No.       4
                                                                                    ________________
                   Total due presently:                                                  $15,717.00
                                                                                   ===============




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                                           Philadelphia, PA 19103
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   Case 1:16-cv-21301-DPG Document 614 Entered on FLSDPHILADELPHIA
                                                       Docket 10/12/2020   Page 228 of
                                                                      NEW YORK
                                        283



                                                                 CLIENT NO.:        507624
Via Email     michael.goldberg@akerman.com
                                                                 MATTER NO.:        418206
                                                                 INVOICE NO.:       75403
Michael Goldberg as receiver of Jay Peak, et al.
                                                                 INVOICE DATE:      July 23, 2020
JayPeak Receivership




Re:    Penthouse Suites                                                             Hours        Charge

JAD         Jun 05/20     Email to Penthouse investor re status of template            0.10         35.00
                                                                                  ________ ______________
                                                                                        0.10      $35.00
                          Plus: Miscellaneous costs (express delivery, long distance, telephone, $1.40
                          photocopy, fax)(4% of fee) 35 @ 0.04
                                                                                      ______________
                  Invoice Total:                                                                $36.40

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                  Total due presently:                                                              $36.40
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   Case 1:16-cv-21301-DPG Document 614 Entered on FLSDPHILADELPHIA
                                                       Docket 10/12/2020   Page 229 of
                                                                      NEW YORK
                                        283



                                                                  CLIENT NO.:           507624
Via Email     michael.goldberg@akerman.com
                                                                  MATTER NO.:           417926
                                                                  INVOICE NO.:          75405
Michael Goldberg as receiver of Jay Peak, et al.
                                                                  INVOICE DATE:         July 23, 2020
JayPeak Receivership




Re:    Jay Peak Hotel Suites Stateside, LP                                              Hours      Charge

JAD         Jun 01/20     Review documents, drafting Stateside I-829 petition RFE         5.40     1,890.00
                          response, emails.

JAD         Jun 02/20     Emails to Stateside filing attorneys with the RFE               1.10       385.00
                          response template and answering questions, filing emails
                          and tracking emails with template for reporting to AUSA


HRK         Jun 05/20     Conference re: I-829 RFE template                               0.10          49.50

JAD         Jun 05/20     Email to filing attorney with Stateside template, call with     0.10          35.00
                          HRK

JAD         Jun 08/20     Email Stateside RFE response template to filing attorney        0.10          35.00


JAD         Jun 10/20     Email to Christine Alden re Stateside RFE response              0.20          70.00

JAD         Jun 22/20     Email Stateside RFE response template to filing attorney        0.10          35.00

                                                                                 ________ ______________
                                                                                       7.10    $2,499.50
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $99.98
                         photocopy, fax)(4% of fee) 2499.50 @ 0.04
                                                                                         ______________
                 Invoice Total:                                                                 $2,599.48

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                 Total due presently:                                                             $2,599.48
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Jay Peak Hotel Suites Stateside, LP                                          July 23, 2020
       Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 230 of
Invoice #:   75405                          283                         Page No.       2



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   Case 1:16-cv-21301-DPG Document 614 Entered on FLSDPHILADELPHIA
                                                       Docket 10/12/2020   Page 231 of
                                                                      NEW YORK
                                        283



                                                                CLIENT NO.:        507624
Via Email     michael.goldberg@akerman.com
                                                                MATTER NO.:        417882
                                                                INVOICE NO.:       75427
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:      July 27, 2020
JayPeak Receivership




Re:    General Immigration                                                         Hours        Charge

HRK         Jun 05/20     Memo re: status of all projects                             0.20         99.00

JAD         Jun 10/20     Emails to Terri and Tom Martin re resort-wide jobs          0.20         70.00
                          report,review
                                                                                 ________ ______________
                                                                                       0.40     $169.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $6.76
                         photocopy, fax)(4% of fee) 169 @ 0.04
                                                                                     ______________
                  Invoice Total:                                                              $175.76

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                  Total due presently:                                                           $175.76
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                                                               CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                               MATTER NO.:         417927
                                                               INVOICE NO.:        75429
Michael Goldberg as receiver of Jay Peak, et al.
                                                               INVOICE DATE:       July 27, 2020
JayPeak Receivership




Re:    Jay Peak Lodge & Townhouses, LP                                             Hours        Charge

HRK         Mar 10/20     Review Motion to Reopen                                     0.70        346.50

HRK         Mar 11/20     Conference re: MTR                                          0.10         49.50

JAD         Jun 01/20     Update Lodge and Townhouses RFE response.                   0.60         210.00
                                                                                 ________ ______________
                                                                                       1.40     $606.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $24.24
                         photocopy, fax)(4% of fee) 606 @ 0.04
                                                                                     ______________
                 Invoice Total:                                                               $630.24

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                 Total due presently:                                                            $630.24
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Jay Peak Lodge & Townhouses, LP                                               July 27, 2020
       Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 233 of
Invoice #:   75429                          283                         Page No.        2



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   Case 1:16-cv-21301-DPG Document 614 Entered on FLSDPHILADELPHIA
                                                       Docket 10/12/2020   Page 234 of
                                                                      NEW YORK
                                        283



                                                                CLIENT NO.:          507624
Via Email     michael.goldberg@akerman.com
                                                                MATTER NO.:          418114
                                                                INVOICE NO.:         76067
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:        August 13, 2020
JayPeak Receivership




Re:    Q Burke Mountain Resort, Hotel and Conference Center L.P.                     Hours        Charge

JAD         Jul 01/20     Document review, emails and drafting for Q Burke              1.00        350.00
                          template cover letter

DBL         Jul 02/20     Call with Jessica re new RC sponsorship fees                  0.10         49.50

JAD         Jul 06/20     Document review and drafting of Q Burke MTR                   5.60      1,960.00
                          response

DBL         Jul 07/20     Call with Ron and Jessica re new RC                           0.10         49.50

HRK         Jul 07/20     Conference re: new regional center sponsor                    0.10         49.50

JAD         Jul 07/20     Document and drafting Q Burke MTR response                    4.30      1,505.00

JAD         Jul 08/20     Emails to Marjan Kasra re template preparation for the        0.10         35.00
                          Motion to Reopen for Q Burke denied I-526 petitions


JAD         Jul 08/20     Document review and drafting MTR response for Q               2.30        805.00
                          Burke

JAD         Jul 09/20     Emails, document review and drafting MTR response             3.50      1,225.00


JAD         Jul 09/20     Email to Q Burke investor Shayne with link to the I-829       0.10         35.00
                          template.

JAD         Jul 09/20     Call from Q Burke investor with denial (client of Chuck       0.20         70.00
                          Leamy).

HRK         Jul 10/20     Review MTR template; conference JAD re: MTR                   1.10        544.50

JAD         Jul 10/20     Call with HRK re: Q Burke updates                             0.30        105.00
Q Burke Mountain Resort, Hotel and Conference Center L.P.                  August 13, 2020
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Invoice #:  76067                                     283               Page No.       2




  JAD       Jul 13/20   Email to Sonia Col re RFE response                              0.10     35.00

  JAD       Jul 13/20   Draft MTR response and drafting of notice of intent to          4.40   1,540.00
                        revoke response

  JAD       Jul 13/20   Email to filing attorney with link to Q Burke I-829 petition 0.10        35.00
                        template

  JAD       Jul 15/20   Draft letters for regional center sponsorship -- draft letter   4.80   1,680.00
                        from Michael to USCIS in support of regional center and
                        draft letter from regional center to Michael re
                        willingness to sponsor; emails with regional center and
                        Michael; revisions to letters with Michael's comments,
                        revisions to letter per RC comments.


  HRK       Jul 16/20   Conference re: revocation issues                                0.20     99.00

  JAD       Jul 16/20   Call with HRK re Q Burke template preparation and               0.20     70.00
                        revocations

  JAD       Jul 16/20   Call and email to Steven Redgrave re I-829 template for         0.10     35.00
                        Q Burke

  JAD       Jul 16/20   Update Q Burke template by adding RC sponsorship                2.50    875.00
                        letter, update cover letter, emails to filing attorneys,
                        combine exhibits into PDF, review PDF of exhibits
  HRK       Jul 17/20   Review NOIR and NOIR response template; develop                 2.00    990.00
                        response strategy; conf DBL and JAD; email Goldberg


  JAD       Jul 17/20   Call with HRK and DBL re Q Burke template and review            1.70    595.00
                        of documents.

  JAD       Jul 17/20   Emails to HRK re Q Burke NOIR, send HRK a copy of               0.20     70.00
                        NOIR, review NOIR again

  JAD       Jul 20/20   Email to Sonia Col re Q Burke I-829 RFE response                0.10     35.00

  JAD       Jul 20/20   Email to filing attorney Irina re I-290B for MTR for Q          0.10     35.00
                        Burke Denial

  JJG       Jul 20/20   Conducted research and synthesized findings                     1.00    350.00

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                                         Philadelphia, PA 19103
Q Burke Mountain Resort, Hotel and Conference Center L.P.                  August 13, 2020
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Invoice #:  76067                                     283               Page No.       3

                        re: federal court review of immigrant petition revocation.


  HRK       Jul 22/20   Research re: material change and regional center             0.50   247.50
                        termination

  JAD       Jul 22/20   Drafting RC Sponsorship Agreement for Q Burke and            2.80   980.00
                        Green Mountains RC

  JAD       Jul 23/20   RC Sponsorship Agreement, complete drafting and              0.90   315.00
                        emails

  JAD       Jul 23/20   Emails to filing attorneys with template, check on           1.30   455.00
                        investor list, emails to attorneys and investors re
                        litigation.

  JAD       Jul 23/20   Email to Laura Fornazari, Q Burke investor                   0.10    35.00

  JAD       Jul 24/20   Email to Michael re RC agreement                             0.10    35.00

  JAD       Jul 28/20   Email response to Q Burke investor Sharf Emad.               0.10    35.00

  JAD       Jul 29/20   Follow up email to Michael re RC sponsorship                 0.10    35.00

  JAD       Jul 29/20   Email to Luis Mendoza re Q Burke status                      0.10    35.00

  JAD       Jul 29/20   Email to Attorney Synder -- email response and send          0.10    35.00
                        template

  HRK       Jul 30/20   Conference re: regional center                               0.10    49.50

  JAD       Jul 30/20   Call with Paul Virtue and email Q Burke I-829 template       0.20    70.00


  HRK       Jul 31/20   Emails with investor's attorney                              0.10    49.50

  JAD       Jul 31/20   Emails to Michael and Doug Hauer re RFE response for         0.10    35.00
                        Green Mountains RC

  JAD       Jul 31/20   Review I-829 petition RFE for Q Burke                        0.60   210.00
                                                                               ________
                                                                                      ______________
                                                                                  43.50 $15,848.50

                                   Klasko Immigration Law Partners, LLP
                                           1601 Market Street
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Q Burke Mountain Resort, Hotel and Conference Center L.P.                                     August 13, 2020
       Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 237 of
Invoice #:  76067                                      283                                 Page No.       4
                          Plus: Miscellaneous costs (express delivery, long distance, telephone, $633.94
                          photocopy, fax)(4% of fee) 15848.50 @ 0.04
                                                                                     ______________
                    Invoice Total:                                                          $16,482.44

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                    Total due presently:                                                     $16,482.44
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   Case 1:16-cv-21301-DPG Document 614 Entered on FLSDPHILADELPHIA
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                                                                      NEW YORK
                                        283



                                                                 CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                                 MATTER NO.:         418206
                                                                 INVOICE NO.:        76076
Michael Goldberg as receiver of Jay Peak, et al.
                                                                 INVOICE DATE:       August 14, 2020
JayPeak Receivership




Re:    Penthouse Suites                                                              Hours        Charge

JAD         Jul 16/20     Begin review of flow of funds for Penthouse Suites            0.10         35.00

JAD         Jul 17/20     Email to Martin Walsh re Penthouse template                   0.10         35.00

JAD         Jul 21/20     Drafting of Penthouse Suites RFE response template;           1.50        525.00
                          emails to Dave McNeil, review I-829 template; review
                          Kapila report and email to Kapila with edits.


JAD         Jul 22/20     Penthouse RFE response review reports from Kapila             0.20         70.00


JAD         Jul 23/20     Document review and drafting Penthouse Suites RFE             2.70        945.00
                          response.

JAD         Jul 24/20     Document review, drafting RFE response, emails for            2.30        805.00
                          Penthouse RFE

JAD         Jul 27/20     Document review and drafting Penthouse I-829 RFE              2.70        945.00
                          response template cover letter and index

HRK         Jul 29/20     Review RFE response template                                  1.00        495.00

JAD         Jul 30/20     Complete drafting of cover letter with HRK updates,           2.10        735.00
                          create PDF of exhibits, review PDF, ermails to filing
                          attorneys.
                                                                                  ______________________
                                                                                      12.70     $4,590.00
                          Plus: Miscellaneous costs (express delivery, long distance, telephone, $183.60
                          photocopy, fax)(4% of fee) 4590 @ 0.04
                                                                                       ______________
                 Invoice Total:                                                               $4,773.60
Penthouse Suites                                                           August 14, 2020
       Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 239 of
Invoice #:   76076                          283                         Page No.       2
                                                                                    ________________
                   Total due presently:                                                   $4,773.60
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                                                       Docket 10/12/2020   Page 240 of
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                                        283



                                                                CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                                MATTER NO.:         417926
                                                                INVOICE NO.:        76077
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:       August 14, 2020
JayPeak Receivership




Re:    Jay Peak Hotel Suites Stateside, LP                                          Hours        Charge

JAD         Jul 07/20     Email to Marina Veiga ( filing attorney) with template       0.10         35.00
                          response.

JAD         Jul 09/20     Email to Doug Hauer with Stateside RFE template.             0.10         35.00

DBL         Jul 14/20     Emails re Kurzban forensic accounting issues                 0.10         49.50

JAD         Jul 14/20     Review tax returns, review emails from Kurzban's office      0.30        105.00
                          re potential return on investment

DBL         Jul 15/20     Emails with Goldberg and team re K-1 accounting issue        0.20         99.00
                          raised by Kurzban firm

DBL         Jul 20/20     Call with Jessica and Kurzban's office re RFE template       0.50        247.50


JAD         Jul 20/20    Prep for call and call with Kurzban's office re Stateside      0.90     315.00
                         template
                                                                                  ______________________
                                                                                       2.20     $886.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $35.44
                         photocopy, fax)(4% of fee) 886 @ 0.04
                                                                                      ______________
                 Invoice Total:                                                                $921.44

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                 Total due presently:                                                            $921.44
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Jay Peak Hotel Suites Stateside, LP                                        August 14, 2020
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                                        283



                                                                 CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                                 MATTER NO.:         421140
                                                                 INVOICE NO.:        76078
Michael Goldberg as receiver of Jay Peak, et al.
                                                                 INVOICE DATE:       August 14, 2020
JayPeak Receivership




Re:    Golf & Mountain Suites, LP                                                    Hours        Charge

JAD         Jul 01/20     Document review, emails, and draft Golf and Mountain          4.90      1,715.00
                          I-829 RFE response.

HRK         Jul 02/20     Review template response to I-829 RFE                         0.90        445.50

JAD         Jul 02/20     Review and revise Golf and Mountain template cover            2.10        735.00
                          letter with HRK comments, final revisions, and review
                          PDF of template.
HRK         Jul 03/20     Call with JAD re: template                                    0.20         99.00

JAD         Jul 03/20     Call with HRK re Golf and Mountain template update            0.20         70.00


JAD         Jul 06/20     Emails to investors and filing attorneys with Golf and        0.10         35.00
                          Mountain template
                                                                                 ________ ______________
                                                                                       8.40    $3,099.50
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $123.98
                         photocopy, fax)(4% of fee) 3099.50 @ 0.04
                                                                                       ______________
                 Invoice Total:                                                               $3,223.48

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                 Total due presently:                                                            $3,223.48
                                                                                        ===============
Golf & Mountain Suites, LP                                                 August 14, 2020
       Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 243 of
Invoice #:  76078                           283                         Page No.       2



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  ATTN: Accounts Receivable
  FEDERAL TAX ID NO.: XX-XXXXXXX



            For your convenience you may pay your invoice online at www.klaskolaw.com/contactus.




                                     Klasko Immigration Law Partners, LLP
                                             1601 Market Street
                                                 Suite 2600
                                           Philadelphia, PA 19103
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                                 Exhibit 4(e)
                            Downs Rachlin Martin PLLC




   52782416;1
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                                     283




 Inquiries to:
 billing@drm.com
 (802) 473-4284




September 4, 2020


Gary Endicott
Jay Peak, Inc.
830 Jay Peak Road
Jay, VT 05859
Sent via e-mail: gendicott@leisurehotel.com



Enclosed is our bill for professional services rendered and disbursements incurred.

The bill summary is as follows:

Matter Name                                                                            Invoice                  Fees               Disb.          Total
Grievance of the Town of Jay 2020 Real Property Tax                                      444572           10,935.50                129.28      11,064.78
Assessment
Grievance of the Town of Burke 2020 Real Property Tax                                    444573             6,380.00               116.25       6,496.25
Assessment
Grievance of the City of Newport 2020 Real Property Tax                                  444574             1,286.50                 0.00       1,286.50
Assessment
                                                                                                                                             __________
   Current Charges                                                                                                                            18,847.53



Outstanding balances on previously billed matters are as follows:
Matter Name                                                                           Matter Number                                          Amount
Grievance of the Town of Jay 2020 Real Property Tax                                       17151-0000006                                      1,827.00
Assessment
Grievance of the Town of Burke 2020 Real Property Tax                                     17151-0000007                                      9,188.00
Assessment
                                                                                                                                        __________
   Previous Balance Due                                                                                                                   11,015.00
   Total Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            29,862.53


The detailed explanation of the charges is enclosed. If you have any questions, please feel free to call.

James G. Wheeler, Jr.
Downs Rachlin Martin PLLC

                90 Prospect Street | PO Box 99 | St. Johnsbury, VT 05819-0099 | T 802.748.8324 | F 802.748.4394 | drm.com
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  September 4, 2020



                                         Remittance Copy / Instructions
                                                  Federal ID: XX-XXXXXXX

Jay Peak, Inc.


Current Balance Summary
Matter Name                                                              Matter Number                 Invoice                 Total
Grievance of the Town of Jay 2020 Real Property Tax                       17151-0000006                444572              11,064.78
Assessment
Grievance of the Town of Burke 2020 Real Property Tax                     17151-0000007                444573               6,496.25
Assessment
Grievance of the City of Newport 2020 Real Property Tax                   17151-0000008                444574               1,286.50
Assessment
   Current Balance Due:                                                                                                    18,847.53

  Previous Balance Due:                                                                                                    11,015.00


Total Balance Due:                                                                                                        29,862.53


                                                    Payment Options

By Check:                                                            By Credit Card:
Make checks payable to: Downs Rachlin Martin PLLC
Mail to:                Billing Department                             o Visa                        o MasterCard
                        P.O. Box 99                                    o Discover                    o American Express
                        St. Johnsbury, VT 05819
                                                                     Credit Card Number:____________________________
                                                                     Expiration Date (mm / yyyy): ____________________
By Wire / ACH / EFT:                                                 Cardholder Name: _____________________________
Bank:         TD Bank
              Burlington, VT                                         Company Name: ______________________________
ABA No.:      011600033
Swift Code:   NRTHUS33                                               Address:            ______________________________
Account No.:  0060156098
Account Name: Downs Rachlin Martin PLLC                                                  ______________________________
              STJ Corporate (Law) Account
                                                                     Amount: $           ____________________

                                                                     Cardholder Signature: _________________________
                                                                     Please Return to: Downs Rachlin Martin PLLC
                                                                                       Billing Department
                                                                                       P.O. Box 99
                                                                                       St. Johnsbury, VT 05819

                                           Terms: Balance Due Upon Receipt
                 Please return remittance copy with your payment to insure proper credit of your account.
            An interest charge of 1% per month representing an annual rate of 12% will be charged on past due accounts.
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                                                                          September 4, 2020
                                                                          Invoice Number: 444572
                                                                          Federal ID: XX-XXXXXXX
                                                                          File Number: 17151-0000006

Jay Peak, Inc.
830 Jay Peak Road
Jay, VT 05859

Attention: Gary Endicott

For services rendered through the period of August 31, 2020

Grievance of the Town of Jay 2020 Real Property Tax Assessment

                                                     Services Detail
   Date     Timekeeper           Hours     Description of Services Rendered                                            Amount
08/07/20    Wm. Roger             0.40     Correspondence with Town Clerk and Jay Team                                  166.00
            Prescott                       regarding hearing.

08/10/20    Wm. Roger              2.00    Correspondence with Jay Team; correspondence                                 830.00
            Prescott                       with Town Clerk regarding details of the hearing;
                                           work on points to be covered by Chris Stickney and
                                           Ethan Kopp.

08/11/20    Wm. Roger              2.70    Correspondence at various times during the day with                         1,120.50
            Prescott                       Jay Team and Michael Goldberg; correspondence
                                           with Town Clerk; brief conference call with Mr.
                                           Goldberg and Jay Team, Ethan Kopp and Chris
                                           Stickney; work on Q/A for testimony of Chris
                                           Stickney.

08/12/20    Wm. Roger              6.30    Prepare for and participate in BCA hearing at Town                          2,614.50
            Prescott                       Hall in Jay, Vermont; related travel; telephone
                                           conference with Chris Stickney regarding his
                                           testimony.

08/12/20    Wm. Roger              1.20    Travel from Jay to Cambridge.                                                   0.00
            Prescott
08/13/20    Wm. Roger              1.70    Prepare summary of the hearing for Michael                                   705.50
            Prescott                       Goldberg and the Jay team; consider next steps;
                                           related office conference with Chris Roy.
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                                     283
 Re: Grievance of the Town of Jay 2020 Real P (17151-0000006)                                September 4, 2020
 Invoice Number: 444572


                                               Services Detail
   Date        Timekeeper     Hours    Description of Services Rendered                                 Amount

08/13/20       Christopher      0.50   Review of strategic, evidentiary and legal                        182.50
               D. Roy                  considerations with Attorney Prescott


08/14/20       R. Prescott      2.00   Confer with R. Prescott regarding                                 710.00
               Jaunich                                             research and respond to
                                       same.

08/14/20       Wm. Roger        0.80   Correspondence with Steve Wright, Evan Kopp and                   332.00
               Prescott                Chris Stickney
                                                      ; related correspondence with Scott
                                       Jaunich concerning


08/19/20       Wm. Roger        1.60   Work on summary of a proposed response                            664.00
               Prescott                                                              ;
                                       related correspondence with Steve Wright.

08/20/20       Wm. Roger        6.80   Prepare for and participate in final hearing before              2,822.00
               Prescott                the Jay BCA; draft memorandum summarizing our
                                       positions; correspondence with Walter Elander
                                       regarding his testimony; conference call with Steve
                                       Wright, Andrew Stenger and Walter Elander; related
                                       travel to Jay from Burlington.

08/20/20       Wm. Roger        1.20   Travel from Jay to Cambridge.                                        0.00
               Prescott
08/21/20       Wm. Roger        1.40   Prepare summary of hearing for Mr. Goldberg and                   581.00
               Prescott                Jay Team; related correspondence with Walter
                                       Elander.

08/26/20       Wm. Roger        0.50   Consideration of next steps following BCA decision;               207.50
               Prescott                brief discussion of same with Steve Wright.



                                           Services Summary
Timekeeper                                     Position                      Hours         Rate        Amount
R. Prescott Jaunich                            Director                       2.00       355.00          710.00
Wm. Roger Prescott                             Director                       2.40         0.00            0.00
Wm. Roger Prescott                             Director                      24.20       415.00       10,043.00
Christopher D. Roy                             Director                       0.50       365.00          182.50
                                                                                                     _________
  Total Services Rendered This Period:                                                               $10,935.50

                                       Disbursement Summary
Description                                                                                             Amount
Mileage                                                                                                  104.08
Reproduction                                                                                              25.20
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 Re: Grievance of the Town of Jay 2020 Real P (17151-0000006)      September 4, 2020
 Invoice Number: 444572


                                       Disbursement Summary
                                                                           _________
  Total Disbursements Incurred This Period:                                   $129.28



                                              Bill Summary
                                                                             Amount
Current Services                                                           $10,935.50
Current Disbursements                                                          129.28
                                                                           _________
  Current Invoice Total:                                                   $11,064.78
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 Inquiries to:
 billing@drm.com
 (802) 473-4284




                                                                          September 4, 2020
                                                                          Invoice Number: 444573
                                                                          Federal ID: XX-XXXXXXX
                                                                          File Number: 17151-0000007

Jay Peak, Inc.
830 Jay Peak Road
Jay, VT 05859

Attention: Gary Endicott

For services rendered through the period of August 31, 2020

Grievance of the Town of Burke 2020 Real Property Tax Assessment

                                                     Services Detail
   Date     Timekeeper           Hours     Description of Services Rendered                                            Amount
08/03/20    Wm. Roger             1.30     Complete review and analysis of the draft appraisal;                         539.50
            Prescott                       related correspondence with Kevin Mack and Chris
                                           Stickney.

08/06/20    Wm. Roger              0.30    Correspondence with Phil Munderville regarding                                 0.00
            Prescott                       Bolton Valley Lister cards.

08/07/20    Philip G.              0.20    Reviewed background of matter and next steps re                               38.00
            Munderville                    need for Bolton Valley lister cards; attempt to call
                                           Bolton town offices re same.

08/10/20    Philip G.              0.80    Call with Bolton town clerk re request to obtain                             152.00
            Munderville                    lister cards for Bolton Valley Resort; composed
                                           email request re same; exchanged clarifying
                                           correspondence in order to narrow search.

08/10/20    Wm. Roger              0.30    Correspondence with Town Clerk concerning                                    124.50
            Prescott                       arrangements for hearing; follow up with Phil
                                           Munderville concerning the Town of Bolton lister
                                           cards for Bolton Valley.

08/12/20    Philip G.              0.10    Reviewed correspondence from Bolton re lister                                 19.00
            Munderville                    cards and forwarded to R. Prescott.

08/13/20    Wm. Roger              0.80    Work at various times during the day in connection                           332.00
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Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 251 of
                                     283
 Re: Grievance of the Town of Burke 2020 Real (17151-0000007)                                 September 4, 2020
 Invoice Number: 444573


                                              Services Detail
   Date      Timekeeper       Hours   Description of Services Rendered                                   Amount
             Prescott                 with the Burke Mountain appeal.

08/14/20     Wm. Roger         1.20   Work on presentation for BCA; correspondence with                   498.00
             Prescott                 Kevin Mack and Chris Stickney in connection with
                                      same.

08/16/20     James G.          0.40   Review email exchanges between Kevin Mack and                          0.00
             Wheeler, Jr.             Roger Prescott regarding upcoming hearing on
                                      Burke Mountain Property taxes;



08/16/20     Wm. Roger         1.40   Review revised appraisal dated August 14, 2020 and                  581.00
             Prescott                 develop a list of questions


08/17/20     Kimberly L.       1.10   Factual research; telephone conference with Jake                    236.50
             Gilding                  Wheeler regarding factual information; conference
                                      with Roger Prescott regarding same.

08/17/20     James G.          0.40   Conference with Roger Prescott regarding upcoming                   166.00
             Wheeler, Jr.             Burke BCA meeting

                                                                ; call with Kim Gilding
                                      regarding                                           .

08/17/20     James G.          2.00   Attend Burke BCA hearing on Burke property tax                         0.00
             Wheeler, Jr.             assessment; follow-up discussions with Kevin Mack
                                      and Roger Prescott.

08/17/20     Wm. Roger         6.80   Telephone calls with Kevin Mack and Chris                          2,822.00
             Prescott                 Stickney; prepare for and participate in BCA
                                      Hearing in West Burke; related travel to hearing.

08/17/20     Wm. Roger         1.70   Travel from West Burke to Cambridge.                                   0.00
             Prescott
08/18/20     Wm. Roger         1.10   Prepare summary of the BCA hearing and related                      456.50
             Prescott                 correspondence with Town Officials regarding site
                                      visit.

08/31/20     Wm. Roger         1.00   Review BCA decision and follow-up with Jay Team                     415.00
             Prescott                 and Chris Roy; correspondence with Bruce Palmer
                                      regarding the Caledonia court docket; call court
                                      clerk regarding same.



                                           Services Summary
Timekeeper                                    Position                        Hours         Rate         Amount
Wm. Roger Prescott                            Director                         2.00         0.00             0.00
Wm. Roger Prescott                            Director                        13.90       415.00         5,768.50
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 Re: Grievance of the Town of Burke 2020 Real (17151-0000007)              September 4, 2020
 Invoice Number: 444573


                                           Services Summary
Timekeeper                                    Position           Hours     Rate      Amount
James G. Wheeler, Jr.                         Director            2.40     0.00          0.00
James G. Wheeler, Jr.                         Director            0.40   415.00        166.00
Kimberly L. Gilding                           Senior Paralegal    1.10   215.00        236.50
Philip G. Munderville                         Paralegal           1.10   190.00        209.00
                                                                                   _________
  Total Services Rendered This Period:                                              $6,380.00

                                       Disbursement Summary
Description                                                                          Amount
Mileage                                                                                 69.00
Reproduction                                                                            47.25
                                                                                   _________
  Total Disbursements Incurred This Period:                                           $116.25



                                              Bill Summary
                                                                                     Amount
Current Services                                                                    $6,380.00
Current Disbursements                                                                  116.25
                                                                                   _________
  Current Invoice Total:                                                            $6,496.25
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 Inquiries to:
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 (802) 473-4284




                                                                          September 4, 2020
                                                                          Invoice Number: 444574
                                                                          Federal ID: XX-XXXXXXX
                                                                          File Number: 17151-0000008

Jay Peak, Inc.
830 Jay Peak Road
Jay, VT 05859

Attention: Gary Endicott

For services rendered through the period of August 31, 2020

Grievance of the City of Newport 2020 Real Property Tax Assessment

                                                     Services Detail
   Date     Timekeeper           Hours     Description of Services Rendered                                              Amount
08/19/20    Wm. Roger             1.50     Draft grievance application; related review of file;                           622.50
            Prescott                       correspondence with City Tax Assessor Rob
                                           Naramore.

08/24/20    Wm. Roger              0.40    Correspondence with Rob Naramore.                                              166.00
            Prescott
08/25/20    Wm. Roger              1.20    Correspondence at various times during the day with                            498.00
            Prescott                       Newport City Tax Assessor Rob Naramore
                                           regarding basis for our grievance and City's
                                           response; summarize same in email to Michael
                                           Goldberg.



                                                 Services Summary
Timekeeper                                           Position                           Hours              Rate          Amount
Wm. Roger Prescott                                   Director                            3.10            415.00          1,286.50
                                                                                                                       _________
  Total Services Rendered This Period:                                                                                  $1,286.50

                                            Disbursement Summary
Description                                                                                                              Amount
***** NO DISBURSEMENTS INCURRED THIS PERIOD *****                                                                         $0.00


           90 Prospect Street | PO Box 99 | St. Johnsbury, VT 05819-0099 | T 802.748.8324 | F 802.748.4394 | drm.com
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 Re: Grievance of the City of Newport 2020 Re (17151-0000008)      September 4, 2020
 Invoice Number: 444574




                                               Bill Summary
                                                                             Amount
Current Services                                                            $1,286.50
Current Disbursements                                                            0.00
                                                                           _________
  Current Invoice Total:                                                    $1,286.50
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 Inquiries to:
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 (802) 473-4284




                                                                          August 10, 2020
                                                                          Invoice Number: 443360
                                                                          Federal ID: XX-XXXXXXX
                                                                          File Number: 17151-0000006

Jay Peak, Inc.
830 Jay Peak Road
Jay, VT 05859

Attention: Gary Endicott

For services rendered through the period of July 31, 2020

Grievance of the Town of Jay 2020 Real Property Tax Assessment

                                                     Services Detail
   Date     Timekeeper           Hours     Description of Services Rendered                                            Amount
07/01/20    Wm. Roger             4.50     Review draft appraisal and related correspondence                           1,867.50
            Prescott                       with Chris Stickney and Ethan Kopp; related follow-
                                           up with the Jay Team; correspondence with Gary
                                           Endicott;

                                                                           .

07/02/20    Wm. Roger              4.30    Complete review of draft appraisal; related                                 1,784.50
            Prescott                       conference calls with Chris Stickney and Ryan
                                           Koth; related correspondence with the Jay Peak
                                           management team.

07/04/20    Wm. Roger              0.40    Consider cooments from Walter Elander, Gary                                  166.00
            Prescott                       Endicott and Eric Frady concerning



07/06/20    Wm. Roger              2.80    Consider correspondence from Chris Stickney and                             1,162.00
            Prescott                       Jay team; draft grievance letter to the Jay Board of
                                           Listers; participate in extended telephone conference
                                           with Chris Stickney, Eric Frady and Ryan Korth.

07/08/20    Wm. Roger              1.70    Review revised appraisal and related                                         705.50
            Prescott                       correspondence with Ryan Kurth and Chris Stickney
                                           regarding same; correspondence with Town of Jay
           90 Prospect Street | PO Box 99 | St. Johnsbury, VT 05819-0099 | T 802.748.8324 | F 802.748.4394 | drm.com
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 Re: Grievance of the Town of Jay 2020 Real P (17151-0000006)                                     August 10, 2020
 Invoice Number: 443360


                                                Services Detail
   Date      Timekeeper         Hours   Description of Services Rendered                                   Amount
                                        Lister; correspondence with Ethan Kopp and Steve
                                        Wright; finalize grievance letter and coordinate
                                        delivery of same and appraisal to Listers.

07/09/20     Wm. Roger           1.00   Correspondence with Jay Listers, Steve Wrght,                       415.00
             Prescott                   Chris Stickney and Ethan Kopp at various times
                                        during the day concerning

07/11/20     Wm. Roger           2.70   Prepare for Grievance Hearing; related                             1,120.50
             Prescott                   correspondence with Ethan Kopp and Chris
                                        Stickney; complete grievance forms from Arlene
                                        Abadi and forward same to Ms.Abadi.

07/12/20     Wm. Roger           3.00   Final preparations for Grievance Hearing;                          1,245.00
             Prescott                   participate in Grievance Hearing in Jay Town
                                        offices; related travel to hearing in Jay

07/12/20     Wm. Roger           1.00   Travel from hearing.                                                   0.00
             Prescott
07/13/20     Wm. Roger           1.30   Prepare summary of hearing for Mr. Goldberg and                     539.50
             Prescott                   the Jay team; related correspondence with Ethan
                                        Kopp, Chris Stickney, and Jay Listers.

07/14/20     Wm. Roger           0.20   Correspondence with Town Lister Arlene Abadi                          83.00
             Prescott
07/20/20     Wm. Roger           0.30   Correspondence with lister Arlene Abadi; related                    124.50
             Prescott                   follow-up with Jay team.

07/23/20     Wm. Roger           1.30   Draft notice of appeal from the decision of the listers             539.50
             Prescott                   to the Board of Civil Authority.



                                            Services Summary
Timekeeper                                      Position                       Hours           Rate       Amount
Wm. Roger Prescott                              Director                        1.00           0.00           0.00
Wm. Roger Prescott                              Director                       23.50         415.00       9,752.50
                                                                                                        _________
  Total Services Rendered This Period:                                                                   $9,752.50

                                        Disbursement Summary
Description                                                                                               Amount
Delivery Service / Messengers                                                                                31.96
Mileage                                                                                                      46.00
Postage                                                                                                       6.95
                                                                                                        _________
  Total Disbursements Incurred This Period:                                                                 $84.91
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 Re: Grievance of the Town of Jay 2020 Real P (17151-0000006)       August 10, 2020
 Invoice Number: 443360


                                              Bill Summary
                                                                            Amount
Current Services                                                           $9,752.50
Current Disbursements                                                          84.91
                                                                          _________
  Current Invoice Total:                                                   $9,837.41
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 Inquiries to:
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 (802) 473-4284




                                                                          August 10, 2020
                                                                          Invoice Number: 443361
                                                                          Federal ID: XX-XXXXXXX
                                                                          File Number: 17151-0000007

Jay Peak, Inc.
830 Jay Peak Road
Jay, VT 05859

Attention: Gary Endicott

For services rendered through the period of July 31, 2020

Grievance of the Town of Burke 2020 Real Property Tax Assessment

                                                     Services Detail
   Date     Timekeeper           Hours     Description of Services Rendered                                            Amount
07/06/20    Wm. Roger             1.20     Complete draft of letter to the Burke Town Clerk                             498.00
            Prescott                       noticing our appeal to the Board of Civil Authority;
                                           work on comparison between Burke and Bolton
                                           Valley.

07/08/20    Wm. Roger              0.30    Preliminary review of closing statement for sale of                          124.50
            Prescott                       Bolton Valley related follow-up with Larry
                                           Williams.

07/22/20    Wm. Roger              0.20    Correspondence with Burke Town Clerk regarding                                83.00
            Prescott                       BCA hearing.

07/23/20    Wm. Roger              0.80    Correspondence at various times during the day with                          332.00
            Prescott                       Chis Stickney regarding revised appraisal; contact
                                           Bolton assessor for Bolton Valley lister cards.

07/28/20    Wm. Roger              0.30    Correspondence with Town Clerk regarding BCA                                 124.50
            Prescott                       hearing; correspondence with Chris Stickney
                                           regarding status of updated appraisal.

07/31/20    Wm. Roger              1.20    Initial review of revised and expanded appraisal;                            498.00
            Prescott                       related correspondence with Kevin Mack;
                                           correspondence with Chris Stickney.



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 Re: Grievance of the Town of Burke 2020 Real (17151-0000007)               August 10, 2020
 Invoice Number: 443361


                                           Services Summary
Timekeeper                                    Position          Hours     Rate      Amount
Wm. Roger Prescott                            Director           4.00   415.00      1,660.00
                                                                                  _________
  Total Services Rendered This Period:                                             $1,660.00

                                       Disbursement Summary
Description                                                                         Amount
Postage                                                                                6.95
                                                                                  _________
  Total Disbursements Incurred This Period:                                           $6.95



                                              Bill Summary
                                                                                    Amount
Current Services                                                                   $1,660.00
Current Disbursements                                                                   6.95
                                                                                  _________
  Current Invoice Total:                                                           $1,666.95
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                                     283




 Inquiries to:
 billing@drm.com
 (802) 473-4284




                                                                          August 10, 2020
                                                                          Invoice Number: 443362
                                                                          Federal ID: XX-XXXXXXX
                                                                          File Number: 17151-0000008

Jay Peak, Inc.
830 Jay Peak Road
Jay, VT 05859

Attention: Gary Endicott

For services rendered through the period of July 31, 2020

Grievance of the City of Newport 2020 Real Property Tax Assessment

                                                     Services Detail
   Date      Timekeeper          Hours     Description of Services Rendered                                              Amount
07/14/20     Wm. Roger            0.30     Call City tax assessor and follow up with email.                               124.50
             Prescott
07/23/20     Wm. Roger             0.20    Correspondence with City assessor Rob Naramore.                                 83.00
             Prescott


                                                 Services Summary
Timekeeper                                           Position                           Hours              Rate          Amount
Wm. Roger Prescott                                   Director                            0.50            415.00            207.50
                                                                                                                       _________
  Total Services Rendered This Period:                                                                                    $207.50

                                            Disbursement Summary
Description                                                                                                              Amount
***** NO DISBURSEMENTS INCURRED THIS PERIOD *****                                                                         $0.00



                                                    Bill Summary
                                                                                                                         Amount
Current Services                                                                                                          $207.50
Current Disbursements                                                                                                        0.00
                                                                                                                       _________
  Current Invoice Total:                                                                                                  $207.50
           90 Prospect Street | PO Box 99 | St. Johnsbury, VT 05819-0099 | T 802.748.8324 | F 802.748.4394 | drm.com
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 Re: Grievance of the City of Newport 2020 Re (17151-0000008)       August 10, 2020
 Invoice Number: 443362
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 Inquiries to:
 billing@drm.com
 (802) 473-4284




                                                                          July 14, 2020
                                                                          Invoice Number: 442383
                                                                          Federal ID: XX-XXXXXXX
                                                                          File Number: 17151-0000007

Jay Peak, Inc.
830 Jay Peak Road
Jay, VT 05859

Attention: Gary Endicott

For services rendered through the period of June 30, 2020

Grievance of the Town of Burke 2020 Real Property Tax Assessment

                                                     Services Detail
   Date     Timekeeper           Hours     Description of Services Rendered                                            Amount
06/04/20    Wm. Roger             0.30     Telephone conference with Burke Town Clerk;                                  124.50
            Prescott                       related follow-up with Chris Stickney.

06/05/20    Wm. Roger              0.30    Telephone call with the Town Clerk and related                               124.50
            Prescott                       follow-up with Chris Stickney.

06/08/20    Wm. Roger              0.70    Schedule grievance hearing with the Town;                                    290.50
            Prescott                       preliminary discussion with assistant assessor
                                           regarding hearing; provide Jay team with status
                                           report; correspondence with Kevin Mack concerning
                                           change of assessment notice; related correspondence
                                           with Chris Stickney.

06/09/20    Wm. Roger              1.60    Research regarding                                                           664.00
            Prescott                                                                                .

06/12/20    Wm. Roger              0.60    Correspondence with Chris Stickney at various                                249.00
            Prescott                       times during the day;



06/16/20    Wm. Roger              5.30    Review Appraisal prepared by Chris Stickney for                             2,199.50
            Prescott                       Burke, related telephone calls with Mr. Stickney,
                                           correspondence with Gary Endicott regarding the
                                           scope of the appraisal, follow-up with Kevin Mack
           90 Prospect Street | PO Box 99 | St. Johnsbury, VT 05819-0099 | T 802.748.8324 | F 802.748.4394 | drm.com
Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 263 of
                                     283
 Re: Grievance of the Town of Burke 2020 Real (17151-0000007)                                 July 14, 2020
 Invoice Number: 442383


                                               Services Detail
   Date      Timekeeper       Hours   Description of Services Rendered                               Amount
                                      regarding                                     ;
                                      telephone conference with Burke Tax assessor Bill
                                      Krajeski; status report for the Jay team.

06/17/20     Wm. Roger         2.80   Review figures from Kevin Mack regarding                      1,162.00
             Prescott                                     ; related correspondence with
                                      Mr. Mack and Chris Stickney; correspondence with
                                      Burke Tax assessor Bill Krajeski.

06/18/20     Wm. Roger         3.70   Review updated figures from Kevin Mack and Chris              1,535.50
             Prescott                 Stickney regarding f                          ;
                                      conference call with both regarding same; telephone
                                      call with Chris Roy regarding the de novo nature of
                                      the proceedings; related correspondence with
                                      Michael Goldberg and resort team; correspondence
                                      with Burke Tax assessor Bill Krajeski.

06/18/20     Christopher       0.50   Review                                                          182.50
             D. Roy                                             with Attorney Prescott.

06/19/20     Wm. Roger         3.80   Prepare for and participate in grievance hearing with         1,577.00
             Prescott                 Burke Town Assessor Bill Krajeski; related
                                      correspondence and telephone calls with Kevin
                                      Mack and Chris Stickney; post hearing
                                      correspondence with Burke team.

06/23/20     Wm. Roger         0.20   Correspondence with Chris Stickney.                               83.00
             Prescott
06/24/20     Wm. Roger         1.00   Correspondence with Chris Stickney; brief                       415.00
             Prescott                 conference call with Michael Goldberg, Gary
                                      Endicott and Kevin Mack concerning next steps
                                      following the grievance hearing.

06/25/20     Wm. Roger         0.30   Correspondence with Bob Luce regarding need to                  124.50
             Prescott                 obtain sales information concerning
                                                 .

06/26/20     Wm. Roger         0.30   Preliminary consideration of correspondence from                124.50
             Prescott                 Gary Endicott regarding
                                                                              .

06/29/20     Wm. Roger         0.60   Correspondence with Kim Butler regarding                        249.00
             Prescott                                            ; correspondence with
                                      Kevin Mack regarding

06/30/20     Wm. Roger         0.20   Correspondence with Larry Williams regarding                      83.00
             Prescott
Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 264 of
                                     283
 Re: Grievance of the Town of Burke 2020 Real (17151-0000007)                    July 14, 2020
 Invoice Number: 442383


                                           Services Summary
Timekeeper                                    Position          Hours     Rate         Amount
Wm. Roger Prescott                            Director          21.70   415.00         9,005.50
Christopher D. Roy                            Director           0.50   365.00           182.50
                                                                                     _________
  Total Services Rendered This Period:                                                $9,188.00

                                       Disbursement Summary
Description                                                                             Amount
***** NO DISBURSEMENTS INCURRED THIS PERIOD *****                                        $0.00



                                              Bill Summary
                                                                                       Amount
Current Services                                                                      $9,188.00
Current Disbursements                                                                      0.00
                                                                                     _________
  Current Invoice Total:                                                              $9,188.00
Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 265 of
                                     283




 Inquiries to:
 billing@drm.com
 (802) 473-4284




                                                                          July 14, 2020
                                                                          Invoice Number: 442384
                                                                          Federal ID: XX-XXXXXXX
                                                                          File Number: 17151-0000008

Jay Peak, Inc.
830 Jay Peak Road
Jay, VT 05859

Attention: Gary Endicott

For services rendered through the period of June 30, 2020

Grievance of the City of Newport 2020 Real Property Tax Assessment

                                                     Services Detail
   Date     Timekeeper           Hours     Description of Services Rendered                                              Amount
06/01/20    Wm. Roger             0.70     Correspondence with Rob Naramore regarding                                     290.50
            Prescott


06/08/20    Wm. Roger              0.40    Correspondence with City Assessor Steve Naramore                               166.00
            Prescott                       concerning his work on the revision of the
                                           assessment in light of the building's degraded
                                           condition and reduction in its foot print; prepare
                                           status report for Michael Goldberg and Jay team
                                           regarding same.

06/23/20    Wm. Roger              0.20    Correspondence with Rob Naramore.                                               83.00
            Prescott


                                                 Services Summary
Timekeeper                                           Position                           Hours              Rate          Amount
Wm. Roger Prescott                                   Director                            1.30            415.00            539.50
                                                                                                                       _________
  Total Services Rendered This Period:                                                                                    $539.50

                                            Disbursement Summary
Description                                                                                                              Amount
***** NO DISBURSEMENTS INCURRED THIS PERIOD *****                                                                         $0.00
           90 Prospect Street | PO Box 99 | St. Johnsbury, VT 05819-0099 | T 802.748.8324 | F 802.748.4394 | drm.com
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                                     283
 Re: Grievance of the City of Newport 2020 Re (17151-0000008)         July 14, 2020
 Invoice Number: 442384




                                               Bill Summary
                                                                            Amount
Current Services                                                             $539.50
Current Disbursements                                                           0.00
                                                                          _________
  Current Invoice Total:                                                     $539.50
Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 267 of
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 Inquiries to:
 billing@drm.com
 (802) 473-4284




                                                                          June 5, 2020
                                                                          Invoice Number: 440940
                                                                          Federal ID: XX-XXXXXXX
                                                                          File Number: 17151-0000007

Jay Peak, Inc.
830 Jay Peak Road
Jay, VT 05859

Attention: Gary Endicott

For services rendered through the period of May 31, 2020

Grievance of the Town of Burke 2020 Real Property Tax Assessment

                                                     Services Detail
   Date     Timekeeper           Hours     Description of Services Rendered                                            Amount
05/01/20    Wm. Roger             0.30     Correspondence with Kevin Mack and Chris                                     124.50
            Prescott                       Stickney.

05/08/20    Wm. Roger              0.20    Confirm restrictions on Chris Stickney's planned site                         83.00
            Prescott                       visit with Downs Rachlin Martin government affairs
                                           team; contact Jill Remick at the Division of Property
                                           Valuation and Review at the Department of Taxes
                                           concerning extension of grievance and related dates
                                           for Burke.

05/21/20    Wm. Roger              0.40    Correspondence with Burke Town Clerk and tax                                 166.00
            Prescott                       assessor regarding publication of Burke's Grand
                                           List; correspondence with Kevin Mack.

05/29/20    James G.               2.50    Meet with Roger Prescott and Kevin Mack at Burke                                0.00
            Wheeler, Jr.                   Mountain for site visit at hotel and Sherburne Lodge

                                                                       ; follow-up discussion
                                           with Roger Prescott regarding
                                                                      .

05/29/20    Wm. Roger              3.20    Meet with Kevin Mack for site visit and related                             1,328.00
            Prescott                       travel.

05/29/20    Wm. Roger              1.70    Travel from Burke.                                                              0.00
           90 Prospect Street | PO Box 99 | St. Johnsbury, VT 05819-0099 | T 802.748.8324 | F 802.748.4394 | drm.com
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                                     283
 Re: Grievance of the Town of Burke 2020 Real (17151-0000007)                             June 5, 2020
 Invoice Number: 440940


                                              Services Detail
   Date       Timekeeper      Hours   Description of Services Rendered                          Amount
              Prescott


                                           Services Summary
Timekeeper                                    Position                   Hours     Rate        Amount
Wm. Roger Prescott                            Director                    1.70     0.00            0.00
Wm. Roger Prescott                            Director                    4.10   415.00        1,701.50
James G. Wheeler, Jr.                         Director                    2.50     0.00            0.00
                                                                                             _________
  Total Services Rendered This Period:                                                        $1,701.50

                                       Disbursement Summary
Description                                                                                    Amount
Mileage                                                                                           82.80
                                                                                             _________
  Total Disbursements Incurred This Period:                                                      $82.80



                                              Bill Summary
                                                                                               Amount
Current Services                                                                              $1,701.50
Current Disbursements                                                                             82.80
                                                                                             _________
  Current Invoice Total:                                                                      $1,784.30
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 Inquiries to:
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 (802) 473-4284




                                                                          June 5, 2020
                                                                          Invoice Number: 440941
                                                                          Federal ID: XX-XXXXXXX
                                                                          File Number: 17151-0000008

Jay Peak, Inc.
830 Jay Peak Road
Jay, VT 05859

Attention: Gary Endicott

For services rendered through the period of May 31, 2020

Grievance of the City of Newport 2020 Real Property Tax Assessment

                                                     Services Detail
   Date     Timekeeper           Hours     Description of Services Rendered                                              Amount
05/06/20    Wm. Roger             1.50     Review Milne-Allen Appraisal;                                                  622.50
            Prescott                                  contact Rob Naramore, City Tax
                                           Assessor.

05/08/20    Wm. Roger              1.60    Correspondence and telephone conference with Rob                               664.00
            Prescott                       Naramore; related telephone conference with Bill
                                           Stenger and correspondence with Michael Goldberg




05/12/20    Wm. Roger              0.40    Correspondence with Bill Stenger and Rob                                       166.00
            Prescott                       Naramore.



                                                 Services Summary
Timekeeper                                           Position                           Hours              Rate          Amount
Wm. Roger Prescott                                   Director                            3.50            415.00          1,452.50
                                                                                                                       _________
  Total Services Rendered This Period:                                                                                  $1,452.50

                                            Disbursement Summary
           90 Prospect Street | PO Box 99 | St. Johnsbury, VT 05819-0099 | T 802.748.8324 | F 802.748.4394 | drm.com
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 Re: Grievance of the City of Newport 2020 Re (17151-0000008)          June 5, 2020
 Invoice Number: 440941


                                        Disbursement Summary
Description                                                                  Amount
***** NO DISBURSEMENTS INCURRED THIS PERIOD *****                             $0.00



                                               Bill Summary
                                                                            Amount
Current Services                                                           $1,452.50
Current Disbursements                                                           0.00
                                                                          _________
  Current Invoice Total:                                                   $1,452.50
Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 271 of
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 Inquiries to:
 billing@drm.com
 (802) 473-4284




                                                                          May 6, 2020
                                                                          Invoice Number: 439819
                                                                          Federal ID: XX-XXXXXXX
                                                                          File Number: 17151-0000006

Jay Peak, Inc.
830 Jay Peak Road
Jay, VT 05859

Attention: Gary Endicott

For services rendered through the period of April 30, 2020

Grievance of the Town of Jay 2020 Real Property Tax Assessment

                                                     Services Detail
   Date     Timekeeper           Hours     Description of Services Rendered                                            Amount
04/07/20    Wm. Roger             0.80     Address questions from Gary Endicott;                                        332.00
            Prescott                       correspondence with the Town Clerks of Jay and
                                           Burke to determine the expected date for completion
                                           of each Town's 2020-2021 Grand List.

04/08/20    Andre D.               0.30    Assist with search for appraiser.                                            112.50
            Bouffard
04/08/20    Wm. Roger              1.20    Prepare for and participate in conference call with                          498.00
            Prescott                       Michael Goldberg and Gary Endicott concerning
                                           grievance of 2020-2021 assessments for Jay and
                                           Burke properties; related follow-up.

04/09/20    Kimberly L.            1.30    Telephone conference with Roger Prescott regarding                           279.50
            Gilding                        assessed values for Burke and Newport properties;
                                           factual research regarding Newport properties;
                                           correspondence with Newport Assessors and Burke
                                           Assessors requesting listers' cards.

04/15/20    Wm. Roger              0.60    Work on timeline for Jay Appeal.                                             249.00
            Prescott
04/16/20    Wm. Roger              1.80    Complete timeline; prepare for and participate in                            747.00
            Prescott                       conference call with Michael Goldberg and Gary
                                           Endicott; related follow-up.

04/16/20    Kimberly L.            0.50    Telephone conference with Jay Town Clerk                                     107.50
           90 Prospect Street | PO Box 99 | St. Johnsbury, VT 05819-0099 | T 802.748.8324 | F 802.748.4394 | drm.com
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                                     283
 Re: Grievance of the Town of Jay 2020 Real P (17151-0000006)                                        May 6, 2020
 Invoice Number: 439819


                                               Services Detail
   Date        Timekeeper     Hours    Description of Services Rendered                                   Amount
               Gilding                 regarding Jay Listers' cards; factual research
                                       regarding Town of Jay assessment information;
                                       correspondence with Jay Lister requesting Listers'
                                       Cards.

04/20/20       Kimberly L.      0.50   Review of listers' cards from Town of Jay;                           107.50
               Gilding                 correspondence with Town of Jay regarding listers'
                                       cards for resort properties.

04/20/20       Wm. Roger        1.00   Prepare for and participate in conference call with                  415.00
               Prescott                team and representatives of H&L and related follow-
                                       up.

04/22/20       Kimberly L.      0.50   Review of Listers card for main property received                    107.50
               Gilding                 from Town of Jay; correspondence with Roger
                                       Prescott regarding same.

04/28/20       Wm. Roger        0.30   Correspondence with Gary Endicott regarding                          124.50
               Prescott

04/29/20       Wm. Roger        1.20   Telephone call with Chris Stickney regarding                         498.00
               Prescott                appraisal proposal and deliverables; work on
                                       assembling information he will need; related
                                       correspondence with Gary Endicott and Andrew
                                       Stenger.

04/30/20       Wm. Roger        1.40   Telephone call with Chris Stickney, Andy Stenger,                    581.00
               Prescott                Eric Frady and Lisa Morse regarding appraisal
                                       proposal and deliverables; related correspondence
                                       with Gary Endicott and Ethan Kopp.



                                           Services Summary
Timekeeper                                     Position                     Hours             Rate        Amount
Andre D. Bouffard                              Director                      0.30           375.00          112.50
Wm. Roger Prescott                             Director                      8.30           415.00        3,444.50
Kimberly L. Gilding                            Senior Paralegal              2.80           215.00          602.00
                                                                                                        _________
  Total Services Rendered This Period:                                                                   $4,159.00

                                       Disbursement Summary
Description                                                                                               Amount
Land Records                                                                                                 92.00
                                                                                                        _________
  Total Disbursements Incurred This Period:                                                                 $92.00
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                                     283
 Re: Grievance of the Town of Jay 2020 Real P (17151-0000006)          May 6, 2020
 Invoice Number: 439819


                                              Bill Summary
                                                                            Amount
Current Services                                                           $4,159.00
Current Disbursements                                                          92.00
                                                                          _________
  Current Invoice Total:                                                   $4,251.00
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 Inquiries to:
 billing@drm.com
 (802) 473-4284




                                                                          May 6, 2020
                                                                          Invoice Number: 439820
                                                                          Federal ID: XX-XXXXXXX
                                                                          File Number: 17151-0000007

Jay Peak, Inc.
830 Jay Peak Road
Jay, VT 05859

Attention: Gary Endicott

For services rendered through the period of April 30, 2020

Grievance of the Town of Burke 2020 Real Property Tax Assessment

                                                     Services Detail
   Date     Timekeeper           Hours     Description of Services Rendered                                            Amount
04/08/20    Kimberly L.           0.50     Telephone conferences with Jake Wheeler regarding                            107.50
            Gilding                        ownership of Burke properties; telephone
                                           conference with Burke Town Clerk confirming
                                           same.

04/09/20    Wm. Roger              0.30    Confer with Kim Gilding regarding the Burke                                  124.50
            Prescott                       properties, the ownership structure, and need to
                                           obtain 2019 lister cards.

04/13/20    Kimberly L.            0.80    Review and organize listers' cards for various                               172.00
            Gilding                        parcels in Town of Burke; correspondence with
                                           Roger Prescott regarding same.

04/15/20    Wm. Roger              2.80    Detailed consideration of the 2019 lister cards for                         1,162.00
            Prescott                       the Burke properties owned by Burke 2000 and
                                           Mountain Road Management Co.; develop summary
                                           of same; related correspondence with Michael
                                           Goldberg.

04/16/20    Andre D.               0.20    Work on appraiser search.                                                       0.00
            Bouffard
04/20/20    Wm. Roger              1.00    Prepare for and participate in conference call with                          415.00
            Prescott                       Jay management team and representatives of H&L
                                           and related follow-up.


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                                     283
 Re: Grievance of the Town of Burke 2020 Real (17151-0000007)                                   May 6, 2020
 Invoice Number: 439820


                                              Services Detail
   Date      Timekeeper       Hours   Description of Services Rendered                               Amount
04/29/20     Wm. Roger         0.90   Telephone call with Chris Stickney regarding                    373.50
             Prescott                 appraisal and timing.

04/30/20     Wm. Roger         1.00   Telephone call with Kevin Mack regarding appraisal               415.00
             Prescott                 and flow of information to Chris Stickney; related
                                      follow-up with Mr. Stickney.



                                           Services Summary
Timekeeper                                    Position                    Hours          Rate        Amount
Andre D. Bouffard                             Director                     0.20          0.00            0.00
Wm. Roger Prescott                            Director                     6.00        415.00        2,490.00
Kimberly L. Gilding                           Senior Paralegal             1.30        215.00          279.50
                                                                                                   _________
  Total Services Rendered This Period:                                                              $2,769.50

                                       Disbursement Summary
Description                                                                                           Amount
***** NO DISBURSEMENTS INCURRED THIS PERIOD *****                                                      $0.00



                                              Bill Summary
                                                                                                     Amount
Current Services                                                                                    $2,769.50
Current Disbursements                                                                                    0.00
                                                                                                   _________
  Current Invoice Total:                                                                            $2,769.50
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 Inquiries to:
 billing@drm.com
 (802) 473-4284




                                                                          May 6, 2020
                                                                          Invoice Number: 439821
                                                                          Federal ID: XX-XXXXXXX
                                                                          File Number: 17151-0000008

Jay Peak, Inc.
830 Jay Peak Road
Jay, VT 05859

Attention: Gary Endicott

For services rendered through the period of April 30, 2020

Grievance of the City of Newport 2020 Real Property Tax Assessment

                                                     Services Detail
   Date     Timekeeper           Hours     Description of Services Rendered                                              Amount
04/15/20    Kimberly L.           0.40     Telephone call to Newport Listers regarding status                             86.00
            Gilding                        of information; correspondence with Roger Prescott
                                           regarding ownership of Newport properties

04/16/20    Kimberly L.            0.60    Telephone conference with Town of Newport Lister                               129.00
            Gilding                        regarding status of request for Listers' cards; review
                                           of Listers' cards for 172 Bogner Drive and 151 Main
                                           Street from Newport City Clerk; forward same to
                                           Roger Prescott.



                                                 Services Summary
Timekeeper                                           Position                           Hours              Rate          Amount
Kimberly L. Gilding                                  Senior Paralegal                    1.00            215.00            215.00
                                                                                                                       _________
  Total Services Rendered This Period:                                                                                    $215.00

                                            Disbursement Summary
Description                                                                                                              Amount
***** NO DISBURSEMENTS INCURRED THIS PERIOD *****                                                                         $0.00




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Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 277 of
                                     283
 Re: Grievance of the City of Newport 2020 Re (17151-0000008)          May 6, 2020
 Invoice Number: 439821


                                               Bill Summary
                                                                            Amount
Current Services                                                             $215.00
Current Disbursements                                                           0.00
                                                                          _________
  Current Invoice Total:                                                     $215.00
Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 278 of
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 Inquiries to:
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 (802) 473-4284




                                                                           April 9, 2020
                                                                           Invoice Number: 438721
                                                                           Federal ID: XX-XXXXXXX
                                                                           File Number: 17151-0000003

Jay Peak, Inc.
830 Jay Peak Road
Jay, VT 05859

Attention: Michael Goldberg

For services rendered through the period of March 31, 2020

Project Paris Condominium Review

                                                      Services Detail
   Date      Timekeeper           Hours     Description of Services Rendered                                              Amount
03/13/20     Elizabeth K.          0.40     Phone conference with Gary Endicott and email to                               142.00
             Rattigan                       Gary Endicott regarding


03/13/20     Kimberly M.            0.20    Reviewed message from Gary Endicott                                             75.00
             Butler


                                                  Services Summary
Timekeeper                                            Position                           Hours              Rate          Amount
Kimberly M. Butler                                    Director                            0.20            375.00             75.00
Elizabeth K. Rattigan                                 Director                            0.40            355.00            142.00
                                                                                                                        _________
  Total Services Rendered This Period:                                                                                     $217.00

                                             Disbursement Summary
Description                                                                                                               Amount
***** NO DISBURSEMENTS INCURRED THIS PERIOD *****                                                                          $0.00



                                                     Bill Summary
                                                                                                                          Amount
Current Services                                                                                                          $217.00
            90 Prospect Street | PO Box 99 | St. Johnsbury, VT 05819-0099 | T 802.748.8324 | F 802.748.4394 | drm.com
Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 279 of
                                     283
 Re: Project Paris Condominium Review (17151-0000003)                 April 9, 2020
 Invoice Number: 438721


                                             Bill Summary
                                                                            Amount
Current Disbursements                                                           0.00
                                                                          _________
  Current Invoice Total:                                                     $217.00
Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 280 of
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                                   Exhibit 5
                        Standardized Fund Accounting Report




   52782416;1
Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 281 of
                                     283



                          Michael I. Goldberg, Receiver
                          Las Olas Centre II – Suite 1600
                            350 E. Las Olas Boulevard
                          Ft. Lauderdale, Florida 33301
                              (954) 463-2700 (Main)
                            (800) 223-2234 (Toll Free)



                STANDARDIZED FUND
                ACCOUNTING REPORT
                         Civil – Receivership Fund


             SECURITIES & EXCHANGE COMMISSION

                                       vs.

                           ARIEL QUIROS, et al.

                    Case No.: 16-cv-21301-GAYLES



                 Reporting Period: 4/1/2020 – 8/31/2020
Case 1:16-cv-21301-DPG Document 614 Entered on FLSD Docket 10/12/2020 Page 282 of
                                     283
                      STANDARDIZED FUND ACCOUNTING REPORT - Cash Basis (Receivership)
                                             SEC v. Quiros, et al.
                                       Case No.: 16-cv-21301-GAYLES
                                  Reporting Period 04/01/2020 to 08/31/2020


      FUND ACCOUNTING (See Instructions):
                                                                              Detail             Subtotal        Grand Total
      Line 1         Beginning Balance (As of 03/31/2020):              $              -     $           -   $    22,417,976.88
                     Increases in Fund Balance:
      Line 2         Business Income                                    $             -
      Line 3         Cash and Securities (UNrestricted)                 $      135,684.96
      Line 3         Cash and Securities (RESTRICTED)                   $   (1,000,000.00)
      Line 4         Interest/Dividend Income                           $       25,376.00
      Line 5         Business Asset Liquidation                         $             -
      Line 6         Personal Asset Liquidation                         $             -
      Line 7         Third-Party Litigation Income                      $             -
      Line 8         Miscellaneous - Other                              $             -
                       Total Funds Available (Lines 1 – 8):                                                  $   21,579,037.84
                     Decreases in Fund Balance:
      Line 9         Disbursements to Investors                                                              $                  -
      Line 10        Disbursements for Receivership Operations                                               $                  -
          Line 10a   Disbursements to Receiver or Other Professionals   $     248,000.37
          Line 10b   Business Asset Expenses                            $      22,086.14
          Line 10c   Personal Asset Expenses                            $            -
          Line 10d   Investment Expenses                                $            -
          Line 10e   Third-Party Litigation Expenses                    $            -
                         1. Attorney Fees                               $     482,549.36
                         2. Litigation Expenses                         $            -
                       Total Third-Party Litigation Expenses            $            -
          Line 10f Tax Administrator Fees and Bonds                     $             -
          Line 10g Federal and State Tax Payments                       $       55,876.03
                    Total Disbursements for Receivership Operations                                          $      808,511.90
      Line 11      Disbursements for Distribution Expenses Paid by the Fund:
          Line 11a    Distribution Plan Development Expenses:
                       1. Fees:                                            $      -
                            Fund Administrator…………………...………………..           $      -
                                                                           $      -
                            Independent Distribution Consultant (IDC)……………………………………...………….……..
                            Distribution Agent…………………...……………....…         $      -
                            Consultants…………………………....……………….               $      -
                            Legal Advisers……………………...…..……………… $                  -
                            Tax Advisers………………………..………….………… $                    -
                       2. Administrative Expenses                          $      -
                       3. Miscellaneous                                    $      -
                      Total Plan Development Expenses                                                        $              -
          Line 11b      Distribution Plan Implementation Expenses:
                        1. Fees:                                           $           -
                             Fund Administrator…………………..…………..………          $           -
                             IDC……………………………………...…......…………               $           -
                             Distribution Agent……………………..….……………..         $           -
                             Consultants………………………………....……………              $           -
                             Legal Advisers………………………..……....…………           $           -
                             Tax Advisers…………………….………….……………               $           -
                        2. Administrative Expenses                         $           -
                        3. Investor Identification:                        $           -
                             Notice/Publishing Approved Plan……………...……..…..$           -
                             Claimant Identification…………………….……...……. $                -
                             Claims Processing………………………….………..…… $                     -
                             Web Site Maintenance/Call Center……….……...…… $             -
                        4. Fund Administrator Bond                         $           -
                        5. Miscellaneous
                        6. Federal Account for Investor Restitution (FAIR)
                        Reporting Expenses                                 $           -
                       Total Plan Implementation Expenses                                                    $              -
                      Total Disbursements for Distribution Expenses Paid by the Fund                         $              -
      Line 12      Disbursements to Court/Other:
          Line 12a    Investment Expenses/Court Registry Investment
                   System (CRIS) Fees                                   $              -
          Line 12b    Federal Tax Payments                              $              -
                    Total Disbursements to Court/Other:                                                      $              -




                      Total Funds Disbursed (Lines 9 – 11):                                                  $      808,511.90
      Line 13        Ending Balance (As of 08/31/2020):                                                      $   20,770,525.94
      Line 14      Ending Balance of Fund – Net Assets:                                                      $              -
          Line 14a    Cash & Cash Equivalents                           $             -
          Line 14b    Investments 2 Loan Collateral                     $    1,500,000.00
          Line 14c    Other Assets or Uncleared Funds                   $             -
                    Total Ending Balance of Fund – Net Assets                                                $   19,270,525.94




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                     STANDARDIZED FUND ACCOUNTING REPORT - Cash Basis (Receivership)
                                            SEC v. Quiros, et al.
                                      Case No.: 16-cv-21301-GAYLES
                                 Reporting Period 04/01/2020 to 08/31/2020



      OTHER SUPPLEMENTAL INFORMATION:
                                                                                  Detail           Subtotal            Grand Total
                    Report of Items NOT To Be Paid by the Fund:
      Line 15      Disbursements for Plan Administration Expenses Not Paid by the Fund:
          Line 15a    Plan Development Expenses Not Paid by the Fund:
                       1. Fees:
                           Fund Administrator……………………...……………..         $           -
                           IDC………………………………………..……….…….. $                           -
                           Distribution Agent……………………...…………....…       $           -
                           Consultants…………………………….………………. $                         -
                           Legal Advisers………………………….……………… $                        -
                           Tax Advisers…………………………….…….………… $                        -
                       2. Administrative Expenses                       $           -
                       3. Miscellaneous                                 $           -
                      Total Plan Development Expenses Not Paid by the Fund                                         $             -
         Line 15b      Plan Implementation Expenses Not Paid by the Fund:
                       1. Fees:
                           Fund Administrator…………………….………..………              $              -
                           IDC………………………………………........…………                   $              -
                           Distribution Agent……………………….……………..              $              -
                           Consultants…………………………...…..……………                 $              -
                           Legal Advisers…………………………..…...…………               $              -
                           Tax Advisers…………………….……...………………                 $              -
                       2. Administrative Expenses                           $              -
                       3. Investor Identification:
                           Notice/Publishing Approved Plan……………...……..…..$                 -
                           Claimant Identification…………………….……...……. $                      -
                           Claims Processing………………………….………..…… $                           -
                           Web Site Maintenance/Call Center……….……...…… $                   -
                       4. Fund Administrator Bond                         $                -
                       5. Miscellaneous                                   $                -
                       6. FAIR Reporting Expenses                         $                -
                      Total Plan Implementation Expenses Not Paid by the Fund                                      $             -
         Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund                                          $             -
                     Total Disbursements for Plan Administration Expenses Not Paid by the Fund                     $             -
      Line 16      Disbursements to Court/Other Not Paid by the Fund:
          Line 16a    Investment Expenses/CRIS Fees                    $                   -
          Line 16b    Federal Tax Payments                             $                   -
                    Total Disbursements to Court/Other Not Paid by the Fund:                                       $             -
      Line 17       DC & State Tax Payments                                                                        $             -
      Line 18      No. of Claims:
          Line 18a    # of Claims Received This Reporting Period…..……………………………………………………… 0
          Line 18b    # of Claims Received Since Inception of Fund…...…..…………………………………………                          0
      Line 19      No. of Claimants/Investors:
          Line 19a    # of Claimants/Investors Paid This Reporting Period…..……..………………………………..                     0
          Line 19b    # of Claimants/Investors Paid Since Inception of Fund.……….………………………………                       0


                                                                            Receiver:

                                                                            By: ______________________________
                                                                                    (signature)

                                                                                Michael I. Goldberg_____________
                                                                                 (printed name)

                                                                                Court Appointed Receiver ______
                                                                                (title)
                                                                                  9-24-20
                                                                            Date: ___________




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